Case 1:12-cr-00033-JLK Document 1975-2 Filed 10/11/18 USDC Colorado Page 1 of 171




                         USA v. JUMAEV
                  Tenth Circuit Court of Appeals
                        Case No. 18-1296

                     USA v. MUHTOROV
                  Tenth Circuit Court of Appeals
                        Case No. 18-1366



                            Attachment B

                    Mr. Jumaev’s Individual
                    Designation of Record
CM/ECF - U.S. District
           Case        Court:cod
                   1:12-cr-00033-JLK                   https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?580254660785136-L_1_1-1
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                                                                                APPEAL,INTERPRETER,TERMED

                               U.S. District Court - District of Colorado
                                     District of Colorado (Denver)
                    CRIMINAL DOCKET FOR CASE #: 1:12-cr-00033-JLK All Defendants


           Case title: USA v. Muhtorov et al                             Date Filed: 01/23/2012
           Magistrate judge case numbers: 1:12-mj-01011-CBS              Date Terminated: 09/04/2018
                                           1:12-mj-01039-KLM


           Assigned to: Judge John L. Kane
           Appeals court case numbers: 17-1220
           Tenth Circuit Court of Appeals, 18-1366
           Tenth Circuit Court of Appeals

           Defendant (1)
           Jamshid Muhtorov                               represented by Kathryn J. Stimson
           TERMINATED: 09/04/2018                                        Haddon Morgan & Foreman, P.C.
                                                                         150 East 10th Avenue
                                                                         Denver, CO 80203
                                                                         3038317364
                                                                         Fax: 303-832-2628
                                                                         Email: kstimson@hmflaw.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

                                                                          Brian Rowland Leedy
                                                                          Haddon Morgan & Foreman, P.C.
                                                                          150 East 10th Avenue
                                                                          Denver, CO 80203
                                                                          303-831-7364
                                                                          Fax: 303-832-2628
                                                                          Email: bleedy@hmflaw.com
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: CJA Appointment

                                                                          Jacob R. Rasch-Chabot
                                                                          Federal Public Defender's Office-Denver
                                                                          633 17th Street
                                                                          Suite 1000
                                                                          Denver, CO 80202
                                                                          303-294-7002
                                                                          Fax: 303-294-1192



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                                             JUMAEV-ONLY DESIGNATION                                       10/9/2018, 12:50 PM
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           Case        Court:cod
                   1:12-cr-00033-JLK                   https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?580254660785136-L_1_1-1
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                                                                          Email: jacob_rasch-chabot@fd.org
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Public Defender or
                                                                          Community Defender Appointment

                                                                          Patrick C. Toomey
                                                                          American Civil Liberties Union-New York
                                                                          125 Broad Street
                                                                          18th Floor
                                                                          New York, NY 10004-2400
                                                                          212-549-2500
                                                                          Email: ptoomey@aclu.org
                                                                          ATTORNEY TO BE NOTICED

                                                                          Warren Richard Williamson
                                                                          Office of the Federal Public Defender
                                                                          633 Seventeenth Street
                                                                          #1000
                                                                          Denver, CO 80202
                                                                          303-294-7002
                                                                          Fax: 303-294-1192
                                                                          Email: Rick_Williamson@fd.org
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Public Defender or
                                                                          Community Defender Appointment

           Pending Counts                                                 Disposition
                                                                          Defendant found GUILTY as to Counts
                                                                          1ss, 2ss, and 3ss. Defendant to be
                                                                          imprisoned to 96 months as to Count 1ss,
                                                                          96 months as to Count 2ss, and 132 months
           PROVIDING MATERIAL SUPPORT OR
                                                                          as to Count 3ss, to run concurrently for a
           RESOURCES TO TERRORISTS
                                                                          total term of imprisonment of 132 months.
           (1ss)
                                                                          Defendant shall be placed on Supervised
                                                                          Release for 15 years as to each of Counts
                                                                          1ss, 2ss, and 3ss, to run concurrently. Total
                                                                          Assessment $300.
                                                                          Defendant found GUILTY as to Counts
                                                                          1ss, 2ss, and 3ss. Defendant to be
                                                                          imprisoned to 96 months as to Count 1ss,
           PROVIDING MATERIAL SUPPORT OR                                  96 months as to Count 2ss, and 132 months
           RESOURCES TO TERRORISTS                                        as to Count 3ss, to run concurrently for a
           (2ss)                                                          total term of imprisonment of 132 months.
                                                                          Defendant shall be placed on Supervised
                                                                          Release for 15 years as to each of Counts
                                                                          1ss, 2ss, and 3ss, to run concurrently. Total



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                                          JUMAEV-ONLY DESIGNATION                                            10/9/2018, 12:50 PM
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           Case        Court:cod
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                                                                          Assessment $300.
                                                                          Defendant found GUILTY as to Counts
                                                                          1ss, 2ss, and 3ss. Defendant to be
                                                                          imprisoned to 96 months as to Count 1ss,
                                                                          96 months as to Count 2ss, and 132 months
           PROVIDING MATERIAL SUPPORT OR
                                                                          as to Count 3ss, to run concurrently for a
           RESOURCES TO TERRORISTS
                                                                          total term of imprisonment of 132 months.
           (3ss)
                                                                          Defendant shall be placed on Supervised
                                                                          Release for 15 years as to each of Counts
                                                                          1ss, 2ss, and 3ss, to run concurrently. Total
                                                                          Assessment $300.

           Highest Offense Level (Opening)
           Felony

           Terminated Counts                                              Disposition
           PROVIDING MATERIAL SUPPORT OR
           RESOURCES TO TERRORISTS                                        Dismissed.
           (1)
           PROVIDING MATERIAL SUPPORT OR
           RESOURCES TO TERRORISTS                                        Dismissed.
           (1s-4s)
           18:2339B.F-Material Support of a
           Designated Foreign Terrorist Organization
           and Attempt and Conspiracy to do the                           Dismissed.
           Same
           (1sss-3sss)
           PROVIDING MATERIAL SUPPORT OR
                                                                          Defendant found NOT GUILTY as to
           RESOURCES TO TERRORISTS
                                                                          Count 4ss.
           (4ss)
           18:2339B.F-Material Support of a
           Designated Foreign Terrorist Organization
           and Attempt and Conspiracy to do the                           Dismissed.
           Same
           (4sss)
           18:2339A.F Conspiracy to Provide
           Material Support to Terrorism                                  Dismissed
           (5sss)
           18:2339B.F-Material Support of a
           Designated Foreign Terrorist Organization
           and Attempt and Conspiracy to do the                           Dismissed
           Same
           (6sss)



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                                            JUMAEV-ONLY DESIGNATION                                          10/9/2018, 12:50 PM
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           Highest Offense Level (Terminated)
           Felony

           Complaints                                                     Disposition
           18:2339B.F Providing Material Support or
           Resources to Terrorists


           Assigned to: Judge John L. Kane
           Appeals court case number: 18-1296 Tenth
           Circuit Court of Appeals

           Defendant (2)
           Bakhtiyor Jumaev                               represented by David Barry Savitz
           TERMINATED: 07/19/2018                                        David B. Savitz, Law Office of
                                                                         1512 Larimer Street
                                                                         Suit 600
                                                                         Denver, CO 80202
                                                                         303-825-3109
                                                                         Fax: 303-607-0472
                                                                         Email: savmaster@aol.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

                                                                          Daniel Joseph Sears
                                                                          Daniel J. Sears, P.C.
                                                                          999 18th Street
                                                                          Suite 3000
                                                                          Denver, CO 80202
                                                                          303-357-4639
                                                                          Fax: 303-297-2536
                                                                          Email: djsearspc@aol.com
                                                                          TERMINATED: 01/09/2014
                                                                          Designation: CJA Appointment

                                                                          Emily Elizabeth Boehme
                                                                          Emily Boehme, Attorney at Law
                                                                          1543 Champa Street
                                                                          Suite 400
                                                                          Denver, CO 80202
                                                                          720-301-1866
                                                                          Fax: 303-571-1001
                                                                          Email: emboehme@gmail.com
                                                                          TERMINATED: 06/25/2018


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                                             JUMAEV-ONLY DESIGNATION                                       10/9/2018, 12:50 PM
CM/ECF - U.S. District
           Case        Court:cod
                   1:12-cr-00033-JLK                   https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?580254660785136-L_1_1-1
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                                                                          Designation: CJA Appointment

                                                                          Mitchell Baker
                                                                          Mitch Baker, Attorney at Law
                                                                          1543 Champa Street
                                                                          #400
                                                                          Denver, CO 80202
                                                                          303-592-7353
                                                                          Fax: 303-571-1001
                                                                          Email: mitchbaker@estreet.com
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: CJA Appointment

           Pending Counts                                                 Disposition
                                                                          Defendant to be sentenced to a term of
           18:2339B.F-Material Support of a                               TIME SERVED, as to Counts One and
           Designated Foreign Terrorist Organization                      Two, to be served concurrently. Defendant
           and Attempt and Conspiracy to do the                           shall be placed on Supervised Release for a
           Same                                                           term of 10 years on Counts One and Two,
           (1ss)                                                          to be served concurrently. Assessment
                                                                          $200.
                                                                          Defendant to be sentenced to a term of
           18:2339B.F-Material Support of a                               TIME SERVED, as to Counts One and
           Designated Foreign Terrorist Organization                      Two, to be served concurrently. Defendant
           and Attempt and Conspiracy to do the                           shall be placed on Supervised Release for a
           Same                                                           term of 10 years on Counts One and Two,
           (2ss)                                                          to be served concurrently. Assessment
                                                                          $200.

           Highest Offense Level (Opening)
           Felony

           Terminated Counts                                              Disposition
           PROVIDING MATERIAL SUPPORT OR
           RESOURCES TO TERRORISTS                                        Dismissed.
           (1-4)
           PROVIDING MATERIAL SUPPORT OR
           RESOURCES TO TERRORISTS                                        Dismissed.
           (1s-2s)
           18:2339A.F Conspiracy to Provide
           Material Support to Terrorism                                  Dismissed
           (5ss)




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                                            JUMAEV-ONLY DESIGNATION                                        10/9/2018, 12:50 PM
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           18:2339B.F-Material Support of a
           Designated Foreign Terrorist Organization
           and Attempt and Conspiracy to do the                           Dismissed
           Same
           (6ss)

           Highest Offense Level (Terminated)
           Felony

           Complaints                                                     Disposition
           18:2339B.F Providing Material Support or
           Resources to Terrorists



           Interested Party
           Department of Justice                          represented by Erin Martha Creegan
                                                                         (See above for address)
                                                                         TERMINATED: 11/03/2017
                                                                         Designation: Retained



           Interested Party
           Department of Justice



           Plaintiff
           USA                                            represented by Gregory Allen Holloway
                                                                         U.S. Attorney's Office-Denver
                                                                         1801 California Street
                                                                         Suite 1600
                                                                         Denver, CO 80202
                                                                         303-454-0100
                                                                         Fax: 454-0403
                                                                         Email: Gregory.Holloway@usdoj.gov
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: Federal Agency Attorney

                                                                          Beth N. Gibson
                                                                          U.S. Attorney's Office-Denver
                                                                          1801 California Street
                                                                          Suite 1600
                                                                          Denver, CO 80202



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                                            JUMAEV-ONLY DESIGNATION                                        10/9/2018, 12:50 PM
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                                                                          303-454-0100
                                                                          Fax: 303-454-0406
                                                                          Email: Beth.Gibson@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Federal Agency Attorney

                                                                          David Alan Tonini
                                                                          U.S. Attorney's Office-Denver
                                                                          1801 California Street
                                                                          Suite 1600
                                                                          Denver, CO 80202
                                                                          303-454-0100
                                                                          Fax: 303-454-0403
                                                                          Email: David.Tonini@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Federal Agency Attorney

                                                                          Erin Martha Creegan
                                                                          U.S. Department of Justice-DC-
                                                                          Counterterrorism
                                                                          National Security Division,
                                                                          Counterterrorism Section
                                                                          950 Pennsylvania Avenue, N.W.
                                                                          Washington, DC 20530
                                                                          202-514-0127
                                                                          Fax: 202-514-8714
                                                                          Email: erin.creegan@usdoj.gov
                                                                          TERMINATED: 11/03/2017
                                                                          Designation: Federal Agency Attorney

                                                                          Jason Michael Kellhofer
                                                                          U.S. Department of Justice-DC-
                                                                          Counterterrorism
                                                                          National Security Division,
                                                                          Counterterrorism Section
                                                                          950 Pennsylvania Avenue, N.W.
                                                                          Washington, DC 20530
                                                                          202-353-7371
                                                                          Fax: 202-353-0778
                                                                          Email: Jason.Kellhofer@usdoj.gov
                                                                          TERMINATED: 10/01/2012
                                                                          Designation: Federal Agency Attorney

                                                                          Julia K. Martinez
                                                                          U.S. Attorney's Office-Denver
                                                                          1801 California Street
                                                                          Suite 1600



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                                          JUMAEV-ONLY DESIGNATION                                          10/9/2018, 12:50 PM
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                                                                            Denver, CO 80202
                                                                            303-454-0100
                                                                            Email: julia.martinez@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Federal Agency Attorney

                                                                            Kiersten Jennifer Korczynski
                                                                            U.S. Department of Justice-DC-
                                                                            Counterterrorism
                                                                            National Security Division,
                                                                            Counterterrorism Section
                                                                            950 Pennsylvania Avenue, N.W.
                                                                            Washington, DC 20530
                                                                            202-353-9007
                                                                            Fax: 202-514-8714
                                                                            Email: kiersten.korczynski@usdoj.gov
                                                                            TERMINATED: 10/25/2017
                                                                            Designation: Federal Agency Attorney


           Date Filed     #      Docket Text
           01/19/2012         1 COMPLAINT as to Jamshid Muhtorov (1). (Attachments: # 1 Criminal Information
                                Sheet) (kltsl, ) (Attachment 1 replaced on 1/24/2012) (kltsl, ). Modified on 1/24/2012
                                to correct criminal information sheet(kltsl, ). [1:12-mj-01011-CBS] (Entered:
                                01/20/2012)
           01/19/2012         2 Arrest Warrant Issued in case as to Jamshid Muhtorov. (kltsl, ) [1:12-mj-01011-CBS]
                                (Entered: 01/20/2012)
           01/19/2012         3 MOTION for Leave to Restrict Case by USA as to Jamshid Muhtorov. (kltsl, ) [1:12-
                                mj-01011-CBS] (Entered: 01/20/2012)
           01/19/2012         4 ORDER granting 3 Motion for Leave to Restrict as to Jamshid Muhtorov (1) by
                                Magistrate Judge Craig B. Shaffer on 1/19/2012. (kltsl, ) [1:12-mj-01011-CBS]
                                (Entered: 01/20/2012)
           01/23/2012         5 INDICTMENT as to Jamshid Muhtorov (1) count(s) 1. (Attachments: # 1 Criminal
                                Information Sheet) (kltsl, ) (Entered: 01/24/2012)
           01/25/2012         6 ORDER OF RECUSAL in case as to Jamshid Muhtorov. Judge Philip A. Brimmer
                                recused. Case reassigned to Judge Christine M. Arguello for all further proceedings.
                                By Judge Philip A. Brimmer on 1/25/12. (mnfsl, ) (Entered: 01/25/2012)
           02/02/2012         7 MINUTE ENTRY for proceedings held before Magistrate Judge Kathleen M. Tafoya:
                                Initial Appearance as to Jamshid Muhtorov held on 2/2/2012. AUSA Gregory
                                Holloway. Defendant present in custody without counsel. Pretrial Katrina Devine.
                                Interpreter: Irina Kamensky. Defendant advised. Federal Public Defender appointed.
                                Arraignment, Discovery, and Detention hearing set for 2/7/2012 10:00 AM in
                                Courtroom C201 before Magistrate Judge Kathleen M. Tafoya. Defendant remanded.
                                Total time: 13 minutes. Hearing time: 2:58-3:11. Text Only Entry. (FTR: Courtroom


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          CaseDistrict Court:cod
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                               C-201) (kmtcd) (Entered: 02/02/2012)
           02/02/2012       8 ORDER as to Jamshid Muhtorov. Arraignment, Discovery, and Detention hearings set
                              for 2/7/2012 02:00 PM in Courtroom C201 before Magistrate Judge Kathleen M.
                              Tafoya. By Magistrate Judge Kathleen M. Tafoya on 2/2/2012. Text Only Entry.
                              (kmtcd) (Entered: 02/02/2012)
           02/02/2012       9 CJA 23 Financial Affidavit by Jamshid Muhtorov. (kmtcd) (Entered: 02/03/2012)
           02/06/2012      10 NOTICE OF ATTORNEY APPEARANCE: Brian Rowland Leedy appearing for
                              Jamshid Muhtorov (Leedy, Brian) (Entered: 02/06/2012)
           02/06/2012      21 Translation of Document re: 5 Indictment as to Jamshid Muhtorov. (jjpsl, ) (Entered:
                              02/15/2012)
           02/06/2012      22 Partial Translation of Document re: 1 Complaint, more specifically, Affidavit of D.
                              Hale, as to Jamshid Muhtorov. (jjpsl, ) (Entered: 02/15/2012)
           02/07/2012      11 NOTICE OF ATTORNEY APPEARANCE: Warren Richard Williamson appearing
                              for Jamshid Muhtorov (Williamson, Warren) (Entered: 02/07/2012)
           02/07/2012      12 NOTICE of Intent to Use Foreign Intelligence Surveillance Information by USA as to
                              Jamshid Muhtorov (Holloway, Gregory) (Entered: 02/07/2012)
           02/07/2012      13 MINUTE ENTRY for proceedings held before Magistrate Judge Kathleen M. Tafoya:
                              Arraignment, Discovery, and Detention Hearing as to Jamshid Muhtorov held on
                              2/7/2012. AUSA Gregory Holloway. Defendant present in custody with Brian Leedy
                              and Warren Williamson. Probation Christine Zorn. Interpreter Irina Kamensky. Plea
                              of NOT GUILTY entered on all counts by Jamshid Muhtorov. Discovery
                              memorandum executed. Government and defense counsel make arguments regarding
                              continuation of Detention Hearing. ORDERED: Defendant remanded. Detention
                              Hearing continued to 2/14/2012 09:00 AM in Courtroom A 501 before Magistrate
                              Judge Michael E. Hegarty. Total time: 17 minutes. Hearing time: 2:09-2:26. Text Only
                              Entry. (FTR: Courtroom C-201) (kmtcd) (Entered: 02/07/2012)
           02/07/2012      17 Discovery Conference Memorandum and ORDER: Estimated Trial Time - over 5
                              days as to Jamshid Muhtorov by Magistrate Judge Kathleen M. Tafoya on 2/7/2012.
                              (cbscd, ) (Entered: 02/09/2012)
           02/08/2012      14 MOTION to Suppress FISA Acquired Evidence for Purposes of Detention by Jamshid
                              Muhtorov. (Leedy, Brian) (Entered: 02/08/2012)
           02/08/2012      15 MEMORANDUM regarding 14 MOTION to Suppress FISA Acquired Evidence for
                              Purposes of Detention filed by Jamshid Muhtorov. Motion(s) referred to Magistrate
                              Judge Michael E. Hegarty. By Judge Christine M. Arguello on 2/8/2011. (jjpsl, )
                              (Entered: 02/08/2012)
           02/08/2012      16 MOTION for Order Requesting that Defendant be Placed in the FDC General
                              Population while in Pretrial Confinement by Jamshid Muhtorov. (Williamson,
                              Warren) (Entered: 02/08/2012)
           02/10/2012      18 RESPONSE to Motion by USA as to Jamshid Muhtorov re 14 MOTION to Suppress
                              FISA Acquired Evidence for Purposes of Detention (Attachments: # 1 Exhibit, # 2



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                                          JUMAEV-ONLY DESIGNATION                                          10/9/2018, 12:50 PM
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          CaseDistrict Court:cod
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                               Exhibit, # 3 Exhibit)(Holloway, Gregory) (Entered: 02/10/2012)
            02/13/2012     19 MOTION for Bond (Motion forRelease on Conditions) by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment A, # 2 Attachment B, # 3 Attachment C)(Leedy, Brian)
                              (Entered: 02/13/2012)
            02/14/2012     20 MEMORANDUM regarding 19 MOTION for Bond (Motion for Release on
                              Conditions) filed by Jamshid Muhtorov. Motion referred to Magistrate Judge Michael
                              E. Hegarty. By Judge Christine M. Arguello on 2/14/12. Text Only Entry (mnfsl, )
                              Modified on 2/14/2012 to correct judicial officer (mnfsl, ). (Entered: 02/14/2012)
            02/14/2012     23 MINUTE ENTRY for proceedings held before Magistrate Judge Michael E. Hegarty:
                              Detention Hearing as to Jamshid Muhtorov held on 2/14/2012. AUSA Gregory
                              Holloway. Defendant is present in custody with Brian Leedy and Warren Williamson.
                              Pretrial Services: Christine Zorn. Interpreter: Irina Kamensky. Interpreter is sworn.
                              Counsel present opening argument regarding detention. Government offers proffer
                              regarding detention. Defendant calls Agent Donald E. Hale. Agent Donald E. Hale is
                              sworn, examined, and questioned by the Court. Counsel present closing argument.
                              The Court takes the following motions under advisement: 14 Motion to Suppress, and
                              19 Motion for Bond. Defendant remanded. 9:21-11:18. Total Time: 1 hour, 57
                              minutes. (FTR: C. Coomes -- Courtroom A-501) (mehcd) (Entered: 02/15/2012)
            02/15/2012     24 ORDER OF DETENTION as to Jamshid Muhtorov. By Magistrate Judge Michael E.
                              Hegarty on 2/15/12. (jjpsl, ) (Entered: 02/15/2012)
            02/15/2012     45 MINUTE ORDER denying 19 Motion for Bond as to Jamshid Muhtorov (1) by
                              Magistrate Judge Michael E. Hegarty on 2/15/2012 pursuant to 24 . Text Only Entry
                              (skssl, ) (Entered: 03/09/2012)
            02/21/2012     25 MOTION to Strike Aliases from Indictment by Jamshid Muhtorov. (Williamson,
                              Warren) (Entered: 02/21/2012)
            02/21/2012     26 Rule 5(c)(3) Documents Received as to Jamshid Muhtorov. (jjpsl, ) (Entered:
                              02/21/2012)
            02/23/2012     27 MINUTE ORDER as to Jamshid Muhtorov re 16 MOTION for Order Requesting that
                              Defendant be Placed in the FDC General Population while in Pretrial Confinement
                              filed by Jamshid Muhtorov. Defendant's Motion was filed on 02/08/2012. To date no
                              response has been filed. The Government shall file a statement regarding its position
                              or otherwise respond in writing to Doc. #16 NO LATER THAN 5:00 PM on
                              02/24/2012. SO ORDERED BY Judge Christine M. Arguello on 02/23/12. Text Only
                              Entry (cmasec) (Entered: 02/23/2012)
            02/24/2012     28 RESPONSE to Motion by USA as to Jamshid Muhtorov re 16 MOTION for Order
                              Requesting that Defendant be Placed in the FDC General Population while in
                              Pretrial Confinement (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered:
                              02/24/2012)
            02/24/2012     29 TRANSCRIPT of Initial Appearance as to Jamshid Muhtorov held on 02/02/2012
                              before Magistrate Judge Tafoya. Pages: 1-11.
                              NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                              this filing, each party shall inform the Court, by filing a Notice of Intent to


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CM/ECF - U.S.
          CaseDistrict Court:cod
                  1:12-cr-00033-JLK                    https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?580254660785136-L_1_1-1
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                               Redact, of the party's intent to redact personal identifiers from the electronic
                               transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                               within the allotted time, this transcript will be made electronically available after
                               90 days. Please see the Notice of Electronic Availability of Transcripts document
                               at www.cod.uscourts.gov.
                               Transcript may only be viewed at the court public terminal or purchased through the
                               Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                               PACER. Release of Transcript Restriction set for 5/29/2012. (Avery Woods Reporting,
                               ) (Entered: 02/24/2012)
            03/01/2012     30 MINUTE ORDER as to Jamshid Muhtorov. Pretrial motions due by 03/13/2012.
                              Responses due by 03/20/2012. One-hour Final Trial Preparation Conference/Motion
                              Hearing on pending non-evidentiary motions set for 03/23/2012 at 3:30 PM in
                              Courtroom A602 before Judge Christine M. Arguello. If counsel believe an
                              evidentiary hearing on any motions is necessary, a separate hearing date should be
                              requested by motion. Two-week Jury Trial set for 04/09/2012 at 9:00 AM in
                              Courtroom A602 before Judge Christine M. Arguello. If Defendant files a Notice of
                              Disposition in good time, a change of plea hearing may be held at the time set for the
                              Final Trial Preparation Conference. FURTHER ORDERED, the Court will not
                              consider any motion related to the disclosure or production of discovery that is
                              addressed by the Discovery Order and/or Fed.R.Crim.P.16, unless Counsel for the
                              moving party, prior to filing the motion, has conferred or made reasonable, good-faith
                              efforts to confer with opposing counsel in an effort to attempt to resolve the disputed
                              matter, e.g., questions or disputes relating to the scope and/or timing of disclosure of
                              such discovery. If the parties are able to resolve the dispute, the Motion shall be
                              entitled "Unopposed Motion for _______," and the parties shall submit the proposed
                              order the parties wish the Court to enter. If the parties are unable to resolve the
                              dispute, the moving party shall state in the Motion the specific efforts that were taken
                              to comply with this Order to Confer. FURTHER ORDERED, parties are expected to
                              comply with this Court's "Criminal Practice Standards," Section V.A-G (see
                              www.cod.uscourts.gov, under "Judicial Officers' Procedures"). SO ORDERED BY
                              Judge Christine M. Arguello on 03/01/12. Text Only Entry (cmasec) (Entered:
                              03/01/2012)
            03/01/2012     31 MOTION to Revoke of Magistrate Judge's Detention Order and for Hearing De
                              Novo by Jamshid Muhtorov. (Attachments: # 1 Attachment, # 2 Attachment, # 3
                              Attachment)(Williamson, Warren) (Entered: 03/01/2012)
            03/01/2012     32 MINUTE ORDER as to Jamshid Muhtorov re 16 MOTION for Order Requesting that
                              Defendant be Placed in the FDC General Population while in Pretrial Confinement
                              filed by Jamshid Muhtorov. Based on the Government's 28 Response to Defendant's
                              motion, it appears that Defendant's 16 motion is now moot. Defendant is DIRECTED
                              to respond in writing to the Court NO LATER THAN 5:00 PM 03/05/2012 as to
                              whether the issues raised by Defendant in his Motion requesting placement in FDC
                              general population have been addressed. SO ORDERED BY Judge Christine M.
                              Arguello on 03/01/12. Text Only Entry (cmasec) (Entered: 03/01/2012)
            03/02/2012     33 MINUTE ORDER as to Jamshid Muhtorov re 31 MOTION to Revoke of Magistrate
                              Judge's Detention Order and for Hearing De Novo filed by Jamshid Muhtorov.



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                               ORDERED that the Government shall file a statement regarding its position or
                               otherwise respond in writing to Doc. #31 NO LATER THAN 5:00 PM on 03/08/2012.
                               SO ORDERED BY Judge Christine M. Arguello on 03/02/12. Text Only Entry
                               (cmasec) (Entered: 03/02/2012)
            03/05/2012     34 MOTION for Protective Order by USA as to Jamshid Muhtorov. (Attachments: # 1
                              Proposed Order (PDF Only))(Holloway, Gregory) (Entered: 03/05/2012)
            03/05/2012     35 MOTION to Declare Case Complex by USA as to Jamshid Muhtorov. (Holloway,
                              Gregory) (Entered: 03/05/2012)
            03/05/2012     36 MOTION for Hearing In Camera and Ex Parte by USA as to Jamshid Muhtorov.
                              (Holloway, Gregory) (Entered: 03/05/2012)
            03/05/2012     37 REPLY by Jamshid Muhtorov to 28 Response to Motion Requesting He be Placed iin
                              General Population while in Pretrial Confinement (Williamson, Warren) (Entered:
                              03/05/2012)
            03/07/2012     38 ORDER TRANSFERRING CASE in case as to Jamshid Muhtorov. Judge Christine
                              M. Arguello termed. Case reassigned to Judge John L. Kane for all further
                              proceedings. By Judge Christine M. Arguello on 3/7/2012. (jjpsl, ) Modified on
                              3/7/2012 to correct text (jjpsl, ). (Entered: 03/07/2012)
            03/07/2012     39 RESPONSE to Motion by USA as to Jamshid Muhtorov re 31 MOTION to Revoke of
                              Magistrate Judge's Detention Order and for Hearing De Novo (Attachments: # 1
                              Exhibit, # 2 Exhibit)(Holloway, Gregory) (Entered: 03/07/2012)
            03/07/2012     40 MOTION for Leave to Restrict Document by USA as to Jamshid Muhtorov.
                              (Holloway, Gregory) (Entered: 03/07/2012)
            03/07/2012     41 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov (Holloway,
                              Gregory) (Entered: 03/07/2012)
            03/07/2012     42 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov
                              (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                              Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit,
                              # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit)(Holloway,
                              Gregory) (Entered: 03/07/2012)
            03/08/2012     43 MINUTE ORDER Setting Hearing as to Jamshid Muhtorov by Judge John L. Kane
                              on 3/08/2012. Motions Hearing and Status Conference set for 3/15/2012 10:00 AM in
                              Courtroom A 802 before Judge John L. Kane. (sks, ) (Entered: 03/08/2012)
            03/08/2012     44 MINUTE ORDER Setting Hearing as to Jamshid Muhtorov by Judge John L. Kane
                              on 3/08/2012. Motion Hearing and Status Conference set for 3/15/2012 is VACATED
                              and RESET for 3/19/2012 10:00 AM in Courtroom A 802 before Judge John L. Kane.
                              (skssl, ) (Entered: 03/08/2012)
            03/09/2012     46 TRANSCRIPT of Detention Hearing as to Jamshid Muhtorov held on 02/14/2012
                              before Magistrate Judge Hegarty. Pages: 1-93.
                              NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                              this filing, each party shall inform the Court, by filing a Notice of Intent to
                              Redact, of the party's intent to redact personal identifiers from the electronic


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                               transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                               within the allotted time, this transcript will be made electronically available after
                               90 days. Please see the Notice of Electronic Availability of Transcripts document
                               at www.cod.uscourts.gov.
                               Transcript may only be viewed at the court public terminal or purchased through the
                               Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                               PACER. Release of Transcript Restriction set for 6/11/2012. (Avery Woods Reporting,
                               ) (Entered: 03/09/2012)
            03/13/2012     47 ORDER granting 34 Motion for Protective Order as to Jamshid Muhtorov (1) by
                              Judge John L. Kane on 3/13/2012. (skssl, ) (Entered: 03/13/2012)
            03/14/2012     48 RESPONSE to Motion by Jamshid Muhtorov re 36 MOTION for Hearing In Camera
                              and Ex Parte (Williamson, Warren) (Entered: 03/14/2012)
            03/14/2012     49 MOTION for Reconsideration re 47 Order on Motion for Protective Order by Jamshid
                              Muhtorov. (Williamson, Warren) (Entered: 03/14/2012)
            03/14/2012      1 COMPLAINT as to Bakhtiyor Jumaev (1). (kltsl, ) (Additional attachment(s) added
                              on 3/15/2012: # 1 Criminal Information Sheet) (kltsl, ). [1:12-mj-01039-KLM]
                              (Entered: 03/15/2012)
            03/14/2012      2 Arrest Warrant Issued in case as to Bakhtiyor Jumaev. (kltsl, ) [1:12-mj-01039-KLM]
                              (Entered: 03/15/2012)
            03/14/2012      3 MOTION for Leave to Restrict Case by USA as to Bakhtiyor Jumaev. (kltsl, ) [1:12-
                              mj-01039-KLM] (Entered: 03/15/2012)
            03/14/2012      4 ORDER granting 3 Motion for Leave to Restrict as to Bakhtiyor Jumaev (1) by
                              Magistrate Judge Kristen L. Mix on 3/14/2012. (kltsl, ) [1:12-mj-01039-KLM]
                              (Entered: 03/15/2012)
            03/19/2012     55 MINUTE ENTRY for proceedings held before Judge John L. Kane: Status
                              Conference/Motions Hearing held on 03/19/12 as to Jamshid Muhtorov (1).
                              ORDERED: Opening brief is due on or before April 9, 2012, Response is due on or
                              before April 19, 2012. Reply is due April 24, 2012 re: 49 . ORDERED: Hearing on 31
                              is set for April 11, 2012 at 10:00 a.m. ORDERED: 36 is GRANTED. The In
                              Camera/Ex Parte hearing is set on May 23, 2012 at 10:00 a.m. Ordered re: 35 is
                              Granted, A minimum of 90 days shall be excluded from the speedy trial calculation.
                              Ordered that the Government has until 06/20/12 to file its response to 14 . Ordered re:
                              25 is granted in part and denied in part, Any future filings should exclude the aliases
                              from the caption. Ordered Counsel shall follow the same briefing schedule as
                              established for 47 to 16 . Hearing concluded. Interpreters: Irina Kamensky and Yuliya
                              Fedasenka. (Court Reporter: Kara Spitler) (jjhsl, ) (Entered: 03/22/2012)
            03/20/2012     50 SUPERSEDING INDICTMENT as to Jamshid Muhtorov (1) count(s) 1s-4s,
                              Bakhtiyor Jumaev (2) count(s) 1-4. Modified as specified in doc #52. (Attachments: #
                              1 Criminal Information Sheet, # 2 Criminal Information Sheet) (jjhsl, ) Modified on
                              3/23/2012 (jjhsl, ). (Entered: 03/20/2012)
            03/20/2012     51 MINUTE ORDER as to Jamshid Muhtorov. Re-arraignment set for 3/27/2012 11:00
                              AM in Courtroom A 401 before Magistrate Judge Boyd N. Boland by Magistrate


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                               Judge Boyd N. Boland on 03/20/12. Text Only Entry (jjhsl, ) (Entered: 03/20/2012)
            03/20/2012     52 ORDER. The alias names for Defendant No. 1, JAMSHID MUHTOROV, set forth in
                              the caption of the Superseding Indictment filed this date, and the alias names for
                              Defendant No. 2, BAKHTIYOR UMAEV, are ordered STRICKEN as surplussage
                              and shall not be used again in the caption of any document or pleading by Judge John
                              L. Kane on 03/20/12. (jjhsl, ) Modified on 3/21/2012 to correct text (jjhsl, ). (Entered:
                              03/21/2012)
            03/21/2012     53 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Protective Order
                              entered in this case will remain operative pending my resolution of Defendant
                              Muhtorov's Motion for Reconsideration 49 by Judge John L. Kane on 03/21/12. (jjhsl,
                              ) (Entered: 03/21/2012)
            03/21/2012     54 ORDER granting 40 Motion for Leave to Restrict as to Jamshid Muhtorov (1). Access
                              to Docket 42 and the exhibits accompanying it shall be limited to the parties and the
                              court pursuant to D.C.COLO.LCrR 47.1 by Judge John L. Kane on 03/21/12. (jjhsl, )
                              (Entered: 03/21/2012)
            03/22/2012     59 SECOND SUPERSEDING INDICTMENT as to Jamshid Muhtorov (1) count(s)
                              1ss-4ss, Bakhtiyor Jumaev (2) count(s) 1s-2s. (Attachments: # 1 Criminal Information
                              Sheet, # 2 Criminal Information Sheet) (jjhsl, ) (Entered: 03/23/2012)
            03/23/2012     56 TRANSCRIPT of Arraignment/Discovery/Detention Hearing as to Jamshid Muhtorov
                              held on 02/07/2012 before Magistrate Judge Tafoya. Pages: 1-15.
                              NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                              this filing, each party shall inform the Court, by filing a Notice of Intent to
                              Redact, of the party's intent to redact personal identifiers from the electronic
                              transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                              within the allotted time, this transcript will be made electronically available after
                              90 days. Please see the Notice of Electronic Availability of Transcripts document
                              at www.cod.uscourts.gov.
                              Transcript may only be viewed at the court public terminal or purchased through the
                              Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                              PACER. Release of Transcript Restriction set for 6/25/2012. (Avery Woods
                              Reporting, ) (Entered: 03/23/2012)
            03/23/2012     57 Translation of Document re: 50 Indictment as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev. Modified as specified in doc #58. (jjhsl, ) Modified on 3/23/2012 (jjhsl, ).
                              (Entered: 03/23/2012)
            03/23/2012     58 ORDER. The alias names for Defendant No. 1, JAMSHID MUHTOROV, set forth in
                              the caption of the Superseding Indictment filed this date, and the alias names for
                              Defendant No. 2, BAKHTIYOR UMAEV, are ordered STRICKEN as surplussage
                              and shall not be used again in the caption of any document or pleading re: 57 by
                              Judge John L. Kane on 03/23/12. (jjhsl, ) Modified on 3/23/2012 to correct text (jjhsl,
                              ). (Entered: 03/23/2012)
            03/23/2012     60 MINUTE ORDER as to Jamshid Muhtorov re 59 SECOND SUPERSEDING
                              Indictment set for Re-arraignment on 03/27/12 at 11:00am with Magistrate Judge
                              Boland. Text Only Entry (jjhsl, ) (Entered: 03/23/2012)



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            03/26/2012     61 Translation of Document re: 59 Indictment as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (jjhsl, ) (Entered: 03/26/2012)
            03/27/2012     62 MINUTE ENTRY for proceedings held before Magistrate Judge Boyd N. Boland:
                              Arraignment Hearing as to Jamshid Muhtorov, as to Second Superseding Indictment.
                              AUSA: Gregory A. Holloway. Defendant present in custody with Brian R. Leedy.
                              Pretrial: Darren Streich. Interpreter: Irina Kamensky. NOT GUILTY Plea entered on
                              all counts by defendant. ORDERED: Defendant detained without bond. Defendant
                              remanded. Total time: 3 minutes. Hearing time: 11:00 - 11:03 Text Only Entry. (Court
                              Reporter: FTR - Ellen E. Miller) (mjwcd) (Entered: 03/27/2012)
            03/29/2012     63 Rule 5(c)(3) Documents Received as to Bakhtiyor Jumaev (jjhsl, ) (Entered:
                              03/29/2012)
            03/29/2012     64 CJA 23 Financial Affidavit by Bakhtiyor Jumaev. (jjhsl, ) (Entered: 03/29/2012)
            04/02/2012     65 MINUTE ENTRY for proceedings held before Magistrate Judge Kristen L. Mix:
                              Initial Appearance as to Bakhtiyor Jumaev held on 4/2/2012; AUSA Gregory
                              Halloway. Defendant present in custody without counsel. Pretrial Christine Zorn.
                              Interpreter: Yuliya Fedasenka-Cloud. Defendant advised. CJA appointed.
                              Arraignment, Discovery and Detention set for 4/5/2012 10:00 AM in Courtroom A
                              401 before Magistrate Judge Boyd N. Boland. Defendant remanded. Total time: 5
                              minutes. Hearing time: 2:13-2:18. TEXT ONLY ENTRY. (Court Reporter: FTR -
                              Monique Wiles) (klmcd, ) (Entered: 04/02/2012)
            04/02/2012     66 CJA 23 Financial Affidavit by Bakhtiyor Jumaev. (klmcd, ) (Entered: 04/02/2012)
            04/03/2012     67 CJA 20/30 Appointment of David Barry Savitz for Bakhtiyor Jumaev by Magistrate
                              Judge Boyd N. Boland on 04/03/2012. (pponi, ) (Entered: 04/03/2012)
            04/04/2012     68 NOTICE of Intent to Use Foreign Intelligence Surveillance Information by USA as to
                              Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 04/04/2012)
            04/04/2012     69 REPLY TO RESPONSE to Motion by Jamshid Muhtorov re 31 MOTION to Revoke
                              of Magistrate Judge's Detention Order and for Hearing De Novo (Attachments: # 1
                              Attachment, # 2 Attachment, # 3 Attachment, # 4 Attachment, # 5 Attachment, # 6
                              Attachment, # 7 Attachment)(Williamson, Warren) (Entered: 04/04/2012)
            04/05/2012     70 MINUTE ENTRY for proceedings held before Magistrate Judge Boyd N. Boland:
                              Arraignment, Discovery and Detention hearing held on 4/5/2012 for Bakhiyor
                              Jumaev. Interpreter: Alla Seletskaya. Present were AUSA Greg Holloway; CJA
                              counsel David Savitz; Probation Officer Christine Zorn. Joint oral motion to continue
                              procedings. ORDERED: Motion granted. Hearing continued to 4/12/2012 02:00 PM
                              in Courtroom A 401 before Magistrate Judge Boyd N. Boland. Hearing time 10:09 to
                              10:13. Total time 4 minutes. Text Entry Only. (FTR: BNB Criminal AM) (kltsl, )
                              Modified on 4/6/2012 to add defendants name (kltsl, ). (Entered: 04/05/2012)
            04/05/2012     71 CJA Request for Interim Payment as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                              04/05/2012)
            04/05/2012     72 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Savitz, David) (Entered: 04/05/2012)



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            04/05/2012     73 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Savitz, David) (Entered: 04/05/2012)
            04/05/2012     74 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Savitz, David) (Entered: 04/05/2012)
            04/09/2012     75 Supplemental MOTION 16 for Order Requesting He be Placed in General Population
                              While in Pretrial Confinement by Jamshid Muhtorov. (Williamson, Warren) Modified
                              on 4/11/2012 to add linkage to doc #16 (jjhsl, ). (Entered: 04/09/2012)
            04/09/2012     76 BRIEF by Jamshid Muhtorov re: 49 MOTION for Reconsideration re 47 Order on
                              Motion for Protective Order filed by Jamshid Muhtorov (Leedy, Brian) (Entered:
                              04/09/2012)
            04/09/2012     91 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
            04/09/2012     92 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
            04/09/2012     93 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
            04/09/2012     94 CJA Order for Interim Payment as to Bakhtiyor Jumaev by Judge John L. Kane on
                              4/9/2012. (smatl, ) (Entered: 04/18/2012)
            04/10/2012     77 STATEMENT -- Defendant's Proffer Re Interview of Nargiza Muhtorova by
                              Defendant Jamshid Muhtorov (Williamson, Warren) (Entered: 04/10/2012)
            04/11/2012     78 MOTION for Leave to Restrict Document by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 04/11/2012)
            04/11/2012     79 REPLY by Jamshid Muhtorov, Bakhtiyor Jumaev to 77 Statement (Holloway,
                              Gregory) (Entered: 04/11/2012)
            04/11/2012     80 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) (Entered: 04/11/2012)
            04/11/2012     81 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 04/11/2012)
            04/11/2012     82 MOTION for Protective Order to Add Defendant Jumaev to the Protective Order by
                              USA as to Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 04/11/2012)
            04/11/2012     83 MOTION to Declare Case Complex by USA as to Bakhtiyor Jumaev. (Holloway,
                              Gregory) (Entered: 04/11/2012)
            04/11/2012     84 MOTION for Hearing Pretrial Conference Pursuant to the Classified Information
                              Procedures Act and Supporting Memorandum of Law by USA as to Bakhtiyor
                              Jumaev. (Holloway, Gregory) (Entered: 04/11/2012)
            04/11/2012     86 MINUTE ENTRY for proceedings held before Judge John L. Kane: Motion Hearing
                              as to Jamshid Muhtorov held on 4/11/2012. Interpreter: Alla Seletskaya. ORDERED
                              Government's Motion To Restrict Document No. 80 78 is GRANTED. ORDERED:
                              Motion For Revocation Of Magistrate Judge's Detention Order And For Hearing De


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                               Novo 31 is DENIED. ORDERED Defendant's Motion 16 and Supplemental Motion
                               75 Requesting He Be Placed In The FDC General Population While In Pretrial
                               Confinement are DENIED as MOOT. (Court Reporter: Tamara Hoffschildt) (jjhsl, )
                               (Entered: 04/12/2012)
            04/12/2012     85 ORDER as to Bakhtiyor Jumaev (2). Order Applying Rules/Deadlines to Co-
                              Defendant Jumaev. The Motion 87 to Add Mr. Jumaev to the currently operative
                              Protective Order 47 is GRANTED. The Motion 83 to add Mr. Jumaev to the Motion
                              Declaration of Complexity Pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) filed for co-
                              defendant Jamshid Muhtorov 35 and granted at the March 19, 2012 status conference,
                              is also GRANTED. A minimum of 90 days shall be excluded from Mr. Jumaev's
                              speedy trial calculation as a result of the FISA-related complexities identified in Doc.
                              35, and reiterated in Doc. 83. The Motion 84 to add Mr. Jumaev to the May 23, 2012,
                              CIPA § 2 pretrial conference already set with regard to Mr. Muhtorov, is also
                              GRANTED by Judge John L. Kane on 04/12/12. (jjhsl, ) (Entered: 04/12/2012)
            04/12/2012     87 MINUTE ENTRY for proceedings held before Magistrate Judge Boyd N. Boland:
                              Arraignment, Discovery, and Detention hearing as to Bakhtiyor Jumaev held on
                              4/12/2012. AUSA Greg Holloway; Defendant present in custody with David Savitz;
                              Pretrial Matt Farwell; Interpreter: Alla Selefskaya. Plea NOT GUILTY entered on all
                              counts by Bakhtiyor Jumaev. Discovery memorandum executed. ORDERED:
                              Defendant detained. Counsel to chambers. Defendant remanded. Total time: 5
                              minutes. Hearing time: 2:03-2:08. Text Only Entry. (FTR: Robin Mason) (cbscd, )
                              Modified on 4/13/2012 to correct the judge (romsl, ). (Entered: 04/12/2012)
            04/12/2012     88 ORDER OF DETENTION as to Bakhtiyor Jumaev by Magistrate Judge Boyd N.
                              Boland on 4/12/2012. (cbscd, ) Modified on 4/13/2012 to correct Magistrate Judge
                              (jjhsl, ). (Entered: 04/12/2012)
            04/12/2012     89 Discovery Conference Memorandum and ORDER: Estimated Trial Time - over 5
                              days as to Bakhtiyor Jumaev by Magistrate Judge Boyd N. Boland on 4/12/2012.
                              (cbscd, ) (Entered: 04/13/2012)
            04/13/2012     90 RESPONSE to Motion by USA as to Jamshid Muhtorov re 25 MOTION to Strike
                              Aliases from Indictment (Holloway, Gregory) (Entered: 04/13/2012)
            04/19/2012     95 MOTION for Extension of Time to File Response/Reply to and Including April 26,
                              2012 Within Which to File a Response, if necessary, to Defendant Muhtorov's Motion
                              for Reconsideration (doc. 49) by Bakhtiyor Jumaev. (Attachments: # 1 Proposed
                              Order (PDF Only))(Savitz, David) (Entered: 04/19/2012)
            04/19/2012     96 ORDER granting 95 Motion for Extension of Time to File Response to the Motion for
                              Reconsideration as to Bakhtiyor Jumaev (2). Defendant Jumaev's shall have to and
                              including April 26, 2012, to file a Response, if any, to the Motion For
                              Reconsideration. The government shall have to and including May 3, 2012, to file a
                              single responsive pleading to the Motion for Reconsideration 49 and to any Response
                              filed by Mr. Jumaev by Judge John L. Kane on 04/19/12. (jjhsl, ) (Entered:
                              04/19/2012)
            04/26/2012     97 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Savitz, David) (Entered: 04/26/2012)



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            04/26/2012     98 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Savitz, David) (Entered: 04/26/2012)
            04/26/2012     99 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Savitz, David) (Entered: 04/26/2012)
            04/26/2012   100 RESPONSE to Motion by Bakhtiyor Jumaev as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev re 49 MOTION for Reconsideration re 47 Order on Motion for Protective
                             Order (Savitz, David) (Entered: 04/26/2012)
            04/26/2012   101 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev (Savitz, David) (Entered: 04/26/2012)
            04/26/2012   102 MOTION for Leave to Restrict Document by Bakhtiyor Jumaev as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                             David) (Entered: 04/26/2012)
            04/26/2012   103 ORDER granting 102 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                             ORDERED Exhibits 1, 2, and 3 101 of Defendant Jumaev's Response 100 to
                             Defendant Muhtorov's Motion 49 to Reconsider this Courts Order Granting the
                             Governments Motion for a Protective Order by Judge John L. Kane on 04/26/12.
                             (jjhsl, ) Modified on 4/26/2012 to add linkage (jjhsl, ). Modified on 4/27/2012 to add
                             linkage (jjhsl, ). (Entered: 04/26/2012)
            05/02/2012   104 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                             05/02/2012)
            05/03/2012   105 NOTICE of Opposition to Government's Newest Proposed Protective Order by
                             Jamshid Muhtorov (Williamson, Warren) (Entered: 05/03/2012)
            05/03/2012   106 RESPONSE by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re: 101 Restricted
                             Document - Level 1 filed by Bakhtiyor Jumaev, 76 Brief filed by Jamshid Muhtorov,
                             100 Response to Motion filed by Bakhtiyor Jumaev, 49 MOTION for Reconsideration
                             re 47 Order on Motion for Protective Order filed by Jamshid Muhtorov (Attachments:
                             # 1 Proposed Order (PDF Only), # 2 Proposed Document)(Holloway, Gregory)
                             (Entered: 05/03/2012)
            05/07/2012   107 MOTION for Order For a Date Certain for Any Supplemental Briefing Regarding
                             Defendant Muhtorov's FISA Suppression Motion by USA as to Jamshid Muhtorov.
                             (Holloway, Gregory) (Entered: 05/07/2012)
            05/08/2012   108 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/08/2012)
            05/08/2012   109 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/08/2012)
            05/08/2012    110 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/08/2012)
            05/08/2012    111 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. This matter is set for a
                              Status Conference and Motions Hearing on May 14, 2012 at 1:30 p.m. in Courtroom



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                               A802. The court will address protective order and FISA issues at this hearing (doc. #s
                               49 and 107). The defendants' presence is not required before Judge John L. Kane by
                               Judge John L. Kane on 05/08/12. (jjhsl, ) (Entered: 05/08/2012)
            05/08/2012    112 NOTICE OF NONCOMPLIANCE WITH CM/ECF PROCEDURES: The court notes
                              that Jason Kellhofer has failed to register for electronic case filing (CM/ECF) in
                              violation of D.C.COLO.LCrR 49.4A. and III.3.2.A. of the Electronic Case Filing
                              Procedures for the District of Colorado (Criminal Cases). Counsel is advised that
                              continued failure to file electronically through CM/ECF may lead to sanctions by the
                              court. Counsel must register for CM/ECF within 10 days of the date of this docket
                              entry or further action may be taken by the court. Text Only Entry (mjfsl, ) (Entered:
                              05/08/2012)
            05/09/2012    113 CJA 20/30 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Attachments: # 1 CJA Attachment, # 2 CJA Attachment, # 3 CJA Attachment)
                              (Savitz, David) (Entered: 05/09/2012)
            05/10/2012    114 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                              05/10/2012)
            05/11/2012    115 Objections to Newly Proposed Protective Order and MOU 106 by Bakhtiyor Jumaev
                              as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Savitz, David) Modified on 5/14/2012 to
                              correct title of document (jjhsl, ). (Entered: 05/11/2012)
            05/11/2012   136 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/11/12. (smatl, ) (Entered: 06/21/2012)
            05/14/2012    118 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 5/14/2012 as to Jamshid Muhtorov (1),and Bakhtiyor Jumaev (2). Defendants not
                              present. Granting 107 Motion for Order as to Jamshid Muhtorov (1), to and including
                              7/30/2012. (Court Reporter: Gwen Daniel)(babia) (Entered: 05/16/2012)
            05/15/2012    116 STATEMENT -- Memorandum of Law on Procedures to be Followed at any CIPA 4
                              Proceedings [Doc. No. 55] and Defendant's Motions Regarding Such Proceeding(s)
                              by Defendant Jamshid Muhtorov (Leedy, Brian) (Entered: 05/15/2012)
            05/16/2012    117 ORDER re Doc. 116 as to Jamshid Muhtorov, Bakhtiyor Jumaev. The requests for
                              relief embedded in the "Memorandum of Law on Procedures to be Followed at an
                              CIPA 4 Proceedings" 116 filed on behalf of Mr. Muhtorov are Denied as Premature.
                              The May 23 hearing is not a CIPA § 4 hearing and was not converted into one by
                              operation of the March 19 Minute Entry 55 . However, that Minute Entry 55 is
                              AMENDED to clarify that the May 23 hearing is not in camera or ex parte. To the
                              extent specific matters arise during the course of the May 23 hearing that require in
                              camera or ex parte attention, they will be addressed accordingly at that time by Judge
                              John L. Kane on 05/16/12. (jjhsl, ) (Entered: 05/16/2012)
            05/17/2012    119 CJA 24 Transcript Request as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Savitz,
                              David) (Entered: 05/17/2012)
            05/17/2012   120 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)


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            05/17/2012   121 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
            05/17/2012   122 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
            05/17/2012   123 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
            05/23/2012   124 MINUTE ENTRY for proceedings held before Judge John L. Kane: Pretrial
                             Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 5/23/2012.
                             ORDERED: Oral Request by the Government to conduct a preliminary CIPA § 4 (ex
                             parte) hearing within the week of June 18, 2012 is GRANTED. Counsel shall contact
                             Chambers to schedule a time (Court Reporter: Tamara Hoffschildt) (jjhsl, ) (Entered:
                             05/23/2012)
            05/25/2012   125 MOTION to Suppress FISA Acquired Evidence (Supplement to Doc. 14) by Jamshid
                             Muhtorov. (Leedy, Brian) (Entered: 05/25/2012)
            05/29/2012   126 CJA 24 Transcript Request as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Savitz,
                             David) (Entered: 05/29/2012)
            05/29/2012   127 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/29/2012)
            06/04/2012   138 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/4/12. (smatl, ) (Entered: 06/22/2012)
            06/04/2012   139 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/4/12. (smatl, ) (Entered: 06/22/2012)
            06/05/2012   128 MOTION for Reconsideration re 116 Statement filed by Jamshid Muhtorov
                             ("Memorandum of Law on Procedures to be followed at any CIPA Section 4
                             Proceedings and Defendant's Motions Regarding Such Proceeding(s)" by Jamshid
                             Muhtorov. (Leedy, Brian) (Entered: 06/05/2012)
            06/05/2012   129 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                             06/05/2012)
            06/05/2012   130 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                             06/05/2012)
            06/07/2012   140 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/7/12. (smatl, ) (Entered: 06/22/2012)
            06/07/2012   141 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/7/12. (smatl, ) (Entered: 06/22/2012)
            06/07/2012   142 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/7/12. (smatl, ) (Entered: 06/22/2012)




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            06/07/2012   143 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/7/12. (smatl, ) (Entered: 06/22/2012)
            06/12/2012   131 RESPONSE by USA as to Jamshid Muhtorov re: 116 Statement filed by Jamshid
                             Muhtorov, 128 MOTION for Reconsideration re 116 Statement filed by Jamshid
                             Muhtorov ("Memorandum of Law on Procedures to be followed at any CIPA Section 4
                             Proceedings and Defendant's Motions Regarding Such Proceeding(s)" filed by
                             Jamshid Muhtorov (Holloway, Gregory) (Entered: 06/12/2012)
            06/13/2012   132 CJA 20/30 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                             06/13/2012)
            06/13/2012   133 TRANSCRIPT of Pretrial Conference as to Bakhtiyor Jumaev held on May 23, 2012
                             before Judge Kane. Pages: 21. <P> NOTICE - REDACTION OF TRANSCRIPTS:
                             Within seven calendar days of this filing, each party shall inform the Court, by
                             filing a Notice of Intent to Redact, of the party's intent to redact personal
                             identifiers from the electronic transcript of the court proceeding. If a Notice of
                             Intent to Redact is not filed within the allotted time, this transcript will be made
                             electronically available after 90 days. Please see the Notice of Electronic
                             Availability of Transcripts document at www.cod.uscourts.gov.</P> Transcript
                             may only be viewed at the court public terminal or purchased through the Court
                             Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER.
                             Release of Transcript Restriction set for 9/14/2012. (Hoffschildt, Tamara) (Entered:
                             06/13/2012)
            06/18/2012   134 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 06/18/2012)
            06/19/2012   146 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/19/12. (smatl, ) (Entered: 06/26/2012)
            06/19/2012   147 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/19/12. (smatl, ) (Entered: 06/26/2012)
            06/20/2012   135 ORDER granting in part and denying in part 128 Motion for Reconsideration as to
                             Jamshid Muhtorov (1). Ex Parte Hearing set for 6/21/2012 02:00 PM in Courtroom A
                             802 before Judge John L. Kane. Ex Parte Hearing set for 6/21/2012 03:00 PM in
                             Courtroom A 802 before Judge John L. Kane by Judge John L. Kane on 06/20/12.
                             (jjhsl, ) (Entered: 06/20/2012)
            06/21/2012   137 Courtroom Minutes for proceedings held before Judge John L. Kane held on
                             6/21/2012. (jjhsl, ) (Entered: 06/21/2012)
            06/22/2012   144 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                             on 5/14/2012 before Judge Kane. Pages: 1-25. <P> NOTICE - REDACTION OF
                             TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                             inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                             redact personal identifiers from the electronic transcript of the court proceeding.
                             If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                             will be made electronically available after 90 days. Please see the Notice of



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                               Electronic Availability of Transcripts document at www.cod.uscourts.gov.</P>
                               Transcript may only be viewed at the court public terminal or purchased through the
                               Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                               PACER. Release of Transcript Restriction set for 9/24/2012. (Daniel, Gwen) (Entered:
                               06/22/2012)
            06/26/2012   145 ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Pursuant to counsel's
                             representations and stipulations related in a joint conference call to chambers this
                             morning, the deadline for the government's FISA response is EXTENDED one month
                             from July 30, 2012 to August 31, 2012, and Mr. Jumaev shall have to July 26, 2012,
                             to file a SUPPLEMENTAL PLEADING or JOINDER related to Mr. Muhtorov's
                             FISA-related Motion to Suppress 125 by Judge John L. Kane on 06/26/12. Text Only
                             Entry (jjhsl, ) (Entered: 06/26/2012)
            06/26/2012   148 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 06/26/2012)
            06/27/2012   149 Amended TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev held on 5/14/2012 before Judge Kane. Pages: 1-25. <P> NOTICE -
                             REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                             each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                             party's intent to redact personal identifiers from the electronic transcript of the
                             court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                             time, this transcript will be made electronically available after 90 days. Please see
                             the Notice of Electronic Availability of Transcripts document at
                             www.cod.uscourts.gov.</P> Transcript may only be viewed at the court public
                             terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                             deadline for electronic posting on PACER. Release of Transcript Restriction set for
                             9/28/2012. (Daniel, Gwen) (Entered: 06/27/2012)
            06/27/2012   150 Amended TRANSCRIPT of Pretrial Conference as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev held on May 23, 2012 before Judge Kane. Pages: 1-21. <P> NOTICE -
                             REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                             each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                             party's intent to redact personal identifiers from the electronic transcript of the
                             court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                             time, this transcript will be made electronically available after 90 days. Please see
                             the Notice of Electronic Availability of Transcripts document at
                             www.cod.uscourts.gov.</P> Transcript may only be viewed at the court public
                             terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                             deadline for electronic posting on PACER. Release of Transcript Restriction set for
                             9/28/2012. (Hoffschildt, Tamara) (Entered: 06/27/2012)
            06/27/2012   154 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/27/2012. (smatl, ) (Entered: 07/24/2012)
            06/27/2012   155 CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/27/2012. (smatl, ) (Entered: 07/24/2012)




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            06/28/2012   151 MINUTE ENTRY for proceedings held before Judge John L. Kane: Ex Parte Hearing
                             as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 6/28/2012 re: 135 . Court
                             Reporter: Tamara Hoffschildt. (jjhsl, ) (Entered: 06/28/2012)
            06/29/2012   156 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/29/2012. (smatl, ) (Entered: 07/24/2012)
            07/02/2012   166 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/2/2012. (smatl, ) (Entered: 08/04/2012)
            07/05/2012   167 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/5/12. (dbrow, ) (Entered: 08/06/2012)
            07/12/2012   152 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Attachments: # 1
                             Proposed Order (PDF Only), # 2 Restricted Attachment)(Leedy, Brian) (Entered:
                             07/12/2012)
            07/12/2012   153 RESTRICTED DOCUMENT - Level 3. (lygsl, ) (Entered: 07/12/2012)
            07/17/2012   168 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/17/12. (dbrow, ) (Entered: 08/06/2012)
            07/30/2012   157 MOTION for Order Combined FISA-Related Motions: (1) To Adopt Defendant
                             Muhtorov's "Motion to Suppress FISA Acquired Evidence (Supplement to Doc. 14)"
                             (Doc. 125); (2) for Disclosure of FISA Materials; (3) for a Preliminary Challenge to
                             Suppress FISA Acquired Evidence; and (4) for Leave to File a Franks Motion After
                             Receipt of All the Government's Discovery by Bakhtiyor Jumaev as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev. (Savitz, David) (Entered: 07/30/2012)
            07/30/2012   158 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibits Q-W)(Savitz, David)
                             (Entered: 07/30/2012)
            07/30/2012   159 MOTION for Leave to Restrict Document by Bakhtiyor Jumaev as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                             David) (Entered: 07/30/2012)
            07/30/2012   160 MOTION for Leave to File Out of Time, Namely, on July 30, 2012, Defendant
                             Jumaev's Combined FISA-Related Motions: (1) to Adopt Defendant Muhtorov's
                             "Motion to Suppress FISA Acquired Evidence (Supplement to Doc. 14)" (Doc. 125;
                             (2) For Disclosure of FISA Materials; (3) for a Preliminary Challenge to Suppress
                             FISA Acquired Evidence; and (4) for Leave to File a Franks Motion After Receipt of
                             All the Government's Discovery (Doc. No. 157) by Bakhtiyor Jumaev as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                             David) (Entered: 07/30/2012)
            07/30/2012   161 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                             07/30/2012)
            07/30/2012   162 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered:
                             07/30/2012)


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            07/30/2012   163 ORDER. ORDERED that Defendant Jumaev's Motion for Leave to Restrict Exhibits
                             Attached to his Combined FISA-Related Motions 159 is GRANTED. Exhibits A-W
                             of Doc 157 are RESTRICTED from public view at Level 1, by Judge John L. Kane on
                             7/30/12. Text Only Entry (sgrim) (Entered: 07/31/2012)
            07/30/2012   164 ORDER. ORDERED that Defendant Jumaev's Motion 160 for Leave to File Doc. 157
                             Out of Time is GRANTED. The Combined FISA-Related Motions 157 is
                             ACCEPTED for filing, by Judge John L. Kane on 7/30/12. Text Only Entry (sgrim)
                             (Entered: 07/31/2012)
            08/01/2012   165 CJA 20/30 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 08/01/2012)
            08/02/2012   169 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/2/12. (dbrow, ) (Entered: 08/07/2012)
            08/02/2012   170 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/2/12. (dbrow, ) (Entered: 08/07/2012)
            08/09/2012   171 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) Modified on 8/9/2012 to correct filer (jjhsl, ). (Entered:
                             08/09/2012)
            08/09/2012   172 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) Modified on 8/9/2012 to correct filer (jjhsl, ). (Entered:
                             08/09/2012)
            08/16/2012   173 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/16/2012. (mjwcd) (Entered: 08/22/2012)
            08/29/2012   174 NOTICE of Change of Address/Contact Information as to Bakhtiyor Jumaev (2)
                             (Savitz, David) Modified on 8/29/2012 to add filer (jjhsl, ). (Entered: 08/29/2012)
            08/30/2012   175 MINUTE ORDER notifying counsel of ex parte telephone communication between
                             Court and counsel re delivery of CIPA Section 4 materials as to Jamshid Muhtorov
                             and Bakhtiyor Jumaev, by Judge John L. Kane on 8/30/12. Text Only Entry (sgrim)
                             (Entered: 08/30/2012)
            08/31/2012   176 MOTION for Leave to Restrict Document by USA as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 08/31/2012)
            08/31/2012   177 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 08/31/2012)
            08/31/2012   178 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 08/31/2012)
            09/04/2012   179 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/04/2012)
            09/04/2012   180 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/04/2012)




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            09/04/2012   181 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/04/2012)
            09/05/2012   182 RESPONSE in Opposition by Bakhtiyor Jumaev re 176 MOTION for Leave to
                             Restrict Document Defendant Bakhtiyor Jumaev's Objections to the Government's
                             Filing its Memorandum and Declaration, Document Nos. 178 and 178-1, and Its
                             Motion to Restrict and Brief, Document Nos. 176 and 177, as Restricted Level 1
                             Documents (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David) (Entered:
                             09/05/2012)
            09/05/2012   183 EXHIBITS to 182 In Support by Bakhtiyor Jumaev (Savitz, David) Modified on
                             9/10/2012 to create document link (sgrim). (Entered: 09/05/2012)
            09/05/2012   184 Joint MOTION for Discovery of their Statements and Translations Thereof by
                             Jamshid Muhtorov. (Williamson, Warren) (Entered: 09/05/2012)
            09/06/2012   185 MINUTE ORDER re 182 . Defendant Jumaev's Objection to the Government's
                             Motion 176 to Restrict its Memorandum and Declaration 178 and [178-1] and its
                             Motion to Restrict and Brief 176 and 177 at Restriction Level 1 is OVERRULED and
                             the Motion 176 is GRANTED. The Labyrinth of security statutes, rules and
                             regulations the court and the parties are forced to wander through do not need any fine
                             line distinctions at this point in the proceedings. There will come a time when we are
                             safely beyond the reach of the minotaur, but not now, by Judge John L. Kane on
                             9/6/12. Text Only Entry (sgrim) (Entered: 09/06/2012)
            09/10/2012   186 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/10/2012)
            09/10/2012   187 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/10/2012)
            09/10/2012   188 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/10/2012. (mjwcd) (Entered: 09/14/2012)
            09/10/2012   189 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/10/2012. (mjwcd) (Entered: 09/14/2012)
            09/11/2012   197 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 9/11/2012. (mjwcd) (Entered: 09/25/2012)
            09/19/2012   190 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/19/2012)
            09/19/2012   191 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/19/2012)
            09/19/2012   192 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/19/2012)
            09/20/2012   193 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/20/2012)
            09/21/2012   194 Superseding Protective Order as to Jamshid Muhtorov and Bakhtiyor Jumaev, by
                             Judge John L. Kane on 9/21/12. (Attachments: # 1 Attachment) (sgrim) (Entered:


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                               09/21/2012)
            09/24/2012   195 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 09/24/2012)
            09/24/2012   196 ORDER on Pending Motions Regarding FISA-Acquired Evidence. Defendant
                             Muhtorov's Motion to Suppress 14 and Supplement 125 , and the Combined FISA-
                             Related Motions of Defendant Jumaev 157 are DENIED, by Judge John L. Kane on
                             9/24/12. (lygsl, ) (Entered: 09/24/2012)
            09/25/2012   221 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 9/25/2012. (mjwcd) (Entered: 10/15/2012)
            09/26/2012   198 NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the United
                             States Pursuant to Classified Information Procedures Act by USA as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 09/26/2012)
            09/27/2012   199 MOTION to Continue Pursuant to Declaration of Complexity by USA as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 09/27/2012)
            09/28/2012   200 MOTION to Withdraw as Attorney of Record by Jason Kellhofer by USA as to
                             Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 09/28/2012)
            09/28/2012   201 MOTION to Disclose Grand Jury Material to Defendant by Bakhtiyor Jumaev.
                             (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David) (Entered: 09/28/2012)
            09/28/2012   202 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/28/2012)
            09/28/2012   203 MOTION to Disclose Grand Jury Material to Defendant by Jamshid Muhtorov.
                             (Williamson, Warren) (Entered: 09/28/2012)
            10/01/2012   204 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. MINUTE ORDER
                             setting STATUS CONFERENCE/CIPA Section 2 hearing. At some time before 4 p.m.
                             on Tuesday, October 2, 2012, counsel for the government and both defendants shall
                             call in jointly to chambers to set a time for a status conference/CIPA section 2
                             hearing. The conference/hearing will be open (not ex parte) and topics for discussion
                             shall be the status of discovery, including discovery of information designated as
                             classified, and plans for proceeding on pending motions, by Judge John L. Kane on
                             10/1/12. Text Only Entry (sgrim, ) (Entered: 10/01/2012)
            10/01/2012   205 ORDER Granting Motion 199 for Tolling of Speedy Trial as to Jamshid Muhtorov
                             (1), Bakhtiyor Jumaev (2). The government's Motion for (90-Day) Tolling of Speedy
                             Trial pursuant to a declaration of complexity 199 is GRANTED. An additional 90
                             days SHALL BE EXCLUDED from speedy trial calculations, by Judge John L. Kane
                             on 10/1/12. (sgrim) (Entered: 10/01/2012)
            10/01/2012   206 ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael Kellhofer
                             withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2), by Judge
                             John L. Kane on 10/1/12. (sgrim) (Entered: 10/01/2012)
            10/01/2012   207 ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael Kellhofer
                             withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2), by Judge



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                               John L. Kane on 10/1/12. (sgrim) Modified on 10/1/2012 duplicate entry. (sgrim).
                               (Entered: 10/01/2012)
            10/01/2012   208 ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael Kellhofer
                             withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2), by Judge
                             John L. Kane on 10/1/12. (sgrim) Modified on 10/1/2012 duplicate entry. (sgrim).
                             (Entered: 10/01/2012)
            10/01/2012   209 ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael Kellhofer
                             withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2), by Judge
                             John L. Kane on 10/1/12. (sgrim) Modified on 10/1/2012 duplicate entry. (sgrim).
                             (Entered: 10/01/2012)
            10/01/2012   224 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/1/2012. (mjwcd) (Entered: 10/24/2012)
            10/01/2012   225 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/1/2012. (mjwcd) (Entered: 10/24/2012)
            10/01/2012   226 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/1/2012. (mjwcd) (Entered: 10/24/2012)
            10/01/2012   227 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/1/2012. (mjwcd) (Entered: 10/24/2012)
            10/02/2012   210 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Status
                             Conference/CIPA section 2 hearing set for 10/11/2012 at 03:00 PM in Courtroom A
                             802, Alfred A. Arraj U.S. District Courthouse, before Judge John L. Kane, by Judge
                             John L. Kane on 10/2/12. Text Only Entry. (sgrim) (Entered: 10/02/2012)
            10/02/2012    211 MOTION for Order for Appointment of Otabek Hasanov as the Court's Qualified
                              Interpreter to Perform Translation Services by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Proposed Order (PDF Only))(Savitz, David) (Entered: 10/02/2012)
            10/02/2012   212 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/02/2012)
            10/02/2012   245 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/2/2012. (smatl, ) (Entered: 11/19/2012)
            10/02/2012   251 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/2/2012. (mjwcd) (Entered: 11/21/2012)
            10/03/2012   213 PROTECTIVE ORDER as to Jamshid Muhtorov and Bakhtiyor Jumaev re 198 Notice
                             to Defendants of in Camera, ex Parte under Seal Filing By the United States Pursuant
                             to the Classified Information Procedures Act, by Judge John L. Kane on 10/3/12.
                             (sgrim) (Entered: 10/03/2012)
            10/08/2012   214 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/08/2012)
            10/09/2012   215 NOTICE of Absence from Jurisdiction by Bakhtiyor Jumaev (Savitz, David) (Entered:
                             10/09/2012)




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            10/09/2012   216 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/09/2012)
            10/09/2012   217 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/09/2012)
            10/09/2012   218 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/09/2012)
            10/09/2012   219 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/09/2012)
            10/09/2012   220 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/09/2012)
            10/11/2012   223 MINUTE ENTRY for Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev
                             held on 10/11/2012 before Judge John L. Kane. ORDERED: If there is no plea
                             disposition filed, counsel shall have to and including November 19, 2012 to file
                             responses to the three pending motions 184 , 203 , and 201 . ORDERED: The
                             Government shall file its response to 211 , on or before October 31, 2012, otherwise
                             the motion will be ruled on as submitted. Court Reporter: Kara Spitler. Interpreter:
                             Alla Seletskaya. (sgrim) (Entered: 10/17/2012)
            10/15/2012   239 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/15/2012. (mjwcd) (Entered: 11/07/2012)
            10/16/2012   222 CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                             10/16/2012)
            10/16/2012   228 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/16/2012. (mjwcd) (Entered: 10/25/2012)
            10/16/2012   229 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/16/2012. (mjwcd) (Entered: 10/25/2012)
            10/24/2012   238 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/24/2012. (mjwcd) (Entered: 11/07/2012)
            10/24/2012   248 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/24/2012. (mjwcd) (Entered: 11/21/2012)
            10/24/2012   249 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/24/2012. (mjwcd) (Entered: 11/21/2012)
            10/24/2012   250 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/24/2012. (mjwcd) Modified on 11/21/2012 to correct judge.(sgrim) (Entered:
                             11/21/2012)
            10/24/2012   258 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/24/2012. (mjwcd) (Entered: 12/05/2012)
            10/24/2012   259 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/24/2012. (mjwcd) (Entered: 12/05/2012)




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            10/28/2012   230 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                             on 10-11-12 before Judge Kane. Pages: 1-23. <P> NOTICE - REDACTION OF
                             TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                             inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                             redact personal identifiers from the electronic transcript of the court proceeding.
                             If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                             will be made electronically available after 90 days. Please see the Notice of
                             Electronic Availability of Transcripts document at www.cod.uscourts.gov.</P>
                             Transcript may only be viewed at the court public terminal or purchased through the
                             Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                             PACER. Release of Transcript Restriction set for 1/31/2013. (Spitler, Kara) (Entered:
                             10/28/2012)
            10/30/2012   231 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 211 MOTION for Order
                             for Appointment of Otabek Hasanov as the Court's Qualified Interpreter to Perform
                             Translation Services (Holloway, Gregory) (Entered: 10/30/2012)
            10/30/2012   232 MINUTE ORDER Defendant Bakhtiyor Jumaev shall file a reply re 231 Response to
                             Motion filed by USA no later than 11/2/12, by Judge John L. Kane on 10/30/12. Text
                             Only Entry (jlksec) (Entered: 10/30/2012)
            11/01/2012   233 MOTION for Extension of Time to File Response/Reply as to 231 Response to
                             Motion by Bakhtiyor Jumaev. (Savitz, David) (Entered: 11/01/2012)
            11/01/2012   234 ORDER granting 233 Motion for Extension of Time to File Response/Reply as to
                             Bakhtiyor Jumaev (2). Defendant Jumaev's Request (Motion) for Extension of Time is
                             GRANTED. Mr. Jumaev may have to November 13, 2012, in which to file a Reply in
                             support of his Motion for Appointment of Otabek Hasanov as Court's Qualified
                             Interpreter to Perform Translation Services (Doc. 231), by Judge John L. Kane on
                             11/1/12. Text Only Entry (jlksec) (Entered: 11/01/2012)
            11/05/2012   235 MOTION for Extension of Time to File Response/Reply as to 184 Joint MOTION for
                             Discovery of their Statements and Translations Thereof, 203 MOTION to Disclose
                             Grand Jury Material to Defendant , 201 MOTION to Disclose Grand Jury Material to
                             Defendant by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory)
                             (Entered: 11/05/2012)
            11/05/2012   252 CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/5/2012. (mjwcd) (Entered: 11/21/2012)
            11/06/2012   236 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/06/2012)
            11/06/2012   237 MINUTE ORDER GRANTING Government's Motion 235 for Extension of Time in
                             Which to File Responses to Pending Defense Motions as to Jamshid Muhtorov (1),
                             Bakhtiyor Jumaev (2). The Government's response(s) to the pending defense Motions
                             184 , 201 , 203 are due on or before December 21, 2012, by Judge John L. Kane on
                             11/6/12. Text Only Entry. (sgrim) (Entered: 11/06/2012)
            11/13/2012   240 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 211 MOTION for Order
                             for Appointment of Otabek Hasanov as the Court's Qualified Interpreter to Perform



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                               Translation Services Reply to the Government's Response to Defendant's Motion for
                               Appointment of Otabek Hasanov as the Court's Qualified Interpreter to Perform
                               Translation Services (Doc. No. 231) (Savitz, David) (Entered: 11/13/2012)
            11/13/2012   241 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Savitz, David)
                             (Entered: 11/13/2012)
            11/13/2012   242 MOTION for Order to Seal Exhibits 241 (Motion for Leave to Restrict) by Bakhtiyor
                             Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David) Modified on
                             11/14/2012 to create document link. (sgrim). Modified on 11/16/2012 to reflect this as
                             motion for leave to restrict (mjgsl, ). (Entered: 11/13/2012)
            11/15/2012   243 VACATED ORDER as to Bakhtiyor Jumaev (2). Defendant Bakhtiyor Jumaev's
                             Motion for Appointment of Otabek Hasanov as the Court's Qualified Interpreter to
                             Perform Translation Services 211 is GRANTED, by Judge John L. Kane on 11/15/12.
                             (sgrim) Modified on 8/6/2015 vacated pursuant to the minute order of 08/06/15
                             (jhawk, ). (Entered: 11/15/2012)
            11/16/2012   244 ORDER granting 242 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                             Defendant Jumaev's Motion (Doc. 242) to Seal Exhibits Attached to his Reply in
                             support of Motion for Appointment of Otabek Hasanov as the court's qualified
                             interpreter in this case is GRANTED. The exhibits include names and historical
                             information of individuals not charged with any wrongdoing in this case whose
                             privacy is entitled to be protected from disclosure to the public in a matter that
                             allegedly implicates national security interests. Exhibits C, D-1, D-2, D-3, and E, filed
                             as Doc. 241, are therefore RESTRICTED at Level 1. by Judge John L. Kane on
                             11/16/12. Text Only Entry (jlksec) (Entered: 11/16/2012)
            11/20/2012   246 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 11/20/2012)
            11/20/2012   247 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/20/2012)
            11/26/2012   253 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/26/2012)
            11/26/2012   254 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/26/2012)
            11/26/2012   255 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/26/2012)
            11/26/2012   256 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/26/2012)
            11/26/2012   257 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 11/26/2012)
            11/30/2012   261 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 11/30/2012. (smatl, ) (Entered: 12/14/2012)




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            12/03/2012   262 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/3/2012. (mjwcd) (Entered: 12/17/2012)
            12/13/2012   260 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/13/2012)
            12/17/2012   265 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/17/2012. (mjwcd) (Entered: 12/26/2012)
            12/20/2012   263 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 184
                             Joint MOTION for Discovery of their Statements and Translations Thereof
                             (Holloway, Gregory) (Entered: 12/20/2012)
            12/20/2012   264 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 203
                             MOTION to Disclose Grand Jury Material to Defendant , 201 MOTION to Disclose
                             Grand Jury Material to Defendant (Holloway, Gregory) (Entered: 12/20/2012)
            12/28/2012   275 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/28/2012. (mjwcd) (Entered: 02/01/2013)
            12/28/2012   276 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/28/2012. (mjwcd) (Entered: 02/01/2013)
            12/28/2012   277 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/28/2012. (mjwcd) (Entered: 02/01/2013)
            12/28/2012   278 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/28/2012. (mjwcd) (Entered: 02/01/2013)
            12/28/2012   279 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/28/2012. (mjwcd) (Entered: 02/01/2013)
            12/28/2012   290 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/28/2012. (mjwcd) (Entered: 03/07/2013)
            01/04/2013   266 REPLY TO RESPONSE to Motion by Jamshid Muhtorov re 184 Joint MOTION for
                             Discovery of their Statements and Translations Thereof (Williamson, Warren)
                             (Entered: 01/04/2013)
            01/09/2013   267 MINUTE ORDER re Doc 184 as to Jamshid Muhtorov (1) and Bakhtiyor Jumaev (2).
                             Defendants' Joint Motion for Discovery of their Statements and Translations Thereof
                             is DENIED without prejudice, by Judge John L. Kane on 1/9/13. (sgrim) (Entered:
                             01/09/2013)
            01/15/2013   268 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 01/15/2013)
            01/15/2013   269 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 01/15/2013)
            01/15/2013   270 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 01/15/2013)
            01/15/2013   271 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 01/15/2013)


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            01/15/2013   272 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 01/15/2013)
            01/16/2013   273 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 01/16/2013)
            01/23/2013   274 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/23/2013)
            02/13/2013   280 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/13/2013   281 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/13/2013   282 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/13/2013   283 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/13/2013   284 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/13/2013   285 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/13/2013   286 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/13/2013)
            02/15/2013   287 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 02/15/2013)
            02/22/2013   288 MOTION to Continue For Tolling of Speedy Trial Pursuan to 18 USC 3161(h)(7)(7)
                             (B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory)
                             (Entered: 02/22/2013)
            02/26/2013   289 ORDER granting 288 Government's Motion for Tolling of Speedy Trial as to Jamshid
                             Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED that an additional 120 days shall be
                             excluded from speedy trial calculations by Judge John L. Kane on 2/26/13. (sgrim)
                             (Entered: 02/26/2013)
            02/26/2013   301 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/26/13. (dbrow, ) (Entered: 03/12/2013)
            03/01/2013   315 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/1/2013. (smatl, ) (Entered: 04/09/2013)
            03/01/2013   316 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/1/2013. (smatl, ) (Entered: 04/09/2013)
            03/01/2013   317 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/1/2013. (smatl, ) (Entered: 04/09/2013)




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            03/01/2013   318 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/1/2013. (smatl, ) (Entered: 04/09/2013)
            03/01/2013   319 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/1/2013. (smatl, ) (Entered: 04/09/2013)
            03/04/2013   299 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/4/2013. (mjwcd) (Entered: 03/12/2013)
            03/06/2013   305 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/6/2013. (mjwcd) (Entered: 03/20/2013)
            03/11/2013   291 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   292 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   293 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   294 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   295 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   296 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   297 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   298 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/11/2013)
            03/11/2013   306 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/11/2013. (mjwcd) (Entered: 03/20/2013)
            03/11/2013   307 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/11/2013. (mjwcd) (Entered: 03/20/2013)
            03/12/2013   300 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                             03/12/2013)
            03/12/2013   302 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/12/2013)
            03/15/2013   303 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, #
                             2 Exhibit, # 3 CJA Attachment, # 4 CJA Attachment)(Savitz, David) (Entered:
                             03/15/2013)
            03/18/2013   304 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/18/2013)




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            03/18/2013   308 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 3/18/13. (dbrow, ) (Entered: 03/26/2013)
            03/18/2013   310 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/18/2013. (mjwcd) (Entered: 03/29/2013)
            03/18/2013    311 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              03/18/13. (dbrow, ) (Entered: 04/01/2013)
            03/18/2013   312 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             03/18/13. (dbrow, ) (Entered: 04/01/2013)
            03/18/2013   313 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             03/18/13. (dbrow, ) (Entered: 04/01/2013)
            03/19/2013   322 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 3/19/13. (dbrow, ) (Entered: 04/11/2013)
            03/20/2013   321 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 3/20/13. (dbrow, ) (Entered: 04/11/2013)
            03/20/2013   323 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 3/20/13. (dbrow, ) (Entered: 04/11/2013)
            03/28/2013   309 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/28/2013)
            03/29/2013   327 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/29/13. (dbrow, ) (Entered: 04/17/2013)
            04/03/2013   314 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/03/2013)
            04/04/2013   320 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/4/2013. (smatl, ) (Entered: 04/10/2013)
            04/11/2013   324 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 04/11/2013)
            04/11/2013   325 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/11/2013)
            04/15/2013   326 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/15/2013)
            04/15/2013   328 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/15/13. (dbrow, ) (Entered: 04/22/2013)
            04/15/2013   329 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/15/13. (dbrow, ) (Entered: 04/22/2013)
            04/16/2013   330 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/16/13. (dbrow, ) (Entered: 04/22/2013)
            04/23/2013   331 MOTION to Appoint CJA Counsel as Co-Counsel by Jamshid Muhtorov.
                             (Williamson, Warren) (Entered: 04/23/2013)


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            04/24/2013   332 ORDER granting 331 Motion to Appoint CJA Counsel as to Jamshid Muhtorov (1)
                             CJA counsel Kathryn J. Stimson shall be appointed as co-counsel for defendant
                             Muhtorov, by Judge John L. Kane on 04/24/13. Text Only Entry (jlksec) (Entered:
                             04/24/2013)
            04/24/2013   333 CJA 20/30 Appointment of Kathryn J. Stimson as co-counsel for Jamshid Muhtorov
                             by Judge John L. Kane on 4/24/2013. (smatl, ) (Entered: 04/24/2013)
            04/24/2013   334 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/24/2013)
            04/25/2013   335 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/25/2013)
            04/25/2013   338 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/25/13. (dbrow, ) (Entered: 04/30/2013)
            04/26/2013   336 NOTICE To Defendant of In Camera, Ex Parte Under Seal Filing By the United
                             States Pursuant to the Classified Information Procedures Act by USA as to Jamshid
                             Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 04/26/2013)
            04/29/2013   337 NOTICE OF ATTORNEY APPEARANCE: Kathryn J. Stimson appearing for
                             Jamshid Muhtorov (Stimson, Kathryn) (Entered: 04/29/2013)
            04/29/2013   340 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/29/2013. (smatl, ) (Entered: 05/01/2013)
            04/30/2013   339 PROTECTIVE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev by Judge John L.
                             Kane on 04/30/13. (jjhsl, ) (Entered: 04/30/2013)
            05/10/2013   341 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/10/2013)
            05/13/2013   342 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/13/2013)
            05/15/2013   343 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 05/15/2013)
            05/15/2013   344 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             05/15/13. (dbrow, ) (Entered: 05/21/2013)
            05/15/2013   345 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             05/15/13. (dbrow, ) (Entered: 05/21/2013)
            05/21/2013   346 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             05/21/13. (dbrow, ) (Entered: 05/22/2013)
            05/23/2013   347 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/23/2013)
            05/28/2013   348 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David) (Entered:
                             05/28/2013)



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            05/28/2013   350 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 05/28/13. (dbrow, ) (Entered: 05/30/2013)
            05/29/2013   349 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David) (Entered:
                             05/29/2013)
            05/30/2013   358 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 5/30/2013. (smatl, ) (Entered: 06/17/2013)
            06/05/2013   351 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David) (Entered:
                             06/05/2013)
            06/05/2013   352 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 06/05/2013)
            06/05/2013   353 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 06/05/2013)
            06/05/2013   354 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 06/05/2013)
            06/07/2013   361 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/7/2013. (smatl, ) (Entered: 06/18/2013)
            06/07/2013   367 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 6/7/2013. (smatl, ) (Entered: 07/03/2013)
            06/10/2013   359 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/10/2013. (smatl, ) (Entered: 06/17/2013)
            06/10/2013   362 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/10/2013. (smatl, ) (Entered: 06/18/2013)
            06/13/2013   355 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 06/13/2013)
            06/14/2013   356 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 06/14/2013)
            06/14/2013   357 MOTION for Tolling of Speedy Trial by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev. (Holloway, Gregory) Modified on 6/14/2013 correct title of document (jjhsl,
                             ). (Entered: 06/14/2013)
            06/17/2013   360 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment Invoice, # 2 CJA Attachment Signed
                             Copy)(Stimson, Kathryn) (Entered: 06/17/2013)
            06/17/2013   368 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 6/17/2013. (smatl, ) (Entered: 07/03/2013)
            06/18/2013   363 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Stimson, Kathryn) (Entered:
                             06/18/2013)


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            06/19/2013   364 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered: 06/19/2013)
            06/20/2013   371 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/20/2013. (smatl, ) (Entered: 07/03/2013)
            06/21/2013   370 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/21/2013. (smatl, ) (Entered: 07/03/2013)
            06/21/2013   372 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/21/2013. (smatl, ) (Entered: 07/08/2013)
            06/27/2013   365 ORDER granting 357 Motion for Tolling of Speedy Trial as to Jamshid Muhtorov (1),
                             Bakhtiyor Jumaev (2). ORDERED that an additional 120 days shall be excluded from
                             speedy trial calculations by Judge John L. Kane on 06/27/13. (jjhsl, ) (Entered:
                             06/27/2013)
            07/01/2013   366 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Stimson, Kathryn) (Entered:
                             07/01/2013)
            07/03/2013   369 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 07/03/2013)
            07/10/2013   373 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/10/2013)
            07/10/2013   374 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/10/2013)
            07/10/2013   377 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             7/10/2013. (smatl, ) (Entered: 07/18/2013)
            07/10/2013   378 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/10/2013. (smatl, ) (Entered: 07/18/2013)
            07/15/2013   375 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/15/2013)
            07/18/2013   376 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/18/2013)
            07/22/2013   379 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 07/22/2013)
            07/22/2013   383 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/22/2013. (smatl, ) (Entered: 08/01/2013)
            07/22/2013   384 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/22/2013. (smatl, ) (Entered: 08/01/2013)
            07/29/2013   380 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                             Exhibit, # 2 Exhibit)(Savitz, David) (Entered: 07/29/2013)




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            07/30/2013   381 CJA 20/30 Appointment of Daniel Joseph Sears as co-counsel for Bakhtiyor Jumaev
                             by Judge John L. Kane on 7/30/2013. (smatl, ) (Entered: 07/30/2013)
            07/31/2013   382 NOTICE OF ATTORNEY APPEARANCE: Daniel Joseph Sears appearing for
                             Bakhtiyor Jumaev (Sears, Daniel) (Entered: 07/31/2013)
            07/31/2013   394 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/31/13. (dbrow, ) (Entered: 08/15/2013)
            07/31/2013   395 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/31/13. (dbrow, ) (Entered: 08/15/2013)
            08/01/2013   385 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/01/2013)
            08/04/2013   386 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 08/04/2013)
            08/04/2013   387 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 08/04/2013)
            08/05/2013   388 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 08/05/2013)
            08/05/2013   393 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             8/5/13. (dbrow, ) (Entered: 08/15/2013)
            08/07/2013   389 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/07/2013)
            08/07/2013   390 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 08/07/2013)
            08/08/2013   391 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 08/08/2013)
            08/08/2013   402 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 8/8/2013. (smatl, ) (Entered: 08/23/2013)
            08/09/2013   399 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             8/9/2013. (smatl, ) (Entered: 08/20/2013)
            08/09/2013   403 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/9/13. (dbrow, ) (Entered: 08/23/2013)
            08/09/2013   404 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             8/9/13. (dbrow, ) (Entered: 08/23/2013)
            08/09/2013   405 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/9/13. (dbrow, ) (Entered: 08/23/2013)
            08/15/2013   392 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/15/2013)
            08/15/2013   396 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 08/15/2013)


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            08/15/2013   397 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/15/2013)
            08/15/2013   398 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/15/2013)
            08/21/2013   400 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 08/21/2013)
            08/21/2013   401 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 08/21/2013)
            08/21/2013   409 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             08/21/13. (dbrow, ) (Entered: 08/27/2013)
            08/22/2013   414 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 8/22/2013. (smatl, ) (Entered: 09/06/2013)
            08/26/2013   406 CJA MOTION by Jamshid Muhtorov. (Attachments: # 1 CJA Attachment)(Stimson,
                             Kathryn) (Entered: 08/26/2013)
            08/26/2013   407 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Savitz, David)
                             Modified on 8/27/2013 to indicate document filed in error - attorney will refile using
                             correct event) (dbrow, ). (Entered: 08/26/2013)
            08/26/2013   415 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 8/26/2013. (smatl, ) (Entered: 09/06/2013)
            08/26/2013   422 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/26/13. (dbrow, ) (Entered: 09/17/2013)
            08/26/2013   423 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/26/13. (dbrow, ) (Entered: 09/17/2013)
            08/26/2013   424 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/26/13. (dbrow, ) (Entered: 09/17/2013)
            08/26/2013   425 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/26/13. (dbrow, ) (Entered: 09/17/2013)
            08/27/2013   408 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 08/27/2013)
            08/27/2013   410 CJA Travel Request (Non-Defendant) as to Bakhtiyor Jumaev. (Savitz, David)
                             (Entered: 08/27/2013)
            08/30/2013    411 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                              08/30/2013)
            09/03/2013   412 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 09/03/2013)
            09/05/2013   413 CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/5/2013. (smatl, ) (Entered: 09/06/2013)




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            09/05/2013   421 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 9/5/2013. (smatl, ) (Entered: 09/17/2013)
            09/06/2013   416 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/06/2013)
            09/09/2013   417 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 09/09/2013)
            09/10/2013   431 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/10/2013. (smatl, ) (Entered: 09/27/2013)
            09/11/2013   432 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/11/2013. (smatl, ) (Entered: 09/27/2013)
            09/12/2013   418 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/12/2013)
            09/12/2013   433 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/12/2013. (smatl, ) (Entered: 09/27/2013)
            09/16/2013   419 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 09/16/2013)
            09/16/2013   420 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Stimson, Kathryn)
                             (Entered: 09/16/2013)
            09/16/2013   441 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/16/2013. (smatl, ) (Entered: 10/09/2013)
            09/17/2013   437 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 9/17/2013. (smatl, ) (Entered: 10/02/2013)
            09/17/2013   442 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/17/2013. (smatl, ) (Entered: 10/09/2013)
            09/19/2013   426 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 09/19/2013)
            09/19/2013   427 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 09/19/2013)
            09/20/2013   428 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/20/2013)
            09/23/2013   443 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/23/2013. (smatl, ) (Entered: 10/09/2013)
            09/23/2013   446 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/23/2013. (smatl, ) (Entered: 10/09/2013)
            09/24/2013   444 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/24/2013. (smatl, ) (Entered: 10/09/2013)
            09/25/2013   429 CJA Travel Request (Non-Defendant) as to Jamshid Muhtorov. (Stimson, Kathryn)
                             (Entered: 09/25/2013)


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            09/26/2013   430 CJA Travel Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/26/2013. (smatl, ) (Entered: 09/27/2013)
            10/01/2013   434 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             10/01/2013)
            10/02/2013   435 MOTION to Continue For Tolling of Speedy Trial Pursuant to 18 USC 3161(h)
                             (7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory)
                             (Entered: 10/02/2013)
            10/02/2013   436 ORDER granting 435 Motion to Continue -tolling of speedy trial, as to Jamshid
                             Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED that an additional 120 days SHALL
                             BE EXCLUDED from speedy trial calculations pursuant to 18 U.S.C. § 3161(h)
                             (7)(B)(ii). by Judge John L. Kane on 10/2/2013. (trlee, ) (Entered: 10/02/2013)
            10/03/2013   438 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             10/03/2013)
            10/04/2013   439 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David) (Entered:
                             10/04/2013)
            10/04/2013   440 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/04/2013)
            10/08/2013   450 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/8/13. (dbrow, ) (Entered: 10/15/2013)
            10/09/2013   445 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David) (Entered:
                             10/09/2013)
            10/09/2013   451 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/9/13. (dbrow, ) (Entered: 10/15/2013)
            10/09/2013   473 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/9/2013. (smatl, ) (Entered: 12/02/2013)
            10/10/2013   447 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/10/2013)
            10/14/2013   448 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 10/14/2013)
            10/15/2013   449 RESTRICTED DOCUMENT - Level 3. (jjhsl, ) (Entered: 10/15/2013)
            10/16/2013   455 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 10/16/2013. (smatl, ) (Entered: 10/25/2013)
            10/22/2013   452 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/22/2013)
            10/23/2013   453 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 10/23/2013)



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            10/23/2013   454 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 10/23/2013)
            10/23/2013   459 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/23/2013. (smatl, ) (Entered: 10/29/2013)
            10/25/2013   456 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/25/2013)
            10/25/2013   457 NOTICE of Intent to Use Forgeign Intelligence Surveillance Act Information by USA
                             as to Jamshid Muhtorov (Holloway, Gregory) (Entered: 10/25/2013)
            10/25/2013   460 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 10/25/2013. (smatl, ) (Entered: 11/01/2013)
            10/25/2013   466 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/25/2013. (smatl, ) (Entered: 11/18/2013)
            10/28/2013   458 MOTION for Order for Notice of Whether the Government Intends to Use Evidence
                             Obtained Under or Derived from Surveillance Authorized by the FISA Amendment
                             Act of 2008 ("FAA") by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit Exhibits A-D, #
                             2 Exhibit Exhibit E-1, # 3 Exhibit Exhibit E-2, # 4 Exhibit Exhibit F, # 5 Exhibit
                             Exhibit G, # 6 Exhibit Exhibit H)(Savitz, David) (Entered: 10/28/2013)
            10/30/2013   467 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/30/2013. (smatl, ) (Entered: 11/18/2013)
            11/01/2013   461 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             11/01/2013)
            11/01/2013   462 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             11/01/2013)
            11/05/2013   468 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             11/5/2013. (smatl, ) (Entered: 11/18/2013)
            11/05/2013   469 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             11/5/2013. (smatl, ) (Entered: 11/18/2013)
            11/07/2013   463 MINUTE ORDER. In light of the FAA matters that have arisen in this case (Docs.
                             457 & 458) and potential motions practice related to Mr. Hasanov's appointment as
                             Court's Qualified Interpreter (Doc. 243), this case is set for a STATUS
                             CONFERENCE. For ease of scheduling, the Conference is unilaterally set for 10:00
                             a.m. on Friday, November 15, 2013. If that date is unworkable for one or more
                             counsel, the parties are asked to call in jointly to set one that is mutually agreeable. In
                             anticipation of the conference, counsel are directed to CONFER regarding a list of
                             agenda items they wish to be discussed at the conference and any filing and briefing
                             timelines to which they may be able to agree regarding FAA-related motions,
                             including a deadline for the government's response to Mr. Jumaev's Motion for Notice
                             of Intent to use FAA-related evidence. (Doc. 458.) Counsel for Mr. Muhtorov shall
                             cause the resulting Joint Status Report to be filed by 9:00 a.m. the day before the
                             Status Conference set pursuant to this Minute Order by Judge John L. Kane on
                             11/07/13. Text Only Entry (jjhsl, ) (Entered: 11/07/2013)


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            11/12/2013   472 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/12/2013. (smatl, ) (Entered: 12/02/2013)
            11/13/2013   464 MOTION for Order to Show Cause Re: Otabek Hasanov (Related to [ 243] by
                             Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Proposed Order (PDF
                             Only))(Savitz, David) (Entered: 11/13/2013)
            11/13/2013   465 ORDER TO SHOW CAUSE DIRECTED TO MR. OTABEK HASANOV. If Mr.
                             Hasanov prepares and delivers a final transcript to Mr. David Savitz at his office at
                             1512 Larimer St., Ste 600, Denver, Colorado 80202 on or before November 30, 2013,
                             he will be deemed to have complied with this Order and the Order shall be
                             discharged. The Clerk is directed to send a copy of this Order to Show Cause to Mr.
                             Hasanov at otabekuz@gmail.com by Judge John L. Kane on 11/13/13. (jjhsl, )
                             (Entered: 11/14/2013)
            11/15/2013   471 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                             on 11/15/2013 as to Jamshid Muhtorov (1) and Bakhtiyor Jumaev (2). Defendants
                             present in custody. ORDERED: Government's Response to Doc. No. 458 is due on or
                             before 11/19/2013. Reply due by 12/12/2013. Granting 203 Motion to Disclose Grand
                             Jury Material as to Jamshid Muhtorov (1); Granting 201 Motion to Disclose Grand
                             Jury Material as to Bakhtiyor Jumaev (2). Defendants are REMANDED. Court
                             Reporter: Mary George. Interpreter: Yuliya Fedasenka. (babia) (Entered: 11/19/2013)
            11/19/2013   470 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 458 MOTION for Order
                             for Notice of Whether the Government Intends to Use Evidence Obtained Under or
                             Derived from Surveillance Authorized by the FISA Amendment Act of 2008 ("FAA")
                             (Holloway, Gregory) (Entered: 11/19/2013)
            12/02/2013   474 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             12/02/2013)
            12/03/2013   475 CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                             12/03/2013)
            12/05/2013   476 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 12/05/2013)
            12/05/2013   477 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/05/2013)
            12/05/2013   478 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/05/2013)
            12/09/2013   479 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/09/2013)
            12/09/2013   480 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 12/09/2013)
            12/10/2013   507 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/10/2013. (smatl, ) (Entered: 01/15/2014)




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            12/11/2013   481 MOTION for Order Defendant Jumaev's Unopposed Request for an Extension of
                             Time to File a Reply to the "Government's Response to Defendant Jumaev's Motion
                             for Notice of Whether the Government Intends to Use Evidence Obtained Under or
                             Derived from Sruveillance Authorized by the FISA Amendment Act of 2008
                             ("FAA")(Doc. 458)" (Doc. No. 470) by Bakhtiyor Jumaev. (Attachments: # 1 Proposed
                             Order (PDF Only))(Savitz, David) (Entered: 12/11/2013)
            12/11/2013   482 ORDER granting 481 Motion for Order as to Bakhtiyor Jumaev (2). Defendant has up
                             to and including January 13, 2014 to file a Reply in support of his MOTION 458 for
                             Order for Notice of Whether the Government Intends to Use Evidence Obtained
                             Under or Derived from Surveillance Authorized by the FISA Amendment Act of 2008
                             ("FAA"), by Judge John L. Kane on 12/11/13. Text Only Entry (jlksec, ) (Entered:
                             12/11/2013)
            12/11/2013   483 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/11/2013)
            12/12/2013   484 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 12/12/2013)
            12/12/2013   485 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/12/2013)
            12/13/2013   486 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, #
                             2 Proposed Order (PDF Only))(Sears, Daniel) (Entered: 12/13/2013)
            12/13/2013   508 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/13/2013. (smatl, ) (Entered: 01/15/2014)
            12/17/2013   509 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/17/2013. (smatl, ) (Entered: 01/15/2014)
            12/17/2013   510 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             12/17/2013. (smatl, ) (Entered: 01/15/2014)
            12/17/2013    511 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              12/17/2013. (smatl, ) (Entered: 01/15/2014)
            12/20/2013   487 TRANSCRIPT of Status Conference as to Bakhtiyor Jumaev held on November 15,
                             2013 before Judge Kane. Pages: 1-18. <br><br> NOTICE - REDACTION OF
                             TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                             inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                             redact personal identifiers from the electronic transcript of the court proceeding.
                             If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                             will be made electronically available after 90 days. Please see the Notice of
                             Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                             <br><br> Transcript may only be viewed at the court public terminal or purchased
                             through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                             posting on PACER. Release of Transcript Restriction set for 3/24/2014. (George,
                             Mary) (Entered: 12/20/2013)




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            12/23/2013   512 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/23/2013. (smatl, ) (Entered: 01/15/2014)
            12/27/2013   488 CJA Travel Request (Non-Defendant) as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 12/27/2013)
            12/30/2013   516 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 12/30/2013. (smatl, ) (Entered: 01/22/2014)
            12/30/2013   522 CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/30/13. (sgrim) (Entered: 01/30/2014)
            12/31/2013   489 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             12/31/2013)
            01/02/2014   490 CJA MOTION by Jamshid Muhtorov. (Attachments: # 1 Exhibit, # 2 Exhibit)
                             (Stimson, Kathryn) (Entered: 01/02/2014)
            01/03/2014   491 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 Exhibit, #
                             2 Exhibit, # 3 CJA Attachment)(Stimson, Kathryn) (Entered: 01/03/2014)
            01/06/2014   492 MINUTE ORDER directing Mr. Jumaev to file a status report re Order to Show
                             Cause (Doc. 465). Specifically, Mr. Jumaev shall inform the Court whether Mr.
                             Hasanov delivered the transcript he was ordered to deliver to Mr. Savitz by November
                             30, 2013. Mr. Jumaev's silence on the matter has been interpreted by the Court as
                             suggesting Mr. Hasanov had complied, but if this is not the case, the Court will issue
                             an Order finding Mr. Hasanov in contempt and a subpoena for his appearance by
                             Judge John L. Kane on 01/06/14. Text Only Entry (jjhsl, ) (Entered: 01/06/2014)
            01/06/2014   493 CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on 1/6/14.
                             (dbrow, ) (Entered: 01/06/2014)
            01/06/2014   494 CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on 1/6/14.
                             (dbrow, ) (Entered: 01/06/2014)
            01/07/2014   495 REPORT Regarding Order to Show Cause Directed to Mr. Otabek Hasanov (Doc.
                             465) by Bakhtiyor Jumaev (Savitz, David) (Entered: 01/07/2014)
            01/09/2014   496 MOTION to Withdraw as Attorney anand to appoint substitute counsel by Daniel J.
                             Sears by Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Sears,
                             Daniel) (Entered: 01/09/2014)
            01/09/2014   497 ORDER granting 496 Motion to Withdraw as Attorney. Daniel Joseph Sears
                             withdrawn from case as to Bakhtiyor Jumaev (2). Mitchell Baker shall be appointed
                             as co-counsel to further represent defendant Jumaev in this case, by Judge John L.
                             Kane on 1/9/14. Text Only Entry (jlksec, ) (Entered: 01/09/2014)
            01/09/2014   502 CJA 20/30 Appointment of Mitchell Baker as co-counsel for Bakhtiyor Jumaev by
                             Judge John L. Kane on 1/9/2014.(smatl) Modified on 3/4/2014(shugh). (Entered:
                             01/14/2014)
            01/10/2014   498 NOTICE OF ATTORNEY APPEARANCE: Mitchell Baker appearing for Bakhtiyor
                             JumaevAttorney Mitchell Baker added to party Bakhtiyor Jumaev(pty:dft) (Baker,
                             Mitchell) (Entered: 01/10/2014)


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            01/10/2014   499 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 458 MOTION for Order
                             for Notice of Whether the Government Intends to Use Evidence Obtained Under or
                             Derived from Surveillance Authorized by the FISA Amendment Act of 2008 ("FAA")
                             Redacted (Attachments: # 1 Exhibit)(Savitz, David) (Entered: 01/10/2014)
            01/10/2014   500 MOTION for Order to Restrict to Level 1 the Non-Redacted Version of "Defendant
                             Jumaev's Reply to 'Government's Response to Defendant Jumaev's Motion for Notice
                             of Whether the Government Intends to Use Evidece Obtained Under or Derived from
                             Surveillance Authorized by the FISA Amendment Act of 2008 ("FAA")(Doc. 458)'
                             (Doc. 470) by Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))
                             (Savitz, David) (Entered: 01/10/2014)
            01/10/2014   501 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev.Motion to Restrict per
                             LCivR 7.2(e) and LCrR 47.1(e) due 1/24/2014 if not already filed. (Attachments: # 1
                             Exhibit)(Savitz, David) (Entered: 01/10/2014)
            01/14/2014   503 RESTRICTED DOCUMENT - Level 3. (jjhsl, ) (Entered: 01/14/2014)
            01/14/2014   504 RESTRICTED DOCUMENT - Level 3 (jjhsl, ) (Entered: 01/14/2014)
            01/14/2014   505 ORDER granting 500 Motion for Order as to Bakhtiyor Jumaev (2). Doc. #501 shall
                             be RESTRICTED at Level 1, by Judge John L. Kane on 1/14/13. Text Only Entry
                             (jlksec, ) (Entered: 01/14/2014)
            01/14/2014   506 MINUTE ORDER as to Bakhtiyor Jumaev. The Government may file a Surreply to
                             doc. #501 on or before 1/27/14, by Judge John L. Kane on 1/14/14. Text Only Entry
                             (jlksec, ) (Entered: 01/14/2014)
            01/14/2014   527 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 1/14/2014. (shugh, ) (Entered: 02/13/2014)
            01/14/2014   528 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 1/14/2014. (shugh, ) (Entered: 02/13/2014)
            01/20/2014   513 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/20/2014)
            01/21/2014   514 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 01/21/2014)
            01/21/2014   515 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 01/21/2014)
            01/23/2014   517 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/23/2014)
            01/24/2014   518 Unopposed MOTION for Extension of Time to File Response/Reply as to 501
                             Restricted Document - Level 1 Government's Unopposed Motion for Extension of
                             Time for the Government to file Surreply to Doc. 501 by USA as to Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 01/24/2014)
            01/27/2014   519 ORDER granting 518 Motion for Extension of Time to File Response/Reply as to
                             Bakhtiyor Jumaev (2). The government shall have up to and including February 4,
                             2014 to file a Surreply to Defendant Jumaev's Document #501, by Judge John L.


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                               Kane on 1/27/14. Text Only Entry (jlksec, ) (Entered: 01/27/2014)
            01/28/2014   533 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             1/28/2014. (babia) (Entered: 02/28/2014)
            01/29/2014   520 MOTION to Suppress Evidence Obtained or Derived from Surveillance under the
                             FISA Amendments Act and Motion for Discovery by Jamshid Muhtorov. (Williamson,
                             Warren) (Entered: 01/29/2014)
            01/29/2014   530 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             1/29/2014. (babia) (Entered: 02/26/2014)
            01/30/2014   521 MOTION to Suppress Evidence Obtained or Derived from Surveillance Under the
                             FISA Amendments Act and Motion for Discovery (Related to Doc. No. 520) by
                             Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Savitz, David) (Entered: 01/30/2014)
            01/31/2014   523 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel) (Entered:
                             01/31/2014)
            01/31/2014   524 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/31/2014)
            02/04/2014   525 REPLY TO RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 458 MOTION
                             for Order for Notice of Whether the Government Intends to Use Evidence Obtained
                             Under or Derived from Surveillance Authorized by the FISA Amendment Act of 2008
                             ("FAA") (Holloway, Gregory) (Entered: 02/04/2014)
            02/07/2014   526 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/07/2014)
            02/07/2014   534 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/7/2014. (babia) (Entered: 03/04/2014)
            02/10/2014   535 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             2/10/2014. (babia) (Entered: 03/04/2014)
            02/10/2014   536 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             2/10/2014. (babia) (Entered: 03/04/2014)
            02/17/2014   529 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment Ex Parte Motion for Paralegal Services (Connolly))(Baker, Mitchell)
                             (Entered: 02/17/2014)
            02/19/2014   541 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/19/2014. (shugh) (Entered: 03/18/2014)
            02/20/2014   537 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/20/14. (dbrow, ) (Entered: 03/06/2014)
            02/20/2014   542 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/20/2014. (shugh) (Entered: 03/18/2014)
            02/26/2014   531 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David) (Entered:
                             02/26/2014)


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            02/26/2014   539 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/26/2014. (shugh, ) (Entered: 03/10/2014)
            02/28/2014   532 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/28/2014)
            03/07/2014   538 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment CJA Attachment - Invoice 9 (Thompson) - Jumaev)(Baker, Mitchell)
                             (Entered: 03/07/2014)
            03/10/2014   544 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/10/2014. (shugh) (Entered: 03/25/2014)
            03/17/2014   540 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 03/17/2014)
            03/19/2014   543 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment CJA Attachment Invoice 031914 (Seletskya) - Jumaev)(Baker, Mitchell)
                             (Entered: 03/19/2014)
            03/28/2014   552 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/28/2014. (babia) (Entered: 04/22/2014)
            04/01/2014   545 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment Motion for Translation Services (Khodjaev), # 2 CJA Attachment Exhibit
                             A)(Baker, Mitchell) Modified to correct text on 4/17/2018 (cthom, ). (Entered:
                             04/01/2014)
            04/04/2014   546 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/04/2014)
            04/04/2014   547 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/04/2014)
            04/04/2014   549 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 4/4/2014. (shugh) (Entered: 04/16/2014)
            04/04/2014   550 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/4/2014. (babia) (Entered: 04/17/2014)
            04/08/2014   553 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 4/8/2014. (shugh) (Entered: 04/23/2014)
            04/09/2014   548 CJA 21/31 Request for Service as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered: 04/09/2014)
            04/11/2014   560 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/10/2014. (shugh) (Entered: 05/12/2014)
            04/17/2014   551 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The government's
                             informal request for an extension of time to file its Response to Mr. Muhtorov's
                             Motion to Suppress (Doc. 520), which was communicated via email and is
                             unopposed, is GRANTED. The government's Response, originally due April 29,
                             2014, is now due on or before May 9, 2014. The Court notes Mr. Jumaev has joined in



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                               Mr. Muhtorov's Motion (see Doc. 521). by Judge John L. Kane on 4/17/14. Text Only
                               Entry (jlksec) (Entered: 04/17/2014)
            04/22/2014   563 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/22/2014. (shugh) (Entered: 05/15/2014)
            04/23/2014   564 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/23/2014. (shugh) (Entered: 05/15/2014)
            05/01/2014   554 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 05/01/2014)
            05/02/2014   555 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 05/02/2014)
            05/05/2014   556 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 05/05/2014)
            05/05/2014   561 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/5/2014. (shugh) (Entered: 05/12/2014)
            05/06/2014   557 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 05/06/2014)
            05/09/2014   558 CJA 21/31 Request for Service as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered: 05/09/2014)
            05/09/2014   559 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 521
                             MOTION to Suppress Evidence Obtained or Derived from Surveillance Under the
                             FISA Amendments Act and Motion for Discovery (Related to Doc. No. 520), 520
                             MOTION to Suppress Evidence Obtained or Derived from Surveillance under the
                             FISA Amendments Act and Motion for Discovery (Attachments: # 1 Exhibit)
                             (Holloway, Gregory) (Entered: 05/09/2014)
            05/13/2014   562 CJA 21/31 Request for Service as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered: 05/13/2014)
            05/13/2014   567 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 5/13/2014. (shugh) (Entered: 05/22/2014)
            05/15/2014   568 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 5/15/2014. (shugh) (Entered: 05/22/2014)
            05/20/2014   565 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 05/20/2014)
            05/22/2014   566 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 05/22/2014)
            05/22/2014   569 NOTICE of Government's Classified Memorandum In Opposition to Defendant's
                             Motion to Suppress Evidence Obtained or Derived From Surveilance Under the FISA
                             Amendments Act and Motion for Discovery by USA as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 05/22/2014)




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            05/27/2014   570 ORDER Concerning Disclosure of Grand Jury Material as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev by Judge John L. Kane on 05/27/14. (jhawk, ) (Entered:
                             05/28/2014)
            05/29/2014   571 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 05/29/2014)
            05/29/2014   572 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 05/29/2014)
            05/30/2014   573 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 05/30/2014)
            05/30/2014   575 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             5/30/2014. (shugh) (Entered: 06/03/2014)
            06/02/2014   574 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered: 06/02/2014)
            06/03/2014   576 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/03/2014)
            06/04/2014   577 NOTICE Defendant Muhtorov's Proposed Briefing Schedule to Complete Briefing on
                             Mr. Muhtorov's Motion to Suppress by Jamshid Muhtorov as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev (Stimson, Kathryn) (Entered: 06/04/2014)
            06/04/2014   585 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/4/2014. (shugh) (Entered: 06/13/2014)
            06/07/2014   578 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 521 MOTION to
                             Suppress Evidence Obtained or Derived from Surveillance Under the FISA
                             Amendments Act and Motion for Discovery (Related to Doc. No. 520) (Savitz, David)
                             (Entered: 06/07/2014)
            06/09/2014   579 MOTION to Amend/Correct 578 Reply to Response filed by Bakhtiyor Jumaev
                             Amended Proposed Schedule to Complete Briefing on Mr. Jumaev's Motion to
                             Suppress and Request to File His Reply on or Before July 3, 2014 (Related to Docs.
                             521, 559 & 577) (Related to Doc. 578) by Bakhtiyor Jumaev. (Attachments: # 1
                             Proposed Order (PDF Only))(Savitz, David) (Entered: 06/09/2014)
            06/09/2014   580 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 06/09/2014)
            06/10/2014   581 ORDER granting 579 Motion to Amend/Correct as to Bakhtiyor Jumaev (2).
                             Defendant Jumaev's "Amended Proposed Schedule to Complete Briefing on Mr.
                             Jumaev's Motion to Suppress and Request to File His Reply on or Before July 3,
                             2014" (which the Court construes simply as a Motion for Leave to File Reply), is
                             GRANTED. Mr. Jumaev may file a Reply in support of the pending Motion to
                             Suppress (Doc. 521) on or before July 3, 2014, by Judge John L. Kane on 6/10/14.
                             Text Only Entry (jlksec) (Entered: 06/10/2014)
            06/10/2014   582 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/10/2014)



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            06/10/2014   583 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/10/2014)
            06/12/2014   584 MOTION for Order Requiring Government to Disclose or Provide His Counsel
                             Access to Its Classified Pleadings and Objection to Ex Parte Proceedings by Jamshid
                             Muhtorov as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Stimson, Kathryn) (Entered:
                             06/12/2014)
            06/16/2014   586 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/16/2014)
            06/16/2014   587 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/16/2014)
            06/17/2014   588 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/17/2014)
            06/17/2014   589 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/17/2014)
            06/17/2014   591 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/17/2014. (shugh) (Entered: 06/19/2014)
            06/17/2014   592 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/17/2014. (shugh) (Entered: 06/19/2014)
            06/18/2014   590 MOTION for Disclosure Defendant Bakhtiyor Jumaev's Motion to Require the
                             Government to Disclose, or Otherwise Provide Him Access to, its Classified
                             Pleadings (Doc. 569) and Objection to the Ex Parte, In Camera Submission to and
                             Final Determination by the Court of Such Pleadings and Related Documents Without
                             Disclosure and Attendant Proceedings First Afforded to Defendant by Bakhtiyor
                             Jumaev. (Savitz, David) (Entered: 06/18/2014)
            06/18/2014   596 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 6/18/2014. (shugh) (Entered: 06/26/2014)
            06/20/2014   593 MOTION for Extension of Time to File Response/Reply as to 581 Order on Motion to
                             Amend/Correct,, Request for an Extension of Time to File His Reply in Support of His
                             Pending Motion to Suppress (Doc. No. 521) by Bakhtiyor Jumaev. (Attachments: # 1
                             Proposed Order (PDF Only))(Savitz, David) (Entered: 06/20/2014)
            06/20/2014   597 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 6/20/2014. (shugh) (Entered: 06/26/2014)
            06/20/2014   605 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/20/2014. (shugh) (Entered: 07/14/2014)
            06/20/2014   606 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/20/2014. (shugh) (Entered: 07/14/2014)
            06/23/2014   594 ORDER granting 593 Motion for Extension of Time to File Response/Reply as to
                             Bakhtiyor Jumaev (2). Defendant Jumaev's Unopposed Request for an Extension
                             Time to File His Reply in Support of His Pending Motion to Suppress is granted. Mr.
                             Jumaev's Reply is due ten (10) days after Mr. Muhtorov's files his Reply in support of


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                               his Motion to Suppress, by Judge John L. Kane on 6/23/14. Text Only Entry (jlksec)
                               (Entered: 06/23/2014)
            06/24/2014   607 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/24/2014. (shugh) (Entered: 07/14/2014)
            06/24/2014   608 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             6/24/2014. (shugh) (Entered: 07/14/2014)
            06/25/2014   595 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 06/25/2014)
            06/27/2014   609 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/27/2014. (shugh) (Entered: 07/14/2014)
            06/30/2014   598 CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered: 06/30/2014)
            07/01/2014   599 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/01/2014)
            07/02/2014   600 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 584
                             MOTION for Order Requiring Government to Disclose or Provide His Counsel
                             Access to Its Classified Pleadings and Objection to Ex Parte Proceedings, 590
                             MOTION for Disclosure Defendant Bakhtiyor Jumaev's Motion to Require the
                             Government to Disclose, or Otherwise Provide Him Access to, its Classified
                             Pleadings (Doc. 569) and Objection to the Ex Parte, In Camera Submission to and
                             Final Determina (Holloway, Gregory) (Entered: 07/02/2014)
            07/02/2014   601 SUPPLEMENT Authority to 559 Response to Motion, 569 Notice (Other), by USA as
                             to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway,
                             Gregory) (Entered: 07/02/2014)
            07/02/2014   604 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 7/2/2014. (shugh) (Entered: 07/11/2014)
            07/03/2014   602 REPLY by Jamshid Muhtorov to 559 Response to Motion, 569 Notice (Other),
                             (Williamson, Warren) (Entered: 07/03/2014)
            07/07/2014   610 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             7/7/2014. (shugh) (Entered: 07/14/2014)
            07/07/2014    611 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              7/7/2014. (shugh) (Entered: 07/14/2014)
            07/07/2014   612 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/7/2014. (shugh) (Entered: 07/14/2014)
            07/08/2014   613 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/8/2014. (shugh) (Entered: 07/14/2014)
            07/11/2014   603 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 521 MOTION to
                             Suppress Evidence Obtained or Derived from Surveillance Under the FISA
                             Amendments Act and Motion for Discovery (Related to Doc. No. 520) Defendant



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                               Jumaev's Reply to "Government's Unclassified Memorandum in Opposition to
                               Defendants' Motion to Suppress Evidence Obtained or Derived from Surveillance
                               Under the FISA Amendments Act and Motion for Discovery" (Related to Doc. 559)
                               (Savitz, David) (Entered: 07/11/2014)
            07/11/2014   615 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/11/2014. (shugh) (Entered: 07/17/2014)
            07/15/2014   614 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 07/15/2014)
            07/17/2014   621 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/17/2014. (shugh) (Entered: 07/31/2014)
            07/21/2014   616 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 07/21/2014)
            07/21/2014   623 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             7/21/2014. (shugh) (Entered: 07/31/2014)
            07/22/2014   617 SUPPLEMENT Defendant's Supplemental Authority in Support of his Reply to
                             Government's Response to 602 Reply by Jamshid Muhtorov (Attachments: # 1
                             Attachment, # 2 Attachment)(Williamson, Warren) (Entered: 07/22/2014)
            07/23/2014   618 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/23/2014)
            07/25/2014   619 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 07/25/2014)
            07/25/2014   626 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 7/25/2014. (shugh) (Entered: 08/13/2014)
            07/28/2014   620 NOTICE OF ATTORNEY APPEARANCE: Patrick C. Toomey appearing for
                             Jamshid MuhtorovAttorney Patrick C. Toomey added to party Jamshid
                             Muhtorov(pty:dft) (Toomey, Patrick) (Entered: 07/28/2014)
            07/30/2014   628 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/30/2014. (shugh) (Entered: 08/20/2014)
            07/31/2014   622 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/31/2014)
            08/01/2014   624 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 08/01/2014)
            08/01/2014   625 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 08/01/2014)
            08/20/2014   627 MOTION for Order Directing He be Returned to the Denver Detention Center by
                             Jamshid Muhtorov. (Attachments: # 1 Attachment)(Williamson, Warren) (Entered:
                             08/20/2014)
            08/20/2014   632 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             8/20/2014. (shugh) (Entered: 08/27/2014)


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            08/21/2014   629 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 08/21/2014)
            08/22/2014   630 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 08/22/2014)
            08/26/2014   631 ORDER denying 627 Motion for Order re: Facility Transfer as to Jamshid Muhtorov
                             (1) by Judge John L. Kane on 08/26/14. (jhawk, ) (Entered: 08/26/2014)
            08/27/2014   635 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/27/2014. (shugh) (Entered: 09/04/2014)
            08/29/2014   636 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             8/29/2014. (shugh) (Entered: 09/10/2014)
            08/29/2014   637 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             8/29/2014. (shugh) (Entered: 09/10/2014)
            08/31/2014   633 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 08/31/2014)
            09/01/2014   634 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 09/01/2014)
            09/12/2014   641 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/12/2014. (shugh) (Entered: 09/19/2014)
            09/12/2014   642 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/12/2014. (shugh) (Entered: 09/22/2014)
            09/13/2014   638 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/13/2014)
            09/13/2014   639 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/13/2014)
            09/16/2014   640 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/16/2014)
            09/22/2014   643 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/22/2014. (shugh) (Entered: 09/24/2014)
            09/22/2014   644 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             9/22/2014. (shugh) (Entered: 09/24/2014)
            09/25/2014   645 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/25/2014)
            09/29/2014   654 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/29/2014. (shugh) (Entered: 10/23/2014)
            09/29/2014   657 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/29/2014. (shugh) (Entered: 10/23/2014)
            10/01/2014   655 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/1/2014. (shugh) (Entered: 10/23/2014)


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            10/05/2014   646 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/05/2014)
            10/05/2014   647 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 Exhibit)(Baker, Mitchell) (Entered: 10/05/2014)
            10/07/2014   650 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 10/7/2014. (shugh) (Entered: 10/20/2014)
            10/07/2014   656 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/7/2014. (shugh) (Entered: 10/23/2014)
            10/08/2014   648 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/08/2014)
            10/13/2014   649 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/13/2014)
            10/16/2014   675 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/16/2014. (shugh) (Entered: 11/19/2014)
            10/17/2014   676 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/17/2014. (shugh) (Entered: 11/19/2014)
            10/20/2014   651 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/20/2014)
            10/20/2014   652 First MOTION for Order Defendant Jumaev's Motion Requiring the Government to
                             Provide Notice of Interceptions and/or Surveillance of His Defense Counsel and
                             Members of His Defense Team by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)
                             (Savitz, David) Modified on 10/20/2014 to correct text (jhawk, ). (Entered:
                             10/20/2014)
            10/20/2014   653 Joint MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                             Government in its Investigation of said Defendants by Jamshid Muhtorov as to
                             Jamshid Muhtorov, Bakhtiyor Jumaev. (Williamson, Warren) (Entered: 10/20/2014)
            10/20/2014   662 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 10/20/2014. (shugh) (Entered: 10/31/2014)
            10/28/2014   658 MOTION for Order to Adopt Codefendant's Motion, Doc. 652 by Jamshid Muhtorov.
                             (Williamson, Warren) Modified on 1/15/2016 to term pursuant to the instruction of
                             JLK (jhawk, ). (Entered: 10/28/2014)
            10/31/2014   659 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 10/31/2014)
            10/31/2014   660 UNRESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev (Holloway, Gregory) Modified on 11/13/2014 to unrestrict
                             pursuant to doc #669 (jhawk, ). (Entered: 10/31/2014)
            10/31/2014   661 UNRESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified on
                             1/15/2016 pursuant to doc 669 (jhawk, ). (Entered: 10/31/2014)



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            11/03/2014   663 MINUTE ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2) re Docs. 659 &
                             661. Document 661 is a Restricted filing entitled Government's Motion to Clarify
                             Protective Order., filed re Extrajudicial Statements The Government's Motion to
                             Clarify and Motion for. Government's Motion (Doc. 660) to Restrict Doc. 661, filed
                             October 31, 2014, is GRANTED. The government's Document 661, a Motion for
                             Clarification of the Court's Protective Order, shall remain restricted to the public at
                             Restriction Level 1. FURTHER ORDERED that a Response to the Government's
                             Motion for Clarification (Doc. 661) is due on or before November 12, 2014. Any
                             Reply is due on or before November 19, 2014. After reviewing these filings, the Court
                             may set the matter for hearing by Judge John L. Kane on 11/03/14. Text Only Entry
                             (jhawk, ) (Entered: 11/03/2014)
            11/07/2014   664 UNRESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                             Exhibit)(Savitz, David) Modified on 1/15/2016 to unrestrict pursuant to doc 669
                             (jhawk, ). (Entered: 11/07/2014)
            11/07/2014   665 MOTION for Leave to Restrict by Bakhtiyor Jumaev. (Savitz, David) (Entered:
                             11/07/2014)
            11/07/2014   666 UNRESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Savitz, David)
                             Modified on 1/15/2016 to unrestrict pursuant to doc 669 (jhawk, ). (Entered:
                             11/07/2014)
            11/07/2014   667 MINUTE ORDER. Defendant Bakhtiyor Jumaev has filed a Response (Doc. 664) to
                             the Government's Motion to Clarify (Doc. 661), together with a Motion (Doc. 665) to
                             Restrict the Response and a Brief in Support of the Motion to Restrict (Doc. 666). It
                             appears from Mr. Jumaev's filings that he disagrees with the Restricted status afforded
                             the government's Motion to Clarify Protective Order. The parties are therefore
                             directed to CONFER regarding the restricted status of Docs. 660, 661, 664, and 666.
                             The parties shall file a Joint Status Report stating the result of their discussion on or
                             before Wednesday, November 12, 2014. Given the Court's antipathy for restricting the
                             public's access to court filings generally, the preference would be for lifting the
                             existing restrictions rather than imposing more. Entered by Judge John L. Kane on
                             11/07/14. Text Only Entry (jhawk, ) (Entered: 11/07/2014)
            11/10/2014   682 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/10/2014. (shugh) (Entered: 12/01/2014)
            11/12/2014   668 STATUS REPORT Regarding Restricted Status of Pleadings Related to Government's
                             Motion to Clarify by USA as to Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                             11/12/2014)
            11/12/2014   669 MINUTE ORDER as to Jamshid Muhtorov, and Bakhtiyor Jumaev. At the direction
                             of chambers and pursuant to the parties' Status Report Re Restrict Status of Pleadings
                             Related to Government's Motion to Clarify [Doc. 668], the restricted status of
                             Documents 660, 661, 664, and 666 is lifted, by Judge John L. Kane on 11/12/2014.
                             Text Only Entry. (agarc, ) (Entered: 11/12/2014)
            11/13/2014   670 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/13/2014)




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            11/13/2014   671 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/13/2014)
            11/13/2014   672 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 11/13/2014)
            11/18/2014   673 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/18/2014)
            11/18/2014   674 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/18/2014)
            11/19/2014   677 REPLY by USA as to Bakhtiyor Jumaev to 664 Restricted Document - Level 1
                             (Holloway, Gregory) (Entered: 11/19/2014)
            11/20/2014   678 Joint MOTION for Order Parties' Joint Proposed Briefing Schedule by Jamshid
                             Muhtorov as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Williamson, Warren)
                             (Entered: 11/20/2014)
            11/20/2014   679 MINUTE ORDER adopting as an ORDER of the Court the Joint Proposed Briefing
                             Schedule submitted by the parties (Doc. 678). The Government's responses to the
                             Motions found at Docs. 652, 653, and 658 are due on or before February 26, 2015.
                             Any Replies by Defendants are due on or before April 24, 2015. Entered by Judge
                             John L. Kane on 11/20/14. Text Only Entry (jhawk, ) (Entered: 11/20/2014)
            11/21/2014   680 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/21/2014)
            11/25/2014   681 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/25/2014)
            12/01/2014   683 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Baker, Mitchell) (Entered:
                             12/01/2014)
            12/02/2014   688 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 12/2/2014. (shugh) (Entered: 12/18/2014)
            12/03/2014   684 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Given the nature of
                             the filings and counsel's acknowledgments regarding the same in the 11/12/14 Joint
                             Status Report (Doc. 668) the restricted status of Docs. 660, 661, and 666 is LIFTED.
                             Entered by Judge John L. Kane on 12/03/14. Text Only Entry (jhawk, ) (Entered:
                             12/03/2014)
            12/03/2014   685 ORDER on Government's Motion for Clarification 661 as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev by Judge John L. Kane on 12/02/14. (jhawk, ) (Entered:
                             12/03/2014)
            12/03/2014   686 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 12/03/2014)
            12/09/2014   687 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 12/09/2014)



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            12/15/2014   694 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             12/15/2014. (shugh) (Entered: 02/06/2015)
            12/15/2014   695 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/15/2014. (shugh) (Entered: 02/06/2015)
            12/15/2014   696 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/15/2014. (shugh) (Entered: 02/06/2015)
            12/15/2014   697 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/15/2014. (shugh) (Entered: 02/06/2015)
            12/15/2014   698 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/15/2014. (shugh) (Entered: 02/06/2015)
            12/16/2014   699 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/16/2014. (shugh) (Entered: 02/06/2015)
            12/30/2014   703 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/30/2014. (shugh) (Entered: 02/12/2015)
            01/13/2015   689 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/13/2015)
            01/13/2015   690 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/13/2015)
            01/22/2015   705 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             1/22/2015. (shugh) (Entered: 02/12/2015)
            02/03/2015   707 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/3/2015. (shugh) (Entered: 02/19/2015)
            02/03/2015   708 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/3/2015. (shugh) (Entered: 02/19/2015)
            02/05/2015   691 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/05/2015)
            02/05/2015   692 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/05/2015)
            02/06/2015   693 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/06/2015)
            02/06/2015   700 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell) (Entered: 02/06/2015)
            02/06/2015   701 Joint MOTION for Order Defendants' Joint Request that an Order Enter Requiring
                             Their Statements Be Provided by the Government by Jamshid Muhtorov, Bakhtiyor
                             Jumaev. (Williamson, Warren) (Entered: 02/06/2015)
            02/10/2015   702 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Stimson, Kathryn) (Entered: 02/10/2015)




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            02/11/2015   716 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/11/2015. (shugh) (Entered: 03/04/2015)
            02/11/2015   717 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/11/2015. (shugh) (Entered: 03/04/2015)
            02/12/2015   704 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/12/2015)
            02/17/2015   718 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/17/2015. (shugh) (Entered: 03/04/2015)
            02/18/2015   706 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             02/18/2015)
            02/23/2015   709 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             02/23/2015)
            02/24/2015   710 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/24/2015)
            02/26/2015    711 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 652
                              MOTION for Disclosure of 404(b) Evidence First MOTION for Order Defendant
                              Jumaev's Motion Requiring the Government to Provide Notice of Interceptions and/or
                              Surveillance of His Defense Counsel and Members of His Defense Team, 653 Joint
                              MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                              Government in its Investigation of said Defendants (Holloway, Gregory) (Entered:
                              02/26/2015)
            02/26/2015   712 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 02/26/2015)
            02/26/2015   713 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 02/26/2015)
            02/26/2015   714 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 02/26/2015)
            02/27/2015   715 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/27/2015)
            03/05/2015   719 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 03/05/2015)
            03/06/2015   720 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 03/06/2015)
            03/06/2015   721 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA Attachment)(Baker,
                             Mitchell) (Entered: 03/06/2015)
            03/06/2015   731 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/6/2015. (shugh) (Entered: 04/15/2015)




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            03/10/2015   724 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 3/10/2015. (shugh) (Entered: 03/25/2015)
            03/10/2015   725 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             3/10/2015. (shugh) (Entered: 03/27/2015)
            03/10/2015   726 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/10/2015. (shugh) (Entered: 03/27/2015)
            03/12/2015   722 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 03/12/2015)
            03/19/2015   732 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/19/2015. (shugh) (Entered: 04/15/2015)
            03/19/2015   733 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             3/19/2015. (shugh) (Entered: 04/15/2015)
            03/23/2015   723 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 03/23/2015)
            03/27/2015   727 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/27/2015)
            03/27/2015   728 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/27/2015)
            03/30/2015   729 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 03/30/2015)
            04/03/2015   734 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/3/2015. (shugh) (Entered: 04/16/2015)
            04/09/2015   735 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/9/2015. (shugh) (Entered: 04/16/2015)
            04/14/2015   730 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 04/14/2015)
            04/14/2015   738 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/14/2015. (shugh) (Entered: 04/22/2015)
            04/20/2015   736 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/20/2015)
            04/21/2015   737 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/21/2015)
            04/24/2015   739 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             04/24/2015)
            04/24/2015   740 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             04/24/2015)
            04/24/2015   746 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 4/24/2015. (shugh) (Entered: 05/05/2015)


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            04/27/2015   741 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 652 MOTION for
                             Disclosure of 404(b) Evidence First MOTION for Order Defendant Jumaev's Motion
                             Requiring the Government to Provide Notice of Interceptions and/or Surveillance of
                             His Defense Counsel and Members of His Defense Team, 653 Joint MOTION for
                             Order for Notice of the Surveillance Techniques Utilized by the Government in its
                             Investigation of said Defendants (Baker, Mitchell) (Entered: 04/27/2015)
            04/27/2015   742 REPLY TO RESPONSE to Motion by Jamshid Muhtorov, Bakhtiyor Jumaev re 653
                             Joint MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                             Government in its Investigation of said Defendants (Williamson, Warren) Modified to
                             restrict the document at Level 2 on 4/27/2015 (tshea, ). Modified on 5/24/2016 to
                             unrestrict pursuant to JLK Chambers instruction (jhawk, ). Modified on 6/30/2016 to
                             restrict pursuant to the Order of 06/30/16 (jhawk, ). (Entered: 04/27/2015)
            04/27/2015   743 MOTION for Order Defendant Jumaev's Motion for Order Requiring Production of
                             Brady, Giglio, and Kyles Materials by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit,
                             # 2 Exhibit)(Savitz, David) (Entered: 04/27/2015)
            04/28/2015   744 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/28/2015)
            04/28/2015   745 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/28/2015)
            04/30/2015   753 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 4/30/2015. (shugh) (Entered: 05/22/2015)
            04/30/2015   759 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             4/30/2015. (shugh) (Entered: 05/27/2015)
            05/04/2015   757 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/4/2015. (shugh) (Entered: 05/27/2015)
            05/04/2015   758 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/4/2015. (shugh) (Entered: 05/27/2015)
            05/11/2015   747 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 05/11/2015)
            05/13/2015   748 NOTICE of Supplemental Authority by Jamshid Muhtorov, Bakhtiyor Jumaev
                             (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                             E, # 6 Exhibit F)(Williamson, Warren) (Entered: 05/13/2015)
            05/13/2015   749 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                             Exhibit)(Savitz, David) (Entered: 05/13/2015)
            05/15/2015   750 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 Exhibit)(Savitz, David) (Entered: 05/15/2015)
            05/21/2015   751 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/21/2015)
            05/21/2015   752 NOTICE of Supplemental Authority in Support of Defendants' Joint Motion for
                             Motion for Notice of the Surveillance Techniques Utilized by the Government in its


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                               Investigation (Doc. 653) by Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1
                               Attachment)(Williamson, Warren) (Entered: 05/21/2015)
            05/22/2015   754 MOTION for Order to Unrestrict Doc. 742 by Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Williamson, Warren) Modified on 5/24/2016 to term pursuant to Chambers
                             instruction (jhawk, ). Modified on 6/30/2016 to add gavel pursuant to the Order of
                             06/30/16 (jhawk, ). (Entered: 05/22/2015)
            05/26/2015   755 MINUTE ORDER re 749 Restricted Document - Level 3. Defendant Bakhtiyor
                             Jumaev's Ex Parte CJA Request for Advance Authorization for Expert Services is
                             DENIED as Moot. The Authorization requested in Doc. 750-1 was granted. By Judge
                             John L. Kane on 5/26/2015. Text Only Entry (tscha, ) (Entered: 05/26/2015)
            05/26/2015   756 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 05/26/2015)
            05/26/2015   763 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 5/26/2015. (shugh) (Entered: 06/09/2015)
            05/26/2015   765 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/26/2015. (shugh) (Entered: 06/10/2015)
            05/27/2015   766 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/27/2015. (shugh) (Entered: 06/10/2015)
            05/27/2015   767 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             5/27/2015. (shugh) (Entered: 06/10/2015)
            05/29/2015   760 NOTICE of Supplemental Authority re 652 MOTION for Disclosure of 404(b)
                             Evidence First MOTION for Order Defendant Jumaev's Motion Requiring the
                             Government to Provide Notice of Interceptions and/or Surveillance of His Defense
                             Counsel and Members of His Defense Team by Bakhtiyor Jumaev (Baker, Mitchell)
                             (Entered: 05/29/2015)
            06/03/2015   761 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/03/2015)
            06/03/2015   762 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 06/03/2015)
            06/09/2015   764 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. This matter is set for a
                             Status Conference/Motions Hearing on June 17, 2015, at 3:00 p.m. in Courtroom
                             A802, Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado. The court
                             will address the restriction of documents and case management expectations. Entered
                             by Judge John L. Kane on 06/09/15. (jhawk, ) (Entered: 06/09/2015)
            06/09/2015   773 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             6/9/2015. (shugh) (Entered: 06/24/2015)
            06/17/2015   768 RESPONSE in Opposition by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re
                             701 Joint MOTION for Order Defendants' Joint Request that an Order Enter
                             Requiring Their Statements Be Provided by the Government (Holloway, Gregory)
                             (Entered: 06/17/2015)



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            06/17/2015   769 NOTICE Defendant Jumaev's Notice of Pending and "At Issue" Matters for Case
                             Management Resolution at Status Conference on June 17, 2015 by Bakhtiyor Jumaev
                             (Attachments: # 1 Appendix)(Savitz, David) (Entered: 06/17/2015)
            06/17/2015   770 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                             on 6/17/2015 as to Jamshid Muhtorov and Bakhtiyor Jumaev. Defendants present in
                             custody. Denying 584 Motion for Order as to Jamshid Muhtorov (1), Bakhtiyor
                             Jumaev (2). Defendants are REMANDED. Court Reporter: Mary George. Interpreter:
                             Yuliya Fedasenka. (babia) (Entered: 06/19/2015)
            06/17/2015   771 AMENDED MINUTE ENTRY for proceedings held before Judge John L. Kane on
                             6/17/2015 as to Jamshid Muhtorov, Bakhtiyor Jumaev. Denying Without Prejudice
                             653 Motion for Order as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Court
                             Reporter: Mary George. Interpreter: Yuliya Fedasenka. (babia) (Entered: 06/22/2015)
            06/22/2015   772 CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                             06/22/2015)
            06/25/2015   774 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                             on June 17, 2015 before Judge Kane. Pages: 1-13.

                               NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                               this filing, each party shall inform the Court, by filing a Notice of Intent to
                               Redact, of the party's intent to redact personal identifiers from the electronic
                               transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                               within the allotted time, this transcript will be made electronically available after
                               90 days. Please see the Notice of Electronic Availability of Transcripts document
                               at www.cod.uscourts.gov.

                               Transcript may only be viewed at the court public terminal or purchased through the
                               Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                               PACER. (mgeor, ) Modified on 7/2/2015 to correct text (jhawk, ). (Main Document
                               774 replaced on 6/22/2016) (kweck, ). Modified on 6/22/2016 to add docket text
                               (jhawk, ). (Entered: 06/25/2015)
            06/26/2015   775 CJA 24 Transcript Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             06/26/2015)
            07/01/2015   776 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 07/01/2015)
            07/01/2015   777 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 07/01/2015)
            07/01/2015   778 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 07/01/2015)
            07/01/2015   779 MINUTE ORDER. Granting Government's Motion to Restrict Document (778) 776 .
                             Documents 777 and 778 will remain under Level 1 Restriction. The Court grants
                             requests outlined in Document 778 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev
                             (2). Entered by Judge John L. Kane on 07/01/15. Text Only Entry (jhawk, ) (Entered:



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                               07/01/2015)
            07/01/2015   818 CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             7/1/15. (dbrow, ) (Entered: 09/02/2015)
            07/02/2015   780 RESPONSE by Jamshid Muhtorov re: 778 Restricted Document - Level 1 filed by
                             USA Opposition to the Government's Restricted Motion (778) and Order Entered
                             Granting It (Williamson, Warren) (Entered: 07/02/2015)
            07/06/2015   781 RESPONSE in Opposition by Bakhtiyor Jumaev re 776 MOTION for Leave to
                             Restrict Document 778 (Savitz, David) (Entered: 07/06/2015)
            07/08/2015   782 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/08/2015)
            07/16/2015   783 MOTION for Reconsideration of Bail Based on the Extraordinary Length of Pretrial
                             Detention by Jamshid Muhtorov. (Williamson, Warren) (Entered: 07/16/2015)
            07/20/2015   784 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 07/20/2015)
            07/22/2015   819 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             7/22/2015. (tscha, ) (Entered: 09/02/2015)
            07/22/2015   820 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             7/22/2015. (tscha, ) (Entered: 09/02/2015)
            07/23/2015   785 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/23/2015)
            07/24/2015   786 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/24/2015)
            07/27/2015   787 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
            07/27/2015   788 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
            07/27/2015   789 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
            07/27/2015   790 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
            07/28/2015   803 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 7/28/2015. (shugh) (Entered: 08/17/2015)
            07/30/2015   791 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
            07/30/2015   792 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
            07/30/2015   793 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 07/30/2015)


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            07/30/2015   794 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
            07/30/2015   804 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 7/30/2015. (shugh) (Entered: 08/17/2015)
            07/30/2015   805 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 7/30/2015. (shugh) (Entered: 08/17/2015)
            07/30/2015   806 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 7/30/2015. (shugh) (Entered: 08/17/2015)
            07/30/2015   822 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             7/30/2015. (tscha, ) (Entered: 09/02/2015)
            07/30/2015   823 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             7/30/2015. (tscha, ) (Entered: 09/02/2015)
            07/31/2015   795 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 07/31/2015)
            08/03/2015   796 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 08/03/2015)
            08/04/2015   797 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 08/04/2015)
            08/04/2015   807 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 8/4/2015. (shugh) (Entered: 08/17/2015)
            08/04/2015   808 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 8/4/2015. (shugh) (Entered: 08/17/2015)
            08/06/2015   798 MINUTE ORDER as to Bakhtiyor Jumaev. The subject dispute having been rendered
                             moot by the course of events, Order dated November 15, 2012 243 is VACATED.
                             Entered by Judge John L. Kane on 08/06/15. Text Only Entry (jhawk, ) (Entered:
                             08/06/2015)
            08/07/2015   799 RESPONSE to Motion by USA as to Jamshid Muhtorov re 783 MOTION for
                             Reconsideration of Bail Based on the Extraordinary Length of Pretrial Detention
                             (Holloway, Gregory) (Entered: 08/07/2015)
            08/07/2015   800 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov. (Holloway,
                             Gregory) (Entered: 08/07/2015)
            08/07/2015   801 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov (Holloway,
                             Gregory) (Entered: 08/07/2015)
            08/07/2015   802 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov
                             (Attachments: # 1 Exhibit, # 2 Exhibit)(Holloway, Gregory) (Entered: 08/07/2015)
            08/19/2015   809 ORDER denying 783 Motion for Reconsideration of Bailed Based on the
                             Extraordinary Length of Pretrial Detention as to Jamshid Muhtorov (1). Entered by
                             Judge John L. Kane on 08/19/15. (jhawk, ) (Entered: 08/19/2015)



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            08/20/2015   810 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/20/2015)
            08/21/2015    811 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 08/21/2015)
            08/24/2015   812 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 08/24/2015)
            08/24/2015   813 MOTION for Order For Immediate Hearing on Violation of Attorney Client Privilege
                             - Otabek Hasanov and The F.B.I. by Jamshid Muhtorov. (Attachments: # 1
                             Attachment A, # 2 Attachment B)(Williamson, Warren) (Entered: 08/24/2015)
            08/24/2015   830 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 8/24/2015. (shugh) (Entered: 09/14/2015)
            08/25/2015   814 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             08/25/2015)
            08/26/2015   815 CJA 24 Transcript Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             08/26/2015)
            08/26/2015   816 MINUTE ENTRY for Ex Parte proceedings held in chambers at 1:30 p.m. on August
                             26, 2015. The purpose of the meeting was the discussion of necessary transcript and
                             document redactions to accommodate classified information. Those in attendance
                             included counsel of record for the government, the court's Classified Information
                             Security Officer and other government counsel. The meeting concluded at 3:25 p.m.
                             Entered by Judge John L. Kane on 08/26/15. Text Only Entry (jhawk, ) (Entered:
                             08/27/2015)
            08/31/2015   834 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             8/31/2015. (tscha, ) (Entered: 09/22/2015)
            09/01/2015   835 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/1/2015. (tscha, ) (Entered: 09/22/2015)
            09/01/2015   836 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/1/2015. (tscha, ) (Entered: 09/22/2015)
            09/01/2015   837 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/1/2015. (tscha, ) (Entered: 09/22/2015)
            09/02/2015   817 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/02/2015)
            09/02/2015   821 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/02/2015)
            09/02/2015   838 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/2/2015. (tscha, ) (Entered: 09/22/2015)
            09/02/2015   839 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/2/2015. (tscha, ) (Entered: 09/22/2015)




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            09/03/2015   824 NOTICE (JOINT) of Statutory Prohibition and Supplemental Motion for Discovery
                             by Jamshid Muhtorov (Williamson, Warren) (Entered: 09/03/2015)
            09/03/2015   840 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/3/2015. (tscha, ) (Entered: 09/23/2015)
            09/05/2015   825 MOTION for Hearing Evidentiary Hearing Regarding Otabek Hasanov by Bakhtiyor
                             Jumaev. (Savitz, David) (Entered: 09/05/2015)
            09/08/2015   826 MINUTE ORDER The Government is ORDERED to file responses to Defendants'
                             Motion for Immediate Hearing on Violation of Attorney Client Privilege Doc. 813 ,
                             Defendant Jumaev's Motion for an Evidentiary Hearing Doc. 825 , as well as
                             responding to Defendants' Joint Notice of Statutory Prohibition and Supplemental
                             Motion for Discovery Doc. 824 by Friday, September 18, 2015. Entered by Judge
                             John L. Kane on 9/8/2015. Text Only Entry (evana, ) (Entered: 09/08/2015)
            09/09/2015   841 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             9/9/2015. (tscha, ) (Entered: 09/23/2015)
            09/10/2015   844 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 9/10/2015. (shugh) (Entered: 09/25/2015)
            09/11/2015   827 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/11/2015)
            09/11/2015   828 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 09/11/2015)
            09/11/2015   829 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 09/11/2015)
            09/14/2015   867 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/14/15. (dbrow, ) (Entered: 11/04/2015)
            09/18/2015   831 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 743 MOTION for Order
                             Defendant Jumaev's Motion for Order Requiring Production of Brady, Giglio, and
                             Kyles Materials (Holloway, Gregory) (Entered: 09/18/2015)
            09/18/2015   832 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 825
                             MOTION for Hearing Evidentiary Hearing Regarding Otabek Hasanov, 813
                             MOTION for Order For Immediate Hearing on Violation of Attorney Client Privilege
                             - Otabek Hasanov and The F.B.I. (Holloway, Gregory) (Entered: 09/18/2015)
            09/18/2015   833 RESPONSE by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re: 824 Notice
                             (Other) filed by Jamshid Muhtorov (Holloway, Gregory) (Entered: 09/18/2015)
            09/21/2015   871 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/21/15. (dbrow, ) (Entered: 11/05/2015)
            09/24/2015   842 ORDER as to Jamshid Muhtorov. The Court is in receipt of several letters/documents
                             sent to it directly from Mr. Muhtorov without reference to counsel. These documents
                             are not being filed into the Courts CM/ECF system, but are being forwarded to
                             defense counsel with an admonition that Mr. Muhtorov has appointed counsel, and all
                             court filings must go through them. Signed by Judge John L. Kane on 09/24/15.


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                               (jhawk, ) (Entered: 09/24/2015)
            09/25/2015   843 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Court would like
                             to set a Status Conference/Motions Hearing on Docket No. 774. Counsel are directed
                             to call in JOINTLY on or before October 1, 2015, to set a date and time for the
                             conference, 303-844-6118. Entered by Judge John L. Kane on 09/25/15. Text Only
                             Entry (jhawk, ) (Entered: 09/25/2015)
            09/30/2015   845 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             09/30/2015)
            09/30/2015   873 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             9/30/15. (dbrow, ) (Entered: 11/05/2015)
            10/01/2015   846 MINUTE ORDER: An In Court Hearing is SET as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev for 10:00 AM on December 2, 2015, in Courtroom A802 of the Alfred A.
                             Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado, before Judge John L.
                             Kane. Entered by Judge John L. Kane on 10/01/15. Text Only Entry (jhawk, )
                             (Entered: 10/01/2015)
            10/06/2015   847 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 10/06/2015)
            10/07/2015   848 CJA Travel Request (Non-Defendant) as to Bakhtiyor Jumaev. (Baker, Mitchell)
                             (Entered: 10/07/2015)
            10/14/2015   849 CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             10/14/2015. (shugh) (Entered: 10/16/2015)
            10/14/2015   874 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             10/14/2015. (tscha, ) (Entered: 11/09/2015)
            10/14/2015   875 CJA 21/31 Payment Authorization as to Jamshid Muhtorov, by Judge John L. Kane
                             on 10/14/2015. (tscha, ) (Entered: 11/09/2015)
            10/14/2015   876 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L. Kane on
                             10/14/2015. (tscha, ) (Entered: 11/09/2015)
            10/16/2015   850 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/16/2015)
            10/21/2015   851 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/21/2015)
            10/21/2015   852 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/21/2015)
            10/23/2015   853 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/23/2015)
            10/23/2015   854 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 10/23/2015)
            10/26/2015   855 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 10/26/2015)


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            10/26/2015   856 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 10/26/2015)
            10/26/2015   857 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Attachments: # 1 Proposed Order (PDF Only), # 2 Exhibit, # 3 Exhibit, # 4
                             Exhibit)(Holloway, Gregory) (Entered: 10/26/2015)
            10/27/2015   877 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             10/27/2015. (tscha, ) (Entered: 11/10/2015)
            10/28/2015   858 ORDER granting 855 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                             Bakhtiyor Jumaev (2). Entered by Judge John L. Kane on 10/28/2015. (agarc, )
                             (Entered: 10/28/2015)
            10/28/2015   882 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 10/28/2015. (shugh) (Entered: 11/13/2015)
            10/29/2015   859 MINUTE ORDER. A Status Conference regarding Document No. 857 is set for
                             Friday, October 30, 2015, at 1:00 p.m. at 901 19th Street, Courtroom A802, Denver,
                             Colorado, before Judge John L. Kane. Defendants are required to attend the hearing.
                             Entered by Judge John L. Kane on 10/29/15. Text Only Entry (jhawk, ) (Entered:
                             10/29/2015)
            10/30/2015   860 RESTRICTED DOCUMENT - Level 1. (jhawk, ) (Entered: 11/02/2015)
            10/30/2015   861 Courtroom Minutes for Closed to the Public Status Conference held before Judge
                             John L. Kane as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 10/30/2015. Court
                             Reporter: Terri Lindblom. Interpreter: Irina Kamensky. (jhawk, ) Text Only Entry
                             (Entered: 11/02/2015)
            11/03/2015   862 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 11/03/2015)
            11/03/2015   863 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 11/03/2015)
            11/03/2015   864 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 11/03/2015)
            11/03/2015   865 ORDER granting 862 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                             Access to Docket 864 shall be limited to the parties and the court pursuant to
                             D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 11/03/15. (jhawk, )
                             (Entered: 11/03/2015)
            11/04/2015   866 CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                             11/04/2015)
            11/04/2015   868 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) Modified on 11/5/2015 to term motion pursuant to the order of
                             11/05/15, as our system won't term it. (jhawk, ). (Entered: 11/04/2015)
            11/04/2015   869 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 11/04/2015)



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            11/04/2015   870 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 11/04/2015)
            11/04/2015    911 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              11/4/2015. (shugh) (Entered: 12/22/2015)
            11/05/2015   872 ORDER granting 868 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                             Access to Docket 870 shall be limited to the parties and the court pursuant to
                             D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 11/05/15. (jhawk, )
                             (Entered: 11/05/2015)
            11/10/2015   878 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 11/10/2015)
            11/10/2015   879 NOTICE of Government's Ex Parte Filing of Additional Materials with The Court
                             Relating to Documents 559 and 569 by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) Modified to add linkage on 11/12/2015 (agarc, ).
                             (Entered: 11/10/2015)
            11/11/2015   880 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/11/2015)
            11/11/2015   881 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/11/2015)
            11/13/2015   883 CJA MOTION by Bakhtiyor Jumaev. (Attachments: # 1 CJA Attachment, # 2 CJA
                             Attachment)(Baker, Mitchell) (Entered: 11/13/2015)
            11/13/2015   884 ORDER granting 883 CJA Motion as to Bakhtiyor Jumaev (2). Signed by Judge John
                             L. Kane on 11/13/15. (jhawk, ) (Entered: 11/13/2015)
            11/18/2015   940 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/18/2015. (babia) (Entered: 02/03/2016)
            11/19/2015   885 Order Denying Motion to Suppress Evidence Obtained or Derived Under FISA
                             Amendments Acts or for Discovery re: 520 . Signed by Judge John L. Kane on
                             11/19/15. (jhawk, ) (Entered: 11/19/2015)
            11/19/2015   886 Order Declaring Moot Mr. Jumaev's Motion 521 to Suppress FAA-Acquired
                             Evidence. Signed by Judge John L. Kane on 11/19/15. (jhawk, ) (Entered:
                             11/19/2015)
            11/20/2015   941 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/20/2015. (babia) (Entered: 02/03/2016)
            11/20/2015   942 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/20/2015. (babia) (Entered: 02/03/2016)
            11/20/2015   943 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             11/20/2015. (babia) (Entered: 02/03/2016)
            11/23/2015   887 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (jhawk, ) (Entered:
                             11/23/2015)




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            11/25/2015   888 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov, Bakhtiyor Jumaev as
                             to Jamshid Muhtorov (Attachments: # 1 Attachment A, # 2 Attachment B, # 3
                             Attachment C, # 4 Attachment D, # 5 Attachment E)(Williamson, Warren) (Entered:
                             11/25/2015)
            11/25/2015   889 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov, Bakhtiyor Jumaev as
                             to Jamshid Muhtorov (Williamson, Warren) (Entered: 11/25/2015)
            11/25/2015   890 Joint MOTION for Leave to Restrict by Jamshid Muhtorov. (Attachments: # 1
                             Proposed Order (PDF Only))(Williamson, Warren) (Entered: 11/25/2015)
            11/30/2015   891 ORDER granting Defendants' 890 Motion for Leave to Restrict. Access to Docket
                             Nos. 888 and 889 shall be limited to the parties and the court pursuant to
                             D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 11/30/15. (jhawk, )
                             (Entered: 11/30/2015)
            11/30/2015   892 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 11/30/2015)
            11/30/2015   893 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 11/30/2015)
            11/30/2015   894 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 11/30/2015)
            12/01/2015   895 ORDER granting 892 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                             Bakhtiyor Jumaev (2). Access to Docket Nos. 893 and 894 shall be limited to the
                             parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L.
                             Kane on 12/01/15. (jhawk, ) (Entered: 12/01/2015)
            12/01/2015   896 TRANSCRIPT of Motion Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                             on 10/30/2015 before Judge Kane. Pages: 1-26. <br><br> NOTICE - REDACTION
                             OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                             inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                             redact personal identifiers from the electronic transcript of the court proceeding.
                             If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                             will be made electronically available after 90 days. Please see the Notice of
                             Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                             <br><br> Transcript may only be viewed at the court public terminal or purchased
                             through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                             posting on PACER. (tlind, ) (Entered: 12/01/2015)
            12/02/2015   897 CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                             12/02/2015)
            12/02/2015   898 RESTRICTED DOCUMENT - Level 1: re Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (jhawk, ) (Entered: 12/02/2015)
            12/02/2015   899 Courtroom Minutes for proceedings held before Judge John L. Kane: In Court
                             Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 12/2/2015. ORDERED:
                             Government's Request 870 is GRANTED, as specified. Transcripts shall be
                             surrendered, as specified. ORDERED: Government shall file an AMENDED



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                               Protective Order, as specified. ORDERED: Government's Motion 864 is DENIED as
                               MOOT. ORDERED: An In Court hearing is set for Monday, January 4, 2016 at 9:00
                               a.m. ORDERED: Defendants are REMANDED to the custody of the United States
                               Marshal for the District of Colorado. Court Reporter: Terri Lindblom. Interpreter:
                               Yuliya Fedasenka-Cloud and Alla Seletskaya. (jhawk, ) (Entered: 12/03/2015)
            12/04/2015   900 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 12/04/2015)
            12/04/2015   901 NOTICE OF ATTORNEY APPEARANCE Kiersten Jennifer Korczynski appearing
                             for USA. Attorney Kiersten Jennifer Korczynski added to party USA(pty:pla)
                             (Korczynski, Kiersten) (Entered: 12/04/2015)
            12/04/2015   914 CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/4/2015. (shugh) (Entered: 12/31/2015)
            12/07/2015   912 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             12/7/2015. (shugh) (Entered: 12/31/2015)
            12/07/2015   913 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/7/2015. (shugh) (Entered: 12/31/2015)
            12/07/2015   915 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             12/7/2015. (shugh) (Entered: 12/31/2015)
            12/10/2015   902 NOTICE of Compliance by Jamshid Muhtorov (Williamson, Warren) (Entered:
                             12/10/2015)
            12/10/2015   903 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             12/10/2015)
            12/10/2015   904 NOTICE OF COMPLIANCE by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                             12/10/2015)
            12/11/2015   905 TRANSCRIPT of Motion Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                             on 12/02/2015 before Judge Kane. Pages: 1-40. <br><br> NOTICE - REDACTION
                             OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                             inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                             redact personal identifiers from the electronic transcript of the court proceeding.
                             If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                             will be made electronically available after 90 days. Please see the Notice of
                             Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                             <br><br> Transcript may only be viewed at the court public terminal or purchased
                             through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                             posting on PACER. (tlind, ) (Entered: 12/11/2015)
            12/14/2015   933 CJA 21/31 Authorization for Service as to Jamshid Muhtorov by Judge John L. Kane
                             on 12/14/2015. (shugh) (Entered: 01/20/2016)
            12/18/2015   906 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Savitz, David) (Entered: 12/18/2015)




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            12/18/2015   907 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/18/2015)
            12/18/2015   908 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 12/18/2015)
            12/18/2015   909 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 12/18/2015)
            12/18/2015   910 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 12/18/2015)
            01/05/2016   916 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 01/05/2016)
            01/11/2016   917 SECOND SUPERSEDING PROTECTIVE ORDER as to Jamshid Muhtorov,
                             Bakhtiyor Jumaev. Signed by Judge John L. Kane on 1/11/2016. (agarc, ) (Entered:
                             01/11/2016)
            01/12/2016   918 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/12/2016)
            01/12/2016   919 MINUTE ENTRY for proceedings held before Judge John L. Kane: Ex Parte In-Court
                             Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 1/12/2016. Court
                             Reporter: Terri Lindblom. (agarc, ) (Entered: 01/12/2016)
            01/13/2016   920 Objection Defendants' Joint Objections to Entry of the Second Superseding Protective
                             Order (Doc. 917) and Motion for its Withdrawal and Reconsideration by Jamshid
                             Muhtorov, Bakhtiyor Jumaev re 917 Order (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                             Exhibit)(Savitz, David) (Entered: 01/13/2016)
            01/15/2016   921 MINUTE ORDER. Discovery is ongoing. Therefore, the Motions contained in the
                             Court's Docket Nos. 652 , 701 and 743 are DENIED with leave to refile at a later date
                             as Motions to Compel, if appropriate. Entered by Judge John L. Kane on 01/15/16.
                             Text Only Entry (jhawk, ) (Entered: 01/15/2016)
            01/15/2016   922 ORDER granting 800 Motion for Leave to Restrict as to Jamshid Muhtorov (1).
                             Access to Docket Nos. 801 and 802 shall be limited to the parties and the court
                             pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 01/15/16.
                             (jhawk, ) (Entered: 01/15/2016)
            01/15/2016   923 Minute ORDER denying as moot documents 458 , 590 , 813 , 825 as to Jamshid
                             Muhtorov (1) and Bakhtiyor Jumaev (2). Pursuant to JLK Chambers instruction. Text
                             Only Entry (jhawk, ) (Entered: 01/15/2016)
            01/15/2016   924 ORDER granting 712 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                             Bakhtiyor Jumaev (2). Access to Docket Nos. 713 and 714 shall be limited to the
                             parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L.
                             Kane on 01/15/16. (jhawk, ) (Entered: 01/15/2016)
            01/15/2016   925 Minute ORDER re 701 Motion for Order as to Bakhtiyor Jumaev (2). Pursuant to
                             document #921. on 01/15/16. Text Only Entry (jhawk, ) (Entered: 01/19/2016)




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            01/19/2016   926 RESTRICTED DOCUMENT - Level 1-Motion for Severance by Bakhtiyor Jumaev.
                             (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Savitz, David)
                             Modified on 1/20/2016 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                             01/19/2016)
            01/19/2016   927 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Savitz, David)
                             (Entered: 01/19/2016)
            01/19/2016   928 MOTION for Leave to Restrict Defendant Bakhtiyor Jumaev's Restrict Documents
                             926 and 927 by Bakhtiyor Jumaev. (Savitz, David) Modified on 1/19/2016 to correct
                             title (jhawk, ). (Entered: 01/19/2016)
            01/19/2016   929 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 01/19/2016)
            01/19/2016   930 CJA 24 Transcript Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 01/19/2016)
            01/19/2016   931 ORDER granting 928 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                             Access to Docket Nos. 926 and 927 shall be limited to the parties and the court
                             pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 1/19/16.
                             (jhawk, ) (Entered: 01/20/2016)
            01/19/2016   932 NOTICE of Conventionally Submitted Material re 926 Restricted Document - Level 1
                             by Bakhtiyor Jumaev. One Disk, located in the Clerks Office. Text Only Entry.
                             (jhawk, ) (Entered: 01/20/2016)
            01/21/2016   934 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/21/2016)
            01/22/2016   935 RESPONSE by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re: 920 Objection
                             (Other), filed by Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Proposed
                             Order (PDF Only))(Holloway, Gregory) (Entered: 01/22/2016)
            01/25/2016   955 CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             01/25/2016. (sglee,) (Entered: 02/26/2016)
            01/25/2016   956 CJA 24 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             01/25/2016. (sglee, ) (Entered: 02/26/2016)
            01/29/2016   936 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
            01/29/2016   937 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
            01/29/2016   938 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
            01/29/2016   939 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
            02/04/2016   957 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/4/2016. (shugh) (Entered: 02/29/2016)



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            02/04/2016   958 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/4/16. (limart) (Entered: 03/01/2016)
            02/04/2016   959 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/4/16. (limart) (Entered: 03/01/2016)
            02/04/2016   960 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/4/16. (limart) (Entered: 03/01/2016)
            02/04/2016   961 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             2/4/16. (limart) (Entered: 03/01/2016)
            02/05/2016   944 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 02/05/2016)
            02/05/2016   948 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/5/2016. (shugh) (Entered: 02/12/2016)
            02/08/2016   947 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/8/2016. (shugh) (Entered: 02/12/2016)
            02/12/2016   945 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 02/12/2016)
            02/12/2016   946 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/12/2016)
            02/17/2016   949 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
            02/17/2016   950 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA Attachment, # 5 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
            02/17/2016   951 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
            02/17/2016   952 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
            02/18/2016   953 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA Attachment, # 5 CJA
                             Attachment, # 6 CJA Attachment, # 7 CJA Attachment)(Savitz, David) (Entered:
                             02/18/2016)
            02/22/2016   954 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/22/2016. (shugh) (Entered: 02/24/2016)
            02/23/2016   969 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/23/2016. (shugh) (Entered: 03/04/2016)
            02/23/2016   970 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                             on 2/23/2016. (shugh) (Entered: 03/04/2016)




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            03/01/2016   962 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                             (Holloway, Gregory) (Entered: 03/01/2016)
            03/01/2016   963 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                             Jumaev (Holloway, Gregory) (Entered: 03/01/2016)
            03/01/2016   964 RESTRICTED DOCUMENT - Level 1-Response to Motion for Severance by USA as
                             to Bakhtiyor Jumaev (Holloway, Gregory) Modified on 3/3/2016 to add text pursuant
                             to JLK instructions (jhawk, ). (Entered: 03/01/2016)
            03/02/2016   965 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 03/02/2016)
            03/03/2016   966 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                             03/03/2016)
            03/03/2016   967 ORDER granting 962 Motion for Leave to Restrict as to Jamshid Muhtorov (1) and
                             Bakhtiyor Jumaev (2). Access to Docket Nos. 963 and 964 shall be limited to the
                             parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L.
                             Kane on 03/03/16. (jhawk, ) (Entered: 03/03/2016)
            03/03/2016   968 ORDER as to Bakhtiyor Jumaev re: Motion for Severance 926 . Having reviewed the
                             motion and the relevant pleadings and finding good cause appearing, the motion is
                             DENIED without prejudice to renew in the event a superseding indictment is filed.
                             Signed by Judge John L. Kane on 03/03/16. (jhawk, ) (Entered: 03/03/2016)
            03/04/2016   977 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/4/16. (limart) (Entered: 03/25/2016)
            03/14/2016   974 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             03/14/2016. (sglee, ) (Entered: 03/25/2016)
            03/14/2016   975 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             03/14/2016. (sglee, ) (Entered: 03/25/2016)
            03/14/2016   976 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             03/14/2016. (sglee, ) (Entered: 03/25/2016)
            03/17/2016   971 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 03/17/2016)
            03/21/2016   980 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             3/21/16. (limart, ) (Entered: 04/04/2016)
            03/24/2016   972 Joint MOTION for Order To Set Pretrial Deadlines and Trial Date Pursuant to a
                             Scheduling Order by Jamshid Muhtorov, Bakhtiyor Jumaev. (Savitz, David) (Entered:
                             03/24/2016)
            03/24/2016   973 ORDER granting 972 Motion to Set Pretrial Deadlines and a Trial Date as to Jamshid
                             Muhtorov (1), Bakhtiyor Jumaev (2). The parties are ordered to meet and confer on or
                             before May 5, 2016. The parties shall submit a proposed scheduling order on or
                             before June 1, 2016. The parties are ordered to call chambers JOINTLY on or before
                             June 8, 2016, to set a date and time for a status conference. Signed by Judge John L.
                             Kane on 03/24/16. (jhawk, ) (Entered: 03/24/2016)


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            03/25/2016   983 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             3/25/16. (limart, ) (Entered: 04/07/2016)
            03/31/2016   978 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 03/31/2016)
            04/01/2016   979 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/01/2016)
            04/04/2016   987 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/4/16. (limart, ) (Entered: 04/11/2016)
            04/04/2016   988 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/4/16. (limart, ) (Entered: 04/11/2016)
            04/04/2016   989 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/4/166. (limart, ) (Entered: 04/11/2016)
            04/05/2016   981 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 04/05/2016)
            04/06/2016   982 CJA 21/31 Payment Request as to Jamshid Muhtorov. (Attachments: # 1 CJA
                             Attachment)(Stimson, Kathryn) (Entered: 04/06/2016)
            04/06/2016   994 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                             4/6/16. (limart) (Entered: 04/19/2016)
            04/07/2016   995 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                             4/7/16. (limart) (Entered: 04/20/2016)
            04/08/2016   984 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/08/2016)
            04/08/2016   985 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/08/2016)
            04/08/2016   986 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/08/2016)
            04/13/2016   990 NOTICE of Change of Address/Contact Information (Stimson, Kathryn) (Entered:
                             04/13/2016)
            04/13/2016   991 NOTICE of Change of Address/Contact Information (Amended) (Stimson, Kathryn)
                             (Entered: 04/13/2016)
            04/14/2016   992 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/14/2016)
            04/14/2016   993 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment)(Baker, Mitchell) (Entered: 04/14/2016)
            04/20/2016   996 CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                             Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA Attachment)(Savitz,
                             David) (Entered: 04/20/2016)




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            04/25/2016    998 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              4/25/2016. (shugh) (Entered: 04/29/2016)
            04/25/2016   1002 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 4/25/2016. (shugh) (Entered: 05/05/2016)
            04/27/2016    997 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/27/2016)
            04/29/2016    999 CJA 20/30 Payment Request as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                              04/29/2016)
            05/04/2016   1000 MOTION for Order Government's Motion for Tolling of Speedy Trial Pursuant to 18
                              U.S.C. Section 3161(h)(7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 05/04/2016)
            05/04/2016   1001 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/04/2016)
            05/06/2016   1009 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              5/6/2016. (shugh) (Entered: 05/12/2016)
            05/12/2016   1003 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
            05/12/2016   1004 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
            05/12/2016   1005 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
            05/12/2016   1006 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
            05/12/2016   1007 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
            05/12/2016   1008 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
            05/13/2016   1010 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The parties are
                              directed to call chambers jointly on or before May 25, 2016, to set a Motion Hearing
                              date regarding Defendants' Joint Objections to Entry of the Second Superseding
                              Protective Order (Doc. 917) and Motion for its Withdrawal and Reconsideration (Doc.
                              920) and related documents - 303-844-6118. Ordered by Judge John L. Kane on
                              5/13/2016. Text Only Entry (jlksec) (Entered: 05/13/2016)
            05/13/2016   1011 CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/13/2016)
            05/16/2016   1012 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment, # 2 Exhibit)(Savitz, David) (Entered: 05/16/2016)
            05/17/2016   1019 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 5/17/2016. (shugh) (Entered: 05/23/2016)


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            05/17/2016   1051 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 5/17/2016. (shugh) (Entered: 06/28/2016)
            05/18/2016   1013 CJA 21/31 Request for Service as to Jamshid Muhtorov. (Stimson, Kathryn) (Entered:
                              05/18/2016)
            05/18/2016   1014 Third Superseding Indictment as to Jamshid Muhtorov (1) count(s) 1sss-4sss, 5sss,
                              6sss, Bakhtiyor Jumaev (2) count(s) 1ss-2ss, 5ss, 6ss. (Attachments: # 1 Criminal
                              Information Sheet, # 2 Criminal Information Sheet) (jhawk, ) (Entered: 05/19/2016)
            05/18/2016   1015 RESTRICTED DOCUMENT - Level 4: by Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (jhawk, ) (Entered: 05/19/2016)
            05/19/2016   1016 MINUTE ORDER Setting Re-Arraignment on Third Superseding Indictment 1014 for
                              6/1/2016 02:00 PM before Magistrate Judge Shaffer as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. Text Only Entry on 05/19/16 (jhawk, ) (Entered: 05/19/2016)
            05/20/2016   1017 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/20/2016)
            05/20/2016   1018 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/20/2016)
            05/24/2016   1020 MINUTE ORDER. This matter is set for a Status Conference/Motions Hearing on
                              June 7, 2016, at 10:00 a.m. in Courtroom A802. Entered by Judge John L. Kane on
                              05/24/16. (jhawk, ) (Entered: 05/24/2016)
            05/24/2016   1052 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 5/24/2016. (shugh) (Entered: 06/28/2016)
            05/25/2016   1021 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/25/2016)
            05/25/2016   1022 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/25/2016)
            05/25/2016   1023 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment)(Baker, Mitchell) (Entered: 05/25/2016)
            05/26/2016   1024 MOTION for Order Defendants' Proposed Scheduling Order in Response to the
                              Court's Order for the Submission of Same (Doc. 973) by Bakhtiyor Jumaev. (Savitz,
                              David) (Entered: 05/26/2016)
            05/26/2016   1025 MOTION to Disclose Grand Jury Material to Defendant Defendant Bakhtiyor
                              Jumaev's Motion for Disclosure of Grand Jury Materials by Bakhtiyor Jumaev.
                              (Savitz, David) (Entered: 05/26/2016)
            05/31/2016   1026 STATEMENT Regarding Scheduling Order: Government's Proposed Scheduling
                              Order by Plaintiff USA (Holloway, Gregory) (Entered: 05/31/2016)
            05/31/2016   1041 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              5/31/2016. (shugh) (Entered: 06/17/2016)
            05/31/2016   1042 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              5/31/2016. (shugh) (Entered: 06/17/2016)


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            05/31/2016   1053 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 5/31/2016. (shugh) (Entered: 06/28/2016)
            05/31/2016   1054 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 5/31/2016. (shugh) (Entered: 06/28/2016)
            05/31/2016   1055 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 5/31/2016. (shugh) (Entered: 06/28/2016)
            06/01/2016   1027 COURTROOM MINUTES for proceedings held before Magistrate Judge Craig B.
                              Shaffer: Re-Arraignment on Third Superseding Indictment as to Jamshid Muhtorov
                              held on 6/1/2016. Defendant present in custody. Interpreter sworn. Defendant advised
                              of new charges. Defendant waives further reading of indictment. Plea of NOT
                              GUILTY entered by defendant. Defendant remanded. (Total time: 5 minutes, Hearing
                              time: 2:11-2:16 p.m.)

                               APPEARANCES: Greg Holloway on behalf of the Government, Brian Leedy, Rick
                               Williamson, Kathryn Stimson on behalf of the defendant. FTR: CRIMINAL DUTY
                               PM. Interpreter: Irina Kamensky. (amont, ) Text Only Entry (Entered: 06/01/2016)
            06/01/2016   1028 COURTROOM MINUTES for proceedings held before Magistrate Judge Craig B.
                              Shaffer: Re-Arraignment on Third Superseding Indictment as to Bakhtiyor Jumaev
                              held on 6/1/2016. Defendant present in custody. Interpreter sworn by phone.
                              Defendant advised of new charges. Defendant waives further reading of indictment.
                              Plea of NOT GUILTY entered by defendant. Defendant remanded. (Total time: 10
                              minutes, Hearing time: 2:16-2:26 p.m.)

                               APPEARANCES: Greg Holloway on behalf of the Government, David Savitz and
                               Mitchell Baker on behalf of the defendant. FTR: CRIMINAL DUTY PM. Interpreter:
                               Sanjar Babadjanov (by phone). (amont, ) Text Only Entry (Entered: 06/01/2016)
            06/01/2016   1040 CJA 21/31 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                              6/1/2016. (shugh) (Entered: 06/17/2016)
            06/06/2016   1029 CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                              Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 06/06/2016)
            06/06/2016   1030 CJA Travel Request (Non-Defendant) as to Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 06/06/2016)
            06/06/2016   1031 CJA Travel Request (Non-Defendant) as to Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 06/06/2016)
            06/06/2016   1043 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/6/2016. (shugh) (Entered: 06/20/2016)
            06/06/2016   1044 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/6/2016. (shugh) (Entered: 06/20/2016)
            06/07/2016   1032 COURTROOM MINUTES for Status Conference / Motions Hearing as to Jamshid
                              Muhtorov and Bakhtiyor Jumaev held before Judge John L. Kane on 6/7/2016.
                              Granting 1000 Government's Motion for Tolling of Speedy Trial as to Jamshid



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                               Muhtorov and Bakhtiyor Jumaev. On or before 6/16/2016, Government shall file its
                               objections to Motion for Disclosure of Grand Jury Materials. Court adopts Scheduling
                               Order. Four week Jury Trial set for 3/13/2017 09:00 AM in Courtroom A 802 before
                               Judge John L. Kane. Five day Suppression Hearing set for 1/9/2017 at 10:00 AM in
                               Courtroom A 802 before Judge John L. Kane. Counsel shall submit their at issue
                               memorandums no later than 6/30/2016. Defendants remanded. Court Reporter: Terri
                               Lindblom. Interpreters: Yuliya Fedasenka-Cloud and Sanjar Babadjanov. (ebuch)
                               (Entered: 06/07/2016)
            06/07/2016   1033 CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/7/2016. (shugh) (Entered: 06/09/2016)
            06/07/2016   1034 CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/7/2016. (shugh) (Entered: 06/09/2016)
            06/07/2016   1056 CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John L. Kane
                              on 6/7/2016. (shugh) (Entered: 06/28/2016)
            06/09/2016   1035 MOTION for Disclosure of Grand Jury Materials by Jamshid Muhtorov. (Leedy,
                              Brian) (Entered: 06/09/2016)
            06/10/2016   1036 CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                              06/10/2016)
            06/10/2016   1037 MOTION for Extension of Time to File Response/Reply as to 1035 MOTION for
                              Disclosure of Grand Jury Materials, 1025 MOTION to Disclose Grand Jury Material
                              to Defendant Defendant Bakhtiyor Jumaev's Motion for Disclosure of Grand Jury
                              Materials by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory)
                              (Entered: 06/10/2016)
            06/10/2016   1038 ORDER GRANTING 1037 Government's Motion to Enlarge Time for Filing a
                              Response to Defendants' Motions for Disclosure of Grand Jury Materials as to
                              Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). The Government's response(s) to the
                              pending Motions (Doc. 1025) and (Doc. 1035) are due on or before June 23, 2016.
                              Ordered by Judge John L. Kane on 6/10/2016. Text Only Entry (jlksec) (Entered:
                              06/10/2016)
            06/14/2016   1039 Third Superseding Protective Order as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              Signed by Judge John L. Kane on 06/14/16. (jhawk, ) (Entered: 06/14/2016)
            06/15/2016   1045 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/15/2016. (shugh) (Entered: 06/21/2016)
            06/20/2016   1046 CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/20/2016. (shugh) (Entered: 06/23/2016)
            06/20/2016   1047 CJA 20/30 Payment Authorization as to Jamshid Muhtorov by Judge John L. Kane on
                              6/20/2016. (shugh) (Entered: 06/23/2016)
            06/23/2016   1048 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1035
                              MOTION for Disclosure of Grand Jury Materials, 1025 MOTION to Disclose Grand
                              Jury Material to Defendant Defendant Bakhtiyor Jumaev's Motion for Disclosure of
                              Grand Jury Materials (Holloway, Gregory) (Entered: 06/23/2016)


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            06/24/2016   1069 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/24/2016. (shugh) (Entered: 07/14/2016)
            06/24/2016   1070 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/24/2016. (shugh) (Entered: 07/14/2016)
            06/24/2016   1071 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/24/2016. (shugh) (Entered: 07/14/2016)
            06/24/2016   1072 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/24/2016. (shugh) (Entered: 07/14/2016)
            06/24/2016   1073 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/24/2016. (shugh) (Entered: 07/14/2016)
            06/24/2016   1074 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/24/2016. (shugh) (Entered: 07/15/2016)
            06/27/2016   1049 MOTION for Leave to File A REPLY TO GOVERNMENTS RESPONSE TO
                              DEFENDANTS MOTIONS FOR DISCLOSURE OF GRAND JURY MATERIALS
                              (DOC.1048) by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered: 06/27/2016)
            06/27/2016   1050 ORDER granting 1049 Motion for Leave to File as to Bakhtiyor Jumaev (2).
                              Defendant Jumaev shall file his reply to his Motion for Disclosure of Grand Jury
                              Materials (Doc. 1025) on or before July 7, 2016. Ordered by Judge John L. Kane on
                              6/27/2016. Text Only Entry (jlksec) (Entered: 06/27/2016)
            06/28/2016   1075 CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                              6/28/2016. (shugh) (Entered: 07/15/2016)
            06/30/2016   1057 NOTICE of Defendant Muhtorov's At Issue Memorandum by Jamshid Muhtorov
                              (Williamson, Warren) (Entered: 06/30/2016)
            06/30/2016   1058 NOTICE of Defendant Jumaev's At Issue Memorandum by Bakhtiyor Jumaev (Baker,
                              Mitchell) (Entered: 06/30/2016)
            06/30/2016   1059 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 06/30/2016)
            06/30/2016   1060 Amended MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev. (Holloway, Gregory) (Entered: 06/30/2016)
            06/30/2016   1061 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) (Entered: 06/30/2016)
            06/30/2016   1062 UNRESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev (Holloway, Gregory) Modified on 6/30/2016 unrestricted pursuant
                              to the Order of 06/30/16 and Chambers instructions (jhawk, ). (Entered: 06/30/2016)
            06/30/2016   1063 ORDER. Government's Motion to [re-]Restrict Document 742 (Doc. 1062 ) pending
                              resolution of defendants' motion to unrestrict it is GRANTED. The Clerk shall re-
                              restrict Doc. 742 , signal that Doc. 754 remains pending, and the parties shall
                              CONFER and NOTIFY the Court of a preferred briefing schedule. Government's
                              Amended Motion to Restrict Document No. 1062 (Doc. 1060 ) is DENIED. However,



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                                the brief (Doc. 1061 ) shall be limited to the parties and the court pursuant to
                                D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 06/30/16. (jhawk, )
                                (Entered: 06/30/2016)
            06/30/2016   1064 MINUTE ORDER. Back in October 2014, Defendant Muhtorov filed a procedural
                              motion (Doc. 658 ) seeking to "adopt," or join, in Defendant Jumaev's Motion
                              Requiring the Government ot Provide Notice of Interceptions and/or Surveillance of
                              his Defense Counsel and Members of his Defense Team (Doc. 652 ). While the court
                              denied Doc. 652 with leave to refile at a later date as a Motion to Compel and directed
                              the Clerk to term Doc. 658 as moot, Mr. Jumaev reminds the court that Doc. 658 was
                              never formally ruled on. Accordingly, and for the record, Mr. Muhtorov's Motion
                              (Doc. 658 ) to Adopt a Motion (Doc. 652 ) that is not currently pending, is DENIED,
                              as MOOT. Entered by Judge John L. Kane on 06/30/16. Text Only Entry (jhawk, )
                              (Entered: 06/30/2016)
            06/30/2016   1065 NOTICE of Government's Notice of Items At Issue by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 06/30/2016)
            06/30/2016   1066 NOTICE OF ATTORNEY APPEARANCE David Alan Tonini appearing for USA.
                              Attorney David Alan Tonini added to party USA(pty:pla) (Tonini, David) (Entered:
                              06/30/2016)
            07/07/2016   1067 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 1049 MOTION for Leave
                              to File A REPLY TO GOVERNMENTS RESPONSE TO DEFENDANTS MOTIONS
                              FOR DISCLOSURE OF GRAND JURY MATERIALS (DOC.1048) (Attachments: # 1
                              Exhibit)(Savitz, David) (Entered: 07/07/2016)
            07/13/2016   1068 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                              on 6/7/2016 before Judge Kane. Pages: 1-50. <br><br> NOTICE - REDACTION
                              OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 07/13/2016)
            07/19/2016   1076 MOTION for Leave to Restrict by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 07/19/2016)
            07/19/2016   1077 Amended MOTION for Leave to Restrict by Jamshid Muhtorov. (Williamson,
                              Warren) (Entered: 07/19/2016)
            07/19/2016   1078 Amended MOTION for Leave to Restrict by Jamshid Muhtorov. (Williamson,
                              Warren) (Entered: 07/19/2016)
            07/19/2016   1079 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 07/19/2016)




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            07/19/2016   1080 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Attachments: # 1
                              Attachment 1)(Williamson, Warren) (Entered: 07/19/2016)
            07/20/2016   1081 ORDER granting 1078 Motion for Leave to Restrict as to Jamshid Muhtorov (1).
                              Entered by Judge John L. Kane on 07/20/16. Text Only Entry (jhawk, ) (Entered:
                              07/20/2016)
            07/20/2016   1082 RESTRICTED DOCUMENT - Level 3. (jhawk, ) (Entered: 07/20/2016)
            07/21/2016   1083 ORDER Denying Motions 1025 and 1035 for Disclosure [Additional] Grand Jury
                              Materials as to Jamshid Muhtorov and Bakhtiyor Jumaev (2). Signed by Judge John
                              L. Kane on 07/21/16. (jhawk, ) (Entered: 07/21/2016)
            07/22/2016   1084 MINUTE ORDER. The Government is DIRECTED to file its response to Defendants'
                              Joint Motion to Unrestrict 742 754 on or before August 18, 2016. Defendants shall
                              file their replies, if any, on or before September 9, 2016. Entered by Judge John L.
                              Kane on 0722/16. Text Only Entry (jhawk, ) (Entered: 07/22/2016)
            08/17/2016   1085 STIPULATION TO CLARIFY/MODIFY CERTAIN PROVISIONS OF THE
                              SCHEDULING ORDER (DOC.1032) by Bakhtiyor Jumaev (Baker, Mitchell)
                              (Entered: 08/17/2016)
            08/17/2016   1086 ORDER Adopting Stipulation to Amend the Scheduling Order 1032 as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev. Signed by Judge John L. Kane on 08/17/16. (jhawk, )
                              (Entered: 08/17/2016)
            08/18/2016   1087 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 754
                              MOTION for Order to Unrestrict Doc. 742 (Holloway, Gregory) (Entered:
                              08/18/2016)
            08/18/2016   1088 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 08/18/2016)
            08/18/2016   1089 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) (Entered: 08/18/2016)
            08/18/2016   1090 RESTRICTED DOCUMENT - Level 1-Response in Opposition to Defendants' Joint
                              Motion to Unrestrict doc. 752 (doc. 754) by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) Modified on 9/9/2016 to add text (jhawk, ). (Entered:
                              08/18/2016)
            08/18/2016   1091 RESPONSE in Opposition to Motion by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev re 754 MOTION for Order to Unrestrict Doc. 742. (Public entry for restricted
                              document 1090 filed on 08/18/16) Text only entry (jhawk, ) (Entered: 08/19/2016)
            08/24/2016   1092 NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the United
                              States Pursuant to the Classified Information Procedures Act by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 08/24/2016)
            08/25/2016   1093 MINUTE ENTRY for Ex Parte In Court Hearing proceedings held before Judge John
                              L. Kane on 8/25/2016 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Pursuant to 1092 . Court Reporter: Terri Lindblom. (babia) (Entered: 08/25/2016)




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            08/29/2016   1094 Protective Order as to Jamshid Muhtorov, Bakhtiyor Jumaev. Signed by Judge John L.
                              Kane on 08/29/16. (jhawk, ) (Entered: 08/29/2016)
            09/09/2016   1095 Joint MOTION for Leave to Restrict by Jamshid Muhtorov, Bakhtiyor Jumaev as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev. (Leedy, Brian) Modified on 9/9/2016 to
                              correct filers (jhawk, ). (Entered: 09/09/2016)
            09/09/2016   1096 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov, Bakhtiyor Jumaev as
                              to Jamshid Muhtorov, Bakhtiyor Jumaev (Leedy, Brian) Modified on 9/9/2016 to
                              correct filers (jhawk, ). (Entered: 09/09/2016)
            09/09/2016   1097 RESTRICTED DOCUMENT - Level 1-Reply in Support of Their Motion to
                              Unrestrict Document 742 by Jamshid Muhtorov, Bakhtiyor Jumaev as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Attachment 1)(Leedy, Brian)
                              Modified on 9/9/2016 to correct filers (jhawk, ). (Entered: 09/09/2016)
            09/09/2016   1098 ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Order granting 1088
                              Motion for Leave to Restrict. Access to Docket Nos. 1089 and 1090 shall be limited
                              to the parties and the court pursuant to D.C.COLO.LCrR 47.1 (A). Signed by Judge
                              John L. Kane on 09/9/16. (jhawk, ) (Entered: 09/09/2016)
            09/09/2016   1099 ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Order granting 1095
                              Motion for Leave to Restrict. Access to Docket Nos. 1096 and 1097 shall be limited
                              to the parties and the court pursuant to D.C.COLO.LCrR 47.1 (A). Signed by Judge
                              John L. Kane on 09/09/16. (jhawk, ) (Entered: 09/09/2016)
            09/19/2016   1100 MOTION for Order Stipulation to Modify Certain Provisions of the Scheduling Order
                              by Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David)
                              (Entered: 09/19/2016)
            09/19/2016   1101 ORDER re: Stipulation to Modify Certain Provisions of the Scheduling Order 1100 as
                              to Jamshid Muhtorov, Bakhtiyor Jumaev. The Rule 12 motions: October 14, 2016:
                              deadline for filing of the defendants' Rule 12 Motions; November 14: deadline for
                              filing of the government's responses to defendants' Rule 12 motions; and November
                              25, 2016: deadline for filing of defendants' replies to government's responses to Rule
                              12 motions; (B) The Suppression motions; November 7, 2016: deadline for filing of
                              the defendants' suppression motions; December 7, 2016: deadline for filing of the
                              government's responses to defendants' suppression motions; and December 16, 2016:
                              deadline for filing of defendants' replies to the government's responses to the
                              defendants' suppression motions. Except as noted by the foregoing modifications, the
                              scheduling orders (Docs. 1032 and 1086 ) are re-adopted and re-affirmed. Signed by
                              Judge John L. Kane on 09/19/16. (jhawk, ) (Entered: 09/20/2016)
            09/29/2016   1102 STIPULATION to Modify Scheduling Order by Bakhtiyor Jumaev (Attachments: # 1
                              Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 09/29/2016)
            09/30/2016   1103 ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Court having reviewed the
                              stipulation (Doc. 1102 ) and being fully informed in this matter does hereby modify
                              the scheduling order (Docs. 1032 , 1086 , and 1101 ) in the following respects only:
                              discovery motions are to be filed on or before October 14, 2016; the governments
                              response to be filed on or before October 28, 2016; and any defense reply to be filed



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                               on or before November 8, 2016. Except as noted by the foregoing modifications, the
                               scheduling orders (Docs. 1032 , 1086 and 1101 ) are re-adopted and re-affirmed.
                               Signed by Judge John L. Kane on 09/30/16. (jhawk, ) (Entered: 09/30/2016)
            09/30/2016   1104 NOTICE Government's Case in Chief Expert Disclosure by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              (Entered: 09/30/2016)
            10/03/2016   1105 MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                              Government in its Investigation by Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Attachments: # 1 Attachment)(Williamson, Warren) Modified on 10/3/2016
                              terminated as refiled in document 1107 (jhawk, ). (Entered: 10/03/2016)
            10/03/2016   1106 Joint MOTION for Disclosure and Objection to Secret Litigation of Fourth
                              Amendment Suppression Issues by Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Williamson, Warren) Modified on 10/3/2016 Motion terminated and refiled in
                              document 1108 (jhawk, ). (Entered: 10/03/2016)
            10/03/2016   1107 Joint MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                              Government in its Investigation by Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Williamson, Warren) (Entered: 10/03/2016)
            10/03/2016   1108 Joint MOTION for Disclosure and Objection to Secret Litigation of Fourth
                              Amendment Suppression Issues by Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Attachments: # 1 Attachment)(Williamson, Warren) (Entered: 10/03/2016)
            10/04/2016   1109 Joint MOTION for Clarification and Reconsideration by Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Williamson, Warren)
                              (Entered: 10/04/2016)
            10/12/2016   1110 MOTION to Appoint Counsel by Jamshid Muhtorov as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Leedy, Brian) (Entered: 10/12/2016)
            10/12/2016   1111 ORDER granting 1110 Motion to Appoint Counsel as to Jamshid Muhtorov (1). Brian
                              R. Leedy is appointed to represent Mr. Muhtorov in his individual capacity as counsel
                              under the Criminal Justice Act. Ordered by Judge John L. Kane on 10/12/2016. Text
                              Only Entry (jlksec) (Entered: 10/12/2016)
            10/14/2016   1112 MOTION to Dismiss Counts Five by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                              10/14/2016)
            10/14/2016   1113 WITHDRAWN RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Attachments: # 1 Exhibit Attachment A, # 2 Exhibit Attachment
                              B)(Leedy, Brian) Modified on 10/24/2016 withdrawn pursuant to the minute order of
                              10/24/16 (jhawk, ). (Entered: 10/14/2016)
            10/14/2016   1114 WITHDRAWN RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Attachments: # 1 Exhibit Attachment A)(Leedy, Brian) Modified
                              on 10/24/2016 withdrawn pursuant to the minute order of 10/24/16 (jhawk, ).
                              (Entered: 10/14/2016)
            10/14/2016   1115 MOTION to Dismiss Count 5 of the Indictment by Jamshid Muhtorov. (Williamson,
                              Warren) (Entered: 10/14/2016)


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            10/17/2016   1116 MOTION for Leave to Restrict by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 10/17/2016)
            10/17/2016   1117 UNRESTRICTED DOCUMENT - Level 1: Brief in Support of 116 Motion for Leave
                              to Restrict by Jamshid Muhtorov. (Williamson, Warren) Modified on 10/17/2016 to
                              add title of document to and to unrestrict pursuant to 1119 Order (athom, ). (Entered:
                              10/17/2016)
            10/17/2016   1118 RESTRICTED DOCUMENT - Level 1: Motion to Sever by Jamshid Muhtorov.
                              (Williamson, Warren) Modified on 10/17/2016 to add title of document pursuant to
                              chambers instructions (athom, ). (Entered: 10/17/2016)
            10/17/2016   1119 ORDER granting in part and denying in part 1116 Motion for Leave to Restrict as to
                              Jamshid Muhtorov. Signed by Judge John L. Kane on 10/17/2016. (athom, ) (Entered:
                              10/17/2016)
            10/19/2016   1120 MOTION for Order to Adopt Codefendant's Pleading Doc. 1115 by Bakhtiyor
                              Jumaev. (Baker, Mitchell) (Entered: 10/19/2016)
            10/19/2016   1121 ORDER granting 1120 Defendant Jumaev's Motion to Adopt Codefendant's Motion,
                              Doc. 1115. Defendant Bakhtiyor Jumaev (2) is allowed to adopt the motion filed by
                              Defendant Jamshid Muhtorov in Doc. 1115. Text Only Entry (jlksec) (Entered:
                              10/19/2016)
            10/20/2016   1122 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Baker, Mitchell) (Entered: 10/20/2016)
            10/20/2016   1123 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Baker, Mitchell) (Entered: 10/20/2016)
            10/20/2016   1124 MINUTE ORDER. Defendants' Joint Motion to Supplement Doc. 1113 (Doc. 1122 )
                              and Defendants' Joint Motion to Supplement Doc. 1114 (Doc. 1123 ) are DENIED.
                              Rather than clutter the docket with duplicative filings, the parties are directed to
                              withdraw Nos. 1113 and 1114 and refile the supplements as corrected versions of the
                              same. The refiled documents will be accepted as timely filed if they are received by
                              Friday, October 21, 2016. Entered by Judge John L. Kane on 10/20/16. Text Only
                              Entry (jhawk, ) Modified on 10/20/2016 to correct DUE DATE (jhawk, ). (Entered:
                              10/20/2016)
            10/21/2016   1125 MOTION to Withdraw Document 1114 Restricted Document - Level 1, 1113
                              Restricted Document - Level 1 by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                              10/21/2016)
            10/21/2016   1126 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell) (Entered: 10/21/2016)
            10/21/2016   1127 RESTRICTED DOCUMENT - Level 1-Memorandum in Support of Defendants' Joint
                              Motion for Discovery by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker,
                              Mitchell) Modified on 10/24/2016 to add text (jhawk, ). (Entered: 10/21/2016)
            10/24/2016   1128 MINUTE ORDER granting Motion to Withdraw Doc. 1113 and Doc. 1114 (Doc.
                              1125 ). The Clerk is directed to withdraw Document Nos. 1113 and 1114 and mooting
                              the motion contained therein. The documents have been refiled as Document Nos.


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                                1126 and 1127. Entered by Judge John L. Kane on 10/24/16. Text Only Entry (jhawk,
                                ) (Entered: 10/24/2016)
            10/26/2016   1129 MOTION for Order Motion for Tolling of Speedy Trial Pursuant to 18 U.S.C., Section
                              3161(h)(7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway,
                              Gregory) (Entered: 10/26/2016)
            10/27/2016   1130 ORDER granting 1129 Motion for Tolling of Speedy Trial as to Jamshid Muhtorov
                              (1), Bakhtiyor Jumaev (2). ORDERED that an additional 137 days SHALL BE
                              EXCLUDED from speedy trial calculations pursuant to 18 U.S.C. § 3161 (h)(7)
                              (B)(ii). Signed by Judge John L. Kane on 10/27/16. (jhawk, ) (Entered: 10/27/2016)
            10/28/2016   1131 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1106
                              Joint MOTION for Disclosure and Objection to Secret Litigation of Fourth
                              Amendment Suppression Issues (Holloway, Gregory) (Entered: 10/28/2016)
            10/28/2016   1132 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1107
                              Joint MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                              Government in its Investigation (Holloway, Gregory) (Entered: 10/28/2016)
            10/28/2016   1133 RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1109
                              Joint MOTION for Clarification and Reconsideration (Holloway, Gregory) (Entered:
                              10/28/2016)
            10/28/2016   1134 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 10/28/2016)
            10/28/2016   1135 RESTRICTED DOCUMENT - Level 1-Response to 1126 by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on 10/31/2016 to add
                              text pursuant to JLK instructions (jhawk, ). (Entered: 10/28/2016)
            10/28/2016   1136 NOTICE Defendant Jumaev's Expert Witness Endorsement of Professor Adeeb Khalid
                              by Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Savitz, David) (Entered:
                              10/28/2016)
            10/28/2016   1137 ORDER granting 1134 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                              Access to Docket No. 1135 shall be limited to the parties and the court pursuant to
                              D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 10/28/16. (jhawk, )
                              (Entered: 10/31/2016)
            10/31/2016   1138 RESTRICTED DOCUMENT - Level 1-Expert Witness Endorsement by Bakhtiyor
                              Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Savitz, David) Modified
                              on 11/1/2016 to add text (jhawk, ). (Entered: 10/31/2016)
            11/01/2016   1139 NOTICE Defendant Jumaev's Expert Witness Endorsement of Dr. Marc Sageman by
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit)(Savitz, David) (Entered:
                              11/01/2016)
            11/01/2016   1140 RESTRICTED DOCUMENT - Level 1-Expert Witness Endorsement by Bakhtiyor
                              Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit)(Savitz, David) Modified on
                              11/1/2016 to add text (jhawk, ). (Entered: 11/01/2016)




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            11/01/2016   1141 NOTICE of Defendant's Expert Disclosures by Jamshid Muhtorov (Attachments: # 1
                              Attachment 1, # 2 Attachment 2, # 3 Attachment 3, # 4 Attachment 4)(Williamson,
                              Warren) (Entered: 11/01/2016)
            11/01/2016   1142 NOTICE by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit)(Baker,
                              Mitchell) Modified to correct text on 4/17/2018 (cthom, ). (Entered: 11/01/2016)
            11/01/2016   1143 RESTRICTED DOCUMENT - Level 1-Proffer in Support of Co-Conspirator
                              Statements Admissible by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit CO-CONSPIRATOR STATEMENTS)(Tonini, David)
                              Modified on 11/2/2016 to add text (jhawk, ). (Entered: 11/01/2016)
            11/01/2016   1144 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Tonini, David) (Entered: 11/01/2016)
            11/01/2016   1145 NOTICE of Defendant Jumaev's Expert Witness Endorsement of Dr. Robert A.
                              Leonard by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit)(Baker,
                              Mitchell) (Entered: 11/01/2016)
            11/01/2016   1146 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                              RULES/PROCEDURES: re: 1143 Restricted Document - Level 1, filed by attorney
                              David A. Tonini. The document is incorrectly formatted-DOUBLE SPACE ALL
                              DOCUMENTS DO NOT REFILE THE DOCUMENT. Action to take - future
                              documents must be filed pursuant to D.C.COLO.LCrR 49.3. (Text Only Entry)
                              (jhawk, ) (Entered: 11/02/2016)
            11/02/2016   1147 ORDER granting 1144 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                              Bakhtiyor Jumaev (2). Access to Docket No. 1143 shall be limited to the parties and
                              the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                              11/02/16. (jhawk, ) (Entered: 11/02/2016)
            11/03/2016   1148 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 11/03/2016)
            11/03/2016   1149 RESTRICTED DOCUMENT - Level 1-Response to Motion to Sever Case from
                              Codefendant 1118 by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway,
                              Gregory) Modified on 11/4/2016 to add text (jhawk, ). (Entered: 11/03/2016)
            11/04/2016   1150 ORDER granting 1148 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                              Bakhtiyor Jumaev (2). Access to Docket No. 1143 shall be limited to the parties and
                              the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                              11/04/16. (jhawk, ) (Entered: 11/04/2016)
            11/04/2016   1151 RESTRICTED DOCUMENT - Level 1: MOTION to Suppress Defendant Jumaev's
                              Motion to Suppress Evidence Derived from Execution of Illegal Extra-Territorial
                              Warrants by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, #
                              4 Exhibit, # 5 Exhibit)(Savitz, David) Modified on 11/10/2016 to restrict at a level 1
                              pursuant to 1165 (slibi, ). (Entered: 11/04/2016)
            11/04/2016   1152 RESTRICTED DOCUMENT - Level 1-Motion to Suppress filed November 4, 2016
                              by Bakhtiyor Jumaev. (Savitz, David) Modified on 11/4/2016 to add text pursuant to
                              Chambers instruction (jhawk, ). (Entered: 11/04/2016)



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            11/04/2016   1153 CORRECTED ORDER re: 1150 as to Jamshid Muhtorov, Bakhtiyor Jumaev. Access
                              to 1149 shall be limited to the parties and the court pursuant to D.C.COLO.LCrR
                              47.1(A). Signed by Judge John L. Kane on 11/04/16. (jhawk, ) (Entered: 11/04/2016)
            11/04/2016   1154 RESTRICTED DOCUMENT - Level 1-Motion to Suppress and Request for Hearing
                              by Bakhtiyor Jumaev. (Savitz, David) Modified on 11/4/2016 to add text pursuant to
                              Chambers instruction (jhawk, ). (Entered: 11/04/2016)
            11/07/2016   1155 MOTION for Order for Defendant Muhtorov to Adopt the Arguments in Codefendant
                              Jumaev's Motion to Suppress Doc. 1152 by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 11/07/2016)
            11/07/2016   1156 MOTION to Suppress Statements by Jamshid Muhtorov as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Leedy, Brian) (Entered: 11/07/2016)
            11/07/2016   1157 ORDER granting 1155 Defendant Muhtorov's Motion To Adopt the Arguments in
                              Codefendant Jumaev's Motion to Suppress, Doc. 1152. Defendant Jamshid Muhtorov
                              (1) is allowed to adopt the motion filed by Defendant Bakhtiyor Jumaev in Doc. 1152.
                              Ordered by Judge John L. Kane on 11/7/2016. Text Only Entry (jlksec) (Entered:
                              11/07/2016)
            11/07/2016   1158 REPLY by Jamshid Muhtorov to 1135 Restricted Document - Level 1 (Williamson,
                              Warren) (Entered: 11/07/2016)
            11/08/2016   1159 Joint MOTION for Leave to Restrict by Jamshid Muhtorov as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Williamson, Warren) (Entered: 11/08/2016)
            11/08/2016   1160 UNRESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Williamson, Warren) Modified on 11/8/2016
                              unrestricted pursuant to the Minute Order of 11/08/16 (jhawk, ). (Entered:
                              11/08/2016)
            11/08/2016   1161 RESTRICTED DOCUMENT - Level 1-Joint Reply to Motions 1107 and 1108 by
                              Jamshid Muhtorov as to Jamshid Muhtorov, Bakhtiyor Jumaev (Williamson, Warren)
                              Modified on 11/8/2016 to add description pursuant to JLK (jhawk, ). (Entered:
                              11/08/2016)
            11/08/2016   1162 ORDER granting in part and denying in part 1159 Motion for Leave to Restrict as to
                              Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). There is nothing private or restrictable
                              in the brief in Support of the Motion to Restrict Access (Doc. 1160 ) and the Motion
                              is DENIED. The Motion to Restrict Access to Defendants' Joint Reply to ECF Nos.
                              1107 and 1108 (Doc. 1161 ) is GRANTED and shall be limited to the parties and the
                              court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                              11/08/16. (jhawk, ) (Entered: 11/08/2016)
            11/08/2016   1163 MOTION for Leave to Restrict by Bakhtiyor Jumaev. (Savitz, David) (Entered:
                              11/08/2016)
            11/08/2016   1164 RESTRICTED DOCUMENT - Level 1-Reply in Support of Defendants' Joint Motion
                              for Discovery 1126 and 1135 by Bakhtiyor Jumaev. (Baker, Mitchell) Modified on
                              11/9/2016 to add text (jhawk, ). (Entered: 11/09/2016)




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            11/08/2016   1165 ORDER granting 1163 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2).
                              Access to Docket No. 1151 shall be limited to the parties and the court pursuant to
                              D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 11/08/16. (jhawk, )
                              (Entered: 11/09/2016)
            11/08/2016   1166 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                              RULES/PROCEDURES: re: 1161 Restricted Document - Level 1 filed by attorney
                              Warren R. Williamson. The format for the attorneys signature block is not correct. DO
                              NOT REFILE THE DOCUMENT. Action to take - future documents must be filed
                              pursuant to D.C.COLO.LCr49.1(a) and 4.3(d) of the Electronic Case Filing
                              Procedures (Criminal Cases). (Text Only Entry) (jhawk, ) (Entered: 11/09/2016)
            11/14/2016   1167 UNRESTRICTED DOCUMENT - Level 1-Response to Motion to Dismiss Count 5
                              1112 by USA as to Bakhtiyor Jumaev (Tonini, David) Modified on 11/15/2016 to add
                              text pursuant to JLK instructions (jhawk, ). Modified on 12/8/2016 to unrestrict
                              pursuant to the Order of 12/08/16 (jhawk, ). (Entered: 11/14/2016)
            11/14/2016   1168 UNRESTRICTED DOCUMENT - Level 1-Response Motion to Dismiss Count 5 of
                              the Indictment 1115 by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Tonini,
                              David) Modified on 11/15/2016 to add text pursuant to JLK instructions (jhawk, ).
                              Modified on 12/8/2016 to unrestrict pursuant to the Order of 12/08/16(jhawk, ).
                              (Entered: 11/14/2016)
            11/16/2016   1169 MOTION to Unrestrict Document 1167 Restricted Document - Level 1 filed by USA,
                              1168 Restricted Document - Level 1 filed by USA by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. (Tonini, David) (Entered: 11/16/2016)
            11/18/2016   1170 MOTION for Order Pursuant to Rule 16(d) for Confidential Human Source
                              Protections by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Proposed Order (PDF Only))(Holloway, Gregory) (Entered: 11/18/2016)
            11/18/2016   1171 NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the United
                              States Pursuant to the Classified Information Procedures Act by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/18/2016)
            11/25/2016   1172 REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 1112 MOTION to
                              Dismiss Counts Five (Baker, Mitchell) (Entered: 11/25/2016)
            11/28/2016   1173 Unopposed MOTION for Leave to File Appendix to Doc. 1172 by Bakhtiyor Jumaev.
                              (Baker, Mitchell) (Entered: 11/28/2016)
            11/28/2016   1174 ORDER granting 1173 Motion for Leave to File an Appendix to Doc. 1172 as to
                              Bakhtiyor Jumaev (2). The defendant may file an appendix to Doc. 1172. Ordered by
                              Judge John L. Kane on 11/28/2016. Text Only Entry (jlksec) (Entered: 11/28/2016)
            11/28/2016   1175 APPENDIX by Bakhtiyor Jumaev re 1172 Reply to Response filed by Bakhtiyor
                              Jumaev (Attachments: # 1 Continuation of Main Document, # 2 Continuation of Main
                              Document)(Baker, Mitchell) (Entered: 11/28/2016)
            11/28/2016   1176 MOTION for Order MOTION FOR DISCOVERY AND ENLARGEMENT OF TIME
                              FOR GOVERNMENT EXPERT WITNESS RESPONSES AND REBUTTAL by USA as
                              to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 11/28/2016)



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            11/29/2016   1177 ORDER Granting Defendant Muhtorov's Motion ( Doc. 1118 )to Sever His Case
                              From Codefendants as to Jamshid Muhtorov. Counsel are directed to CONFER
                              regarding the consequences of this ruling, and to telephone chambers jointly to set a
                              date and time for a status conference. Signed by Judge John L. Kane on 11/29/2016.
                              (athom, ) (Entered: 11/29/2016)
            11/30/2016   1178 MINUTE ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Given the
                              pendency of the government's Motion for Discovery and Enlargement of Time for
                              Government Expert Witness Responses and Rebuttal 1176 , the December 1, 2016,
                              deadline for Government rebuttal experts disclosure is tolled until further order of the
                              court. The December 7, 2016, deadline for the Government's response to pending
                              motions to suppress remains in effect. Entered by Judge John L. Kane on 11/30/16.
                              Text Only Entry (jhawk, ) (Entered: 11/30/2016)
            12/02/2016   1179 REPLY TO RESPONSE to Motion by Jamshid Muhtorov re 1176 MOTION for
                              Order MOTION FOR DISCOVERY AND ENLARGEMENT OF TIME FOR
                              GOVERNMENT EXPERT WITNESS RESPONSES AND REBUTTAL (Williamson,
                              Warren) (Entered: 12/02/2016)
            12/02/2016   1180 RESPONSE to Motion by Bakhtiyor Jumaev as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev re 1170 MOTION for Order Pursuant to Rule 16(d) for Confidential Human
                              Source Protections (Baker, Mitchell) (Entered: 12/02/2016)
            12/07/2016   1181 RESTRICTED DOCUMENT - Level 1: Response in Opposition 1176 Motion for
                              Discovery and Enlargement of Time by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)
                              (Savitz, David)(Modified on 12/7/2016 added text to reflect the title of the document
                              filed)(evana, ). (Entered: 12/07/2016)
            12/07/2016   1182 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1151 MOTION to
                              Suppress Defendant Jumaev's Motion to Suppress Evidence Derived from Execution
                              of Illegal Extra-Territorial Warrants (Tonini, David) (Entered: 12/07/2016)
            12/07/2016   1183 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 12/07/2016)
            12/07/2016   1184 RESTRICTED DOCUMENT - Level 1: Response to 1152 Motion by USA as to
                              Bakhtiyor Jumaev (Holloway, Gregory) (Modified on 12/7/2016 edited to add title of
                              document)(evana, ). (Entered: 12/07/2016)
            12/07/2016   1185 RESPONSE to Motion by USA as to Jamshid Muhtorov re 1156 MOTION to
                              Suppress Statements (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)
                              (Holloway, Gregory) (Entered: 12/07/2016)
            12/07/2016   1186 RESPONSE by USA as to Bakhtiyor Jumaev re: 1154 Restricted Document - Level 1
                              filed by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                              Exhibit)(Tonini, David) (Entered: 12/07/2016)
            12/07/2016   1187 ORDER This matter is currently before me on the Government's Motion to Restrict
                              Document 1184 Doc. 1183 . Having reviewed the motion and the relevant pleadings
                              and finding good cause appearing, the motion is GRANTED. Access to Docket No.
                              1184 shall be limited to the parties and the court pursuant to D.C.COLO.LCrR
                              47.1(A), by Judge John L. Kane on 12/7/2016. (evana, ) (Entered: 12/07/2016)


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            12/07/2016   1188 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov. (Tonini, David)
                              (Entered: 12/07/2016)
            12/07/2016   1189 MOTION for Leave to Restrict by USA as to Bakhtiyor Jumaev. (Tonini, David)
                              (Entered: 12/07/2016)
            12/07/2016   1190 RESTRICTED DOCUMENT - Level 1: Conventionally Submitted Material: 1 CD-
                              Exhibit 1 to 1185 Response to Motion filed by USA as to Jamshid Muhtorov. Text
                              Only Entry (jhawk, ) (Entered: 12/08/2016)
            12/07/2016   1191 RESTRICTED DOCUMENT - Level 1: Conventionally Submitted Material: 2 CDs-
                              Exhibit 1 to 1186 Response filed by USA as to Bakhtiyor Jumaev. Text Only Entry.
                              (jhawk, ) (Entered: 12/08/2016)
            12/08/2016   1192 ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). This matter is currently
                              before me on the Government's Motion to Unrestrict Documents 1167 and 1168 (Doc.
                              1169 ); Government's Unopposed Motion to Restrict Document 1185-01 (Doc. 1188 );
                              Government's Motion to Restrict Document Nos. 1186-01 and 1186-02 (Doc. 1189 ).
                              Having reviewed the motions and the relevant pleadings and finding good cause
                              appearing, the motions are GRANTED. Access to Docket Nos. 1185-01, a CD, and
                              1186-01 and 1186-02, two CDs, shall be limited to the parties and the court pursuant
                              to D.C.COLO.LCrR 47.1(A). The clerk is instructed to unrestrict Document Nos.
                              1167 and 1168 . by Judge John L. Kane on 12/08/16. (jhawk, ) (Entered: 12/08/2016)
            12/08/2016   1193 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1118 Restricted
                              Document - Level 1 filed by Jamshid Muhtorov. A Status Conference is set for
                              Tuesday, December 20, 2016, at 10:00 AM in Courtroom A802 before Judge John L.
                              Kane. The presence of the defendants is not necessary and no interpreter will be
                              present. Ordered by Judge John L. Kane on 12/8/2016. Text Only Entry (jlksec)
                              (Entered: 12/08/2016)
            12/13/2016   1194 ORDER on Motion Pursuant to Rule 16(d) for Confidential Human Source
                              Protections as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2) re: 1170 . Signed by
                              Judge John L. Kane on 12/13/16. (jhawk, ) (Entered: 12/13/2016)
            12/13/2016   1195 MOTION for Order by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Tonini,
                              David) (Entered: 12/13/2016)
            12/13/2016   1196 PROTECTIVE ORDER re: 1171 as to Jamshid Muhtorov, Bakhtiyor Jumaev. Signed
                              by Judge John L. Kane on 12/13/16. (jhawk, ) (Entered: 12/14/2016)
            12/14/2016   1197 MINUTE ORDER. In order to maximize the time available for the December 20,
                              2016 Status Conference, counsel are to CONFER and PREPARE a jointly proposed
                              Notice of Agenda Items to be addressed at that time flowing from the court's 11/29/16
                              Order 1177 Granting Defendant Muhtorov's Motion 1118 to Sever. The Status
                              Conference is currently scheduled for two hours (from 10:00 a.m. to noon), but could
                              re-convene after lunch if necessary. The Notice should be filed no later than noon on
                              Monday, December 19, 2016. Entered by Judge John L. Kane on 12/14/16. Text Only
                              Entry (jhawk, ) (Entered: 12/14/2016)
            12/14/2016   1198 MINUTE ORDER. Government's Motion 1195 to Hold Deadlines in Abeyance until
                              ten days after an order setting the trial schedule after severance is GRANTED. The


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                                operative scheduling order's December 15 and 16 deadlines for disclosure of
                                information on confidential human source, Giglio, Jencks, FRE 404(b), expert
                                challenges, and FRE 801(d)(2)(E) disclosures shall be TOLLED until 10 days after
                                the entry of an order finalizing the post-severance trial schedule or other order of the
                                court. It is the court's intention to finalize that trial schedule at the December 20, 2016
                                status conference 1193 , so these extended deadlines should be expected to run on or
                                shortly after December 30, 2016. Under no circumstances will the extensions affect
                                the January 9-13 hearing dates on the pending Motions to Suppress, which remain
                                firm. Entered by Judge John L. Kane on 12/14/16. Text Only Entry (jhawk, ) (Entered:
                                12/15/2016)
            12/15/2016   1199 MOTION to Exclude Expert Testimony Pursuant To Fed. R. Crim. P. 16, Or In The
                              Alternative, Motion for Pre-Trial Hearing Under Fed. R. Evid. 702 by Jamshid
                              Muhtorov. (Williamson, Warren) (Entered: 12/15/2016)
            12/16/2016   1200 RESTRICTED DOCUMENT - Level 1-Reply in Support of Defendant Jumaev's
                              MOTION 1152 and to the Government's Response 1184 by Bakhtiyor Jumaev.
                              (Savitz, David) Modified on 12/16/2016 to add text pursuant to JLK instructions
                              (jhawk, ). (Entered: 12/16/2016)
            12/16/2016   1201 RESTRICTED DOCUMENT - Level 1-Reply in Support of Defendant Jumaev's
                              Motion 1154 and to the Government's Response 1186 by Bakhtiyor Jumaev. (Savitz,
                              David) Modified on 12/16/2016 to add text pursuant to JLK Chambers instructions
                              (jhawk, ). (Entered: 12/16/2016)
            12/16/2016   1202 RESTRICTED DOCUMENT - Level 1-Reply in Support of Defendant Jumaev's
                              Motion 1151 and to the Governments Response 1185 by Bakhtiyor Jumaev. (Savitz,
                              David) Modified on 12/16/2016 to add text pursuant to JLK Chambers instructions
                              (jhawk, ). (Entered: 12/16/2016)
            12/19/2016   1203 NOTICE Parties' Joint Proposed Notice of Agenda Items for Status Conference
                              December 20, 2016 by Jamshid Muhtorov (Williamson, Warren) (Entered:
                              12/19/2016)
            12/20/2016   1204 COURTROOM MINUTES for Status Conference as to Jamshid Muhtorov and
                              Bakhtiyor Jumaev held before Judge John L. Kane on 12/20/2016. Court will adhere
                              to its ruling, keep the severance, and try Mr. Jumaev first. Portion of the transcript in
                              camera shall be placed under Level 3 restriction. A seven week jury trial regarding
                              Mr. Jumaev is set for March 13, 2017 at 9:00 a.m. A seven week jury trial regarding
                              Mr. Muhtorov is set for July 31, 2017 at 9:00 a.m. Court Reporter: Terri Lindblom.
                              (ebuch) (Entered: 12/20/2016)
            12/20/2016   1205 Utility Setting/Resetting Deadlines/Hearings as to Jamshid Muhtorov pursuant to the
                              Courtroom Minutes of 12/20/2016: Seven week Jury Trial set for 7/31/2017 09:00
                              AM in Courtroom A 802 before Judge John L. Kane. Text Only Entry (ebuch)
                              (Entered: 12/20/2016)
            12/22/2016   1206 MOTION to Strike Government's Case-In-Chief Expert Disclosure (Doc. 1104 ) and
                              To Exclude Expert Testimony by Bakhtiyor Jumaev. (Savitz, David) Modified on
                              12/23/2016 to correct text (jhawk, ). (Entered: 12/22/2016)




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            12/22/2016   1207 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Tonini, David) (Entered: 12/22/2016)
            12/22/2016   1208 RESTRICTED DOCUMENT - Level 3: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Tonini, David) (Entered: 12/22/2016)
            12/22/2016   1209 RESTRICTED DOCUMENT - Level 3-Motion for Protective Order by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Tonini, David) Modified on 12/23/2016 to add
                              text pursuant to JLK instructions (jhawk, ). (Entered: 12/22/2016)
            12/23/2016   1210 ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2) granting 1207 Motion for
                              Leave to Restrict Access to Docket Nos. 1208 and 1209 shall be limited to the parties
                              and the court pursuant to D.C.COLO.LCrR 47.1( A). Signed by Judge John L. Kane
                              on 12/23/16. (jhawk, ) (Entered: 12/23/2016)
            12/23/2016   1211 MOTION in Limine to Exclude Improper Evidence and Argument in Support of Jury
                              Nullification by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway,
                              Gregory) (Entered: 12/23/2016)
            12/23/2016   1212 MOTION to Exclude the Testimony of Leo and Obolsky by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 12/23/2016)
            12/23/2016   1213 RESPONSE to Motion by USA as to Jamshid Muhtorov re 1199 MOTION to
                              Exclude Expert Testimony Pursuant To Fed. R. Crim. P. 16, Or In The Alternative,
                              Motion for Pre-Trial Hearing Under Fed. R. Evid. 702 (Holloway, Gregory) (Entered:
                              12/23/2016)
            12/23/2016   1214 MINUTE ORDER clarifying Order (Doc. 1210 ), restricting access to Docs. 1208 and
                              1209 . Given that the restriction level granted was Restriction Level 3, access to
                              Docket Nos. 1208 and 1209 is limited to the filer (in this case the government) and
                              the court under D.C.COLO. LCr.R. 47.2(A) only, not the "parties" and the court.
                              Entered by Judge John L. Kane on 12/23/16. Text Only Entry (jhawk, ) (Entered:
                              12/23/2016)
            12/29/2016   1215 RESPONSE to Motion by Jamshid Muhtorov re 1211 MOTION in Limine to Exclude
                              Improper Evidence and Argument in Support of Jury Nullification (Williamson,
                              Warren) (Entered: 12/29/2016)
            12/30/2016   1216 NOTICE Government's Rebuttal Expert Disclosures by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)
                              (Holloway, Gregory) (Entered: 12/30/2016)
            12/30/2016   1217 RESTRICTED DOCUMENT - Level 1-Motion to Strike Government's Proffer in
                              Support of Co-Conspirator Statements 1143 by Bakhtiyor Jumaev. (Attachments: # 1
                              Continuation of Main Document, # 2 Appendix, # 3 Appendix, # 4 Appendix, # 5
                              Appendix, # 6 Appendix, # 7 Appendix)(Baker, Mitchell) Modified on 1/3/2017 to
                              add text pursuant to JLK instructions (jhawk, ). (Entered: 12/30/2016)
            01/04/2017   1218 WITNESS LIST For January 9, 2017 Hearing by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered: 01/04/2017)
            01/04/2017   1219 EXHIBIT LIST For January 9, 2017 Hearing by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered: 01/04/2017)


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            01/05/2017   1220 WITNESS LIST by Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 01/05/2017)
            01/05/2017   1221 RESPONSE to Motion by Bakhtiyor Jumaev re 1212 MOTION to Exclude the
                              Testimony of Leo and Obolsky Response to Government's Motion to Exclude the
                              Testimony of Drs. Leo and Obolsky (Doc. 1212) (Savitz, David) (Entered:
                              01/05/2017)
            01/05/2017   1222 EXHIBIT LIST by Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 01/05/2017)
            01/06/2017   1223 MINUTE ENTRY for In Camera, Ex Parte proceedings held before Judge John L.
                              Kane with the United States Government on 1/6/2017, pursuant to Classified Rule
                              16(d) Motion 1209 . Court Reporter: Terri Lindblom. (babia) Text Only Entry
                              Modified on 1/6/2017 (babia). (Entered: 01/06/2017)
            01/08/2017   1224 RESPONSE in Opposition by Bakhtiyor Jumaev re 1212 MOTION to Exclude the
                              Testimony of Leo and Obolsky Supplemental Authority in Support of Response to
                              Government's Motion to Exclude the Testimony of Drs. Leo and Obolsky (Savitz,
                              David) (Entered: 01/08/2017)
            01/09/2017   1225 MOTION to Strike Exhibits by USA as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Tonini, David) (Entered: 01/09/2017)
            01/09/2017   1226 EXHIBIT LIST Amended by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                              01/09/2017)
            01/09/2017   1227 MINUTE ENTRY for proceedings held before Judge John L. Kane. Motion Hearing
                              as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 1/9/2017. Interpreters: Irina
                              Kamensky, Hasmik Jorgensen, Sanjar Babadjanov and Nodira Matyakubova are
                              sworn. ORDER denying 1225 Motion to Strike as to Bakhtiyor Jumaev
                              (2).Defendants are remanded. Court Reporter: Terri Lindblom. (kpreu) (Entered:
                              01/10/2017)
            01/09/2017   1229 Utility Setting/Resetting Deadlines/Hearings as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev: Suppression Hearing terminated as being held starting on 01/09/17. Text
                              Only Entry (jhawk, ) (Entered: 01/12/2017)
            01/10/2017   1228 MINUTE ENTRY for Suppression Hearing - Day 2 proceedings held before Judge
                              John L. Kane on 1/10/2017 as to Jamshid Muhtorov (1), and, Bakhtiyor Jumaev (2).
                              Defendants present in custody. Defendants REMANDED. Court Reporter: Terri
                              Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky, Nodira Matyakubova, and
                              Sanjar Babadjanov. (babia) (Entered: 01/11/2017)
            01/11/2017   1230 MINUTE ENTRY for Suppression Hearing - Day 3 proceedings held before Judge
                              John L. Kane on 1/11/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Defendants present in custody. Defendants REMANDED. Court Reporter: Terri
                              Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky, Nodira Matyakubova, and
                              Sanjar Babadjanov. (babia) (Entered: 01/12/2017)
            01/12/2017   1231 MINUTE ENTRY for Suppression Hearing - Day 4 proceedings held before Judge
                              John L. Kane on 1/12/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Defendants present in custody. Defendants REMANDED. Court Reporter: Terri
                              Lindblom. Interpreter: Irina Kamensky, Hasmik Jorgensen, Sanjar Babadjanov, and



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                                Nodira Matyakubova. (babia) (Entered: 01/13/2017)
            01/13/2017   1233 MINUTE ENTRY for Suppression Hearing - Day 5 proceedings held before Judge
                              John L. Kane on 1/13/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Defendants present in custody. Defendants REMANDED. Court Reporter: Tamara
                              Hoffschildt. Interpreter: Hasmik Jorgensen, Irina Kamensky, Nodira Matyakubova,
                              and Sanjar Babadjanov. (babia) (Entered: 01/17/2017)
            01/17/2017   1232 Order Setting Agenda Items for consideration January 17, 2017. Signed by Judge
                              John L. Kane on 01/17/17. (jhawk, ) (Entered: 01/17/2017)
            01/17/2017   1234 MINUTE ENTRY for Suppression Hearing - Day 6 proceedings held before Judge
                              John L. Kane on 1/17/2017 as to Jamshid Muhtorov, Bakhtiyor Jumaev. Defendants
                              present in custody. Taking under advisement 1151 Motion to Suppress as to Bakhtiyor
                              Jumaev (2); Taking under advisement 1154 Motion as to Bakhtiyor Jumaev (2);
                              Taking under advisement 1156 Motion to Suppress as to Bakhtiyor Jumaev (2).
                              Defendants REMANDED. Court Reporter: Terri Lindblom. Interpreter: Hasmik
                              Jorgensen and Irina Kamensky. (babia) (Entered: 01/18/2017)
            01/19/2017   1235 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev directing counsel to
                              call in to set oral argument on Defendants' Motions [1112 and 1115] to Dismiss Count
                              5 of the Indictment. Representatives for each party shall confer and call in to set a
                              time for oral argument on either January 27, 30, or 31st - 303-844-6118. The time
                              chosen may be set to run concurrently with the weekly status conference. by Judge
                              John L. Kane on 1/19/2017. Text Only Entry (jlksec, ) (Entered: 01/19/2017)
            01/19/2017   1236 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1115 MOTION to
                              Dismiss Count 5 of the Indictment filed by Jamshid Muhtorov, 1112 MOTION to
                              Dismiss Counts Five filed by Bakhtiyor Jumaev. A motions and status conference is
                              set for January 31, 2017, at 11:00 AM in Courtroom A802 before Judge John L. Kane.
                              The defendants' presence is not necessary and no interpreter will be in court. Ordered
                              by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
            01/19/2017   1237 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for Wednesday, January 25, 2017, at 11:00 AM in Courtroom A802 before
                              Judge John L. Kane. The defendants' presence is not necessary and no interpreter will
                              be present. Ordered by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec)
                              (Entered: 01/19/2017)
            01/19/2017   1238 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for Wednesday, February 8, 2017, at 11:00 AM in Courtroom A802 before
                              Judge John L. Kane. The defendants' presence is not necessary and no interpreter will
                              be present. Ordered by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec)
                              (Entered: 01/19/2017)
            01/19/2017   1239 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for Wednesday, February 15, 2017, at 11:00 AM in Courtroom A802 before
                              Judge John L. Kane. The defendants' presence is not necessary and no interpreter will
                              be present. Ordered by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec)
                              (Entered: 01/19/2017)




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            01/19/2017   1240 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for Wednesday, February 22, 2017, at 11:00 AM in Courtroom A802 before
                              Judge John L. Kane. The defendants' presence is not necessary and no interpreter will
                              be present. ORdered by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec)
                              (Entered: 01/19/2017)
            01/19/2017   1241 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for Wednesday, March 1, 2017, at 11:00 AM in Courtroom A802 before Judge
                              John L. Kane. The defendants' presence is not necessary and no interpreter will be
                              present. Ordered by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec)
                              (Entered: 01/19/2017)
            01/19/2017   1242 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for Wednesday, March 8, 2017, at 11:00 AM in Courtroom A802 before Judge
                              John L. Kane. The defendants' presence is not necessary and no interpreter will be
                              present. Ordered by Judge John L. Kane on 1/19/2017. Text Only Entry (jlksec)
                              (Entered: 01/19/2017)
            01/25/2017   1243 NOTICE of "At-Issue" Motions by Bakhtiyor Jumaev (Savitz, David) (Entered:
                              01/25/2017)
            01/25/2017   1244 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 1/25/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Court Reporter:
                              Terri Lindblom. (babia) (Entered: 01/25/2017)
            01/25/2017   1245 RESTRICTED DOCUMENT - Level 1-Notice of Intent to Use Evidence by USA as
                              to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David)
                              Modified on 1/26/2017 to add text (jhawk, ). (Entered: 01/25/2017)
            01/25/2017   1246 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Tonini, David) (Entered: 01/25/2017)
            01/26/2017   1247 ORDER granting 1246 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                              Bakhtiyor Jumaev (2). Access to Docket No. 1245 shall be limited to the parties and
                              the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                              01/26/17. (jhawk, ) (Entered: 01/26/2017)
            01/31/2017   1248 Unopposed MOTION to Modify 1194 Order on Motion for Order by Bakhtiyor
                              Jumaev. (Baker, Mitchell) (Entered: 01/31/2017)
            01/31/2017   1249 MINUTE ORDER GRANTING Unopposed Motion 1248 to Modify Order on
                              Government's 16(d) Motion 1194 . With the government's consent, provisions (5) and
                              (9) of Doc. 1194 are modified/clarified to permit Jumaev defense team members
                              Austin, Boehme, and Thompson the same level of access to information an
                              concomitant responsibilities as to secrecy pertaining to the CHS as defense counsel
                              and the defense investigator. Entered by Judge John L. Kane on 01/31/17. Text Only
                              Entry (jhawk, ) (Entered: 02/01/2017)
            01/31/2017   1251 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 2/1/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants NOT
                              PRESENT. Taking under advisement 1115 Motion to Dismiss as to Jamshid
                              Muhtorov (1). Taking under advisement 1112 Motion to Dismiss Counts as to


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                                Bakhtiyor Jumaev (2). Appearance of attorney Jacob R. Rasch-Chabot entered for
                                Jamshid Muhtorov. Motion Hearing set for 2/8/2017 01:30 PM in Courtroom A 802
                                before Judge John L. Kane. Court Reporter: Terri Lindblom. (babia) Modified on
                                2/1/2017 to edit date filed(babia). (Entered: 02/01/2017)
            02/01/2017   1250 NOTICE of Change of Address/Contact Information for AUSA Gregory Holloway
                              and AUSA David Tonini (Holloway, Gregory) (Entered: 02/01/2017)
            02/06/2017   1252 MINUTE ORDER re Doc. 1217 , Joint Motion to Strike the Government's James
                              Proffer and Log or, in the Alternative, Joint Objections to the Government's Proffer
                              and Request for Hearing. Defendants' Motion to Strike is DENIED, but the alternative
                              Motion for a James hearing is GRANTED. Counsel are directed to CONFER and call
                              in jointly to chambers to set the date and time for the hearing. In preparation for the
                              hearing, to be submitted at least 48 hours before hand, counsel for the government and
                              each defendant SHALL SUBMIT proposed JURY INSTRUCTIONS for each of the
                              conspiracy claims in the operative Indictment. Entered by Judge John L. Kane on
                              02/06/17. Text Only Entry (jhawk, ) (Entered: 02/06/2017)
            02/06/2017   1253 RESTRICTED DOCUMENT - Level 3- by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Baker, Mitchell) (Entered: 02/06/2017)
            02/06/2017   1254 NOTICE of Mr. Jumaev's Filing of re 1253 Restricted Document - Level 3 by
                              Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 02/06/2017)
            02/06/2017   1255 TRANSCRIPT of Suppression Hearing as to Bakhtiyor Jumaev held on January 13,
                              2017 before Judge Kane. Pages: 657-827.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                                this filing, each party shall inform the Court, by filing a Notice of Intent to
                                Redact, of the party's intent to redact personal identifiers from the electronic
                                transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                                within the allotted time, this transcript will be made electronically available after
                                90 days. Please see the Notice of Electronic Availability of Transcripts document
                                at www.cod.uscourts.gov.

                                (thoff, ) Modified to restrict on 4/17/2018 (cthom, ). (Entered: 02/06/2017)
            02/08/2017   1256 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 2/8/2017 as to Jamshid Muhtorov(1), and Bakhtiyor Jumaev (2). Defendants not
                              present, in custody. Daubert Hearing set for 3/8/2017 01:30 PM in Courtroom A 802
                              before Judge John L. Kane. DEFENDANTS SHALL BE PRESENT. Court Reporter:
                              Terri Lindblom. (babia) Modified on 2/9/2017 to correct hearing date (babia).
                              (Entered: 02/08/2017)
            02/08/2017   1257 AMENDED MINUTE ENTRY for Status Conference proceedings held before Judge
                              John L. Kane on 2/8/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev(2).
                              Amended re 1256 . Court Reporter: Terri Lindblom. (babia) (Entered: 02/08/2017)
            02/08/2017   1258 MINUTE ENTRY for Motion Hearing proceedings held before Judge John L. Kane
                              on 2/8/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants not
                              present, in custody. James Hearing set for 2/22/2017 01:00 PM in Courtroom A 802



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                                before Judge John L. Kane - Defendants Jamshid Muhtorov (1) and Bakhtiyor Jumaev
                                (2), and interpreters shall be present. Today's Motion Hearing is set to continue on
                                2/10/2017 at 11:00 AM - Ms. Korczynski (Government counsel) may appear via
                                telephone. Court Reporter: Terri Lindblom. (babia) (Entered: 02/09/2017)
         02/10/2017      1259 MINUTE ORDER modifying start time for the James Hearing on Wednesday,
                              February 22, 2017, and the Daubert Hearing on Wednesday, March 8, 2017.
                              ORDERED that the hearings will begin at 9:30 a.m. rather than the original time of
                              1:00 p.m. and 1:30 p.m. in Courtroom A-802, Alfred A. Arraj United Stated District
                              Courthouse, 901 19th St., Denver Colorado. Entered Text Only Entry (jhawk, )
                              (Entered: 02/10/2017)
         02/10/2017      1260 RESTRICTED DOCUMENT - Level 3-Minute Order by Court for Government and
                              Court Only (jhawk, ) (Entered: 02/10/2017)
         02/10/2017      1261 MINUTE ENTRY for Motion Hearing proceedings held before Judge John L. Kane
                              on 2/10/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants not
                              present, in custody. Court Reporter: Terri Lindblom. (babia) (Entered: 02/10/2017)
         02/10/2017      1285 Utility Setting/Resetting Deadlines/Hearings as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev: Daubert Hearing set for 3/8/2017 09:30 AM before Judge John L. Kane.
                              Pursuant to document 1259 . Defendants' presence is required. Text Only Entry
                              (jhawk, ) (Entered: 02/27/2017)
         02/14/2017      1262 MINUTE ORDER. Agenda items for this week's status conference set for 11:00 a.m.
                              tomorrow, February 15, 2017, include: (1) status of discovery requests/orders issued
                              2/8 and 2/10 during proceedings on Defendants' Joint Motion for Discovery (Doc.
                              1126); (2) status/needs regarding of USA's Motion 1176 re Expert Witness Responses
                              and Rebuttal; and (3) schedule for jury selection/juror questionnaires. Counsel are
                              advised Judge Kane is considering a 1:00 p.m. report time for prospective jurors on
                              March 13 to accommodate other trials set on that date. In that event, jurors would
                              complete their questionnaires Monday afternoon, and completed questionnaires would
                              be available for counsel to review later that afternoon and overnight. If 20-30 jurors
                              were cleared by Monday afternoon, notice could go out that evening and voir dire
                              could begin Tuesday. Otherwise, it would commence on Wednesday. Judge Kane
                              would like jurors brought up in small groups of 15-20 for voir dire. ORDERED as to
                              Jamshid Muhtorov and Bakhtiyor Jumaev by Judge John L. Kane on 02/14/2017. Text
                              Only Entry. (cthom, ) (Entered: 02/14/2017)
         02/14/2017      1263 MOTION for Reconsideration OR TO MODIFY ORDER REQUIRING DISCLOSURE
                              OF DEFENSE WITNESSES AND EXHIBITS by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 02/14/2017)
         02/15/2017      1264 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1263 MOTION for
                              Reconsideration OR TO MODIFY ORDER REQUIRING DISCLOSURE OF
                              DEFENSE WITNESSES AND EXHIBITS (Tonini, David) (Entered: 02/15/2017)
         02/15/2017      1265 RESTRICTED TRANSCRIPT of proceedings held on 2/8/2017 before Judge Kane.
                              Pages: 1-125. (tlind, ) (Entered: 02/15/2017)




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         02/15/2017      1266 RESTRICTED TRANSCRIPT of proceedings held on 2/10/2017 before Judge Kane.
                              Pages: 126-189. (tlind, ) (Entered: 02/15/2017)
         02/15/2017      1267 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 2/15/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Finding as
                              Moot 1176 Motion for Order as to Jamshid Muhtorov (1); Granting 1263 Motion for
                              Reconsideration as to Bakhtiyor Jumaev (2). ORDERED: The Government shall
                              produce the Grand Jury transcripts, as specified, as soon as practicable. Court
                              Reporter: Tamara Hoffschildt. (babia) (Entered: 02/15/2017)
         02/16/2017      1268 MINUTE ORDER re Jury Instructions. A set of Judge Kane's most recent criminal
                              case jury instructions is available on the court's website following the art. III Senior
                              Judges, Judge Kane, and Sample Jury Instructions links. In anticipation of the James
                              hearing on next week, Judge Kane is also drafting his own versions of elements of the
                              offense instructions, specifically including the instruction(s) for Count 5. The Count 5
                              elements instruction will follow the 1, 2, 3 format discussed in U.S. v. Stewart, 590
                              F.3d 93, 114-116 (2d Cir. 2009)(proof of underlying conspiracy first, then material
                              support, then applicable mens rea), and include reference to First Amendment
                              defenses/distinctions. ORDERED by Judge John L. Kane on 02/16/2017. Text Only
                              Entry. (cthom, ) (Entered: 02/16/2017)
         02/16/2017      1269 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United States Government on 2/16/2017. Court
                              Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 02/16/2017)
         02/17/2017      1270 (RESTRICTED DOCUMENT - Level 1) Gov Trial Witness List, first draft by USA
                              as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified to
                              add title on 2/23/2017 (cthom, ). (Entered: 02/17/2017)
         02/17/2017      1271 (RESTRICTED DOCUMENT - Level 1) Gov Trial Exhibit List, first draft by USA as
                              to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified to add
                              title on 2/23/2017 (cthom, ). (Entered: 02/17/2017)
         02/17/2017      1272 (RESTRICTED DOCUMENT - Level 1) Gov submission of Grand Jury transcripts
                              by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2
                              Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Holloway, Gregory) Modified to add
                              title on 2/23/2017 (cthom, ). (Entered: 02/17/2017)
         02/17/2017      1273 NOTICE First NOTICE OF INTENT TO OFFER CERTIFIED DOMESTIC
                              RECORDS OF REGULARLY CONDUCTED BUSINESS ACTIVITY by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David)
                              (Entered: 02/17/2017)
         02/21/2017      1274 Proposed Jury Instructions Conspiracy Jury Instructions by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Tonini, David) (Entered: 02/21/2017)
         02/21/2017      1275 (RESTRICTED DOCUMENT - Level 1) MINUTE ORDER Regarding Jury
                              Instruction for Count 5. ORDERED as to Jamshid Muhtorov and Bakhtiyor Jumaev
                              by Judge John L. Kane on 02/21/2017. (cthom, ) (Entered: 02/21/2017)
         02/21/2017      1276 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United Stated Government on 2/21/2017. Court


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                                Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 02/21/2017)
         02/22/2017      1279 MINUTE ENTRY for James Hearing proceedings held before Judge John L. Kane on
                              2/22/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants
                              present, in custody. The James Hearing is continued and set for 2/24/2017 08:00 AM
                              in Courtroom A 802 before Judge John L. Kane. Defendants are REMANDED. Court
                              Reporter: Tamara Hoffschildt. Interpreter: Nodira Isamiddinova, and Bakhodir
                              Abdullaev. (babia) (Entered: 02/23/2017)
         02/23/2017      1277 (RESTRICTED DOCUMENT - Level 1) ORDER re Counts 5 and 6 of the Third
                              Superseding Indictment In Light of the Government's Proffer and the Evidence
                              Adduced During Day 1 of this Court's February 22, 2017 James Hearing as to
                              Jamshid Muhtorov and Bakhtiyor Jumaev. ORDERED by Judge John L. Kane on
                              02/23/2017. (cthom, ) (Entered: 02/23/2017)
         02/23/2017      1278 (RESTRICTED DOCUMENT - Level 1) AMENDED 1277 ORDER re Counts 5 and
                              6 of the Third Superseding Indictment In Light of the Government's Proffer and the
                              Evidence Adduced During Day 1 of this Court's February 22, 2017 James Hearing as
                              to Jamshid Muhtorov and Bakhtiyor Jumaev. ORDERED by Judge John L. Kane on
                              02/23/2017. (cthom, ) (Entered: 02/23/2017)
         02/24/2017      1280 RESTRICTED DOCUMENT - Level 1-Letter to Counsel by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on 2/27/2017 to add text
                              pursuant to JLK instructions (jhawk, ). (Entered: 02/24/2017)
         02/24/2017      1281 MINUTE ENTRY for James Hearing - Day 2 proceedings held before Judge John L.
                              Kane on 2/24/2017 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Defendants
                              present, in custody. A further James Hearing set for 2/27/2017 08:30 AM in
                              Courtroom A 802 before Judge John L. Kane. Defendants REMANDED. Court
                              Reporter: Tamara Hoffschildt. Interpreter: Nodira Isamiddinova and Bakhodir
                              Abdullaev. (babia) (Entered: 02/24/2017)
         02/27/2017      1282 RESTRICTED DOCUMENT - Level 1-Minute Order by the Court. (jhawk, )
                              (Entered: 02/27/2017)
         02/27/2017      1283 RESTRICTED DOCUMENT - Level 1-Letter to Counsel by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on 2/27/2017 to add text
                              pursuant to JLK instructions (jhawk, ). (Entered: 02/27/2017)
         02/27/2017      1284 RESTRICTED DOCUMENT - Level 1-Letter to Counsel. Not to be shared with
                              defendants. Filed by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway,
                              Gregory) Modified on 2/27/2017 to add text pursuant to JLK instructions (jhawk, ).
                              (Entered: 02/27/2017)
         02/27/2017      1286 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov (1), Bakhtiyor Jumaev
                              (2). (babia) (Entered: 02/27/2017)
         02/27/2017      1287 MINUTE ENTRY for James Hearing proceedings held before Judge John L. Kane on
                              2/27/2017 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Defendants present, in
                              custody. Pursuant to 1286 . Defendants REMANDED. Court Reporter: Tamara
                              Hoffschildt. Interpreter: Nodira Isamiddinova and Bakhodir Abdullaev. (babia) Text
                              Only Entry (Entered: 02/27/2017)


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         02/27/2017      1288 RESTRICTED DOCUMENT - Level 3-Minute Order by Court for Government
                              Counsel and Court Only (jhawk, ) (Entered: 02/28/2017)
         02/28/2017      1289 MINUTE ORDER re Agenda Items for 03/01/17 Status Conference as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev. Entered by Judge John L. Kane on 02/28/17. (jhawk, )
                              (Entered: 02/28/2017)
         02/28/2017      1290 NOTICE Government's Submission Regarding Multiplcity by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 02/28/2017)
         02/28/2017      1291 MOTION for Order Tolling of Speedy Trial Pursuant to 18 U.S.C. Section 3161(h)
                              (7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory)
                              (Entered: 02/28/2017)
         02/28/2017      1292 RESTRICTED DOCUMENT - Level 1: Motion to Dismiss and Failure to Disclose
                              Brady Materials by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell)
                              Modified on 3/10/2017 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                              02/28/2017)
         03/01/2017      1293 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 3/1/2017 as to Jamshid Muhtorov (1),and Bakhtiyor Jumaev (2). Defendants not
                              present, in custody. Finding as moot 1115 Motion to Dismiss as to Jamshid Muhtorov
                              (1); Granting 1291 Motion for Order as to Jamshid Muhtorov (1), Bakhtiyor Jumaev
                              (2); Finding as moot 1112 Motion to Dismiss Counts as to Bakhtiyor Jumaev (2).
                              ORDERED: The Governments (Unopposed) Oral Motion to Dismiss Counts Five and
                              Six of The Third Superseding Indictment is GRANTED. Only Counts One, Two,
                              Three and Four remain to be tried. Status Conference set for 3/2/2017 10:00 AM in
                              Courtroom A 802 before Judge John L. Kane. Status Conference set for 3/6/2017
                              02:00 PM in Courtroom A 802 before Judge John L. Kane. ORDERED:The
                              Government has to and including Thursday, March 9, 2017 to file its response to Doc.
                              No. 1292. If the Defense files a reply, it needs to be done in an expedited manner.
                              Court Reporter: Tamara Hoffschildt. (babia) (Entered: 03/01/2017)
         03/02/2017      1294 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 3/2/2017 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Court Reporter: Terri
                              Lindblom. (babia) (Entered: 03/02/2017)
         03/03/2017      1295 RESTRICTED DOCUMENT - Level 3: Minute Order by Court for Government
                              Counsel and Court Only (jhawk, ) (Entered: 03/03/2017)
         03/06/2017      1296 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 3/6/2017 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. (babia)
                              (Entered: 03/06/2017)
         03/06/2017      1297 RESTRICTED DOCUMENT - Level 3: Order by Court for Government Counsel and
                              Court Only (jhawk, ) (Entered: 03/06/2017)
         03/06/2017      1298 Proposed Verdict Form as to Bakhtiyor Jumaev (Tonini, David) (Entered: 03/06/2017)
         03/06/2017      1299 Proposed Jury Instructions by USA as to Bakhtiyor Jumaev (Tonini, David) (Entered:
                              03/06/2017)




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         03/07/2017      1300 MOTION for Leave to File Expert Endorsements by Bakhtiyor Jumaev. (Baker,
                              Mitchell) (Entered: 03/07/2017)
         03/07/2017      1301 RESTRICTED DOCUMENT - Level 1: Letter to Counsel. Not to be shared with
                              defendants by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Tonini, David)
                              Modified on 3/8/2017 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                              03/07/2017)
         03/07/2017      1302 RESTRICTED DOCUMENT - Level 3: Government Response to Multiple Court
                              Orders for Government Counsel and Court Only by USA as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) Modified on 3/8/2017 to
                              add text pursuant to JLK instrucions (jhawk, ). (Entered: 03/07/2017)
         03/08/2017      1303 MINUTE ENTRY for Daubert Hearing proceedings held before Judge John L. Kane
                              on 3/8/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants
                              present, in custody. Denying 1199 Motion to Exclude as to Jamshid Muhtorov (1);
                              Denying 1206 Motion to Strike as to Bakhtiyor Jumaev (2). Defendants
                              REMANDED. Court Reporter: Terri Lindblom. Interpreter: Nodira Isamiddinova and
                              Bakhodir Abdullaev. (babia) (Entered: 03/09/2017)
         03/08/2017      1304 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United States Government on 3/8/2017. Court
                              Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 03/09/2017)
         03/09/2017      1305 NOTICE OF DEFENDANT JUMAEVS EXPERT WITNESS ENDORSEMENT OF
                              MR. ROBERT KELSO by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit)
                              (Baker, Mitchell) (Entered: 03/09/2017)
         03/09/2017      1306 RESTRICTED DOCUMENT - Level 1: UNCLASSIFIED ORDER re in camera
                              DISCOVERY REVIEWS UNDER CIPA §4 as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev. (athom, ) (Entered: 03/09/2017)
         03/09/2017      1307 RESTRICTED DOCUMENT - Level 1: Response to Motion to Dismiss and Timely
                              Disclose Brady Material 1292 by USA as to Bakhtiyor Jumaev (Holloway, Gregory)
                              Modified on 3/10/2017 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                              03/09/2017)
         03/10/2017      1308 ORDER as to Bakhtiyor Jumaev. ORDERED that the clerk shall pay jurors in the
                              above-entitled case the sum of $50.00 per day beginning on each juror's eleventh day
                              of service and continuing thereafter until service has been completed and jurors are
                              released by the court. Signed by Judge John L. Kane on 03/10/17. (jhawk, ) (Entered:
                              03/10/2017)
         03/10/2017      1309 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Appendix, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit,
                              # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14
                              Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20
                              Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit, # 26
                              Exhibit, # 27 Exhibit, # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31 Exhibit, # 32
                              Exhibit, # 33 Exhibit, # 34 Exhibit, # 35 Exhibit, # 36 Exhibit, # 37 Exhibit, # 38
                              Exhibit)(Baker, Mitchell) (Entered: 03/10/2017)



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         03/10/2017      1310 RESTRICTED DOCUMENT - Level 1: Letter to Counsel. Not to be shared with
                              defendants by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory)
                              Modified on 3/13/2017 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                              03/10/2017)
         03/10/2017      1311 RESTRICTED DOCUMENT - Level 1: Updated Witness List by USA as to
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified on
                              3/13/2017 to add text (jhawk, ). (Entered: 03/10/2017)
         03/11/2017      1312 RESTRICTED DOCUMENT - Level 1: Reply to Document 1292 by Bakhtiyor
                              Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit,
                              # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12
                              Exhibit)(Baker, Mitchell) Modified on 3/13/2017 to add text (jhawk, ). (Entered:
                              03/11/2017)
         03/12/2017      1313 RESTRICTED DOCUMENT - Level 1: Government's Corrected Response to 1292
                              by USA as to Bakhtiyor Jumaev (Holloway, Gregory) Modified on 3/13/2017 to add
                              text (jhawk, ). (Entered: 03/12/2017)
         03/12/2017      1314 TRANSCRIPT of Rule 702 Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                              on 3/8/2017 before Judge Kane. Pages: 1-153. <br><br> NOTICE - REDACTION
                              OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 03/12/2017)
         03/13/2017      1315 RESTRICTED DOCUMENT - Level 3: Order by the Court re: Bakhtiyor Jumaev.
                              (jhawk, ) (Entered: 03/13/2017)
         03/13/2017      1316 MOTION to Continue by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered: 03/13/2017)
         03/13/2017      1317 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for 3/14/2017 at 1:00 PM in Courtroom A-802 before Judge John L. Kane. The
                              defendants' presence is required. Mr. Williamson is instructed to call chambers
                              immediately prior to 1:00 p.m. and the telephone call will be transferred into the
                              courtroom 303-844-6118. Defendants will be transported to the courthouse and
                              available -- with interpreters -- for counsel to meet with at 10:00 a.m. Ordered by
                              Judge John L. Kane on 3/13/2017. Text Only Entry (jlksec) (Entered: 03/13/2017)
         03/13/2017      1318 MINUTE ENTRY for Jury Trial - Day 1 proceedings held before Judge John L. Kane
                              on 3/13/2017 as to Bakhtiyor Jumaev. Defendant present, in custody. Granting 1316
                              Motion to Continue as to Bakhtiyor Jumaev(2). ORDERED: Doc. No. 1292 is
                              DENIED. Jury Trial set to be continued on 1/8/2018 09:00 AM in Courtroom A 802
                              before Judge John L. Kane. Defendant is REMANDED. Court Reporter: Terri
                              Lindblom. Interpreter: Hamik Jorgensen and Nodira Matyakubova. (babia) (Entered:
                              03/14/2017)


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         03/13/2017      1320 AMENDED MINUTE ENTRY for proceedings held before Judge John L. Kane on
                              3/13/2017 as to Bakhtiyor Jumaev. Amended re 1318 to change hearing to a Pretrial
                              Conference and conclude. Defendant Bakhtiyor Jumaev (2) is set to begin a new jury
                              trial on January 8, 2018 at 9:00 a.m. with a new jury venire. Court Reporter: Terri
                              Lindblom. Interpreter: Hasmik Jorgensen and Nodira Matyakubova. (babia) (Entered:
                              03/15/2017)
         03/13/2017             ***Set/Reset Hearings as to Bakhtiyor Jumaev: Jury Trial set for 1/8/2018 09:00 AM
                                in Courtroom A 802 before Judge John L. Kane. (babia) (Entered: 03/21/2017)
         03/14/2017      1319 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 3/14/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants
                              present, in custody. The Court states that a new Jury venire will be secured for the
                              trial of Defendant Jamshid Muhtorov, which is set to begin July 31, 2017 at 9:00 a.m.
                              Defendants REMANDED. Court Reporter: Terri Lindblom. Interpreter: Hasmik
                              Jorgensen and Nodira Matyakubova. (babia) (Entered: 03/14/2017)
         03/16/2017      1321 RESTRICTED DOCUMENT - Level 1: Motion to Reconsider Order 1194 by USA as
                              to Bakhtiyor Jumaev (Tonini, David) Modified on 3/17/2017 to add text pursuant to
                              JLK chambers (jhawk, ). (Entered: 03/16/2017)
         03/20/2017      1322 CJA Travel Request (Non-Defendant) as to Jamshid Muhtorov. (Stimson, Kathryn)
                              (Entered: 03/20/2017)
         03/24/2017      1323 RESTRICTED DOCUMENT - Level 1: Unopposed MOTION to Modify 1194 Order
                              by Bakhtiyor Jumaev. (Baker, Mitchell) Modified on 3/24/2017 to add text pursuant
                              to JLK instructions (jhawk, ). (Entered: 03/24/2017)
         03/24/2017      1324 MINUTE ORDER GRANTING Unopposed Motion 1323 to Modify Order on
                              Government's 16(d) Motion 1194 . With the government's consent, provisions (5) and
                              (9) of Doc. 1194 are modified/clarified to permit Jumaev defense team members Phil
                              Landreth and Hobie Landreth the same level of access to information and concomitant
                              responsibilities as to secrecy pertaining to the CHS as defense counsel and the defense
                              investigator. Entered by Judge John L. Kane on 03/24/17. (jhawk, ) (Entered:
                              03/24/2017)
         03/27/2017      1325 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The court would like
                              to hold monthly status conferences beginning either the week of April 17 or 24, 2017.
                              Please confer, pick a day and time for the meetings, and let chambers know on or
                              before March 31, 2017 - 303-844-6118. Ordered by Judge John L. Kane on
                              3/27/2017. Text Only Entry (jlksec) (Entered: 03/27/2017)
         03/28/2017      1326 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Monthly Status
                              Conferences are set for 10:00 a.m. on 4/20/2017, 5/11/2017, 6/15/2017 and 7/13/2017
                              in Courtroom A-802 before Judge John L. Kane. Ordered by Judge John L. Kane on
                              3/28/2017. Text Only Entry (jlksec) (Entered: 03/28/2017)
         03/29/2017      1327 MOTION to Dismiss for Violation of Constitutional Right to Speedy Trial by Jamshid
                              Muhtorov. (Attachments: # 1 Attachment A)(Williamson, Warren) (Entered:
                              03/29/2017)




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         03/31/2017      1328 ORDER Setting Agenda Items for 04/20/17 Status Conference as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev. Signed by Judge John L. Kane on 03/31/17. (jhawk, )
                              (Entered: 03/31/2017)
         04/03/2017      1329 MOTION for Order for Issuance of Letters Rogatory by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment A, # 2 Attachment B, # 3 Attachment C, # 4
                              Attachment D)(Williamson, Warren) (Entered: 04/03/2017)
         04/03/2017      1330 Supplement to 1329 Motion for Order by Jamshid Muhtorov. (Williamson, Warren)
                              Modified on 4/4/2017 to correct event title (athom, ). (Entered: 04/03/2017)
         04/03/2017      1331 MINUTE ORDER re Sauerland Verdict and Related Motion 1329 for Issuance of
                              Letters Rogatory as to Jamshid Muhtorov. The government is ORDERED to disclose
                              to Mr. Muhtorov's counsel, in writing, whether it has a copy of the Sauerland Verdict
                              or whether it may secure a copy of it for immediate production to the defense. A
                              Status Report regarding the substance of this ordered disclosure is due on or before
                              Friday, April 7, 2017. Counsel may also add the Sauerland Verdict as item 7 for
                              discussion at the April 20 status conference in this case. (Doc. 1328.) By Judge John
                              L. Kane on 4/3/2017. (agarc, ) (Entered: 04/03/2017)
         04/04/2017      1332 Request for International Judicial Assistance Letter Rogatory re 1329 Motion for
                              Order as to Jamshid Muhtorov. Signed by Judge John L. Kane on 04/04/2017. (athom,
                              ) (Entered: 04/04/2017)
         04/06/2017      1333 Unopposed MOTION for Order FOR ISSUANCE OF LETTERS ROGATORY by
                              Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Baker,
                              Mitchell) (Entered: 04/06/2017)
         04/06/2017      1334 MOTION for Order Directing That The Government Grant Parole So Foreign
                              Witnesses May Be Temporarily Admitted To The United States To Testify At Trial by
                              Jamshid Muhtorov. (Williamson, Warren) (Entered: 04/06/2017)
         04/06/2017      1335 MINUTE ORDER. Upon preliminary consideration of Jamshid Muhtorov's Motion
                              for Order Directing that the Government Grant Parole so Foreign Witnesses May be
                              Temporarily Admitted to the United States to Testify at Trial (Doc. 1334 ), I am
                              inclined to grant it in some form. The government is DIRECTED to file a response to
                              the Motion on or before April 13, 2017, addressing possible alternatives for obtaining
                              the witnesses' testimony (e.g., arranging for them to testify via live video conference
                              from Uzbekistan). Entered by Judge John L. Kane on 04/06/17. Text Only Entry
                              (jhawk, ) (Entered: 04/06/2017)
         04/07/2017      1336 NOTICE OF ATTORNEY APPEARANCE Beth N. Gibson appearing for USA.
                              Attorney Beth N. Gibson added to party USA(pty:pla) (Gibson, Beth) (Entered:
                              04/07/2017)
         04/07/2017      1337 STATUS REPORT Refgarding The Minute Order Re Sauerland Cell Verdict and
                              Related Motion (Doc 1331) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                              (Tonini, David) (Entered: 04/07/2017)
         04/10/2017      1338 Letter by Clerk of Court. (Exhibit # 1 Request for Letter Rogatory by Judge John L.
                              Kane and Attachment A) (jhawk, ) (Entered: 04/10/2017)




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         04/10/2017      1339 Certificate of Service by Deputy Clerk re 1338 Letter mailed to Judicial Assistance
                              Officer, U.S. Department of State, Office of Legal Affairs, SA-17, 10th Floor, 2201 C
                              Street, NW, Washington DC 20522-1710. Text only entry. (jhawk, ) (Entered:
                              04/10/2017)
         04/12/2017      1340 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/12/2017)
         04/12/2017      1341 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/12/2017)
         04/12/2017      1342 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/12/2017)
         04/12/2017      1343 ORDER granting 1340 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/12/17. (jhawk, )
                              (Entered: 04/12/2017)
         04/12/2017      1344 ORDER granting 1341 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/12/17. (jhawk, )
                              (Entered: 04/12/2017)
         04/12/2017      1345 ORDER granting 1342 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/12/17. (jhawk, )
                              (Entered: 04/12/2017)
         04/12/2017      1346 MOTION for Reconsideration re 1151 MOTION to Suppress Defendant Jumaev's
                              Motion to Suppress Evidence Derived from Execution of Illegal Extra-Territorial
                              Warrants filed by Bakhtiyor Jumaev by Bakhtiyor Jumaev. (Savitz, David) (Entered:
                              04/12/2017)
         04/13/2017      1347 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/13/2017)
         04/13/2017      1348 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/13/2017)
         04/13/2017      1349 RESPONSE to Motion by USA as to Jamshid Muhtorov re 1334 MOTION for Order
                              Directing That The Government Grant Parole So Foreign Witnesses May Be
                              Temporarily Admitted To The United States To Testify At Trial (Gibson, Beth)
                              (Entered: 04/13/2017)
         04/13/2017      1350 ORDER granting 1347 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/13/17. (jhawk, )
                              (Entered: 04/13/2017)
         04/13/2017      1351 ORDER granting 1348 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/13/17. (jhawk, )


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                                (Entered: 04/13/2017)
         04/17/2017      1352 STATUS REPORT Re Court's Order Setting Agenda Items for April 20, 2017 Status
                              Conference (Doc.1328) by Bakhtiyor Jumaev (Savitz, David) (Entered: 04/17/2017)
         04/17/2017      1353 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/17/2017)
         04/17/2017      1354 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/17/2017)
         04/17/2017      1355 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/17/2017)
         04/17/2017      1356 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/17/2017)
         04/17/2017      1357 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/17/2017)
         04/17/2017      1358 RESTRICTED DOCUMENT - Level 1: Response to Document No. 1321, Motion to
                              Reconsider Order 1194 by Bakhtiyor Jumaev. (Savitz, David) Modified on 4/17/2017
                              to add text pursuant to JLK Chambers instruction (jhawk, ). (Entered: 04/17/2017)
         04/17/2017      1359 ORDER granting 1353 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/17/17. (jhawk, )
                              (Entered: 04/17/2017)
         04/17/2017      1360 ORDER granting 1354 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/17/17. (jhawk, )
                              (Entered: 04/17/2017)
         04/17/2017      1361 ORDER granting 1355 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/17/17. (jhawk, )
                              (Entered: 04/17/2017)
         04/17/2017      1362 ORDER granting 1356 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/17/17. (jhawk, )
                              (Entered: 04/17/2017)
         04/17/2017      1363 ORDER granting 1357 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/17/17. (jhawk, )
                              (Entered: 04/17/2017)
         04/18/2017      1364 Motion to Adopt Arguments of Codefendant Jumaev in Doc 1358 -RESTRICTED
                              DOCUMENT - Level 1: by Jamshid Muhtorov. (Williamson, Warren) Modified on
                              4/18/2017 to unrestrict pursuant to JLK instructions and turn into a Motion (jhawk, ).
                              (Entered: 04/18/2017)



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         04/18/2017      1365 ORDER granting 1364 Motion for Order as to Jamshid Muhtorov (1). Ordered by
                              Judge John L. Kane on 4/18/2017. Text Only Entry (jlksec) (Entered: 04/18/2017)
         04/19/2017      1366 RESPONSE to Motion by USA as to Jamshid Muhtorov re 1327 MOTION to
                              Dismiss for Violation of Constitutional Right to Speedy Trial (Holloway, Gregory)
                              (Entered: 04/19/2017)
         04/19/2017      1367 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. At the government's
                              request, an ex parte classified hearing is set for 9:00 a.m. tomorrow, April 20, 2017,
                              before the 10:00 a.m. status conference. The government's request was general and
                              did not indicate that CIPA or CIPA classified materials would be discussed. Defense
                              counsel will be apprised of any non-classified subject matter discussed at the hearing.
                              Ordered by Judge John L. Kane on 4/19/2017. Text Only Entry (jlksec) (Entered:
                              04/19/2017)
         04/20/2017      1368 ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Government's Motion to
                              Reconsider is Denied 1321 . Signed by Judge John L. Kane on 04/20/17. (jhawk, )
                              (Entered: 04/20/2017)
         04/20/2017      1369 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United States Government on 4/20/2017. Court
                              Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 04/20/2017)
         04/20/2017      1370 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 4/20/2017 as to Jamshid Muhtorov (1) and Bakhtiyor Jumaev (2). Defendants not
                              present, in custody. Granting 1334 Motion for Order as to Jamshid Muhtorov (1);
                              Finding as moot 1333 Motion for Order as to Bakhtiyor Jumaev (2), based on in-court
                              discussion. Motion Hearing set for 5/18/2017 10:00 AM in Courtroom A 802 before
                              Judge John L. Kane. THE APPEARANCES OF BOTH DEFENDANTS JAMSHID
                              MUHTOROV(1) AND BAKHTIYOR JUMAEV (2) ARE REQUIRED. Court
                              Reporter: Terri Lindblom. (babia) (Main Document 1370 replaced on 4/20/2017)
                              (babia, ). (Entered: 04/20/2017)
         04/21/2017      1371 TRANSCRIPT of Motion hearing as to Jamshid Muhtorov held on February 22, 2017
                              before Judge Kane. Pages: 1-113. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 04/21/2017)
         04/21/2017      1372 TRANSCRIPT of Motion hearing as to Jamshid Muhtorov held on February 24, 2017
                              before Judge Kane. Pages: 114-165 and 192-315. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the



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                                 terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                                 deadline for electronic posting on PACER. (thoff, ) (Entered: 04/21/2017)
             04/21/2017   1373 RESTRICTED TRANSCRIPT of proceedings held on February 24, 2017 before
                               Judge Kane. Pages: 166-191. (thoff, ) (Entered: 04/21/2017)
             04/21/2017   1374 TRANSCRIPT of Status Conference as to Jamshid Muhtorov held on February 15,
                               2017 before Judge Kane. Pages: 1-30. <br><br> NOTICE - REDACTION OF
                               TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                               inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                               redact personal identifiers from the electronic transcript of the court proceeding.
                               If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                               will be made electronically available after 90 days. Please see the Notice of
                               Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                               <br><br> Transcript may only be viewed at the court public terminal or purchased
                               through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                               posting on PACER. (thoff, ) (Entered: 04/21/2017)
             04/21/2017   1375 TRANSCRIPT of Motion Hearing - Day One as to Jamshid Muhtorov, Bakhtiyor
                               Jumaev held on 1/09/2017 before Judge Kane. Pages: 1-172. <br><br> NOTICE -
                               REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                               each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                               party's intent to redact personal identifiers from the electronic transcript of the
                               court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                               time, this transcript will be made electronically available after 90 days. Please see
                               the Notice of Electronic Availability of Transcripts document at
                               www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                               terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                               deadline for electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
             04/21/2017   1376 TRANSCRIPT of Motion Hearing - Day Two as to Jamshid Muhtorov, Bakhtiyor
                               Jumaev held on 1/10/2017 before Judge Kane. Pages: 173-341. <br><br> NOTICE -
                               REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                               each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                               party's intent to redact personal identifiers from the electronic transcript of the
                               court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                               time, this transcript will be made electronically available after 90 days. Please see
                               the Notice of Electronic Availability of Transcripts document at
                               www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                               terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                               deadline for electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
             04/21/2017   1377 RESTRICTED TRANSCRIPT of proceedings held on 1/10/2017 before Judge Kane.
                               Pages: 207-213. (tlind, ) (Entered: 04/21/2017)




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         04/21/2017      1378 TRANSCRIPT of Motion Hearing - Day Three as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev held on 1/11/2017 before Judge Kane. Pages: 341-518. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the
                              court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                              time, this transcript will be made electronically available after 90 days. Please see
                              the Notice of Electronic Availability of Transcripts document at
                              www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                              terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                              deadline for electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1379 TRANSCRIPT of Motion Hearing - Day Four as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev held on 1/12/2017 before Judge Kane. Pages: 519-656. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the
                              court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                              time, this transcript will be made electronically available after 90 days. Please see
                              the Notice of Electronic Availability of Transcripts document at
                              www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                              terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                              deadline for electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1380 TRANSCRIPT of Motion Hearing - Day Six as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev held on 1/17/2017 before Judge Kane. Pages: 845-925. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the
                              court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                              time, this transcript will be made electronically available after 90 days. Please see
                              the Notice of Electronic Availability of Transcripts document at
                              www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                              terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                              deadline for electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1381 RESTRICTED TRANSCRIPT of proceedings held on 1/17/2017 before Judge Kane.
                              Pages: 828-844. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1382 TRANSCRIPT of Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on
                              3/13/2017 before Judge Kane. Pages: 1-80. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic



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                                posting on PACER. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1383 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                              on 3/14/2017 before Judge Kane. Pages: 1-13. <br><br> NOTICE - REDACTION
                              OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1384 RESTRICTED TRANSCRIPT of proceedings held on 3/2/2017 before Judge Kane.
                              Pages: 1-33. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1385 RESTRICTED TRANSCRIPT of proceedings held on 1/25/2017 before Judge Kane.
                              Pages: 1-51. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1386 RESTRICTED TRANSCRIPT of proceedings held on 1/31/2017 before Judge Kane.
                              Pages: 1-68. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1387 RESTRICTED TRANSCRIPT of proceedings held on 12/20/2016 before Judge Kane.
                              Pages: 1-54. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1388 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                              on 6/7/2016 before Judge Kane. Pages: 1-50. <br><br> NOTICE - REDACTION
                              OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
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                              will be made electronically available after 90 days. Please see the Notice of
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 04/21/2017)
         04/21/2017      1389 ORDER as to Jamshid Muhtorov re: Defendant's Motion for Order Directing
                              Government to Grant Parole so Foreign Witnesses May Be Temporarily Admitted to
                              the United States to Testify at Trial 1334 . Signed by Judge John L. Kane on 04/21/17.
                              (jhawk, ) (Entered: 04/24/2017)
         04/26/2017      1390 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/26/2017)
         04/26/2017      1391 ORDER granting 1390 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 04/26/17. (jhawk, )
                              (Entered: 04/26/2017)




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         04/27/2017      1392 MOTION for Order Directing the Government to Grant Parole of Foreign Witnesses
                              and His Adoption of Mr. Muhtorov's "Motion for Parole" (Doc. 1334) by Bakhtiyor
                              Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David) (Entered:
                              04/27/2017)
         05/01/2017      1393 STRICKEN - MOTION for Speedy Trial or Release on Bond and Order for
                              Discovery to be Supplied to Defendant by Jamshid Muhtorov. (athom, ) ( Modified on
                              5/3/2017 to strike pursuant to 1394 order (athom, ). (Entered: 05/01/2017)
         05/01/2017      1394 ORDER striking 1393 Motion for Speedy Trial as to Jamshid Muhtorov (1). As noted
                              in CM/ECF No. 842, Mr. Muhtorov is represented by counsel and is not permitted to
                              file pro se. Ordered by Judge John L. Kane on 5/1/2017. Text Only Entry (jlksec)
                              (Entered: 05/01/2017)
         05/08/2017      1395 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Counsel for the
                              parties are directed to CONFER and PREPARE a jointly proposed Notice of Agenda
                              Items to be addressed at the Status Conference scheduled for Thursday, May 11, 2017,
                              at 10:00 a.m. The Notice should be filed no later than noon on Wednesday, May 10,
                              2017. Ordered by Judge John L. Kane on 5/8/2017. Text Only Entry (jlksec) (Entered:
                              05/08/2017)
         05/08/2017      1396 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1392 MOTION for Order
                              Directing the Government to Grant Parole of Foreign Witnesses and His Adoption of
                              Mr. Muhtorov's "Motion for Parole" (Doc. 1334) (Attachments: # 1 Exhibit)(Gibson,
                              Beth) (Entered: 05/08/2017)
         05/09/2017      1397 MINUTE ORDER. The government's "Response to Motion for Parole of Witnesses
                              and Request for Reconsideration" 1396 , filed with regard to Defendant 2 Bakhtiyor
                              Jumaev only, is both a Response to Mr. Jumaev's Motion to Parole Witnesses 1392
                              and a separate Motion to Reconsider the court's 4/21/17 Order 1389 granting Mr.
                              Muhtorov's Motion to Parole of Witnesses. Mr. Muhtorov is ORDERED to respond to
                              the Motion to Reconsider on or before Tuesday, May 16, 2017, so that the witness
                              parole question as it applies to his trial may be addressed on May 18, 2017, when the
                              parties will be before the court on Mr. Muhtorov's Motion 1327 to Dismiss for
                              Violation of Speedy Trial. Mr. Jumaev's Motion will be addressed in the normal
                              course. Entered by Judge John L. Kane on 05/09/17. Text Only Entry (jhawk, )
                              (Entered: 05/09/2017)
         05/10/2017      1398 STATUS REPORT Regarding Agenda Items for Status Conference on May 11, 2017
                              by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) (Entered:
                              05/10/2017)
         05/11/2017      1399 ORDER re: 1346 Motion for Reconsideration of Ruling Denying Motion to Suppress
                              Evidence Derived from Execution of Extra-Territorial Warrants 1151 as to Bakhtiyor
                              Jumaev (2). Signed by Judge John L. Kane on 05/11/17. (jhawk, ) (Entered:
                              05/11/2017)
         05/11/2017      1400 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 5/11/2017 as to Jamshid Muhtorov, Bakhtiyor Jumaev. Defendants NOT present,
                              in custody. Court Reporter: Terri Lindblom. (babia) (Entered: 05/11/2017)




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         05/11/2017      1401 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (babia) (Entered:
                              05/11/2017)
         05/15/2017      1402 STRICKEN -Pro Se Motion to Demand Trial or Dismissal filed by Jamshid
                              Muhtorov. (jhawk, ) Modified on 5/15/2017 to strike pursuant to the Order of
                              05/15/17 (jhawk, ). (Entered: 05/15/2017)
         05/15/2017      1403 ORDER striking 1402 Motion for Order as to Jamshid Muhtorov (1). As noted in
                              CM/ECF No. 842, Mr. Muhtorov is represented by counsel and is not permitted to file
                              pro se. Ordered by Judge John L. Kane on 5/15/2017. Text Only Entry (jlksec)
                              (Entered: 05/15/2017)
         05/16/2017      1404 REPLY TO RESPONSE to Motion by Jamshid Muhtorov as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev re 1392 MOTION for Order Directing the Government to Grant
                              Parole of Foreign Witnesses and His Adoption of Mr. Muhtorov's "Motion for Parole"
                              (Doc. 1334) - Mr. Muhtorov's Reply to the Government's "Request for
                              Reconsideration," Doc. 1396 (Attachments: # 1 Attachment A)(Williamson, Warren)
                              (Entered: 05/16/2017)
         05/18/2017      1405 STRICKEN Combined MOTION for Sanctions on Excessive Discovery and Request
                              for Speedy Trial or Dismissal by Jamshid Muhtorov. (jhawk, ) Modified on 5/18/2017
                              stricken pursuant to the Order of 05/18/17 (jhawk, ). (Entered: 05/18/2017)
         05/18/2017      1406 ORDER striking 1405 Motion for Sanctions as to Jamshid Muhtorov (1). As noted in
                              CM/ECF No. 842, Mr. Muhtorov is represented by counsel and is not permitted to file
                              pro se. Ordered by Judge John L. Kane on 5/18/2017. Text Only Entry (jlksec)
                              (Entered: 05/18/2017)
         05/18/2017      1409 MINUTE ENTRY for Motion Hearing proceedings held before Judge John L. Kane
                              on 5/18/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants
                              present, in custody. Denying 1327 Motion to Dismiss as to Jamshid Muhtorov (1).
                              ORDERED: The Governments Motion for Reconsideration (Doc. No. 1396) is
                              GRANTED to VACATE language directing the Executive to parole into the country
                              any particular witness. ORDERED: The Order (Doc. No. 1389) is REAFFIRMED to
                              the extent it directs the Prosecution to continue working with Defense counsel to
                              secure the presence of Mr. Muhtorovs witnesses for trial. Defendants are
                              REMANDED. Court Reporter: Tamara Hoffschildt. Interpreter: Hasmik Jorgensen
                              and Nodira Matyakubova. (babia) (Entered: 05/19/2017)
         05/18/2017      1410 RESTRICTED DOCUMENT - Level 1: Defendant's Exhibit A, offered and admitted,
                              by Jamshid Muhtorov as to Motions Hearing held for Jamshid Muhtorov (1), and
                              Bakhtiyor Jumaev (2) on May 18, 2017. (babia) (Entered: 05/19/2017)
         05/19/2017      1407 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2, # 3 Attachment 3)(Williamson,
                              Warren) (Entered: 05/19/2017)
         05/19/2017      1408 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              05/19/2017)




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         05/22/2017      1411 ORDER granting 1407 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 05/22/17. (Attachments: # 1
                              Order, # 2 Order) (jhawk, ) (Entered: 05/22/2017)
         05/22/2017      1412 ORDER granting 1408 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 05/22/17. (jhawk, )
                              (Entered: 05/22/2017)
         05/24/2017      1413 STRICKEN Motion for Bond Pending Trial or Dismissal of Case by Jamshid
                              Muhtorov. (jhawk, ) Modified on 5/24/2017 stricken pursuant to the order of 05/24/17
                              (jhawk, ). (Entered: 05/24/2017)
         05/24/2017      1414 ORDER striking 1413 Motion for Bond Pending Trial or Dismissal of Case as to
                              Jamshid Muhtorov (1). As noted in CM/ECF No. 842, Mr. Muhtorov is represented
                              by counsel and is not permitted to file pro se. Ordered by Judge John L. Kane on
                              5/24/2017. Text Only Entry (jlksec) (Entered: 05/24/2017)
         05/25/2017      1415 Joint MOTION for Order approving a Jointly Proposed Pretrial Schedule by USA as
                              to Jamshid Muhtorov, Bakhtiyor Jumaev. (Tonini, David) (Entered: 05/25/2017)
         05/25/2017      1416 ORDER granting 1415 Motion for Order as to Jamshid Muhtorov (1) for Pretrial
                              Schedule as detailed in the motion. The parties will file jury instructions and
                              questionnaires, identifying which are opposed and unopposed, and, if applicable, a
                              joint exhibit list on or before June 30, 2017. The parties will file any objections to
                              opposing partys instructions and questionnaire on or before July 7, 2017. The
                              government will file its witness and exhibit lists for those exhibits that were not
                              previously on the joint exhibit list on or before July 24, 2017. Mr. Muhtorov will file
                              his witness and exhibit lists for those exhibits that were not previously on the joint
                              exhibit list on or before July 31, 2017. Ordered by Judge John L. Kane on 5/25/2017.
                              Text Only Entry (jlksec) (Entered: 05/25/2017)
         05/25/2017      1417 MINUTE ORDER: The Status Conference scheduled for Thursday, June 15, 2017, at
                              10:00 AM is VACATED and RESET for 10:00 AM on Wednesday, June 14, 2017, in
                              Courtroom A802 of the Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver,
                              Colorado, before Judge John L. Kane. Entered by Judge John L. Kane on 05/25/17.
                              Text Only Entry (jhawk, ) (Entered: 05/25/2017)
         05/26/2017      1418 MOTION for Order for Pretrial Release by Jamshid Muhtorov as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Attachment A)(Williamson, Warren)
                              (Entered: 05/26/2017)
         05/30/2017      1419 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Gibson, Beth) (Entered: 05/30/2017)
         05/30/2017      1420 RESTRICTED DOCUMENT - Level 1: Motion to Sever the Deposition by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) Modified on 6/1/2017 to add
                              text (jhawk, ). (Entered: 05/30/2017)
         05/30/2017      1421 RESTRICTED DOCUMENT - Level 1- Withdrawal of Request for Videotaping of
                              Deposition and Request for the Court's Denial of 1420 as Moot by Bakhtiyor Jumaev.
                              (Savitz, David) Modified on 6/1/2017 to add text (jhawk, ). (Entered: 05/30/2017)




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         05/30/2017      1422 Ordered as to as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Government's
                              Motion to Restrict Document 1419 is Granted. Document 1420 shall remain under
                              Level 1 Restriction. Entered by Judge John L. Kane on 05/30/17. Text Only Entry
                              (jhawk, ) (Entered: 05/30/2017)
         06/02/2017      1423 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 06/02/2017)
         06/02/2017      1424 MINUTE ORDER GRANTING third Unopposed Motion to Modify Order re
                              Government's Rule 16(d) Motion 1194 . With the government's consent, provisions
                              (5) and (9) of Doc. 1194 are modified to permit Jumaev team member Darren
                              McClaury the same level of access to information, subject to the same responsibilities
                              as to secrecy, as other authorized defense team members. Entered by Judge John L.
                              Kane on 06/02/17. Text Only Entry (jhawk, ) (Entered: 06/02/2017)
         06/05/2017      1425 TRANSCRIPT of Motion hearing as to Bakhtiyor Jumaev held on May 18, 2017
                              before Judge Kane. Pages: 1-48. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 06/05/2017)
         06/07/2017      1426 MINUTE ORDER The government shall respond to Defendant Muhtorov's Motion
                              1418 for Pretrial Release on or before Monday, June 12, 2017. Defendant's Reply is
                              due before the status conference on Wednesday, June 14, 2017. Ordered by Judge
                              John L. Kane on 6/7/2017. Text Only Entry (jlksec) (Entered: 06/07/2017)
         06/09/2017      1427 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (jhawk, ) (Entered:
                              06/09/2017)
         06/09/2017      1428 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (jhawk, ) (Entered:
                              06/09/2017)
         06/09/2017      1429 Amended ORDER re Defendant's Motion for Order Directing Government to Grant
                              Parole so Foreign Witnesses May Be Temporarily Admitted to the United States to
                              Testify at Trial as to Jamshid Muhtorov 1334 . Signed by Judge John L. Kane on
                              06/09/17. (jhawk, ) (Entered: 06/09/2017)
         06/09/2017      1430 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              06/09/2017)
         06/09/2017      1431 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              06/09/2017)




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         06/09/2017      1432 ORDER granting 1430 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 06/09/17. (jhawk, )
                              (Entered: 06/09/2017)
         06/09/2017      1433 ORDER granting 1431 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 06/09/17. (jhawk, )
                              (Entered: 06/09/2017)
         06/09/2017      1434 MINUTE ORDER: The Status Conference scheduled for Wednesday, June 14, 2017,
                              at 10:00 AM is VACATED. Entered by Judge John L. Kane on 06/09/17. Text Only
                              Entry (jhawk, ) (Entered: 06/09/2017)
         06/09/2017      1435 MINUTE ORDER: A Motion Hearing is set for 9:30 AM on Thursday, June 22, 2017,
                              in Courtroom A802 of the Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver,
                              Colorado, before Judge John L. Kane. The court will hear argument on Mr.
                              Muhtorov's Motion for Pretrial Release (Doc. 1418). Mr. Muhtorov's presence is
                              required. Entered by Judge John L. Kane on 06/09/17. Text Only Entry (jhawk, )
                              (Entered: 06/09/2017)
         06/12/2017      1436 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              06/12/2017)
         06/12/2017      1437 ORDER granting 1436 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). Signed by Judge John L. Kane on 06/12/17. (jhawk, )
                              (Entered: 06/12/2017)
         06/12/2017      1438 RESPONSE to Motion by USA as to Jamshid Muhtorov re 1418 MOTION for Order
                              for Pretrial Release (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Holloway,
                              Gregory) (Entered: 06/12/2017)
         06/14/2017      1439 REPLY TO RESPONSE to Motion by Jamshid Muhtorov as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev re 1418 MOTION for Order for Pretrial Release -- Defendant's
                              Reply to Government Response (Doc. 1438) In Opposition to His Bail Motion (Doc.
                              1418) (Williamson, Warren) (Entered: 06/14/2017)
         06/16/2017      1440 NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered: 06/16/2017)
         06/16/2017      1441 NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered: 06/16/2017)
         06/16/2017      1442 NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered: 06/16/2017)
         06/16/2017      1443 NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered: 06/16/2017)
         06/22/2017      1445 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                              on 4/20/2017 before Judge Kane. Pages: 1-38. <br><br> NOTICE - REDACTION
                              OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.


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                                 If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                                 will be made electronically available after 90 days. Please see the Notice of
                                 Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                                 <br><br> Transcript may only be viewed at the court public terminal or purchased
                                 through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                 posting on PACER. (tlind, ) (Entered: 06/22/2017)
         06/22/2017       1446 TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                               on 5/11/2017 before Judge Kane. Pages: 1-17. <br><br> NOTICE - REDACTION
                               OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                               inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                               redact personal identifiers from the electronic transcript of the court proceeding.
                               If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                               will be made electronically available after 90 days. Please see the Notice of
                               Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                               <br><br> Transcript may only be viewed at the court public terminal or purchased
                               through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                               posting on PACER. (tlind, ) (Entered: 06/22/2017)
             06/22/2017   1447 MINUTE ENTRY for Motion Hearing proceedings held before Judge John L. Kane
                               on 6/22/2017 as to Jamshid Muhtorov (1). Defendant present, in custody. Taking
                               under advisement 1418 Motion for Order as to Jamshid Muhtorov (1). Motion
                               Hearing CONTINUED for 6/23/2017 11:00 AM in Courtroom A 802 before Judge
                               John L. Kane. Defendant is REMANDED. Court Reporter: Terri Lindblom.
                               Interpreter: Yuliya Fedasanka and Hasmik Jorgensen. (babia) (Entered: 06/22/2017)
         06/23/2017       1448 ORDER as to Jamshid Muhtorov (1). Based on the foregoing, I am GRANTING Mr.
                               Muhtorovs Motion for Release on Conditions 1418 , but will ABATE my order for his
                               release so that the specific combination of conditions can be aired and determined
                               with comment from all sides. I am setting a hearing to determine the contents of my
                               release order and the specific conditions with which Mr. Muhtorov is expected to
                               abide. Signed by Judge John L. Kane on 06/23/17. (jhawk, ) (Entered: 06/23/2017)
         06/23/2017       1449 MINUTE ENTRY for Motion Hearing proceedings held before Judge John L. Kane
                               on 6/23/2017 as to Jamshid Muhtorov. Defendant present in CUSTODY. ORDERED:
                               Motion For Pretrial Release (Filed 5/26/17; Doc. No. 1418) is GRANTED but
                               ABATED until a hearing to set specific conditions of release can be held. An In Court
                               Hearing is set for Monday, 6/26/2017 at 01:30 PM in Courtroom A 802 before Judge
                               John L. Kane. Defendant is REMANDED. Court Reporter: Terri Lindblom.
                               Interpreter: Hasmik Jorgensen. (babia) (Entered: 06/23/2017)
         06/23/2017       1450 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (jhawk, ) (Entered:
                               06/23/2017)
         06/23/2017       1451 NOTICE of Defendant's Proposed Conditions of Pretrial Release by Jamshid
                               Muhtorov (Attachments: # 1 Attachment A)(Williamson, Warren) (Entered:
                               06/23/2017)
         06/26/2017       1452 NOTICE OF APPEAL as to 1448 Order on Motion for Order, by USA as to Jamshid
                               Muhtorov (Holloway, Gregory) (Entered: 06/26/2017)



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         06/26/2017      1453 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                              the 1452 Notice of Appeal as to Jamshid Muhtorov to the U.S. Court of Appeals.
                              (Attachments: # 1 Docket Sheet and Preliminary Sheet)(cthom, ) (Entered:
                              06/26/2017)
         06/26/2017      1454 USCA Case Number as to Jamshid Muhtorov 17-1220 for 1452 Notice of Appeal
                              filed by USA. (cthom, ) (Entered: 06/26/2017)
         06/26/2017      1455 MINUTE ENTRY for In Court Hearing proceedings held before Judge John L. Kane
                              on 6/26/2017 as to Jamshid Muhtorov. Defendant present, in custody. ORDERED:
                              The Probation Departments proposed conditions are APPROVED, as modified on the
                              record. The Order for pretrial release is STAYED, to and including June 29, 2017, so
                              that Pretrial Services can conduct a home evaluation, as specified. ORDERED:
                              Defendants Proposed Conditions of Pretrial Release (Filed 6/23/17; Doc. No. 1451) is
                              DENIED as MOOT. An In Court Hearing is set for 6/29/2017 at 10:00 AM in
                              Courtroom A 802 before Judge John L. Kane. Jury Trial set for 7/31/2017 at 9:00 AM
                              is VACATED and RESET for 3/12/2018 09:00 AM in Courtroom A 802 before Judge
                              John L. Kane. ORDERED: All the subpoenas that have been issued returnable for the
                              July 31, 2017 trial date are now returnable for the new trial date of March 12, 2018.
                              Defendant is REMANDED. Court Reporter: Terri Lindblom. Interpreter: Hasmik
                              Jorgensen. (babia) (Entered: 06/26/2017)
         06/27/2017      1456 TRANSCRIPT of Hearing on Pretrial Detention as to Jamshid Muhtorov held on
                              6/22/2017 before Judge Kane. Pages: 1-30. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 06/27/2017)
         06/27/2017      1457 TRANSCRIPT of Ruling on Motion for Pretrial Release as to Jamshid Muhtorov held
                              on 6/23/2017 before Judge Kane. Pages: 1-23. <br><br> NOTICE - REDACTION
                              OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 06/27/2017)
         06/27/2017      1458 TRANSCRIPT of Hearing on Pretrial Release as to Jamshid Muhtorov held on
                              6/26/2017 before Judge Kane. Pages: 1-14. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to


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                                redact personal identifiers from the electronic transcript of the court proceeding.
                                If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                                will be made electronically available after 90 days. Please see the Notice of
                                Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                                <br><br> Transcript may only be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (tlind, ) (Entered: 06/27/2017)
         06/28/2017      1459 ORDER of USCA as to Jamshid Muhtorov re 1452 Notice of Appeal. (USCA Case
                              No. 17-1220) (cthom, ) (Entered: 06/28/2017)
         06/28/2017      1460 MINUTE ORDER as to Jamshid Muhtorov confirming that the in court hearing
                              scheduled for Thursday, June 29, 2017, at 10:00 a.m. will take place as scheduled.
                              Defendant Muhtorov's presence is required. Ordered by Judge John L. Kane on
                              6/28/2017. Text Only Entry (jlksec) (Entered: 06/28/2017)
         06/28/2017      1461 ORDER of USCA as to Jamshid Muhtorov re 1452 Notice of Appeal. (USCA Case
                              No. 17-1220) (cthom, ) (Entered: 06/29/2017)
         06/29/2017      1462 COURTROOM MINUTES for In Court Hearing as to Jamshid Muhtorov held before
                              Judge John L. Kane on 6/29/2017. Court approves the condition of home
                              confinement, and the order of abatement is no longer operative. A transcript of this
                              hearing shall be prepared as soon as possible and filed with the Tenth Circuit Court of
                              Appeals. Order Setting Conditions of Release is certified to the Tenth Circuit Court of
                              Appeals. The orders of this Court are stayed until further order from the Tenth Circuit
                              Court of Appeals. Defendant remanded. Court Reporter: Janet Coppock. Interpreter:
                              Hasmik Jorgensen. (ebuch) (Additional attachment(s) added on 6/29/2017: # 1
                              Proposed Order (PDF Only)) (cthom, ). (Entered: 06/29/2017)
         06/29/2017      1463 TRANSCRIPT of Status Conference as to Jamshid Muhtorov held on June 29, 2017
                              before Judge John L. Kane. Pages: 1-10. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (jcopp, ) (Entered: 06/29/2017)
         07/07/2017      1464 ORDER of USCA as to Jamshid Muhtorov re 1452 Notice of Appeal. (USCA Case
                              No. 17-1220) (cthom, ) (Entered: 07/10/2017)
         07/12/2017      1465 MINUTE ORDER: The Status Conference scheduled for Thursday, July 13, 2017, at
                              10:00 AM is VACATED. Ordered by Judge John L. Kane on 7/12/2017. Text Only
                              Entry (jlksec) (Entered: 07/12/2017)
         07/13/2017      1466 MINUTE ENTRY for In Camera Hearing, Ex Parte, proceedings held before Judge
                              John L. Kane with the United States Government on 7/13/2017. Court Reporter: Terri
                              Lindblom. (babia) Text Only Entry (Entered: 07/13/2017)



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         07/13/2017      1467 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit A, # 2 Exhibit B)(Savitz, David) (Entered: 07/13/2017)
         07/21/2017      1468 USCA Order and Judgment as to Jamshid Muhtorov re 1452 Notice of Appeal :
                              (USCA Case No. 17-1220) (This document is not the Mandate) "The temporary stay
                              of the June 23 order, which was granted on July 7, 2017, is now lifted. For the reasons
                              set forth above, we reverse the district courts release order dated June 23, 2017.
                              Muhtorov shall be detained pending trial." (cthom, ) (Entered: 07/21/2017)
         07/24/2017      1469 ORDER of USCA as to Jamshid Muhtorov re 1452 Notice of Appeal. (USCA Case
                              No. 17-1220) (cthom, ) (Entered: 07/24/2017)
         07/24/2017      1470 MANDATE of USCA as to Jamshid Muhtorov re 1468 USCA Order/Opinion
                              /Judgment, 1452 Notice of Appeal. (USCA Case No. 17-1220) (cthom, ) (Entered:
                              07/24/2017)
         07/27/2017      1471 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Gibson, Beth) (Entered: 07/27/2017)
         07/27/2017      1472 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Gibson, Beth) (Entered: 07/27/2017)
         07/27/2017      1473 (RESTRICTED DOCUMENT - Level 1) Response to 1467 by USA as to Bakhtiyor
                              Jumaev (Gibson, Beth) Modified to add text on 9/18/2017 (cthom, ). (Entered:
                              07/27/2017)
         07/28/2017      1474 ORDER granting 1472 Motion for Leave to Restrict as to Bakhtiyor Jumaev (2) by
                              Judge John L. Kane on 7/28/2017. (cthom, ) (Entered: 07/28/2017)
         08/02/2017      1475 (RESTRICTED DOCUMENT - Level 1) Preliminary Reply to 1467 by Bakhtiyor
                              Jumaev. (Savitz, David) Modified to add text on 9/18/2017 (cthom, ). (Entered:
                              08/02/2017)
         08/04/2017      1476 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Appendix, # 2 Exhibit, # 3 Proposed Order (PDF Only), # 4 Exhibit, # 5 Exhibit, # 6
                              Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit,
                              # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19
                              Exhibit, # 20 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25
                              Exhibit, # 26 Exhibit, # 27 Exhibit, # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31
                              Exhibit, # 32 Exhibit, # 33 Exhibit, # 34 Exhibit, # 35 Exhibit, # 36 Exhibit, # 37
                              Exhibit, # 38 Exhibit, # 39 Exhibit, # 40 Exhibit, # 41 Exhibit, # 42 Exhibit, # 43
                              Exhibit, # 44 Exhibit, # 45 Exhibit, # 46 Exhibit)(Baker, Mitchell) (Entered:
                              08/04/2017)
         08/07/2017      1477 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                              08/07/2017)
         08/21/2017      1478 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1467 Restricted
                              Document - Level 1 filed by Bakhtiyor Jumaev. Defendant Muhtorov's Response to
                              Defendant Jumaev's motion 1467 shall be filed on or before August 30, 2017. Counsel
                              for all parties should confer and call chambers jointly on or before August 31, 2017,
                              in order to set a status conference - 303-844-6118. The status conference will be held



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                                before September 25, 2017. Ordered by Judge John L. Kane on 8/21/2017. Text Only
                                Entry (jlksec) (Entered: 08/21/2017)
         08/23/2017      1479 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 08/23/2017)
         08/23/2017      1480 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Government's
                              request for an outright denial of Defendant Jumaev's Motion for Videotaping
                              Deposition 1467 is denied. The Government shall submit any additional briefing it
                              would like the court to consider on or before Friday, September 1, 2017. Mr. Jumaev's
                              Reply is due on or before September 12, 2017. Ordered by Judge John L. Kane on
                              8/23/2017. Text Only Entry (jlksec) (Entered: 08/23/2017)
         08/23/2017      1481 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status Conference
                              is set for 9/25/2017 at 10:00 AM in Courtroom A802 before Judge John L. Kane. The
                              presence of the Defendants is NOT required. Ordered by Judge John L. Kane on
                              8/23/2017. Text Only Entry (jlksec) (Entered: 08/23/2017)
         08/28/2017      1482 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 08/28/2017)
         09/01/2017      1483 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 09/01/2017)
         09/01/2017      1484 (RESTRICTED DOCUMENT - Level 1) 2nd Response to 1467 by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified to add text on
                              9/18/2017 (cthom, ). (Entered: 09/01/2017)
         09/05/2017      1485 ORDER granting 1483 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 9/5/2017. (cthom, )
                              (Entered: 09/05/2017)
         09/12/2017      1486 (RESTRICTED DOCUMENT - Level 1) Reply to 1467 by Bakhtiyor Jumaev.
                              (Savitz, David) Modified to add text on 9/18/2017 (cthom, ). (Entered: 09/12/2017)
         09/12/2017      1487 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              09/12/2017)
         09/12/2017      1488 ORDER on 1487 FPD Motion for Issuance of Subpoena in Forma Pauperis, as to
                              Jamshid Muhtorov (1), by Judge John L. Kane on 9/12/17. (Attachments: # 1
                              Attachment) (dkals, ) (Entered: 09/12/2017)
         09/13/2017      1489 NOTICE of Classified Ex Parte, In Camera Motion Filed by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 09/13/2017)
         09/13/2017      1490 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 09/13/2017)
         09/14/2017      1491 ORDER granting 1490 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 9/14/2017. (cthom, )
                              (Entered: 09/14/2017)




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         09/14/2017      1492 Renewed MOTION for Order DIRECTING THE GOVERNMENT TO GRANT
                              PAROLE OF FOREIGN WITNESSES (Related to Doc. 1392) by Bakhtiyor Jumaev.
                              (Attachments: # 1 Proposed Order (PDF Only))(Baker, Mitchell) (Entered:
                              09/14/2017)
         09/15/2017      1493 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Savitz, David)
                              (Entered: 09/15/2017)
         09/18/2017      1494 ORDER Setting Agenda Items for 9/25/2017 Status Conference as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev. ORDERED by Judge John L. Kane on 9/18/2017.
                              (cthom, ) (Entered: 09/18/2017)
         09/18/2017      1495 (RESTRICTED DOCUMENT - Level 1) Order re 1467 as to Bakhtiyor Jumaev.
                              (cthom, ) (Entered: 09/18/2017)
         09/18/2017      1496 (RESTRICTED DOCUMENT-Level 1) MINUTE ORDER as to Bakhtiyor Jumaev
                              Setting ex Parte Hearing. ORDERED by Judge John L. Kane on 9/18/2017. (cthom, )
                              (Entered: 09/18/2017)
         09/20/2017      1497 MINUTE ENTRY for In Court Hearing proceedings held before Judge John L. Kane
                              on 9/20/2017 as to Bakhtiyor Jumaev (2). Court Reporter: Terri Lindblom. (babia)
                              (Entered: 09/20/2017)
         09/20/2017      1498 MINUTE ORDER. Judge John L. Kane directs counsel to ADD Doc. 1300, Motion
                              for Leave to File Expert Endorsements, as an AGENDA ITEM for the 9/25/17 Status
                              Conference. Ordered by Judge John L. Kane on 9/20/2017. Text Only Entry (jlksec)
                              (Entered: 09/20/2017)
         09/21/2017      1499 (RESTRICTED DOCUMENT - Level 1) Joint Status Report: Agenda Items by USA
                              as to Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) Modified to add title on
                              9/22/2017 (cthom, ). (Entered: 09/21/2017)
         09/21/2017      1500 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Gibson, Beth) (Entered: 09/21/2017)
         09/22/2017      1501 ORDER granting 1500 Motion for Leave to Restrict as to Jamshid Muhtorov (1),
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 9/22/2017. (cthom, )
                              (Entered: 09/22/2017)
         09/22/2017      1502 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(cthom, ) (Entered: 09/22/2017)
         09/25/2017      1503 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 9/25/2017 as to Defendants Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Defendants not present, in custody. Granting 1300 Motion for Leave to File as to
                              Bakhtiyor Jumaev (2). A Discovery Hearing is set for 10/30/2017 at 01:00 PM and
                              10/31/2017 at 09:00 AM in Courtroom A 802 before Judge John L. Kane. A Status
                              Conference is set for 9/28/2017 10:00 AM in Courtroom A 802 before Judge John L.
                              Kane. Court Reporter: Tamara Hoffschildt. (babia) (Entered: 09/25/2017)
         09/26/2017      1504 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                              09/27/2017)




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         09/28/2017      1505 MINUTE ENTRY for Status Conference proceedings held before Judge John L. Kane
                              on 9/28/2017 as to Bakhtiyor Jumaev. Court Reporter: Tamara Hoffchildt. (babia)
                              (Entered: 09/28/2017)
         09/29/2017      1506 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 1452
                              Notice of Appeal ; assigned Supreme Court No. 17-6163 as to Jamshid Muhtorov (
                              Appeal No. 17-1220) (cthom, ) (Entered: 09/29/2017)
         10/03/2017      1507 (RESTRICTED DOCUMENT - Level 1) Motion for Disclosure of Government
                              Analysis of Records by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on
                              10/3/2017 (cthom, ). (Entered: 10/03/2017)
         10/03/2017      1508 (RESTRICTED DOCUMENT - Level 1) Motion to Compel by Bakhtiyor Jumaev.
                              (Baker, Mitchell) Modified to add title on 10/3/2017 (cthom, ). (Entered: 10/03/2017)
         10/03/2017      1509 (RESTRICTED DOCUMENT - Level 1) Motion for Disclosure of Communications
                              by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 10/3/2017 (cthom, ).
                              (Entered: 10/03/2017)
         10/03/2017      1510 (RESTRICTED DOCUMENT - Level 1) Motion for Disclosure of Brady and Giglio
                              Material by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 10/3/2017
                              (cthom, ). (Entered: 10/03/2017)
         10/03/2017      1511 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit, # 3 Proposed Order (PDF Only))(Baker, Mitchell) (Entered:
                              10/03/2017)
         10/03/2017      1512 (RESTRICTED DOCUMENT - Level 2) Motion for Discovery as to Jamshid
                              Muhtorov. (Williamson, Warren) Modified to add title on 10/3/2017 (cthom, ).
                              (Entered: 10/03/2017)
         10/04/2017      1513 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                              10/04/2017)
         10/05/2017      1514 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit)(cthom, ) (Entered: 10/05/2017)
         10/10/2017      1515 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              10/10/2017)
         10/10/2017      1516 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(cthom, ) (Entered: 10/11/2017)
         10/11/2017      1517 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 10/11/2017)
         10/12/2017      1518 RESTRICTED DOCUMENT - Level 3 as to Jamshid Muhtorov. (Attachments: # 1
                              Exhibit)(cthom, ) (Entered: 10/12/2017)
         10/12/2017      1519 MINUTE ORDER as to Jamshid Muhtorov and Bakhtiyor Jumaev. In accordance
                              with my statement at the September 25, 2017 status conference, an evidentiary
                              hearing regarding Docs. 813 , 825 , and 832 is set for November 9, 2017, at 9 a.m. in
                              Courtroom A-802, Alfred A. Arraj U.S. District Courthouse, 901 19th St., Denver,


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                                Colorado. Defendants' presence is required. ORDERED by Judge John L. Kane on
                                10/12/2017. Text Only Entry. (cthom, ) (Entered: 10/12/2017)
         10/13/2017      1520 TRANSCRIPT of Status Conference as to Jamshid Muhtorov held on September 25,
                              2017 before Judge Kane. Pages: 1-26. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 10/13/2017)
         10/17/2017      1521 (RESTRICTED DOCUMENT - Level 1) Response to 1507 by USA as to Bakhtiyor
                              Jumaev (Holloway, Gregory) Modified to add text pursuant to 1527 Order on
                              10/18/2017 (cthom, ). (Entered: 10/17/2017)
         10/17/2017      1522 (RESTRICTED DOCUMENT - Level 1) Response to 1508 by USA as to Bakhtiyor
                              Jumaev (Holloway, Gregory) Modified to add text pursuant to 1527 Order on
                              10/18/2017 (cthom, ). (Entered: 10/17/2017)
         10/17/2017      1523 (RESTRICTED DOCUMENT - Level 1) Response to 1509 by USA as to Bakhtiyor
                              Jumaev (Holloway, Gregory) Modified to add text pursuant to 1527 Order on
                              10/18/2017 (cthom, ). (Entered: 10/17/2017)
         10/17/2017      1524 (RESTRICTED DOCUMENT - Level 1) Response to 1510 by USA as to Bakhtiyor
                              Jumaev (Holloway, Gregory) Modified to add text pursuant to 1527 Order on
                              10/18/2017 (cthom, ). (Entered: 10/17/2017)
         10/17/2017      1525 (RESTRICTED DOCUMENT - Level 1) Response to 1512 and 1517 by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified to add text
                              pursuant to 1527 Order on 10/18/2017 (cthom, ). (Entered: 10/17/2017)
         10/17/2017      1528 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                              10/18/2017)
         10/18/2017      1526 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 10/18/2017)
         10/18/2017      1527 ORDER granting 1526 Motion for Leave to Restrict by Judge John L. Kane on
                              10/18/2017. (cthom, ) (Entered: 10/18/2017)
         10/20/2017      1529 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 10/20/2017)
         10/20/2017      1530 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(cthom, ) (Entered: 10/20/2017)
         10/23/2017      1531 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 10/23/2017)




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         10/24/2017      1532 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) (Entered: 10/24/2017)
         10/24/2017      1533 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 10/24/2017)
         10/24/2017      1534 NOTICE Government's Request for CIPA Section 4 Status Hearing by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 10/24/2017)
         10/24/2017      1535 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. At the government's
                              request, an ex parte classified hearing is set for 2:30 p.m. tomorrow, October 25,
                              2017. The government's request for the hearing was general and nonspecific. Defense
                              counsel will be apprised of any non-classified subject matter discussed at the hearing.
                              Ordered by Judge John L. Kane on 10/24/2017. Text Only Entry (jlksec) (Entered:
                              10/24/2017)
         10/24/2017      1536 ORDER granting 1533 Motion for Leave to Restrict as to Jamshid Muhtorov (1) and
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 10/24/2017. (cthom, )
                              (Entered: 10/25/2017)
         10/25/2017      1537 (RESTRICTED DOCUMENT - Level 3) Order re 1531 Restricted Document as to
                              Bakhtiyor Jumaev. (cthom, ) Modified to add title on 10/25/2017 (cthom, ). (Entered:
                              10/25/2017)
         10/25/2017      1538 NOTICE of Withdrawal of Appearance by Department of Justice as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Korczynski, Kiersten) (Entered: 10/25/2017)
         10/25/2017      1539 MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The court construes
                              the Government's 1538 Notice of Withdrawal of Appearance as a Motion to Withdraw
                              and GRANTS the request. Given that representation of the Government will continue
                              with Mr. Holloway, Ms. Gibson, and Mr. Tonini, Attorney Kiersten Jennifer
                              Korczynski is authorized to WITHDRAW as counsel. Ms. Korczynski shall be
                              removed from future electronic notifications in this case. ORDERED by Judge John
                              L. Kane on 10/25/2017. (cthom, ) (Entered: 10/25/2017)
         10/25/2017      1540 MINUTE ENTRY for In Camera Hearing, Ex Parte (Status Conference) Classified
                              proceedings held before Judge John L. Kane with United States Government on
                              10/25/2017. Court Reporter: Terri Lindblom. (babia) Text Only Entry Modified on
                              10/26/2017 to correct text error. (babia) (Entered: 10/25/2017)
         10/25/2017      1541 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(cthom, ) (Entered: 10/26/2017)
         10/26/2017      1542 RESTRICTED TRANSCRIPT of proceedings held on September 28, 2017 before
                              Judge Kane. Pages: 1-15. (thoff, ) (Entered: 10/26/2017)
         10/26/2017      1543 TRANSCRIPT of Hearing as to Jamshid Muhtorov held on September 28, 2017
                              before Judge Kane. Pages: 16-26. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript



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                                will be made electronically available after 90 days. Please see the Notice of
                                Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                                <br><br> Transcript may only be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (thoff, ) (Entered: 10/26/2017)
         10/26/2017      1544 TRANSCRIPT of Hearing as to Jamshid Muhtorov held on September 25, 2017
                              before Judge Kane. Pages: 1-26. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 10/26/2017)
         10/30/2017      1545 MINUTE ENTRY for Discovery Hearing proceedings held before Judge John L.
                              Kane on 10/30/2017 as to Jamshid Muhtorov, Bakhtiyor Jumaev. ORDERED: The
                              United States Marshal Service shall have Defendants Jamshid Muhtorov (1), and
                              Bakhtiyor Jumaev (2) available in person for the Discovery Hearing set October 31,
                              2017 at 9:00 a.m. Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen and
                              Nodira Matyakubova. (babia) (Entered: 10/30/2017)
         10/30/2017      1546 RESTRICTED DOCUMENT - Level 2: as to Jamshid Muhtorov. (babia) (Entered:
                              10/31/2017)
         10/31/2017      1547 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (athom, ) (Entered:
                              11/01/2017)
         10/31/2017      1550 MINUTE ENTRY for Discovery Hearing proceedings held before Judge John L.
                              Kane 10/31/2017 as to Jamshid Muhtorov, and Bakhtiyor Jumaev. ***Finding as
                              moot [] Motion as to Bakhtiyor Jumaev (2); ***Granting [] Motion as to Bakhtiyor
                              Jumaev (2). ORDERED:Immediately following todays hearing counsel for the
                              Government and counsel for Defendant Jumaev shall meet and confer and provide
                              names and contact information of Tajik Interpreters to Interpreter Services (LaDonne
                              Bush) by Wednesday, November 8, 2017. Court Reporter: Terri Lindblom. Interpreter:
                              Hasmik Jorgensen and Nodira Matyakubova. (Attachments: # 1 Exhibit, # 2 Exhibit)
                              (babia) (Entered: 11/01/2017)
         11/01/2017      1548 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 11/01/2017)
         11/01/2017      1549 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (athom, ) (Entered:
                              11/01/2017)
         11/01/2017      1551 MINUTE ENTRY for Discovery Hearing Day 3 proceedings held before Judge John
                              L. Kane on 11/1/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Court
                              Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen. (Attachments: # 1 Exhibit
                              3) (babia) (Entered: 11/02/2017)



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         11/01/2017      1552 MINUTE ENTRY for In Camera Hearing, Ex Parte (Status Conference) Classified
                              proceedings held before Judge John L. Kane with the Government on 11/1/2017 as to
                              Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Court Reporter: Terri Lindblom.
                              (babia) Text Only Entry (Entered: 11/02/2017)
         11/02/2017      1553 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 11/02/2017)
         11/02/2017      1554 MOTION to Withdraw as Attorney by Erin Martha Creegan by Department of Justice
                              as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Creegan, Erin) (Entered: 11/02/2017)
         11/03/2017      1555 ORDER granting 1554 Motion to Withdraw as Attorney. Given that representation of
                              the Government will continue with Mr. Holloway, Ms. Gibson, and Mr. Tonini,
                              Attorney Erin Creegan is authorized to WITHDRAW as counsel. Ms. Creegan shall
                              be removed from future electronic notifications in this case. ORDERED by Judge
                              John L. Kane on 11/3/2017. Text Only Entry (cthom, ) (Entered: 11/03/2017)
         11/03/2017      1556 MINUTE ORDER GRANTING Government's 1553 Motion to Restrict Document
                              No. 1551-1, despite the fact that it refers to a seemingly unrelated 1194 Protective
                              Order. As a warning to the government, informal, ex parte requests of the Court are
                              unacceptable. Written motions must be filed including some justification
                              substantiating any request. ORDERED by Judge John L. Kane on 11/3/2017. Text
                              Only Entry (cthom, ) (Entered: 11/03/2017)
         11/06/2017      1557 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 11/06/2017)
         11/06/2017      1558 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                              11/06/2017)
         11/06/2017      1559 Proposed Jury Instructions Proposed Revised Juror Questionnaire by Bakhtiyor
                              Jumaev (Attachments: # 1 Exhibit)(Savitz, David) (Entered: 11/06/2017)
         11/06/2017      1560 NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the United
                              States Pursuant to the Classified Information Procedures Act by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/06/2017)
         11/06/2017      1561 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 1452
                              Notice of Appeal ; assigned Supreme Court No. 17-6163 as to Jamshid Muhtorov (
                              Appeal No. 17-1220) "The petition for a writ of certiorari is denied." (cthom, )
                              (Entered: 11/06/2017)
         11/08/2017      1562 (RESTRICTED DOCUMENT - Level 1) Order re November 9, 2017 Evidentiary
                              Hearing. ORDERED by Judge John L. Kane on 11/8/2017. (cthom, ) (Entered:
                              11/08/2017)
         11/09/2017      1563 MINUTE ENTRY for Evidentiary Hearing proceedings held before Judge John L.
                              Kane on 11/9/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Defendants present, in custody. ORDERED:Defendants Motion To Dismiss, (as
                              related to Doc. Nos. 813 and 825), is DENIED. In Court Hearing set for 12/21/2017 at
                              10:30 AM in Courtroom A 802 before Judge John L. Kane. Defendant Jumaev (2) and
                              Interpreter shall be present. ORDERED: Counsel shall file a Joint Status report by



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                                December 18, 2017. Trial Preparation Conference set for 1/3/2018 at 10:30 AM in
                                Courtroom A 802 before Judge John L. Kane. Defendants REMANDED. Court
                                Reporter: Tamara Hoffschildt. Interpreter: Hasmik Jorgensen and Nodira
                                Matyakubova. (babia) (Additional attachment(s) added on 11/9/2017: # 1 Exhibit)
                                (babia, ). (Entered: 11/09/2017)
         11/13/2017      1564 MINUTE ENTRY for In Camera Hearing, Ex Parte Status Conference proceedings
                              held before Judge John L. Kane with the Government on 11/13/2017 as to Jamshid
                              Muhtorov (1), and Bakhtiyor Jumaev (2). Court Reporter: Terri Lindblom. (babia)
                              Text Only Entry (Entered: 11/13/2017)
         11/13/2017      1565 (RESTRICTED DOCUMENT - Level 1) Notice of Classified Order by Judge John L.
                              Kane on 11/13/2017. (cthom, ) (Entered: 11/13/2017)
         11/20/2017      1566 MINUTE ORDER as to Bakhtiyor Jumaev re 1563 . Defendant Jumaev's presence is
                              required for the In Court Hearing set for 12/21/2017 at 10:30 AM as well as the Trial
                              Preparation Conference set for 1/3/2018 at 10:30 AM in Courtroom A802. Ordered by
                              Judge John L. Kane on 11/20/2017. Text Only Entry (jlksec) (Entered: 11/20/2017)
         11/21/2017      1567 NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/21/2017)
         11/22/2017      1568 MOTION for Order Defendant Jumaev's Motion to Revise the Protocol for Jury
                              Selection by Bakhtiyor Jumaev. (Savitz, David) (Entered: 11/22/2017)
         11/24/2017      1569 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Proposed Order (PDF Only))(Baker, Mitchell) (Entered: 11/24/2017)
         11/24/2017      1570 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Proposed Order (PDF Only), # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                              Exhibit, # 7 Exhibit)(Baker, Mitchell) (Entered: 11/24/2017)
         11/24/2017      1571 TRANSCRIPT of Motion Hearing - Day 1 as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev held on 10/30/2017 before Judge Kane. Pages: 1-6. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the
                              court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                              time, this transcript will be made electronically available after 90 days. Please see
                              the Notice of Electronic Availability of Transcripts document at
                              www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                              terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                              deadline for electronic posting on PACER. (tlind, ) (Entered: 11/24/2017)
         11/24/2017      1572 TRANSCRIPT of Motion Hearing - Day 2 as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev held on 10/31/2017 before Judge Kane. Pages: 7-166. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the
                              court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                              time, this transcript will be made electronically available after 90 days. Please see



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                                the Notice of Electronic Availability of Transcripts document at
                                www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                                terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                                deadline for electronic posting on PACER. (tlind, ) (Entered: 11/24/2017)
         11/24/2017      1573 TRANSCRIPT of Motion Hearing - Day 3 as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev held on 11/1/2017 before Judge Kane. Pages: 167-226. <br><br> NOTICE -
                              REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                              each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                              party's intent to redact personal identifiers from the electronic transcript of the
                              court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                              time, this transcript will be made electronically available after 90 days. Please see
                              the Notice of Electronic Availability of Transcripts document at
                              www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                              terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                              deadline for electronic posting on PACER. (tlind, ) (Entered: 11/24/2017)
         11/24/2017      1574 RESTRICTED TRANSCRIPT of proceedings held on 11/1/2017 before Judge Kane.
                              Pages: 227-234. (tlind, ) (Entered: 11/24/2017)
         11/28/2017      1575 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                              11/28/2017)
         11/28/2017      1576 RESTRICTED DOCUMENT - Level 3 as to Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Subpoena, # 3 Subpoena, # 4 Subpoena, # 5 Subpoena, # 6 Subpoena)
                              (cthom, ) (Entered: 11/28/2017)
         11/30/2017      1577 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1568 MOTION for Order
                              Defendant Jumaev's Motion to Revise the Protocol for Jury Selection (Holloway,
                              Gregory) (Entered: 11/30/2017)
         11/30/2017      1578 MINUTE ENTRY for Status Conference proceedings held before Judge John L.
                              Kane: as to Jamshid Muhtorov, and Bakhtiyor Jumaev on 11/30/2017. Court Reporter:
                              Terri Lindblom. (babia) (Entered: 11/30/2017)
         12/01/2017      1579 NOTICE of Classified Order by Judge John L. Kane on 12/1/2017. (cthom, )
                              (Entered: 12/01/2017)
         12/05/2017      1580 RESTRICTED DOCUMENT - Level 3: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) (Entered: 12/05/2017)
         12/05/2017      1581 RESTRICTED DOCUMENT - Level 3 as to Jamshid Muhtorov, Bakhtiyor Jumaev
                              re: 1580 Restricted Document. (cthom, ) (Entered: 12/05/2017)
         12/08/2017      1582 STATUS REPORT by Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 12/08/2017)
         12/08/2017      1583 STATUS REPORT Notice of Defendant Muhtorov's Position Regarding Recent
                              Developments by Jamshid Muhtorov (Williamson, Warren) (Entered: 12/08/2017)
         12/08/2017      1584 NOTICE of the Government's Position by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Gibson, Beth) (Entered: 12/08/2017)




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         12/12/2017      1585 ORDER Vacating and Resetting Trial Dates and Deadlines as to Defendants Jamshid
                              Muhtorov and Bakhtiyor Jumaev. Defendant Bakhtiyor Jumaev's trial set to begin
                              January 8, 2018, is VACATED and is reset to begin March 12, 2018, and to run for
                              seven weeks. Defendant Jamshid Muhtorov's trial set to begin March 12, 2018, is also
                              VACATED and is reset to begin May 14, 2018, and to run for seven weeks.
                              ORDERED by Judge John L. Kane on 12/12/2017. (cthom, ) (Entered: 12/12/2017)
         12/12/2017      1586 Utility Setting/Resetting Deadlines/Hearings as to Jamshid Muhtorov: 7 week Jury
                              Trial set for 5/14/2018 at 09:00 AM in Courtroom A 802 before Judge John L. Kane
                              pursuant to 1585 Order. Text Only Entry (cthom, ) (Entered: 12/12/2017)
         12/12/2017      1587 Utility Setting/Resetting Deadlines/Hearings as to Bakhtiyor Jumaev: 7 week Jury
                              Trial set for 3/12/2018 at 09:00 AM in Courtroom A 802 before Judge John L. Kane
                              and a Final Trial Preparation Conference set for 3/7/2018 at 10:30 AM in Courtroom
                              A 802 before Judge John L. Kane pursuant to 1585 Order. Text Only Entry (cthom, )
                              (Entered: 12/12/2017)
         12/13/2017      1588 MOTION to Continue Subpoenas to New Trial Date by Jamshid Muhtorov.
                              (Williamson, Warren) (Entered: 12/13/2017)
         12/14/2017      1589 MOTION to Continue Subpoenas to New Trial Date by Bakhtiyor Jumaev. (Baker,
                              Mitchell) (Entered: 12/14/2017)
         12/15/2017      1590 NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the United
                              States Pursuant to the Classified Information Procedures Act by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 12/15/2017)
         12/15/2017      1591 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 12/15/2017)
         12/18/2017      1592 ORDER granting 1591 Motion for Leave to Restrict as to Jamshid Muhtorov (1) and
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 12/18/2017. (cthom, )
                              (Entered: 12/18/2017)
         12/19/2017      1593 NOTICE of Intent to Rely on FRE 902(14) to Autheniticate Certain Communications
                              by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2
                              Exhibit)(Gibson, Beth) (Entered: 12/19/2017)
         12/19/2017      1594 ORDER granting 1588 and 1589 Defendants' Motions to Continue Subpoenas to New
                              Trial Dates. All the subpoenas that have been issued returnable for the March 12,
                              2018, trial as to Jamshid Muhtorov (1) are now returnable for the new trial date May
                              14, 2018. All the subpoenas that have been issued returnable for the January 8, 2018,
                              trial as to Bakhtiyor Jumaev (2) are now returnable for the new trial date March 12,
                              2018. Ordered by Judge John L. Kane on 12/19/2017. Text Only Entry (jlksec)
                              Modified to correct date on 12/19/2017 (cthom, ). (Entered: 12/19/2017)
         12/22/2017      1595 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 12/22/2017)
         01/02/2018      1596 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 01/02/2018)




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         01/02/2018      1597 MINUTE ORDER as to Bakhtiyor Jumaev re 1595 Restricted Document - Level 1
                              filed by Bakhtiyor Jumaev. The parties' Joint Proposed Scheduling Order is approved.
                              Ordered by Judge John L. Kane on 1/2/2018. Text Only Entry (jlksec) (Entered:
                              01/02/2018)
         01/04/2018      1598 MINUTE ORDER GRANTING Fourth Unopposed Motion to Modify Order re
                              Government's Rule 16(d) Motion 1596 . With the government's consent, provisions
                              (5) and (9) of Doc. 1194 are modified to permit Jumaev team member David Wise the
                              same level of access to information, subject to the same responsibilities as to secrecy,
                              as other authorized defense team members. Ordered by Judge John L. Kane on 1/4/18.
                              Text Only Entry (jlksec) (Entered: 01/04/2018)
         01/12/2018      1599 Proposed Voir Dire by Bakhtiyor Jumaev (Savitz, David) (Entered: 01/12/2018)
         01/12/2018      1600 Proposed Jury Instructions by USA as to Bakhtiyor Jumaev (Gibson, Beth) (Entered:
                              01/12/2018)
         01/12/2018      1601 Proposed Jury Instructions Disputed by USA as to Bakhtiyor Jumaev (Gibson, Beth)
                              (Entered: 01/12/2018)
         01/16/2018      1602 (RESTRICTED DOCUMENT - Level 1) Motion to Compel by Bakhtiyor Jumaev.
                              (Baker, Mitchell) Modified to add title on 1/29/2018 (cthom, ). (Entered: 01/16/2018)
         01/17/2018      1603 MINUTE ORDER as to Bakhtiyor Jumaev re 1602 Restricted Document - Level 1
                              filed by Bakhtiyor Jumaev. The government's Response is due on or before January
                              26, 2018, and any Reply is due on or before February 1, 2018. Ordered by Judge John
                              L. Kane on 1/17/2018. Text Only Entry (jlksec) (Entered: 01/17/2018)
         01/18/2018      1604 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Holloway, Gregory) (Entered: 01/18/2018)
         01/18/2018      1605 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Holloway, Gregory) (Entered: 01/18/2018)
         01/19/2018      1606 ORDER granting 1605 Motion for Leave to Restrict as to Jamshid Muhtorov (1) and
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 1/19/2018. (cthom, )
                              (Entered: 01/19/2018)
         01/22/2018      1607 MOTION in Limine by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway,
                              Gregory) (Entered: 01/22/2018)
         01/22/2018      1608 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 01/22/2018)
         01/22/2018      1609 MOTION in Limine by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered: 01/22/2018)
         01/26/2018      1610 NOTICE OF ATTORNEY APPEARANCE Julia K. Martinez appearing for USA.
                              Attorney Julia K. Martinez added to party USA(pty:pla) (Martinez, Julia) (Entered:
                              01/26/2018)
         01/26/2018      1611 (RESTRICTED DOCUMENT - Level 1) Protective Order by Judge John L Kane.
                              (cthom, ) (Entered: 01/26/2018)




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         01/26/2018      1612 (RESTRICTED DOCUMENT - Level 1) Response to 1602 Motion to Compel by
                              USA as to Bakhtiyor Jumaev (Gibson, Beth) Modified to add title on 1/29/2018
                              (cthom, ). (Entered: 01/26/2018)
         01/26/2018      1613 (RESTRICTED DOCUMENT - Level 1) Order on Defendants 1507 , 1509 , 1510 ,
                              1512 Discovery Motions. ORDERED Judge John L Kane. (cthom, ) (Entered:
                              01/26/2018)
         01/26/2018      1614 MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                              (Gibson, Beth) (Entered: 01/26/2018)
         01/29/2018      1615 ORDER granting 1614 Motion for Leave to Restrict as to Jamshid Muhtorov (1) and
                              Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 1/29/2018. (cthom, )
                              (Entered: 01/29/2018)
         01/30/2018      1620 MINUTE ENTRY for In Camera Hearing, Ex Parte Classified proceedings held
                              before Judge John L. Kane with the Government on 1/30/2018 as to Jamshid
                              Muhtorov (1), and Bakhtiyor Jumaev (2). Court Reporter: Terri Lindblom. (jlksec)
                              Text Only Entry Modified to correct date on 2/2/2018 (cthom, ). (Entered:
                              02/01/2018)
         01/31/2018      1616 (RESTRICTED DOCUMENT - Level 1) Notice of Classified Orders by Judge L.
                              Kane. (cthom, ) (Entered: 01/31/2018)
         01/31/2018      1617 ORDER regarding Jury Questionnaire, Jury Instructions, and Jury Selection Protocol
                              as to Bakhtiyor Jumaev (2). Defendant Jumaev's 1568 Motion to Revise the Protocol
                              for Jury Selection is GRANTED as detailed in this Order. The parties are DIRECTED
                              to jointly call chambers at (303) 844-6118 on or before February 7, 2018, to set a
                              hearing on the attached documents. ORDERED by Judge John L. Kane on 1/31/2018.
                              (Attachments: # 1 Jury Questionnaire, # 2 Jury Instructions, # 3 Rulings on Disputed
                              Instructions) (cthom, ) (Entered: 01/31/2018)
         01/31/2018      1618 MINUTE ORDER as to Jamshid Muhtorov. The government and Defendant
                              Muhtorov are DIRECTED to jointly file on or before February 7, 2018, a proposed
                              scheduling order for any matters they foresee arising between now and the start of Mr.
                              Muhtorov's trial on May 14, 2018. They are further DIRECTED to file their proposed
                              jury instructions, including a verdict form, and proposed jury questionnaire on or
                              before March 2, 2018. A Final Trial Preparation Conference is set for May 8, 2018 at
                              10:30 a.m. by Judge John L. Kane on 1/31/2018. Text Only Entry (jlksec) (Entered:
                              01/31/2018)
         02/01/2018      1619 RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1609 MOTION in Limine
                              to Exclude Evidence From Muhtorov's Electronics (Holloway, Gregory) (Entered:
                              02/01/2018)
         02/01/2018      1621 MINUTE ENTRY for In Camera hearing on deposition objections held before Judge
                              John L. Kane on 1/30/2018 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                              Court Reporter: Terri Lindblom. (jlksec) Text Only Entry (Entered: 02/01/2018)
         02/01/2018      1622 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 02/01/2018)




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         02/01/2018      1623 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 02/01/2018)
         02/05/2018      1625 (RESTRICTED DOCUMENT - Level 3) Subpoena Returns as to Bakhtiyor Jumaev.
                              (Attachments: # 1 Exhibit)(cthom, ) (Entered: 02/06/2018)
         02/06/2018      1624 RESPONSE to Motion by Jamshid Muhtorov re 1607 MOTION in Limine Defendant
                              Muhtorov's Response to Government's Motion In Limine, Doc. 1607: A Defendant's
                              Self Serving Out of Court Statements are Inadmissible Hearsay (Williamson, Warren)
                              (Entered: 02/06/2018)
         02/06/2018      1626 ORDER Setting Hearings and Agenda Items for Hearing as to Jamshid Muhtorov and
                              Bakhtiyor Jumaev. A hearing is set for February 21, 2018, at 1:30 p.m., to continue
                              February 22, 2018, at 1:30 p.m., if necessary. Defendant Muhtorov's 1608 Motion to
                              Adopt Codefendant Jumaev's 1602 Motion to Compel Discovery of Material and for
                              Sanctions, is GRANTED. The presence of both Defendants Muhtorov and Jumaev is,
                              therefore, required. ORDERED by Judge John L. Kane on 2/6/2018. (cthom, )
                              (Entered: 02/06/2018)
         02/06/2018      1627 (RESTRICTED DOCUMENT - Level 3) Subpoena Returns as to Bakhtiyor Jumaev.
                              (Attachments: # 1 Exhibit, # 2 Exhibit)(cthom, ) (Entered: 02/07/2018)
         02/07/2018      1628 (RESTRICTED DOCUMENT - Level 1) Response from State Department to 1332
                              Request for International Judicial Assistance Letter Rogatory re: 1329 Motion for
                              Order as to Jamshid Muhtorov. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)
                              (cthom, ) (Entered: 02/07/2018)
         02/07/2018      1629 RESPONSE to Motion by Bakhtiyor Jumaev re 1607 MOTION in Limine and
                              Adoption of "Defendant Muhtorov's Response to Government's Motion in Limne, Doc.
                              1607: A Defendant's Self Serving Out-of-Court Statements are Inadmissible Hearsay"
                              (Doc. 1624) (Savitz, David) (Entered: 02/07/2018)
         02/07/2018      1630 MOTION for Extension of Time to File Response/Reply as to 1629 Response to
                              Motion, Unopposed Motion to File out of Deadline its Response (Doc. 1629) to the
                              Government's Motion in Limine (Doc. 1607) by Bakhtiyor Jumaev. (Savitz, David)
                              (Entered: 02/07/2018)
         02/07/2018      1631 ORDER granting 1630 Unopposed Motion to File Out of Deadline Its Response Doc.
                              1629 to the Government's Motion in Limine Doc. 1607 as to Bakhtiyor Jumaev (2).
                              The court accepts the Response [Doc. 1629]. Ordered by Judge John L. Kane on
                              2/7/2018. Text Only Entry (jlksec) (Entered: 02/07/2018)
         02/07/2018      1632 NOTICE of Parties' Proposed Scheduling Order and Request for Addition of Agenda
                              Item for the 2/21/2018 and 2/22/2018 Hearings by Jamshid Muhtorov (Williamson,
                              Warren) (Entered: 02/07/2018)
         02/07/2018      1633 (RESTRICTED DOCUMENT - Level 1) Reply in Support of 1609 Motion in Limine
                              to Exclude by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 2/8/2018
                              (cthom, ). (Entered: 02/07/2018)
         02/07/2018      1634 MOTION for Extension of Time to File DEFENDANT JUMAEVS REPLY IN
                              SUPPORT OF HIS MOTION IN LIMINE by Bakhtiyor Jumaev. (Baker, Mitchell)



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                                (Entered: 02/07/2018)
         02/07/2018      1635 Proposed Jury Instructions Revised Proposed Jury Instruction No. 2 by USA as to
                              Bakhtiyor Jumaev (Martinez, Julia) (Entered: 02/07/2018)
         02/07/2018      1637 (RESTRICTED DOCUMENT - Level 3) Subpoena Return as to Bakhtiyor Jumaev.
                              (cthom, ) (Entered: 02/08/2018)
         02/08/2018      1636 ORDER granting 1634 Motion to File Out of Deadline Its Reply Doc. 1633 to the
                              Government's Response Doc. 1619 to the Motion in Limine Doc. 1609 as to
                              Bakhtiyor Jumaev (2). The court accepts the Reply [Doc. 1633]. Ordered by Judge
                              John L. Kane on 2/8/2018. Text Only Entry (jlksec) (Entered: 02/08/2018)
         02/12/2018      1638 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 02/12/2018)
         02/12/2018      1639 (RESTRICTED DOCUMENT - Level 1) Government's Exhibit List by USA as to
                              Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified to add
                              title on 2/14/2018 (cthom, ). (Entered: 02/12/2018)
         02/13/2018      1640 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 02/13/2018)
         02/14/2018      1641 MINUTE ORDER GRANTING 1640 Government's Motion to Amend Witness List
                              for Trial Set for March 12, 2018 as to Bakhtiyor Jumaev. The Government shall file
                              an Amended Witness List on or before Friday, February 16, 2018. ORDERED by
                              Judge John L. Kane on 2/14/2018. (cthom, ) (Entered: 02/14/2018)
         02/14/2018      1642 MINUTE ORDER as to Bakhtiyor Jumaev re 1609 . In Defendant Jumaev's Reply in
                              Support of his Motion In Limine to Exclude Evidence Seized from Mutorov's
                              Computer [Doc. 1633], he requests the opportunity to supplement his Motion [Doc.
                              1609] after receiving the government's exhibit list containing the specific evidence
                              from Defendant Jamshid Muthorov's computer and cell phones the government
                              intends to use at trial. The government has now filed its Exhibit List [Doc. 1639-1],
                              and Mr. Jumaev's Motion is on the agenda for the February 21, 2018, hearing. Mr.
                              Jumaev is, therefore, DIRECTED to file any supplement to his Motion on or before
                              February 20, 2018, at noon. Ordered by Judge John L. Kane on 2/14/2018. Text Only
                              Entry (jlksec) (Entered: 02/14/2018)
         02/14/2018      1643 NOTICE to Defendants of in Camera, Ex Parte Under Seal Filing by the United
                              States Pursuant to the Classified Information Procedures Act by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 02/14/2018)
         02/15/2018      1644 (RESTRICTED DOCUMENT - Level 1) Unclassified Order and Notice of Classified
                              Order by Judge John L. Kane.(cthom, ) (Entered: 02/15/2018)
         02/15/2018      1645 (RESTRICTED DOCUMENT - Level 3) Subpoena Return as to Bakhtiyor Jumaev.
                              (Attachments: # 1 Exhibit)(cthom, ) (Entered: 02/15/2018)
         02/15/2018      1646 (RESTRICTED DOCUMENT - Level 3) Subpoena Returned Unexecuted as to
                              Bakhtiyor Jumaev. (cthom, ) (Entered: 02/15/2018)




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         02/16/2018      1647 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Savitz, David)
                              (Entered: 02/16/2018)
         02/20/2018      1648 NOTICE of Defendant Muhtorov's Request for Addition of Agenda Item for the
                              2/21/2018 and 2/22/2018 Hearings by Jamshid Muhtorov (Williamson, Warren)
                              (Entered: 02/20/2018)
         02/20/2018      1649 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov. (Attachments: # 1
                              Attachment)(Williamson, Warren) (Entered: 02/20/2018)
         02/20/2018      1650 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 02/20/2018)
         02/20/2018      1651 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev (Holloway,
                              Gregory) (Entered: 02/20/2018)
         02/20/2018      1652 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Savitz, David) (Entered: 02/20/2018)
         02/20/2018      1653 (RESTRICTED DOCUMENT - Level 1) ORDER on Revised Agenda for 2/21/2018
                              Hearing as to Jamshid Muhtorov and Bakhtiyor Jumaev. ORDERED by Judge John L.
                              Kane. (Attachments: # 1 Jury Instructions, # 2 Verdict Form, # 3 Jury Introductory
                              Remarks)(cthom, ) (Entered: 02/20/2018)
         02/20/2018      1654 Utility Setting/Resetting Deadlines/Hearings as to Bakhtiyor Jumaev. Ex parte hearing
                              is set for 3/1/2018 at 01:30 PM in Courtroom A 802 before Judge John L. Kane, Mr.
                              Jumaev's presence is not required, pursuant to 1653 Restricted Order. Text Only
                              Entry. (cthom, ) (Entered: 02/20/2018)
         02/20/2018      1655 NOTICE OF INTENT TO RELY ON FED.R.EVID. 902(13) AND (14) SUPPORT OF
                              AUTHENTICITY OF RECORDS by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit, # 2 Exhibit)(Gibson, Beth) (Entered: 02/20/2018)
         02/21/2018      1656 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev (Holloway,
                              Gregory) (Entered: 02/21/2018)
         02/21/2018      1657 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United States Government on 2/21/2018. Court
                              Reporter: Tamara Hoffschildt. (babia) Text Only Entry Modified on 3/2/2018 to
                              correct spelling of court reporter's last name (lrobe). (Entered: 02/22/2018)
         02/21/2018      1660 MINUTE ENTRY for In Court Hearing proceedings held before Judge John L. Kane
                              on 2/21/2018 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Defendants
                              present. in custody. Denying Without Prejudice 1607 Motion in Limine as to Jamshid
                              Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED: Doc. No. 1602 is taken UNDER
                              ADVISEMENT. ORDERED: Any additional expert disclosures shall be made on or
                              before April 23, 2018. ORDERED: The Government needs to submit the list of
                              Jumaev Exhibits, to the Court and to Defense counsel by Thursday, March 1, 2018.
                              Motions due by 3/30/2018. Responses due by 4/13/2018. Replies due by 4/23/2018.
                              Motion Hearing set for 4/27/2018 10:00 AM in Courtroom A 802 before Judge John
                              L. Kane. Defendants REMANDED. Court Reporter: Tamara Hoffschildt. Interpreters:
                              Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered: 02/23/2018)



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         02/22/2018      1658 ORDER re Final Trial Preparation Conference as to Bakhtiyor Jumaev. ORDERED
                              by Judge John L. Kane on 2/22/2018. (cthom, ) (Entered: 02/22/2018)
         02/23/2018      1659 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Stimson, Kathryn)
                              (Entered: 02/23/2018)
         02/23/2018      1661 MINUTE ORDER setting hearing as to Jamshid Muhtorov pursuant to the request in
                              Restricted Document 1659. Ex parte hearing is set for 2/27/2018 at 10:30 AM in
                              Courtroom A802 before Judge John L. Kane. Mr. Muhtorov's presence is not
                              required. Ordered by Judge John L. Kane on 2/23/2018. Text Only Entry (jlksec)
                              (Entered: 02/23/2018)
         02/23/2018      1662 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev (Holloway,
                              Gregory) (Entered: 02/23/2018)
         02/26/2018      1663 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell) (Entered: 02/26/2018)
         02/27/2018      1664 NOTICE OF INTENT TO RELY ON FED. R. EVID. 902(13) AND (14) by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                              Exhibit)(Holloway, Gregory) (Entered: 02/27/2018)
         02/27/2018      1665 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev
                              (Attachments: # 1 Proposed Order (PDF Only), # 2 Proposed Document)(Holloway,
                              Gregory) (Entered: 02/27/2018)
         02/27/2018      1666 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev
                              (Attachments: # 1 Proposed Order (PDF Only), # 2 Proposed Document)(Holloway,
                              Gregory) (Entered: 02/27/2018)
         02/27/2018      1667 NOTICE 2nd AMENDED NOTICE OF INTENT TO RELY ON FED. R. EVID.
                              902(13) AND (14) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments:
                              # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Holloway, Gregory)
                              (Entered: 02/27/2018)
         02/27/2018      1668 (RESTRICTED DOCUMENT - Level 1) Notice of Classified Order by Judge John L.
                              Kane. (cthom, ) (Entered: 02/27/2018)
         02/27/2018      1669 (RESTRICTED DOCUMENT - Level 3) Courtroom Minutes for Ex Parte Hearing as
                              to Jamshid Muhtorov. (babia) Modified to add title on 2/28/2018 (cthom, ). (Entered:
                              02/27/2018)
         02/27/2018      1670 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Baker, Mitchell) (Entered: 02/27/2018)
         02/27/2018      1671 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 02/27/2018)
         02/28/2018      1672 (RESTRICTED DOCUMENT - Level 1) Motion to Strike and Preclude Testimony by
                              Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 2/28/2018 (cthom, ).
                              (Entered: 02/28/2018)
         02/28/2018      1673 (RESTRICTED DOCUMENT - Level 3) Order re 1659 and 1669 as to Jamshid
                              Muhtorov. (cthom, ) (Entered: 02/28/2018)


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         02/28/2018      1674 (RESTRICTED DOCUMENT - Level 1) ORDER for Writ of Habeas Corpus Ad
                              Testificandum as to Bakhtiyor Jumaev. (cthom, ) (Entered: 02/28/2018)
         02/28/2018      1675 (RESTRICTED DOCUMENT - Level 1) ORDER for Writ of Habeas Corpus Ad
                              Testificandum as to Bakhtiyor Jumaev. (cthom, ) (Entered: 02/28/2018)
         02/28/2018      1676 MINUTE ORDER as to Defendant Bakhtiyor Jumaev. The government is
                              DIRECTED to respond to Defendant Jumaev's Motion to Strike and to Preclude
                              Testimony at Mr. Jumaev's Trial (Doc. 1672) on or before March 6, 2018, at noon.
                              Argument on the motion will be heard at the Final Trial Preparation Conference on
                              March 7, 2018. Although I have granted the government's Motions for Writs of
                              Habeas Corpus Ad Testificandum (Docs. 1665 & 1666), my doing so has no bearing
                              on Mr. Jumaev's Motion. Ordered by Judge John L. Kane on 2/28/2018. Text Only
                              Entry (jlksec) (Entered: 02/28/2018)
         02/28/2018      1677 Writ of Habeas Corpus ad Testificandum Issued in case as to Bakhtiyor Jumaev
                              (cthom, ) (Entered: 02/28/2018)
         02/28/2018      1678 Writ of Habeas Corpus ad Testificandum Issued in case as to Bakhtiyor Jumaev
                              (cthom, ) (Entered: 02/28/2018)
         02/28/2018      1679 NOTICE To Defedants of In Camera, Ex Parte Under Seal Filing by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 02/28/2018)
         03/01/2018      1680 (RESTRICTED DOCUMENT - Level 1) Order re Defendant Jumaev's 1671 Second
                              Renewed Motion for Order Directing the Government to Grant Parole to Mr.
                              Jakhongir Djumaev. ORDERED by Judge John L. Kane. (cthom, ) (Entered:
                              03/01/2018)
         03/01/2018      1681 NOTICE Amended Notice to Defendants on in Camera, Ex Parte Under Seal Filing
                              by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                              03/01/2018)
         03/01/2018      1682 NOTICE of Renewed Motion to Exclude Defendant Jumaev's Expert Witness
                              Testimony by USA as to Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                              03/01/2018)
         03/01/2018      1683 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 03/01/2018)
         03/01/2018      1685 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)(babia)
                              (Entered: 03/02/2018)
         03/02/2018      1684 TRANSCRIPT of hearing as to Bakhtiyor Jumaev held on February 21, 2018 before
                              Judge Kane. Pages: 1-65. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.



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                                <br><br> Transcript may only be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (thoff, ) (Entered: 03/02/2018)
         03/02/2018      1686 RESTRICTED DOCUMENT - Level 1: Notice of 1685 Order, by Judge John L. Kane
                              (evana, ) (Entered: 03/02/2018)
         03/02/2018      1687 RESTRICTED DOCUMENT - Level 1: Order 1602 Motion to Compel and 1622
                              Objections by Judge John L. Kane (Attachments: # 1 Instruction)(evana, ) (Entered:
                              03/02/2018)
         03/06/2018      1688 (RESTRICTED DOCUMENT - Level 1) Objeciton to 1683 by Bakhtiyor Jumaev.
                              (Attachments: # 1 Exhibit)(Baker, Mitchell) Modified to add title on 3/6/2018 (cthom,
                              ). (Entered: 03/06/2018)
         03/06/2018      1689 (RESTRICTED DOCUMENT - Level 1) Government's Updated 404(b) Notice by
                              USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified to
                              add title on 3/6/2018 (cthom, ). (Entered: 03/06/2018)
         03/06/2018      1690 (RESTRICTED DOCUMENT - Level 1) Response to 1672 Motion by USA as to
                              Bakhtiyor Jumaev (Holloway, Gregory) Modified to add title on 3/6/2018 (cthom, ).
                              (Entered: 03/06/2018)
         03/06/2018      1691 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United States Government on 3/6/2018. Court
                              Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 03/06/2018)
         03/07/2018      1692 (RESTRICTED DOCUMENT - Level 3) Order re 1482 Restricted Document as to
                              Bakhtiyor Jumaev by Judge John L. Kane. (cthom, ) (Entered: 03/07/2018)
         03/07/2018      1696 MINUTE ENTRY for Trial Preparation Conference proceedings held before Judge
                              John L. Kane on 3/7/2018 as to Bakhtiyor Jumaev (2). Granting in Part and Denying
                              in Part 1609 Motion in Limine as to Bakhtiyor Jumaev (2). ORDERED: Doc 1647 is
                              DENIED, as specified. ORDERED:Governments Motion In Limine To Exclude
                              Improper Evidence And Argument In Support Of Jury Nullification (Filed 12/23/16,
                              Doc No. 1211) is DENIED. ORDERED: Governments Motion To Exclude The
                              Testimony Of Leo and Obolsky (Filed 12/23/16; Doc. No. 1212) is DENIED.
                              ORDERED: Governments Renewed Motion as to Doc. Nos. 1211 and 1212 (Filed
                              2/7/2018, Doc. No. 1628) is DENIED. ORDERED: Doc. No. 1672 GRANTED, as
                              specified. ORDERED: Counsel shall meet and confer to update the exhibit list, as
                              soon as possible. Court Reporter: Terri Lindblom. Interpreters: Hasmik Jorgensen and
                              Tatiana Dautkhanova. (babia) (Entered: 03/09/2018)
         03/09/2018      1693 TRANSCRIPT of Final Trial Preparation Conference as to Bakhtiyor Jumaev held on
                              3/7/2018 before Judge Kane. Pages: 1-50. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.



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                                <br><br> Transcript may only be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (tlind, ) (Entered: 03/09/2018)
         03/09/2018      1694 NOTICE OF ATTORNEY APPEARANCE: Emily Elizabeth Boehme appearing for
                              Bakhtiyor JumaevAttorney Emily Elizabeth Boehme added to party Bakhtiyor
                              Jumaev(pty:dft) (Boehme, Emily) (Entered: 03/09/2018)
         03/09/2018      1695 (RESTRICTED DOCUMENT - Level 1) Order re Completed Jury Questionnaires as
                              to Bakhtiyor Jumaev. (dkals, ) Modified to add title on 3/20/2018 (cthom, ). (Entered:
                              03/09/2018)
         03/12/2018      1697 MINUTE ENTRY for Jury Trial - Day 1 proceedings held before Judge John L. Kane
                              on 3/12/2018 as to Bakhtiyor Jumaev (2). Jury selection. Court Reporter: Terri
                              Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky, Muhitdin Ahunhodjaev.
                              (babia) (Entered: 03/12/2018)
         03/12/2018      1698 (RESTRICTED DOCUMENT - Level 1) Objection to Admissibility, Failure to
                              Comply and Provide Disclosures, Request to File Ex Parte Supplement by Bakhtiyor
                              Jumaev. (Baker, Mitchell) Modified to add title on 3/14/2018 (cthom, ). (Entered:
                              03/12/2018)
         03/12/2018      1699 (RESTRICTED DOCUMENT - Level 3) Subpoena Returned Unexecuted as to
                              Bakhtiyor Jumaev. (cthom, ) (Entered: 03/13/2018)
         03/13/2018      1700 MINUTE ENTRY for Jury Trial - Day 2 proceedings held before Judge John L. Kane
                              on 3/13/2018 as to Bakhtiyor Jumaev. Jury selection. Court Reporter: Terri Lindblom.
                              Interpreter: Hasmik Jorgensen, Irina Kamensky, Muhitdin Ahunhodjaev. (babia)
                              (Entered: 03/13/2018)
         03/14/2018      1701 MINUTE ORDER as to Bakhtiyor Jumaev re 1698 Restricted Document - Level 1
                              filed by Bakhtiyor Jumaev. Mr. Jumaev is granted leave to file and is DIRECTED to
                              file the ex parte supplement referenced in Doc. 1698 on or before March 15, 2018.
                              Ordered by Judge John L. Kane on 3/14/2018. Text Only Entry (jlksec) (Entered:
                              03/14/2018)
         03/14/2018      1702 (RESTRICTED DOCUMENT - Level 1) Response to 1698 by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) Modified to add title on 3/20/2018
                              (cthom, ). (Entered: 03/14/2018)
         03/14/2018      1703 (RESTRICTED DOCUMENT - Level 3) Subpoenas Returned Executed as to
                              Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(cthom, ) (Entered: 03/14/2018)
         03/14/2018      1704 (RESTRICTED DOCUMENT - Level 3) Subpoena Returned Unexecuted by
                              Bakhtiyor Jumaev. (cthom, ) (Entered: 03/14/2018)
         03/14/2018      1705 MINUTE ENTRY for Jury Trial - Day 3 proceedings held before Judge John L. Kane
                              on 3/14/2018 as to Bakhtiyor Jumaev. Jury selection. Court Reporter: Terri Lindblom.
                              Interpreter: Hasmik Jorgensen, Irina Kamensky, and Muhitdin Ahunhodjaev. (babia)
                              (Entered: 03/14/2018)
         03/15/2018      1706 RESTRICTED DOCUMENT - Level 3: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit, # 2 Exhibit)(Baker, Mitchell) (Entered: 03/15/2018)


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         03/15/2018      1707 NOTICE of Intent to Use Evidence by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, #
                              2 Exhibit, # 3 Exhibit)(Baker, Mitchell) (Entered: 03/15/2018)
         03/15/2018      1708 MINUTE ENTRY for Jury Trial - Day 4 proceedings held before Judge John L. Kane
                              on 3/15/2018 as to Bakhtiyor Jumaev (2). Jury selection. Court Reporter: Terri
                              Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky, and Muhitdin
                              Ahunhodjaev. (babia) (Entered: 03/15/2018)
         03/16/2018      1709 (RESTRICTED DOCUMENT - Level 1) Supplemental Notice of Intent by USA as to
                              Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                              Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, #
                              10 Exhibit)(Holloway, Gregory) Modified to add title on 3/20/2018 (cthom, ).
                              (Entered: 03/16/2018)
         03/16/2018      1710 (RESTRICTED DOCUMENT - Level 1) Notice of Attempt re 1680 Order by USA as
                              to Bakhtiyor Jumaev (Gibson, Beth) Modified to add title on 3/20/2018 (cthom, ).
                              (Entered: 03/16/2018)
         03/19/2018      1711 (RESTRICTED DOCUMENT - Level 1) Motion to Strike by Bakhtiyor Jumaev.
                              (Baker, Mitchell) Modified to add title on 3/20/2018 (cthom, ). (Entered: 03/19/2018)
         03/19/2018      1712 (RESTRICTED DOCUMENT - Level 1) Continuing Objection by Bakhtiyor Jumaev.
                              (Baker, Mitchell) Modified to add title on 3/20/2018 (cthom, ). (Entered: 03/19/2018)
         03/19/2018      1713 (RESTRICTED DOCUMENT - Level 1) Motion to Limine by USA as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified to add title on 3/20/2018
                              (cthom, ). (Entered: 03/19/2018)
         03/20/2018      1714 (RESTRICTED DOCUMENT - Level 1) Government's Second Amended Exhibit
                              List by USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 3/20/2018 (cthom, ). (Entered: 03/20/2018)
         03/20/2018      1715 (RESTRICTED DOCUMENT - Level 1) ORDER as to Bakhtiyor Jumaev by Judge
                              John L. Kane. (cthom, ) (Entered: 03/20/2018)
         03/20/2018      1716 (RESTRICTED DOCUMENT - Level 1) Order re 1713 by Judge John L. Kane.
                              (cthom, ) (Entered: 03/20/2018)
         03/20/2018      1717 (RESTRICTED DOCUMENT - Level 1) Order re The Government's Exhibit List and
                              Defendant Jumaev's Objections by Judge John L. Kane. (cthom, ) (Entered:
                              03/20/2018)
         03/20/2018      1718 (RESTRICTED DOCUMENT - Level 1) Order Denying 1711 Motion to Strike by
                              Bakhtiyor Jumaev. (cthom, ) (Entered: 03/20/2018)
         03/22/2018      1719 (RESTRICTED DOCUMENT - Level 1) Order re 1649 and 1712 as to Jamshid
                              Muhtorov and Bakhtiyor Jumaev. (cthom, ) (Entered: 03/22/2018)
         03/22/2018      1720 (RESTRICTED DOCUMENT - Level 1) Notice of Classified Order as to Jamshid
                              Muhtorov and Bakhtiyor Jumaev. (cthom, ) (Entered: 03/22/2018)
         03/22/2018      1721 MINUTE ENTRY for Jury Trial-Day 5 proceedings held before Judge John L. Kane
                              on 3/22/2018 as to Bakhtiyor Jumaev(2). Court Reporter: Tamara Hoffschildt.
                              Interpreter: Hasmik Jorgensen, Irina Kamensky, and Tatiana Dautkhanova. (babia)


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                                (Entered: 03/22/2018)
         03/23/2018      1722 (RESTRICTED DOCUMENT - Level 1) Continuing Objection to Electronic
                              Evidence by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell) Modified
                              to add title on 3/23/2018 (cthom, ). (Entered: 03/23/2018)
         03/23/2018      1723 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 03/23/2018)
         03/23/2018      1724 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov, Bakhtiyor
                              Jumaev (Gibson, Beth) (Entered: 03/23/2018)
         03/25/2018      1725 (RESTRICTED DOCUMENT - Level 1) Motion regarding Steinberg Testimony by
                              Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 3/28/2018 (cthom, ).
                              (Entered: 03/25/2018)
         03/25/2018      1726 (RESTRICTED DOCUMENT - Level 1) Notice of Objections to Third Exhibit List
                              by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 3/28/2018 (cthom, ).
                              (Entered: 03/25/2018)
         03/26/2018      1729 MINUTE ENTRY for Jury Trial - Day 6 proceedings held before Judge John L. Kane
                              on 3/26/2018 as to Bakhtiyor Jumaev. ORDERED: Doc. No. 1725 is DENIED. Court
                              Reporter: Tamara Hoffschildt. Interpreter: Nodira Matyakubova, Irina Kamensky, and
                              Muhitdin Ahunhodjaev. (babia) (Entered: 03/27/2018)
         03/27/2018      1727 MOTION to Suppress Renew Suppression Motions by Bakhtiyor Jumaev. (Savitz,
                              David) (Entered: 03/27/2018)
         03/27/2018      1728 TRANSCRIPT of James Hearing as to Jamshid Muhtorov held on February 27, 2017
                              before Judge Kane. Pages: 316-340. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 03/27/2018)
         03/27/2018      1730 MINUTE ENTRY for Jury Trial Day 7 proceedings held before Judge John L. Kane
                              on 3/27/2018 as to Bakhtiyor Jumaev. Denying 1727 Motion to Suppress as to
                              Bakhtiyor Jumaev (2). Court Reporter: Tamara Hoffschildt. Interpreter: Nodira
                              Matyakubova and Irina Kamensky. (babia) (Entered: 03/27/2018)
         03/28/2018      1731 MINUTE ENTRY for Jury Trial Day 8 proceedings held before Judge John L. Kane
                              on 3/28/2018 as to Bakhtiyor Jumaev. Court Reporter: Tamara Hoffschildt.
                              Interpreter: Nodira Matyakubova and Irina Kamensky. (babia) (Additional
                              attachment(s) added on 3/28/2018: # 1 Juror Question 1) (babia). Modified on
                              3/29/2018 (babia). (Entered: 03/29/2018)




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         03/29/2018      1732 MINUTE ENTRY for Jury Trial Day 9 proceedings held before Judge John L. Kane
                              on 3/29/2018 as to Bakhtiyor Jumaev. ORDERED: Defendants Oral Renewed Motion
                              To Suppress is DENIED. Court Reporter: Tamara Hoffschildt. Interpreter: Nodira
                              Matyakubova and Irina Kamensky. (babia) (Entered: 03/29/2018)
         03/30/2018      1733 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Attachments: # 1
                              Proposed Order (PDF Only))(Leedy, Brian) (Entered: 03/30/2018)
         03/30/2018      1734 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Attachments: # 1
                              Proposed Order (PDF Only))(Leedy, Brian) (Entered: 03/30/2018)
         03/30/2018      1735 (RESTRICTED DOCUMENT - Level 1) Motion to Limine under 404(b) by Jamshid
                              Muhtorov. (Attachments: # 1 Attachment A, # 2 Attachment B)(Williamson, Warren)
                              Modified to add title on 3/30/2018 (cthom, ). (Entered: 03/30/2018)
         03/30/2018      1736 MOTION in Limine for Discovery of Evidence of U.S. Government Collaboration
                              with Uzbekistan by Jamshid Muhtorov. (Williamson, Warren) (Entered: 03/30/2018)
         04/02/2018      1737 STIPULATION by Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 04/02/2018)
         04/02/2018      1738 (RESTRICTED DOCUMENT - Level 3) Ex Parte Order as to Jamshid Muhtorov.
                              (cthom, ) (Entered: 04/02/2018)
         04/02/2018      1739 (RESTRICTED DOCUMENT - Level 3) Ex Parte Order as to Jamshid Muhtorov.
                              (cthom, ) (Entered: 04/02/2018)
         04/02/2018      1740 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Attachments: # 1
                              Proposed Order (PDF Only), # 2 Proposed Order (PDF Only))(Leedy, Brian)
                              (Entered: 04/02/2018)
         04/02/2018      1741 (RESTRICTED DOCUMENT - Level 3) Amended Ex Parte Order as to Jamshid
                              Muhtorov. (cthom, ) (Entered: 04/02/2018)
         04/02/2018      1742 (RESTRICTED DOCUMENT - Level 3) Amended Ex Parte Order as to Jamshid
                              Muhtorov. (cthom, ) (Entered: 04/02/2018)
         04/02/2018      1743 NOTICE TO DEFENDANTS OF IN CAMERA, EX PARTE UNDER SEAL FILING by
                              USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                              04/02/2018)
         04/02/2018      1744 MINUTE ENTRY for Jury Trial Day 10 proceedings held before Judge John L. Kane
                              on 4/2/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza Rahmanova. (babia) (Entered:
                              04/02/2018)
         04/03/2018      1745 MINUTE ENTRY for Jury Trial Day 11 proceedings held before Judge John L. Kane
                              on 4/3/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreters:
                              Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza Rahmanova. (babia)
                              (Additional attachment(s) added on 5/1/2018: # 1 Redacted Jury Note) (babia, ).
                              (Entered: 04/03/2018)
         04/06/2018      1746 ORDER regarding the Government's Exhibits for Defendant Muhtorov's Trial.
                              ORDERED by Judge John L. Kane on 4/6/2018. (cthom, ) (Entered: 04/06/2018)



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         04/06/2018      1747 FPD MOTION for Issuance of Subpoena in Forma Pauperis by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered:
                              04/06/2018)
         04/06/2018      1748 RESTRICTED DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev (Holloway,
                              Gregory) (Entered: 04/06/2018)
         04/06/2018      1750 ORDER granting 1747 FPD Motion for Issuance of Subpoena in Forma Pauperis as to
                              Jamshid Muhtorov (1). ORDERED by Judge John L. Kane on 4/6/2018.
                              (Attachments: # 1 Subpoena) (cthom, ) (Entered: 04/09/2018)
         04/08/2018      1749 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Baker, Mitchell) (Entered: 04/08/2018)
         04/09/2018      1751 MINUTE ENTRY for Jury Trial Day 12 proceedings held before Judge John L. Kane
                              on 4/9/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Nodira Matyakubova, Muhitdin Ahunhodjaev, Tatiana Dautkhanova, and Sanjar
                              Babadjanov. (Attachments: # 1 Juror Question 2) (babia) (Entered: 04/10/2018)
         04/10/2018      1752 MINUTE ENTRY for Jury Trial Day 13 proceedings held before Judge John L. Kane
                              on 4/10/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Nodira Matyakubova, Muhitdin Ahunhodjaev, tatiana Dautkhanova, and Sanjar
                              Babadjanov. (babia) (Entered: 04/10/2018)
         04/11/2018      1753 MINUTE ENTRY for Jury Trial Day 14 proceedings held before Judge John L. Kane
                              on 4/11/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Nodira Matyakubova, Muhitdin Ahunhodjaev, and Tatiana Dautkhanova.
                              (Attachments: # 1 Juror Comment) (babia) (Entered: 04/12/2018)
         04/11/2018      1754 Amended re 1753 MINUTE ENTRY for Jury Trial Day 14 proceedings held before
                              Judge John L. Kane on 4/11/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                              Lindblom. Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, and Tatiana
                              Dautkhanova. (babia) (Entered: 04/12/2018)
         04/12/2018      1755 MINUTE ENTRY for Jury Trial Day 15 proceedings held before Judge John L. Kane
                              on 4/12/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreters:
                              Muhitdin Ahunhodjaev and Nodira Matyakubova. (babia) (Entered: 04/12/2018)
         04/13/2018      1756 (RESTRICTED DOCUMENT - Level 1) Response to 1736 Motion in Limine by
                              USA as to Jamshid Muhtorov (Attachments: # 1 Exhibit, # 2 Exhibit)(Holloway,
                              Gregory) Modified to add title on 4/16/2018 (cthom, ). (Entered: 04/13/2018)
         04/15/2018      1757 (RESTRICTED DOCUMENT - Level 1) Amended Exhibit List by Bakhtiyor
                              Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell) Modified to add title on
                              4/16/2018 (cthom, ). (Entered: 04/15/2018)
         04/16/2018      1758 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Attachments: # 1
                              Exhibit)(Baker, Mitchell) (Entered: 04/16/2018)
         04/16/2018      1759 MINUTE ENTRY for Jury Trial Day 16 proceedings held before Judge John L. Kane
                              on 4/16/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza Rahmanova. (babia) (Entered:
                              04/16/2018)


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         04/17/2018      1760 RESTRICTED TRANSCRIPT of proceedings held on January 13, 2017 before Judge
                              Kane. Pages: 657-827. (thoff, ) Modified to show same transcript at 1255 on
                              4/17/2018 (cthom, ). (Entered: 04/17/2018)
         04/17/2018      1761 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Baker, Mitchell)
                              (Entered: 04/17/2018)
         04/17/2018      1762 MINUTE ORDER granting 1761 Motion to Restrict. The clerk is directed to place
                              Doc. 1142 and attachments under Restriction Level 1 to be viewable by the parties
                              and the court. The docket entry shall be changed to "Notice." ORDERED by Judge
                              John L. Kane on 4/17/2018. Text Only Entry. (cthom, ) (Entered: 04/17/2018)
         04/17/2018      1763 MINUTE ENTRY for Jury Trial Day 17 proceedings held before Judge John L. Kane
                              on 4/17/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreters:
                              Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza Rahmanova. (babia) (Entered:
                              04/17/2018)
         04/18/2018      1764 TRANSCRIPT of Jury Trial opening statements as to Bakhtiyor Jumaev held on
                              March 22, 2018 before Judge Kane. Pages: 1-91.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                                this filing, each party shall inform the Court, by filing a Notice of Intent to
                                Redact, of the party's intent to redact personal identifiers from the electronic
                                transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                                within the allotted time, this transcript will be made electronically available after
                                90 days. Please see the Notice of Electronic Availability of Transcripts document
                                at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                                PACER. (thoff, ) (Entered: 04/18/2018)
         04/18/2018      1765 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 26, 2018 before
                              Judge Kane. Pages: 92-252.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                                this filing, each party shall inform the Court, by filing a Notice of Intent to
                                Redact, of the party's intent to redact personal identifiers from the electronic
                                transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                                within the allotted time, this transcript will be made electronically available after
                                90 days. Please see the Notice of Electronic Availability of Transcripts document
                                at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                                PACER. (thoff, ) (Entered: 04/18/2018)
         04/18/2018      1766 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 27, 2018 before
                              Judge Kane. Pages: 253-456.




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                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                                this filing, each party shall inform the Court, by filing a Notice of Intent to
                                Redact, of the party's intent to redact personal identifiers from the electronic
                                transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                                within the allotted time, this transcript will be made electronically available after
                                90 days. Please see the Notice of Electronic Availability of Transcripts document
                                at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                                PACER. (thoff, ) (Entered: 04/18/2018)
         04/18/2018      1767 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 28, 2018 before
                              Judge Kane. Pages: 457-637.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                                this filing, each party shall inform the Court, by filing a Notice of Intent to
                                Redact, of the party's intent to redact personal identifiers from the electronic
                                transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                                within the allotted time, this transcript will be made electronically available after
                                90 days. Please see the Notice of Electronic Availability of Transcripts document
                                at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                                PACER. (thoff, ) (Entered: 04/18/2018)
         04/18/2018      1768 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 29, 2018 before
                              Judge Kane. Pages: 638-730.

                                NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of
                                this filing, each party shall inform the Court, by filing a Notice of Intent to
                                Redact, of the party's intent to redact personal identifiers from the electronic
                                transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                                within the allotted time, this transcript will be made electronically available after
                                90 days. Please see the Notice of Electronic Availability of Transcripts document
                                at www.cod.uscourts.gov.

                                Transcript may only be viewed at the court public terminal or purchased through the
                                Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                                PACER. (thoff, ) (Entered: 04/18/2018)
         04/18/2018      1769 MINUTE ENTRY for Jury Trial Day 18 proceedings held before Judge John L. Kane
                              on 4/18/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza Rahmanova. (babia) (Entered:
                              04/18/2018)
         04/18/2018      1770 (RESTRICTED DOCUMENT - Level 1) Exhibit List by USA as to Jamshid
                              Muhtorov (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified to add title on



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                                4/19/2018 (cthom, ). (Entered: 04/18/2018)
         04/18/2018      1771 (RESTRICTED DOCUMENT - Level 1) Updated 404(b) Notice by USA as to
                              Jamshid Muhtorov (Holloway, Gregory) Modified to add title on 4/19/2018 (cthom, ).
                              (Entered: 04/18/2018)
         04/19/2018      1772 MINUTE ENTRY for Jury Trial Day 19 proceedings held before Judge John L. Kane
                              on 4/19/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri Lindblom. Interpreter:
                              Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza Rahmanova. (babia) (Entered:
                              04/19/2018)
         04/19/2018      1773 (RESTRICTED DOCUMENT - Level 1) Response to 1748 Motion by Bakhtiyor
                              Jumaev. (Baker, Mitchell) Modified to add title on 4/20/2018 (cthom, ). (Entered:
                              04/19/2018)
         04/20/2018      1774 MINUTE ORDER as to Bakhtiyor Jumaev. The Motion Hearing scheduled for 2:30
                              p.m. on Friday, April 20, 2018, is VACATED. The Court will issue a written order
                              today regarding the motion in ECF No. 1748. Ordered by Judge John L. Kane on
                              4/20/2018. Text Only Entry (jlksec) (Entered: 04/20/2018)
         04/20/2018      1775 (RESTRICTED DOCUMENT - Level 1) Order as Bakhtiyor Jumaev by Judge John
                              L. Kane. (cthom, ) (Entered: 04/20/2018)
         04/20/2018      1776 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov
                              (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 04/20/2018)
         04/22/2018      1777 RESTRICTED DOCUMENT - Level 1: by Bakhtiyor Jumaev. (Savitz, David)
                              (Entered: 04/22/2018)
         04/23/2018      1778 NOTICE of Supplemental Expert Endorsement by Jamshid Muhtorov (Stimson,
                              Kathryn) (Entered: 04/23/2018)
         04/23/2018      1779 (RESTRICTED DOCUMENT - Level 1) Government's Fourth Amended Exhibit List
                              by USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 4/24/2018 (cthom, ). (Entered: 04/23/2018)
         04/23/2018      1780 (RESTRICTED DOCUMENT - Level 1) Government's Supplemental Expert
                              Disclosure by USA as to Jamshid Muhtorov (Attachments: # 1 Exhibit)(Holloway,
                              Gregory) Modified to add title on 4/24/2018 (cthom, ). (Entered: 04/23/2018)
         04/23/2018      1781 (RESTRICTED DOCUMENT - Level 1) Government Expert Notice of Linguist
                              Testimony by USA as to Jamshid Muhtorov (Holloway, Gregory) Modified to add
                              title on 4/24/2018 (cthom, ). (Entered: 04/23/2018)
         04/23/2018      1782 (RESTRICTED DOCUMENT - Level 1) Proposed First Amendment Jury Instruction
                              by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell) Modified to add
                              title on 4/24/2018 (cthom, ). (Entered: 04/23/2018)
         04/23/2018      1783 Proposed Jury Instructions by USA as to Bakhtiyor Jumaev (Attachments: # 1
                              Exhibit)(Martinez, Julia) (Entered: 04/23/2018)
         04/23/2018      1789 MINUTE ENTRY for Jury Trial Day 20 proceedings held before Judge John L. Kane
                              on 4/23/2018 as to Bakhtiyor Jumaev. ORDERED: Defendant Jumaevs Resquest [sic]
                              For A Special Instruction Prior To The CHS Testimony (Filed 4/22/18; Doc. No.1777)


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                                is GRANTED. ORDERED: Any exhibit that contains an image of witness (Mr. X)
                                shall be under SEAL. ORDERED: The transcript and notes of the Mr. X are
                                SEALED, and are not to be unsealed, without FIRST OBTAINING THE WRITTEN
                                ORDER OF THIS COURT. It is FURTHER ORDERED that any reference to this
                                testimony in any brief or pleading, hereafter filed, shall be redacted of any reference
                                that identifies this particular witness, and the redactions will likewise be identified and
                                placed under SEAL with the same restriction, and in the same location requiring a
                                WRITTEN ORDER authorizing unsealing. Court Reporter: Tamara Hoffschildt.
                                Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, and Tatiana Dautkhanova.
                                (babia) (Entered: 04/24/2018)
         04/24/2018      1784 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Attachments: # 1
                              Attachment)(Williamson, Warren) (Entered: 04/24/2018)
         04/24/2018      1785 TRANSCRIPT of Trial to Jury - Day 10 as to Bakhtiyor Jumaev held on 4/2/2018
                              before Judge Kane. Pages: 731-902. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 04/24/2018)
         04/24/2018      1786 TRANSCRIPT of Trial to Jury - Day 11 as to Bakhtiyor Jumaev held on 4/3/2018
                              before Judge Kane. Pages: 903-981. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 04/24/2018)
         04/24/2018      1787 STIPULATION by Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 04/24/2018)
         04/24/2018      1788 (RESTRICTED DOCUMENT - Level 1) Government's Fifth Amended Exhibit List
                              by USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 4/25/2018 (cthom, ). (Entered: 04/24/2018)
         04/24/2018      1790 MINUTE ENTRY for Jury Trial Day 21 proceedings held before Judge John L. Kane
                              on 4/24/2018 as to Bakhtiyor Jumaev. ORDERED: Defendants Renewed Oral Motion
                              for Judgment of Acquittal is DENIED. **After meeting with counsel, the following
                              are confirmed admitted/stipulated exhibits and will accompany the Jury once they are
                              excused to begin their deliberations:Governments Exhibits -1, 14, 22, 23, 23A, 25, 26,
                              26A, 28, 28A, 28B, 28C, 28D, 28E, 28F, 28G, 40, 41, 42, 43, 44, 45, 46, 47, 49, 50,



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                                51, 52, 53, 71B-1, 71B-2, 73B, 74B, 96, 97B, 101, 101A, 105, 105A, 107, 107A, 109,
                                109A, 111, 111A, 112, 112A, 113, 113A, 116, 116A, 116B, 116C, 116D, 116E, 116F,
                                116G, 118, 123, 123A, 125, 125A, 127, 127A, 128, 128A, 129, 129A, 130, 130A,
                                131, 131A, 131B, 132, 132A, 133, 133A, 138, 138A, 139, 139A, 141, 141A, 144A,
                                145, 145A, 149, 149A, 157A, 168A, 170, 170A, 200, 201, 203, 220, 222, 229, 231,
                                234, 235, 236, 237, 240, 241, 242, 245, 247, 258, 259, 271, 272, 276, 282, 302, 305A,
                                306A, 307, 307A, 307B, 307C, 313, 313A, 332, 332A-1, 332A, 332B, 332C, 332D,
                                332E, 332F, 332G, 332H, 424, 476, 479, 480, 535, 536, 540, 541, 542, 561A, 561B,
                                and 561C.Defendants Exhibits - 602, 604, 605, 606, 607, 608, 609, 610, 611, 612,
                                614, 619, 621, 621A, 624, 625, 626A, 627, 627A, 637, 638, 639, 643, 644, 645, 646,
                                659A, 660A, 661A, 662A, 666A, 670A, 671A, 672A, 673A, 677A, 680A, 683A,
                                692A, 696A, 698A, 711, 712, 714, 716, 734, 736, 738, 739, 741, 755, 757, 757A, 758,
                                758A, 761, 763, 777, 778, 779, 780, 782, 789, 799, 801, 802, and 803. Court
                                Reporter: Tamara Hoffschildt. Interpreters: Nodira Matyakubova, Muhitdin
                                Ahunhodjaev, and Tatiana Dautkhanova. (babia) (Entered: 04/24/2018)
         04/25/2018      1791 RESTRICTED DOCUMENT - Level 3 as to Jamshid Muhtorov. (cthom, ) (Entered:
                              04/25/2018)
         04/25/2018      1792 MOTION for Extension of Time to File Exhibit List Identifying Stipulations and
                              Objections by Jamshid Muhtorov. (Leedy, Brian) (Entered: 04/25/2018)
         04/25/2018      1793 MINUTE ORDER as to Defendant Jamshid Muhtorov. Mr. Muhtorov's 1792 Motion
                              for Extension of Deadline to File Exhibit List Identifying Stipulations and Objections
                              is GRANTED. He is DIRECTED to file the exhibit list identifying stipulations and
                              objections by 3:00 p.m. tomorrow, April 26, 2017. ORDERED by Judge John L. Kane
                              on 4/25/2018. Text Only Entry. (cthom, ) (Entered: 04/25/2018)
         04/25/2018      1794 MINUTE ENTRY for Jury Trial Day 22 proceedings held before Judge John L. Kane
                              on 4/25/2018 as to Bakhtiyor Jumaev. Court Reporter: Tamara Hoffschildt.
                              Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, and Tatiana Dautkhanova.
                              (Attachments: # 1 Jury Question 1, # 2 Final Jury Instructions, # 3 Final Verdict
                              Form) (babia) (Entered: 04/25/2018)
         04/25/2018      1795 STIPULATION AND ORDER GOVERNING THE CUSTODY AND
                              DISPOSITION OF TRIAL EXHIBITS, DEPOSITIONS, TRANSCRIPTS, AND
                              PAPERS as to Bakhtiyor Jumaev by Judge John L. Kane on 4/25/2018. (babia)
                              (Entered: 04/25/2018)
         04/25/2018      1796 RESTRICTED DOCUMENT - Level 3 as to Jamshid Muhtorov. (cthom, ) (Entered:
                              04/26/2018)
         04/25/2018      1798 Amended re 1794 MINUTE ENTRY for Jury Trial Day 22 proceedings held before
                              Judge John L. Kane on 4/25/2018 as to Bakhtiyor Jumaev. ORDERED: The Clerks
                              Office is directed to provide lunch for the 12 deliberating Jurors plus 1 alternate Juror
                              in this case. Court Reporter: Tamara Hoffschildt. Interpreter: Nodira Matyakubova,
                              Muhitdin Ahunhodjaev, and Tatiana Dautkhanova. (babia) (Entered: 04/26/2018)
         04/26/2018      1797 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov. (Attachments: # 1
                              Attachment 1, # 2 Attachment 2)(Williamson, Warren) (Entered: 04/26/2018)




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         04/26/2018      1799 MINUTE ENTRY for Jury Trial Day 23 proceedings held before Judge John L. Kane
                              on 4/26/2018 as to Bakhtiyor Jumaev. ORDERED: The Clerk's Office is directed to
                              provide lunch for the 12 deliberating Jurors plus 1 alternate Juror in this case. Court
                              Reporter: Tamara Hoffschildt. Interpreter: Nodira Matyakubova, Muhitdin
                              Ahunhodjaev, and Tatiana Dautkhanova. (babia) (Additional attachment(s) added on
                              4/30/2018: # 1 Note to the Court1, # 2 note to the Court2, # 3 note to the Court3, # 4
                              Jury Question 2_Response from the Court) (babia, ). (Entered: 04/26/2018)
         04/27/2018      1800 MINUTE ENTRY for Motion Hearing proceedings held before Judge John L. Kane
                              on 4/27/2018 as to Jamshid Muhtorov. Denying 1736 Motion in Limine as to Jamshid
                              Muhtorov. ORDERED: Doc. No. 1735 is taken UNDER ADVISEMENT. Court
                              Reporter: Terri Lindblom. Interpreter: Nodira Matyakubova and Muhitdin
                              Ahunhodjaev. (babia) (Entered: 04/27/2018)
         04/27/2018      1801 MINUTE ENTRY for Jury Trial Day 24 proceedings held before Judge John L. Kane
                              on 4/27/2018 as to Bakhtiyor Jumaev. ORDERED:The Clerks Office is directed to
                              provide lunch for the 12 deliberating Jurors plus 1 alternate Juror in this case. Court
                              Reporter: Terri Lindblom. Interpreter: Nodira Matyakubova and Muhitdin
                              Ahunhodjaev. (babia) (Entered: 04/27/2018)
         04/27/2018      1802 AMENDED MINUTE ENTRY re 1801 for Jury Trial Day 24 proceedings held before
                              Judge John L. Kane on 4/27/2018, as to Bakhtiyor Jumaev held. Court Reporter: Terri
                              Lindblom. Interpreter: Nodira Matyakubova and Muhitdin Ahunhodjaev. (babia)
                              (Additional attachment(s) added on 4/30/2018: # 1 Exhibit) (babia, ). (Additional
                              attachment(s) added on 4/30/2018: # 2 note to the Court) (babia, ). (Entered:
                              04/30/2018)
         04/30/2018      1803 MINUTE ENTRY for Jury Trial Day 25 proceedings held before Judge John L. Kane
                              on 4/30/2018 as to Bakhtiyor Jumaev. JURY VERDICT as to Bakhtiyor Jumaev (2)
                              Guilty on Counts 1ss-2ss. Sentencing is set for 7/18/2018 10:00 AM in Courtroom A
                              802 before Judge John L. Kane. Court Reporter: Terri Lindblom. Interpreter: Irina
                              Kamensky and Tatiana Dautkhanova. (Attachments: # 1 Receipt) (babia) (Entered:
                              04/30/2018)
         04/30/2018      1804 Jury Verdict Un-Redacted - Level 4 - Viewable by Court Only (babia) (Entered:
                              04/30/2018)
         04/30/2018      1805 JURY VERDICT Redacted as to Bakhtiyor Jumaev (babia) (Entered: 04/30/2018)
         05/01/2018      1806 (RESTRICTED DOCUMENT - Level 1) ORDER re Jury Selection Protocol and
                              Schedule as to Jamshid Muhtorov. (cthom, ) (Entered: 05/01/2018)
         05/01/2018      1807 (RESTRICTED DOCUMENT - Level 1) ORDER re the Government's Exhibit List
                              and Defendant Muhtorov's Objections as to Jamshid Muhtorov. (Attachments: # 1
                              Exhibit)(cthom, ) (Entered: 05/01/2018)
         05/01/2018      1808 NOTICE of Change of Address/Contact Information (Stimson, Kathryn) (Entered:
                              05/01/2018)
         05/01/2018      1809 MOTION for Extension of Time to File Witness and Exhibit Lists by Jamshid
                              Muhtorov. (Stimson, Kathryn) (Entered: 05/01/2018)




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         05/01/2018      1810 NOTICE Change of Contact Information by Jamshid Muhtorov (Leedy, Brian)
                              (Entered: 05/01/2018)
         05/04/2018      1811 RESTRICTED TRANSCRIPT of proceedings held on April 23, 2018 before Judge
                              Kane. Pages: 1913-2003. (thoff, ) (Entered: 05/04/2018)
         05/04/2018      1812 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 23, 2018 before
                              Judge Kane. Pages: 2004-2051. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 05/04/2018)
         05/04/2018      1813 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 24, 2018 before
                              Judge Kane. Pages: 2052-2147. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 05/04/2018)
         05/04/2018      1814 TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 25, 2018 before
                              Judge Kane. Pages: 2148-2326. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (thoff, ) (Entered: 05/04/2018)
         05/07/2018      1815 ORDER regarding jury service as to Jamshid Muhtorov. ORDERED by Judge John L.
                              Kane on 5/7/2018. (cthom, ) (Entered: 05/07/2018)
         05/07/2018      1816 ORDER granting 1809 as to Jamshid Muhtorov (1). Defendant Muhtorov's Request
                              for Extension of Time to File Witness List and Exhibit List is GRANTED. The
                              government has yet to file its witness list as required. The government is DIRECTED
                              to file its witness list by 10 a.m. tomorrow, May 8, 2018. Mr. Muhtorov is
                              DIRECTED to file his witness and exhibit lists on or before May 15, 2018. Ordered



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                                by Judge John L. Kane on 5/7/2018. Text Only Entry (jlksec) (Entered: 05/07/2018)
         05/07/2018      1817 Proposed Jury Instructions by Jamshid Muhtorov (Attachments: # 1 Exhibit, # 2
                              Exhibit)(Leedy, Brian) (Entered: 05/07/2018)
         05/07/2018      1818 (RESTRICTED DOCUMENT - Level 1) Government's Witness List for Trial by
                              USA as to Jamshid Muhtorov (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 5/8/2018 (cthom, ). (Entered: 05/07/2018)
         05/08/2018      1819 RESTRICTED DOCUMENT - Level 2: as to Jamshid Muhtorov. (Stimson, Kathryn)
                              (Entered: 05/08/2018)
         05/08/2018      1822 MINUTE ENTRY for Trial Preparation Conference proceedings held before Judge
                              John L. Kane on 5/8/2018 as to Jamshid Muhtorov. ORDERED:The Governments
                              Oral Motion to Reconsider is DENIED. The prior rulings will stand. Court Reporter:
                              Terri Lindblom. Interpreter: Tatiana Dautkhanova and Irina Kamensky. (babia)
                              (Entered: 05/09/2018)
         05/08/2018      1831 AMENDED MINUTE ENTRY for Trial Preparation Conference proceedings held
                              before Judge John L. Kane on 5/8/2018as to Jamshid Muhtorov. Amended re 1822 .
                              Court Reporter: Terri Lindblom. Interpreter: Tatiana Dautkhanova and Irina
                              Kamensky. (Attachments: # 1 Final Jury Questionnaire) (babia) (Entered: 05/15/2018)
         05/09/2018      1820 (RESTRICTED DOCUMENT - Level 1) ORDER at to Jamshid Muhtorov and
                              Bakhtiyor Jumaev. (cthom, ) (Entered: 05/09/2018)
         05/09/2018      1821 (RESTRICTED DOCUMENT - Level 1) MOTION in Limine by Jamshid Muhtorov.
                              (Attachments: # 1 Attachment A, # 2 Attachment B, # 3 Attachment C, # 4
                              Attachment D, # 5 Attachment E)(Williamson, Warren) Modified to add title on
                              5/10/2018 (cthom, ). (Entered: 05/09/2018)
         05/09/2018      1823 (RESTRICTED DOCUMENT - Level 1) ORDER Correcting May 8, 2018 Oral
                              Ruling as to Jamshid Muhtorov. ORDERED by Judge John L. Kane on 5/9/2018
                              (cthom, ) (Entered: 05/10/2018)
         05/10/2018      1824 MINUTE ORDER as to Jamshid Muhtorov re 1821 . After reviewing Defendant
                              Muthorov's Motion in Limine, I find a response from the government is warranted.
                              Thus, the government is DIRECTED to file a response to the Motion on or before
                              May 15, 2018. Since the matter has yet to be resolved, the government is
                              PROHIBITED from discussing any related topic during jury selection. Ordered by
                              Judge John L. Kane on 5/10/2018. Text Only Entry (jlksec) (Entered: 05/10/2018)
         05/11/2018      1825 (RESTRICTED DOCUMENT - Level 1) Response to 1821 Motion to Limine by
                              USA as to Jamshid Muhtorov (Holloway, Gregory) Modified to add title on 5/11/2018
                              (cthom, ). (Entered: 05/11/2018)
         05/14/2018      1826 (RESTRICTED DOCUMENT - Level 1) ORDER Granting Motion in Limine as to
                              Jamshid Muhtorov. ORDERED by Judge John L. Kane. (cthom, ) (Entered:
                              05/14/2018)
         05/14/2018      1827 (RESTRICTED DOCUMENT - Level 1) Motion to Set Aside Verdict by Bakhtiyor
                              Jumaev. (Attachments: # 1 Exhibit)(Savitz, David) Modified to add title on 6/5/2018
                              (cthom, ). (Entered: 05/14/2018)


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         05/14/2018      1828 Conventionally Submitted Material : 1 Compact Disc Containing Exhibit B to 1827
                              Restricted Document - Level 1 by Defendant Bakhtiyor Jumaev. Text Only Entry.
                              (cthom, ) (Entered: 05/14/2018)
         05/14/2018      1829 MINUTE ENTRY for Jury Trial Day 1 proceedings held before Judge John L. Kane
                              on 5/14/2018 as to Jamshid Muhtorov. Jury Selection. Court Reporter: Terri
                              Lindblom. Interpreter: Hamik Jorgensen and Tatiana Dautkhanova. (babia)
                              (Additional attachment(s) added on 5/15/2018: # 1 Juror 165 Note, # 2 Juror 880
                              Note) (babia, ). (Entered: 05/14/2018)
         05/15/2018      1830 MINUTE ORDER as to Bakhtiyor Jumaev. The government is DIRECTED to file a
                              response to Defendant Jumaev's Motion to Set Aside Verdict 1827 on or before May
                              29, 2018. Any reply is due on or before June 5, 2018. Ordered by Judge John L. Kane
                              on 5/15/2018. Text Only Entry (jlksec) (Entered: 05/15/2018)
         05/15/2018      1832 TRANSCRIPT of Trial to Jury - Day 12 as to Bakhtiyor Jumaev held on 4/9/2018
                              before Judge Kane. Pages: 982-1115. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 05/15/2018)
         05/15/2018      1833 MINUTE ENTRY for Jury Trial Day 2 proceedings held before Judge John L. Kane
                              on 5/15/2018 as to Jamshid Muhtorov. Jury selection. Court Reporter: Terri Lindblom.
                              Interpreter: Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered:
                              05/15/2018)
         05/16/2018      1834 MINUTE ENTRY for Jury Trial Day 3 proceedings held before Judge John L. Kane
                              on 5/16/2018 as to Jamshid Muhtorov. Jury selection. Court Reporter: Terri Lindblom.
                              Interpreter: Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered:
                              05/16/2018)
         05/17/2018      1835 MINUTE ENTRY for Jury Trial Day 4 proceedings held before Judge John L. Kane
                              on 5/17/2018 as to Jamshid Muhtorov. ORDERED: The Jury Administrator shall
                              notify the Jury to report for further jury service on Thursday, May 24, 2018 at 8:30
                              a.m.ORDERED: The Jury Trial will resume on Thursday, May 24, 2018 at 9:00 a.m.
                              Counsel, and parties shall arrive by 8:30 a.m. Court Reporter: Terri Lindblom.
                              Interpreter: Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered:
                              05/17/2018)
         05/18/2018      1836 MINUTE ORDER as to Defendant Bakhtiyor Jumaev. The sentencing for Defendant
                              Jumaev is set for July 18, 2018, at 10:00 a.m., making the deadline for the initial
                              Presentence Investigation Report June 13, 2018. Any objections to the Presentence
                              Investigation Report are due June 27, 2018. The government is DIRECTED to file its
                              Sentencing Statement on or before June 13, 2018, and Mr. Jumaev is DIRECTED to



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                                file his Sentencing Statement on or before June 28, 2018. Ordered by Judge John L.
                                Kane on 5/18/2018. Text Only Entry (jlksec) (Entered: 05/18/2018)
         05/18/2018      1837 EXHIBIT LIST by Jamshid Muhtorov (Attachments: # 1 Exhibit List)(Williamson,
                              Warren) (Entered: 05/18/2018)
         05/18/2018      1838 WITNESS LIST by Jamshid Muhtorov (Attachments: # 1 Witness List)(Williamson,
                              Warren) (Entered: 05/18/2018)
         05/22/2018      1839 MOTION to Dismiss the Indictment with Prejudice Based on a Violation of
                              Defendant Jamshid Muhtorov's Constitutional Right to a Speedy Trial by Jamshid
                              Muhtorov. (Attachments: # 1 Attachment A, # 2 Attachment B, # 3 Attachment
                              C)(Williamson, Warren) (Entered: 05/22/2018)
         05/22/2018      1840 (RESTRICTED DOCUMENT - Level 1) Order re the Use of Defendant Jumaev's
                              Convictions in Defendant Muhtorov's Trial as to Jamshid Muhtorov. ORDERED by
                              Judge John L. Kane. (cthom, ) (Entered: 05/22/2018)
         05/22/2018      1841 TRANSCRIPT of Trial to Jury - Day 13 as to Bakhtiyor Jumaev held on 4/10/2018
                              before Judge Kane. Pages: 1117-1206. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
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                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/22/2018      1842 TRANSCRIPT of Trial to Jury - Day 14 as to Bakhtiyor Jumaev held on 4/11/2018
                              before Judge Kane. Pages: 1207-1311. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/22/2018      1843 TRANSCRIPT of Trial to Jury - Day 15 as to Bakhtiyor Jumaev held on 4/12/2018
                              before Judge Kane. Pages: 1312-1418. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.



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                                <br><br> Transcript may only be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/22/2018      1844 TRANSCRIPT of Trial to Jury - Day 16 as to Bakhtiyor Jumaev held on 4/16/2018
                              before Judge Kane. Pages: 1419-1558. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/22/2018      1845 TRANSCRIPT of Trial to Jury Day 17 as to Bakhtiyor Jumaev held on 4/17/2018
                              before Judge Kane. Pages: 1559-1676. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/22/2018      1846 TRANSCRIPT of Trial to Jury - Day 18 as to Bakhtiyor Jumaev held on 4/18/2018
                              before Judge Kane. Pages: 1677-1767. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/22/2018      1847 TRANSCRIPT of Trial to Jury - Day 19 as to Bakhtiyor Jumaev held on 4/19/2018
                              before Judge Kane. Pages: 1768-1914. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased



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                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (tlind, ) (Entered: 05/22/2018)
         05/23/2018      1848 (RESTRICTED DOCUMENT - Level 1) Memo Regarding Rule 609 by Jamshid
                              Muhtorov. (Williamson, Warren) Modified to add title on 5/23/2018 (cthom, ).
                              (Entered: 05/23/2018)
         05/23/2018      1849 MINUTE ORDER as to Jamshid Muhtorov. After reviewing Defendant Muhtorov's
                              most recent Motion to Dismiss 1839 , I will hear argument on it after the parties'
                              opening statements tomorrow, May 24, 2018. The parties should be prepared to
                              address the Motion at that time. Ordered by Judge John L. Kane on 5/23/2018. Text
                              Only Entry (jlksec) (Entered: 05/23/2018)
         05/24/2018      1850 MINUTE ENTRY for Jury Trial Day 5 proceedings held before Judge John L. Kane
                              on 5/24/2018 as to Jamshid Muhtorov (1). Denying 1839 Motion to Dismiss as to
                              Jamshid Muhtorov. ORDERED: Defense counsel shall provide the Government with
                              copies of the full videos Defendants Exhibits 689 and 690 by the close of business,
                              Friday, May 25, 2018. Corresponding translations are to be provided as soon as
                              practicable. ORDERED: Defendants Exhibit 749 is taken UNDER ADVISEMENT.
                              Court Reporter: Terri Lindblom. Interpreter: Irina Kamensky and Yuliya Fedasenka.
                              (babia) (Entered: 05/25/2018)
         05/28/2018      1851 (RESTRICTED DOCUMENT - Level 1) MOTION to Exclude Testimony by Jamshid
                              Muhtorov. (Attachments: # 1 Attachment A)(Williamson, Warren) Modified to add
                              title on 5/29/2018 (cthom, ). (Entered: 05/28/2018)
         05/29/2018      1852 (RESTRICTED DOCUMENT - Level 1) RESPONSE to Motion to Exclude by USA
                              as to Jamshid Muhtorov (Holloway, Gregory) Modified to add title on 5/29/2018
                              (cthom, ). (Entered: 05/29/2018)
         05/29/2018      1853 MINUTE ORDER as to Defendant Jamshid Muhtorov. Mr. Muhtorov is DIRECTED
                              to file a Reply to the government's Response (Doc. 1852) to his Motion seeking to
                              exclude witness testimony (Doc. 1851) on or before Friday, June 1, 2018, at noon.
                              Ordered by Judge John L. Kane on 5/29/2018. Text Only Entry (jlksec) (Entered:
                              05/29/2018)
         05/29/2018      1854 MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings held
                              before Judge John L. Kane with the United States Government on 5/29/2018. Court
                              Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 05/29/2018)
         05/29/2018      1855 RESTRICTED DOCUMENT - Level 3: by Jamshid Muhtorov. (Stimson, Kathryn)
                              (Entered: 05/29/2018)
         05/29/2018      1856 MINUTE ENTRY for Jury Trial Day 6 proceedings held before Judge John L. Kane
                              on 5/29/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered: 05/29/2018)
         05/29/2018      1857 (RESTRICTED DOCUMENT - Level 1) Response to 1827 Motion to Set Aside
                              Verdict by USA as to Bakhtiyor Jumaev (Holloway, Gregory) Modified to add title on
                              6/5/2018 (cthom, ). (Entered: 05/29/2018)




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         05/30/2018      1858 (RESTRICTED DOCUMENT - Level 3) ORDER by Judge John L. Kane as to
                              Jamshid Muhtorov. (cthom, ) (Entered: 05/30/2018)
         05/30/2018      1859 (RESTRICTED DOCUMENT - Level 1) Reply to 1851 Motion to Exclude by
                              Jamshid Muhtorov. (Attachments: # 1 Attachment A)(Williamson, Warren) Modified
                              to add title on 5/31/2018 (cthom, ). (Entered: 05/30/2018)
         05/30/2018      1860 MINUTE ENTRY for Jury Trial Day 7 proceedings held before Judge John L. Kane
                              on 5/30/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered: 05/30/2018)
         05/30/2018      1861 MINUTE ENTRY for Jury Trial Day 7 proceedings held before Judge John L. Kane
                              on 5/30/2018 as to Jamshid Muhtorov. Amended re 1860 . Court Reporter: Terri
                              Lindblom. Interpreter: Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered:
                              05/30/2018)
         05/30/2018      1862 (RESTRICTED DOCUMENT - Level 1) Surreply to 1851 Motion to Exclude by
                              USA as to Jamshid Muhtorov (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 5/31/2018 (cthom, ). (Entered: 05/30/2018)
         05/31/2018      1863 MINUTE ENTRY for Jury Trial Day 8 proceedings held before Judge John L. Kane
                              on 5/31/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered: 05/31/2018)
         05/31/2018      1864 AMENDED MINUTE ENTRY for Jury Trial Day 8 proceedings held before Judge
                              John L. Kane on 5/31/2018 as to Jamshid Muhtorov. Amended re 1863 . Court
                              Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen and Tatiana Dautkhanova.
                              (babia) (Entered: 05/31/2018)
         05/31/2018      1869 2nd - AMENDED MINUTE ENTRY for Jury Trial Day 8 proceedings held before
                              Judge John L. Kane on 5/31/2018 as to Jamshid Muhtorov. Amended re 1863 and
                              1864 . Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen and Tatiana
                              Dautkhanova. (babia) (Entered: 06/04/2018)
         06/01/2018      1865 MOTION for Order for Issuance of Writ of Habeas Corpus Ad Testicandum for In-
                              Custody Witness Bakhtiyor Jumaev by Jamshid Muhtorov. (Attachments: # 1
                              Proposed Order (PDF Only))(Williamson, Warren) (Entered: 06/01/2018)
         06/01/2018      1866 ORDER for Writ of Habeas Corpus Ad Testicandum for Bakhtiyor Jumaev.
                              ORDERED by Judge John L. Kane on 6/1/2018. (cthom, ) (Entered: 06/01/2018)
         06/01/2018      1867 Writ of Habeas Corpus ad Testificandum Issued as to Bakhtiyor Jumaev for 6/18/2018
                              in case as to Jamshid Muhtorov. (cthom, ) (Entered: 06/01/2018)
         06/01/2018      1868 (RESTRICTED DOCUMENT - Level 1) ORDER Denying Defendant Muhtorov's
                              1851 Motion to Exclude Testimony as to Jamshid Muhtorov. ORDERED by Judge
                              John L. Kane. (cthom, ) (Entered: 06/01/2018)
         06/04/2018      1870 MINUTE ENTRY for Jury Trial Day 9 proceedings held before Judge John L. Kane
                              on 6/4/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky and Yuliya Fedasenka. (babia) (Entered: 06/04/2018)




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         06/04/2018      1871 (RESTRICTED DOCUMENT - Level 1) Second Amended Exhibit List by USA as to
                              Jamshid Muhtorov (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified to add
                              title on 6/5/2018 (cthom, ). (Entered: 06/04/2018)
         06/05/2018      1872 (RESTRICTED DOCUMENT - Level 1) REPLY to Response to 1827 Motion to Set
                              Aside Verdict by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Savitz, David)
                              Modified to add title on 6/5/2018 (cthom, ). (Entered: 06/05/2018)
         06/05/2018      1873 MINUTE ENTRY for Jury Trial Day 10 proceedings held before Judge John L. Kane
                              on 6/5/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky and Yuliya Fedasenka. (babia) (Entered: 06/05/2018)
         06/05/2018      1874 (RESTRICTED DOCUMENT - Level 1) Government's Third Amended Exhibit List
                              by USA as to Jamshid Muhtorov (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 6/6/2018 (cthom, ). (Entered: 06/05/2018)
         06/06/2018      1875 MINUTE ENTRY for Jury Trial Day 11 proceedings held before Judge John L. Kane
                              on 6/6/2018 as to Jamshid Muhtorov. Jury excused until Thursday, June 7, 2018 at
                              9:00 a.m. The Court states that counsel shall arrive at 8:30 a.m., at which time the
                              Defendants motion will be heard. Court Reporter: Terri Lindblom. Interpreter: Irina
                              Kamensky and Yuliya Fedasenka. (babia) (Entered: 06/06/2018)
         06/07/2018      1876 MINUTE ENTRY for Jury Trial Day 12 proceedings held before Judge John L. Kane
                              on 6/7/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky, Yuliya Fedasenka, and Muhitdin Ahunhodjaev. (babia) (Entered:
                              06/07/2018)
         06/07/2018      1877 AMENDED MINUTE ENTRY for Jury Trial Day 12 proceedings held before Judge
                              John L. Kane on 6/7/2018 as to Jamshid Muhtorov. Amended re 1876 . Court
                              Reporter: Terri Lindblom. Interpreter: Irina Kamensky, Yuliya Fedasenka, and
                              Muhitdin Ahunhodjaev. (Attachments: # 1 Juror Question 1) (babia) (Entered:
                              06/08/2018)
         06/11/2018      1878 MINUTE ENTRY for Jury Trial Day 13 proceedings held before Judge John L. Kane
                              on 6/11/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky, Yuliya Fedasenka, Muhitdin Ahunhodjaev, and Sanjar Babadjanov.
                              (Attachments: # 1 Juror Question 2) (babia) (Entered: 06/11/2018)
         06/11/2018      1880 AMENDED MINUTE ENTRY for Jury Trial Day 13 proceedings held before Judge
                              John L. Kane on 6/11/2018 as to Jamshid Muhtorov. Amended re 1878 . Correct
                              interpreter name. Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen,
                              Yuliya Fedasenka, Muhitdin Ahunhodjaev, and Sanjar Babadjanov. (babia) (Entered:
                              06/13/2018)
         06/12/2018      1879 MINUTE ENTRY for Jury Trial Day 14 proceedings held before Judge John L. Kane
                              on 6/12/2018 as to Jamshid Muhtorov. ORDERED: Defendants Renewed Oral
                              Motion for Judgment of Acquittal is DENIED. ORDERED: Immediately following
                              todays proceedings, counsel shall meet with court staff to confirm the accuracy of all
                              admitted/stipulated exhibits being submitted to the Jury for deliberations.
                              Immediately following todays proceedings, counsel met with court staff - (approx.
                              11:30 a.m. - 2:00 p.m.) to confirm all exhibits, including content. The following



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                                exhibits were confirmed as admitted/stipulated (all redacted exhibits were also
                                confirmed) and will accompany the Jury once they are excused to begin their
                                deliberations:Governments Exhibits -1, 2, 9, 9A, 10, 11, 11A, 12A, 14, 41, 44, 45, 50,
                                51, 52, 53, 70B, 71, 71A, 71B, 71C, 71D, 73, 73B, 74, 74B, 75, 76, 96, 97B, 100,
                                100A, 101, 101A, 102, 102A, 103, 103A, 104, 104A, 105, 105A, 106, 106A, 107,
                                107A, 108, 108A, 109, 109A, 110, 110A, 111, 111A, 112,112A, 113, 113A, 114,
                                114A, 116, 116A, 116B, 118, 118A, 119, 119A, 120, 120A, 121, 121A, 122, 122A,
                                123, 123A, 124, 124A, 125, 125A, 127, 127A, 128, 128A, 129, 129A, 130, 130A,
                                131, 131A, 132, 132A, 133, 133A, 138, 138A, 139, 139A, 141, 141A, 145, 145A,
                                146, 146A, 149, 149A, 150, 150A, 151, 151A, 152, 152A, 153, 153A, 155, 155A,
                                156, 156A, 157, 157A, 158, 158A, 159, 159A, 160, 160A, 161, 161A, 162, 162A,
                                163, 163A, 164, 164A, 165, 165A, 166, 166A, 167, 167A, 168, 168A, 169, 169A,
                                170, 170A, 200, 201, 202, 203, 205, 206, 207, 214, 215, 216, 220, 221, 222, 223, 224,
                                225, 226, 227, 228, 229, 230, 231, 232, 233, 234, 234A, 234B, 235, 236, 237, 238,
                                239, 240, 241, 242, 243, 244, 245, 246, 247, 248, 249, 250, 251, 252, 253, 254, 255,
                                256, 257, 258, 259, 260, 270, 272, 274, 275, 276, 282, 283A, 283B, 283C, 283D,
                                283E, 283F, 283G, 299, 305A, 306A, 307, 307A, 307B, 307C, 308, 309, 311, 312,
                                312A, 332, 332A1, 333, 333A, 335, 335A, 401, 402, 403, 404, 405, 406, 407, 408,
                                409, 410, 411, 412, 413, 414, 424, 426, 427, 434, 435, 450B. 450C, 450D, 451, 451B,
                                451C, 451D, 451E, 451F, 451G, 474, 475, 476, 478, 479, 480, 481, 484, 485, 500,
                                512, 515, 516, 530, 530A, 531, 531A, 531B, 531C, 531D, 531E, 531F, 535, 536, 540,
                                541, and 542.Defendants Exhibits - 600, 601, 062, 603, 604, 605, 606, 606A, 607,
                                607A, 608, 608A, 609, 609A, 610, 610A, 611, 611A, 612, 612A, 613, 613A, 614,
                                614A, 615, 615A, 616, 616A, 617, 617A, 618, 618A, 619, 619A, 620, 620A, 621,
                                621A, 622, 622A, 623, 623A, 624, 624A, 625, 625A, 626, 626A, 627, 627A, 628,
                                628A, 629, 629A, 630, 630A, 631, 631A, 632, 632A, 633, 633A, 634, 634A, 635,
                                635A, 636, 636A, 637, 637A, 638, 638A, 639, 639A, 640, 640A, 641, 641A, 642,
                                642A, 643, 643A, 644, 644A, 645, 645A, 646, 646A, 647, 647A, 648, 648A, 649,
                                649A, 650, 650A, 651, 651A, 652, 652A, 653, 653A, 654, 654A, 655, 655A, 656,
                                656A, 657, 657A, 658, 658A, 659, 659A, 660, 660A, 661, 661A, 662, 662A, 663,
                                663A, 664, 664A, 665, 665A, 666, 666A, 667, 667A, 668, 669, 670, 671, 672, 673,
                                674, 675, 676, 677, 678, 679, 680, 681, 682, 683, 684, 685, 686, 687, 688, 689, 689A,
                                690, 690A, 692A, 697A, 702A, 703A, 707A, 709A, 713A, 714A, 716A, 718, 720,
                                and 735. ORDERED:Trial resumes tomorrow at 9:00 a.m. Counsel shall be ready by
                                8:45 a.m. to make a final record as to exhibits and jury instructions. Court Reporter:
                                Terri Lindblom. Interpreter: Hasmik Jorgensen, Yuliya fedasenka, Muhitdin
                                Ahunhodjaev, Sanjar Babadjanov, and Darius Suziedelis. (babia) (Entered:
                                06/12/2018)
         06/12/2018      1881 MINUTE ENTRY for Day 14 proceedings held before Judge John L. Kane on
                              6/12/2018 as to Jamshid Muhtorov. Amended re 1879 . Correction to Government's
                              Exhibits - 271. Corrections to Defendant's Exhibits - 283A, 283B, 283C, 283D, 283E,
                              283F, 283G, 602. Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen,
                              Yuliya Fedasenka, Muhitdin Ahunhodjaev, Sanjar Babadjanov, and Darius Suziedelis.
                              (babia) (Entered: 06/13/2018)
         06/13/2018      1882 MINUTE ENTRY for Jury Trial Day 15 proceedings held before Judge John L. Kane
                              on 6/13/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:



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                                Hasmik Jorgensen and Yuliya Fedasenka. (Attachments: # 1 Jury Note) (babia)
                                (Additional attachment(s) added on 9/5/2018 per Chambers: # 2 Complete Jury
                                Instructions) (babia). (Entered: 06/13/2018)
         06/13/2018      1883 (RESTRICTED DOCUMENT - Level 1) Government's Sentencing Statement by
                              USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                              Modified to add title on 6/14/2018 (cthom, ). (Entered: 06/13/2018)
         06/14/2018      1884 (RESTRICTED DOCUMENT - Level 1) Amended Sentencing Statement by USA as
                              to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified to add
                              title on 6/14/2018 (cthom, ). (Entered: 06/14/2018)
         06/14/2018      1885 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                              Bakhtiyor Jumaev (sdean, ) (Entered: 06/14/2018)
         06/14/2018      1886 MINUTE ENTRY for Jury Trial Day 16 proceedings held before Judge John L. Kane
                              on 6/14/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. (Attachments:
                              # 1 Jury Note) (babia) (Entered: 06/14/2018)
         06/15/2018      1887 MINUTE ORDER as to Jamshid Muhtorov. An In Court Hearing is set for 6/15/2018
                              at 10:30 AM in Courtroom A802 before Judge John L. Kane. The defendant's
                              presence is not required for the hearing. Ordered by Judge John L. Kane on
                              6/15/2018. Text Only Entry (jlksec) (Entered: 06/15/2018)
         06/15/2018      1888 MINUTE ENTRY for In Court Hearing proceedings held before Judge John L. Kane
                              on 6/15/2018 as to Jamshid Muhtorov. A further In Court Hearing is set for 6/18/2018
                              at 08:00 AM in Courtroom A 802 before Judge John L. Kane. Court Reporter: Terri
                              Linblom. (babia) (Entered: 06/15/2018)
         06/15/2018      1889 MOTION for Hearing and Order Requiring U.S. Marshals and Court Security to
                              Release All Reports and Surveillance Re: June 14, 2018 Incident by Jamshid
                              Muhtorov. (Stimson, Kathryn) (Entered: 06/15/2018)
         06/15/2018      1890 ORDER granting in part 1889 Mr. Muhtorov's Motion for Evidentiary Hearing and
                              for Court Order Requiring the United States Marshals and Court Security Officers to
                              Release All Reports and Video Surveillance Regarding the June 14, 2018 Incident. An
                              Evidentiary Hearing is set for 6/18/2018 at 8:00 AM in Courtroom A802 before Judge
                              John L. Kane. The defendant's presence is required. The people listed on page 2 of the
                              motion are required to be in attendance. Discussion will be had as to whether
                              individual jurors will be questioned. Ordered by Judge John L. Kane on 6/15/2018.
                              Text Only Entry (jlksec) (Entered: 06/15/2018)
         06/18/2018      1891 RESPONSE to Motion by USA as to Jamshid Muhtorov re 1889 MOTION for
                              Hearing and Order Requiring U.S. Marshals and Court Security to Release All
                              Reports and Surveillance Re: June 14, 2018 Incident (Holloway, Gregory) (Entered:
                              06/18/2018)
         06/18/2018      1892 MINUTE ENTRY for Evidentiary Hearing proceedings held before Judge John L.
                              Kane on 6/18/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom.
                              Interpreter: Irina Kamensky. (Attachments: # 1 Defense Exhibit A, # 2 Defense
                              Exhibit B, # 3 Defense Exhibit C - video conventionally submitted in Clerk's office)
                              (babia) (Entered: 06/18/2018)


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         06/18/2018      1893 MINUTE ENTRY for Jury Trial Day 17 proceedings held before Judge John L. Kane
                              on 6/18/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky. (Attachments: # 1 Jury Note) (babia) (Entered: 06/18/2018)
         06/18/2018      1894 AMENDED MINUTE ENTRY for Jury Trial Day 17 proceedings held before Judge
                              John L. Kane on 6/18/2018 as to Jamshid Muhtorov. Amended re 1893 . Court
                              Reporter: Terri Lindblom. Interpreter: Irina Kamensky. (babia) (Entered: 06/19/2018)
         06/19/2018      1895 MINUTE ENTRY for Jury Trial Day 18 proceedings held before Judge John L. Kane
                              on 6/19/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky. (Attachments: # 1 Jury Note) (babia) (Entered: 06/19/2018)
         06/20/2018      1896 MINUTE ENTRY for Jury Trial Day 19 proceedings held before Judge John L. Kane
                              6/20/2018 as to Jamshid Muhtorov. Court Reporter: Terri Lindblom. Interpreter: Irina
                              Kamensky. (Attachments: # 1 Jury Question 2 and Response by the Court, # 2 Jury
                              Note) (babia) (Entered: 06/20/2018)
         06/21/2018      1897 MINUTE ENTRY for Jury Trial Day 20 proceedings held before Judge John L. Kane
                              on 6/21/2018 as to Jamshid Muhtorov held. Jury Verdict as to Jamshid Muhtorov (1)
                              Guilty as to Counts One, Two, and Three of the Second Superseding Indictment, and
                              Not Guilty on Count Four of the Second Superseding Indictment. Court Reporter:
                              Terri Lindblom. Interpreter: Irina Kamensky. (Attachments: # 1 Jury Questions 3 and
                              4 and Response From The Court, # 2 Jury Question 5 and Response From The Court,
                              # 3 Jury Note) (babia) Modified on 6/22/2018 to correct Indictment information
                              (babia). (Entered: 06/21/2018)
         06/21/2018      1898 JURY VERDICT Form (redacted) as to Jamshid Muhtorov (babia) (Entered:
                              06/21/2018)
         06/21/2018      1899 Jury Verdict Un-Redacted - Level 4 - Viewable by Court Only (babia) (Entered:
                              06/21/2018)
         06/21/2018      1900 STIPULATION AND ORDER GOVERNING THE CUSTODY AND
                              DISPOSITION OF TRIAL EXHIBITS, DEPOSITIONS, TRANSCRIPTS, AND
                              PAPERS as to Jamshid Muhtorov by Judge John L. Kane on 6/21/2018. (babia)
                              (Entered: 06/21/2018)
         06/22/2018      1901 MINUTE ORDER as to Jamshid Muhtorov. Sentencing for Defendant Muhtorov is
                              set for August 30, 2018, at 10:00 a.m. before Judge Kane. The government is
                              DIRECTED to file its Sentencing Statement on or before July 23, 2018. The deadline
                              for the initial Presentence Investigation Report is July 26, 2018. Mr. Muhtorov's
                              Sentencing Statement is due August 6, 2018. Any motion for a departure or variance
                              must be filed on or before August 16, 2018, with responses due on or before August
                              23, 2018. Ordered by Judge John L. Kane on 6/22/2018. Text Only Entry (jlksec)
                              (Entered: 06/22/2018)
         06/22/2018      1902 RESTRICTED DOCUMENT - Level 2 Order re: 1827 RESTRICTED DOCUMENT
                              - Level 1 Motion to Set Aside Verdict as to Bakhtiyor Jumaev. (athom, ) Modified on
                              6/22/2018 to add text (athom, ). (Entered: 06/22/2018)
         06/25/2018      1903 MOTION to Withdraw as Attorney by Emily Elizabeth Boehme by Bakhtiyor
                              Jumaev. (Boehme, Emily) (Entered: 06/25/2018)


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         06/25/2018      1904 ORDER granting 1903 Motion to Withdraw as Attorney. Emily Elizabeth Boehme
                              withdrawn from case as to Bakhtiyor Jumaev (2). The Clerk is directed to remove
                              Emily Elizabeth Boehme from the CM/ECF notification system in connection with
                              this case. ORDERED by Judge John L. Kane on 6/25/2018. (cthom, ) (Entered:
                              06/25/2018)
         06/25/2018      1905 (RESTRICTED DOCUMENT - Level 2) MINUTE ORDER regarding 1902 Order as
                              to Bakhtiyor Jumaev. (cthom, ) (Entered: 06/25/2018)
         06/26/2018      1906 MINUTE ORDER as to Bakhtiyor Jumaev re 1902 Restricted Document - Level 2.
                              Restriction of the Preliminary Order is no longer necessary. The Order issued Friday
                              is, therefore, SUBSTITUTED with the Unrestricted Preliminary Order attached to this
                              Minute Order. ORDERED by Judge John L. Kane on 6/26/2018. (Attachments: # 1
                              Unrestricted Preliminary Order) (cthom, ) (Entered: 06/26/2018)
         06/26/2018      1907 MINUTE ENTRY for In Court Hearing proceedings held before Judge John L. Kane
                              on 6/26/2018 as to Bakhtiyor Jumaev. Court Reporter: Tammy Hoffschildt. (babia)
                              (Entered: 06/26/2018)
         06/28/2018      1908 BAKHTIYOR JUMAEVS SENTENCING STATEMENT AND MOTION FOR
                              VARIANT SENTENCE (Attachments: # 1 Exhibit)(Savitz, David) Modified to un-
                              restrict and add title on 7/20/2018 (cthom, ). (Entered: 06/28/2018)
         06/28/2018      1909 TRANSCRIPT of hearing as to Bakhtiyor Jumaev held on June 26, 2018 before Judge
                              Kane. Pages: 1-13. <br><br> NOTICE - REDACTION OF TRANSCRIPTS:
                              Within seven calendar days of this filing, each party shall inform the Court, by
                              filing a Notice of Intent to Redact, of the party's intent to redact personal
                              identifiers from the electronic transcript of the court proceeding. If a Notice of
                              Intent to Redact is not filed within the allotted time, this transcript will be made
                              electronically available after 90 days. Please see the Notice of Electronic
                              Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                              Transcript may only be viewed at the court public terminal or purchased through the
                              Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                              PACER. (thoff, ) (Entered: 06/28/2018)
         06/28/2018      1910 OBJECTION/RESPONSE to Presentence Report 1885 by Bakhtiyor Jumaev (Savitz,
                              David) (Entered: 06/28/2018)
         06/28/2018      1911 ORDER as to Bakhtiyor Jumaev Denying 1827 Restricted Document - Level 1:
                              Motion to Set Aside Verdict filed by Bakhtiyor Jumaev, by Judge John L. Kane on
                              06/28/2018. (sphil, ) (Entered: 06/28/2018)
         06/28/2018      1912 Unopposed MOTION for Order to Extend Time for Filing Post Trial Motions by
                              Jamshid Muhtorov. (Williamson, Warren) (Entered: 06/28/2018)
         06/29/2018      1913 MINUTE ORDER as to Jamshid Muhtorov. Defendant Muhtorov's Unopposed
                              Motion to Extend Time for Filing Post Trial Motions (Doc. 1912) is GRANTED. The
                              time for filing post trial motions is extended to July 19, 2018. The government's
                              response will then be due on or before August 2, 2018, and any reply will be due on
                              or before August 9, 2018. By Judge John L. Kane on 06/29/2018. Text Only Entry.
                              (sphil, ) (Entered: 06/29/2018)



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         07/02/2018      1914 NOTICE of Rejections of U.S. Sentencing Guidelines as to Bakhtiyor Jumaev and
                              Jamshid Muhtorov. ORDERED by Judge John L. Kane on 7/2/2018. (cthom, )
                              Modified to add text on 7/30/2018 (cthom, ). (Entered: 07/02/2018)
         07/02/2018      1932 NOTICE of Rejections of U.S. Sentencing Guidelines as to Bakhtiyor Jumaev and
                              Jamshid Muhtorov. ORDERED by Judge John L. Kane on 7/2/2018. Duplicate entry
                              of ecf 1914 filed in 12-cr-33--JLK-2. (cthom, ) (Entered: 07/30/2018)
         07/10/2018      1915 RESTRICTED PRESENTENCE REPORT as to Bakhtiyor Jumaev (Attachments: # 1
                              Exhibit A, # 2 Exhibit B)(sdean, ) (Entered: 07/10/2018)
         07/10/2018      1916 RESTRICTED ADDENDUM to Presentence Report 1915 as to Bakhtiyor Jumaev
                              (sdean, ) (Entered: 07/10/2018)
         07/13/2018      1917 BAKHTIYOR JUMAEVS SUPPLEMENTAL MATERIALS IN SUPPORT OF HIS
                              SENTENCING STATEMENT (Attachments: # 1 Exhibit)(Savitz, David) Modified to
                              un-restrict and add title on 7/20/2018 (cthom, ). (Entered: 07/13/2018)
         07/13/2018      1918 NOTICE of Defendant's Memorandum Regarding Sentencing Guidelines and
                              Adoption of Arguments Made by Bakhtiyor Jumaev in Docs. 1908 and 1910 by
                              Jamshid Muhtorov (Williamson, Warren) (Entered: 07/13/2018)
         07/13/2018      1919 (RESTRICTED DOCUMENT - Level 2) Letter from Bakhtiyor Jumaev. (cthom, )
                              (Entered: 07/13/2018)
         07/18/2018      1920 MEMORANDUM OPINION and ORDER on Sentencing as to Bakhtiyor Jumaev.
                              ORDERED by Judge John L. Kane on 7/18/2018. (Attachments: # 1 Appendix)
                              (cthom, ) (Entered: 07/18/2018)
         07/18/2018      1921 MINUTE ENTRY for Sentencing proceedings held before Judge John L. Kane on
                              7/18/2018 as to defendant Bakhtiyor Jumaev. Defendant sentenced as reflected on the
                              record. Court Reporter: Terri Lindblom. Interpreter: Irina Kamensky and Tatiana
                              Dautkhanova. (babia) (Entered: 07/18/2018)
         07/19/2018      1922 FINAL JUDGMENT as to Defendant Bakhtiyor Jumaev (2). Defendant to be
                              sentenced to a term of TIME SERVED, as to Counts One and Two, to be served
                              concurrently. Defendant shall be placed on Supervised Release for a term of 10 years
                              on Counts One and Two, to be served concurrently. Assessment $200. Counts 1-4 of
                              the Indictment, 1-2 of the Superseding Indictment, and 5-6 of the Second Superseding
                              Indictment are Dismissed by Judge John L. Kane on 7/18/18. (babia) (Entered:
                              07/19/2018)
         07/19/2018      1923 STATEMENT OF REASONS as to Bakhtiyor Jumaev. (babia) (Entered: 07/19/2018)
         07/19/2018      1924 RESTRICTED DOCUMENT - Level 1: by Jamshid Muhtorov. (Williamson, Warren)
                              (Entered: 07/19/2018)
         07/20/2018      1925 MOTION to Unrestrict Document 1908 Restricted Document - Level 1 filed by
                              Bakhtiyor Jumaev by Bakhtiyor Jumaev. (Savitz, David) (Entered: 07/20/2018)
         07/20/2018      1926 MINUTE ORDER. Defendant Bakhtiyor Jumaev's Motion to Remove the Restriction
                              of Public Access to Certain Pleadings and their Exhibits is GRANTED. The Clerk of
                              Court is directed to remove the restriction for Docs. 1908 and 1917 such that they are



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                                publicly available. ORDERED by Judge John L. Kane on 7/20/2018. Text Only Entry
                                (cthom, ) (Entered: 07/20/2018)
         07/23/2018      1927 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov
                              (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 07/23/2018)
         07/26/2018      1928 NOTICE OF APPEAL as to 1922 Judgment, by Bakhtiyor Jumaev. (Savitz, David)
                              (Entered: 07/26/2018)
         07/26/2018      1929 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                              Jamshid Muhtorov (aarag, ) (Entered: 07/26/2018)
         07/26/2018      1930 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                              the 1928 Notice of Appeal as to Bakhtiyor Jumaev to the U.S. Court of Appeals. (
                              CJA,) (Attachments: # 1 Docket Sheet and Preliminary Record)(cthom, ) (Entered:
                              07/26/2018)
         07/26/2018      1931 USCA Case Number as to Bakhtiyor Jumaev 18-1296 for 1928 Notice of Appeal filed
                              by Bakhtiyor Jumaev. (cthom, ) (Entered: 07/26/2018)
         08/01/2018      1933 TRANSCRIPT of Trial to Jury - Day 1 as to Jamshid Muhtorov held on 5/24/2018
                              before Judge Kane. Pages: 1-129. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of
                              Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1934 TRANSCRIPT of Trial to Jury - Day 2 as to Jamshid Muhtorov held on 5/29/2018
                              before Judge Kane. Pages: 130-298. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1935 TRANSCRIPT of Trial to Jury - Day 3 as to Jamshid Muhtorov held on 5/30/2018
                              before Judge Kane. Pages: 305-441. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                              will be made electronically available after 90 days. Please see the Notice of



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                                Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                                <br><br> Transcript may only be viewed at the court public terminal or purchased
                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1936 RESTRICTED TRANSCRIPT of proceedings held on 5/30/2018 before Judge Kane.
                              Pages: 299-304. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1937 TRANSCRIPT of Trial to Jury - Day 4 as to Jamshid Muhtorov held on 5/31/2018
                              before Judge Kane. Pages: 442-624. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
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                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1938 RESTRICTED TRANSCRIPT of proceedings held on 6/4/2018 before Judge Kane.
                              Pages: 625-785. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1939 TRANSCRIPT of Trial to Jury - Day 6 as to Jamshid Muhtorov held on 6/5/2018
                              before Judge Kane. Pages: 786-992. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1940 TRANSCRIPT of Trial to Jury - Day 7 as to Jamshid Muhtorov held on 6/6/2018
                              before Judge Kane. Pages: 993-1143. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                              inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                              redact personal identifiers from the electronic transcript of the court proceeding.
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1941 TRANSCRIPT of Trial to Jury - Day 8 as to Jamshid Muhtorov held on 6/7/2018
                              before Judge Kane. Pages: 1144-1288. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall



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                                inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
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                                through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                                posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1942 TRANSCRIPT of Trial to Jury - Day 9 as to Jamshid Muhtorov held on 6/11/2018
                              before Judge Kane. Pages: 1289-1406. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1943 TRANSCRIPT of Trial to Jury - Day 10 as to Jamshid Muhtorov held on 6/12/2018
                              before Judge Kane. Pages: 1407-1469. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/01/2018)
         08/01/2018      1944 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov
                              (Attachments: # 1 Proposed Document, # 2 Exhibit)(Holloway, Gregory) (Entered:
                              08/01/2018)
         08/01/2018      1945 TRANSCRIPT of Sentencing as to Bakhtiyor Jumaev held on 7/18/2018 before Judge
                              Kane. Pages: 1-54. <br><br> NOTICE - REDACTION OF TRANSCRIPTS:
                              Within seven calendar days of this filing, each party shall inform the Court, by
                              filing a Notice of Intent to Redact, of the party's intent to redact personal
                              identifiers from the electronic transcript of the court proceeding. If a Notice of
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                              Transcript may only be viewed at the court public terminal or purchased through the
                              Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                              PACER. (tlind, ) (Entered: 08/01/2018)




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         08/02/2018      1946 ORDER of USCA granting appointed trial counsels' Motion to Withdraw and
                              appointing attorney Zachary Ives to represent appellant as to Bakhtiyor Jumaev re
                              1928 Notice of Appeal. Designation of record and transcript order form are now due
                              on 08/23/2018 for Mr. Ives. The Clerk of the District Court shall wait at least 21 days
                              from the date of this order before transmitting the record on appeal to this court.
                              (USCA Case No. 18-1296) (athom, ) (Entered: 08/02/2018)
         08/02/2018      1947 DISREGARD - FILED AS TO INCORRECT DEFENDANT - RESTRICTED
                              DOCUMENT - Level 1: by USA as to Bakhtiyor Jumaev (Martinez, Julia) Modified
                              on 8/3/2018 to note that this document was filed as to the incorrect defendant - please
                              see correctly filed doc 1948 (athom, ). (Entered: 08/02/2018)
         08/02/2018      1948 RESTRICTED DOCUMENT - Level 1: by USA as to Jamshid Muhtorov (Martinez,
                              Julia) (Entered: 08/02/2018)
         08/06/2018      1949 SENTENCING STATEMENT by Jamshid Muhtorov (Williamson, Warren) (Entered:
                              08/06/2018)
         08/07/2018      1950 SUPPLEMENT to Defendant Jamshid Muhtorov's Sentencing Statement by Jamshid
                              Muhtorov (Attachments: # 1 Attachment)(Williamson, Warren) (Entered: 08/07/2018)
         08/09/2018      1951 OBJECTION/RESPONSE to Presentence Report by Jamshid Muhtorov as to Jamshid
                              Muhtorov, Bakhtiyor Jumaev (Leedy, Brian) (Entered: 08/09/2018)
         08/09/2018      1952 MINUTE ORDER: While not required to do so, the government may file a response
                              to Mr. Muhtorov's Objections to the Presentence Report, ECF No. 1951 , on or before
                              August 15, 2018. ORDERED by Judge John L. Kane on 8/9/2018. (cthom, ) (Entered:
                              08/09/2018)
         08/10/2018      1953 ORDER Denying 1924 Defendant's Restricted Motion to Set Aside Verdict and for a
                              New Trial by Jamshid Muhtorov. ORDERED by Judge John L. Kane on 8/10/2018.
                              (cthom, ) (Entered: 08/10/2018)
         08/14/2018      1954 TRANSCRIPT of Final Trial Prep Conference as to Jamshid Muhtorov held on
                              5/8/2018 before Judge Kane. Pages: 1-57. <br><br> NOTICE - REDACTION OF
                              TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                              <br><br> Transcript may only be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber prior to the 90 day deadline for electronic
                              posting on PACER. (tlind, ) (Entered: 08/14/2018)
         08/15/2018      1955 MOTION for Non-Guideline Sentence and Downward Departure by Jamshid
                              Muhtorov. (Attachments: # 1 Attachment A)(Williamson, Warren) (Entered:
                              08/15/2018)
         08/16/2018      1956 SUPPLEMENT to 1955 MOTION for Non-Guideline Sentence and Downward
                              Departure by Jamshid Muhtorov (Attachments: # 1 Attachment)(Williamson, Warren)
                              (Entered: 08/16/2018)


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         08/21/2018      1957 RESTRICTED PRESENTENCE REPORT as to Jamshid Muhtorov (Attachments: # 1
                              Exhibit A, # 2 Exhibit B)(aarag, ) (Entered: 08/21/2018)
         08/21/2018      1958 RESTRICTED ADDENDUM to Presentence Report 1957 as to Jamshid Muhtorov
                              (aarag, ) (Entered: 08/21/2018)
         08/22/2018      1959 TRANSCRIPT ORDER FORM re 1928 Notice of Appeal by Bakhtiyor Jumaev.
                              (Ives, Zachary) (Entered: 08/22/2018)
         08/22/2018      1960 DESIGNATION OF RECORD ON APPEAL re 1928 Notice of Appeal by Bakhtiyor
                              Jumaev. (Attachments: # 1 Docket Sheet)(Ives, Zachary) (Entered: 08/22/2018)
         08/29/2018      1961 STRICKEN RESPONSE by USA as to Jamshid Muhtorov re: 1949 Sentencing
                              Statement filed by Jamshid Muhtorov and Objections to the Advisory Guideline
                              Range (Doc 1951) (Holloway, Gregory) Modified to show stricken on 8/30/2018
                              (cthom, ). (Entered: 08/29/2018)
         08/29/2018      1962 MOTION to Strike Doc. 1961, Government's Response to Defendant's Sentencing
                              Statement and Objections to Advisory Guideline Range by Jamshid Muhtorov.
                              (Williamson, Warren) (Entered: 08/29/2018)
         08/30/2018      1963 ORDER granting 1962 Defendant Jamshid Muhtorov's Motion to Strike Doc. 1961,
                              Government's Response to Defendant's Sentencing Statement and Objections to
                              Advisory Guideline Range. Ordered by Judge John L. Kane on 8/30/2018 at 7:45 a.m.
                              Text Only Entry (jlksec) (Entered: 08/30/2018)
         08/30/2018      1964 MEMORANDUM OPINION AND SENTENCING ORDER as to Jamshid Muhtorov
                              by Judge John L. Kane on 8/30/2018. (cthom, ) (Entered: 08/30/2018)
         08/30/2018      1965 MINUTE ENTRY for Sentencing proceedings held before Judge John L. Kane on
                              8/30/2018 as to Defendant Jamshid Muhtorov (1). Granting in part and denying in
                              part 1955 Motion for Non-Guideline Sentence as to Jamshid Muhtorov (1). Defendant
                              sentenced as reflected on the record. Court Reporter: Terri Lindblom. Interpreter:
                              Irina Kamensky and Tatiana Dautkhanova. (babia) (Entered: 08/30/2018)
         09/04/2018      1966 FINAL JUDGMENT as to Defendant Jamshid Muhtorov (1). Defendant found
                              GUILTY as to Counts 1ss, 2ss, and 3ss. Defendant to be imprisoned for 96 months as
                              to Count 1ss, 96 months as to Count 2ss, and 132 months as to Count 3ss, to run
                              concurrently for a total term of imprisonment of 132 months. Defendant found NOT
                              GUILTY as to Count 4ss. Defendant shall be placed on Supervised Release for 15
                              years as to each of Counts 1ss, 2ss, and 3ss, to run concurrently. Total Assessment
                              $300. Counts 1, 1s-4s, 1sss-3sss, 4sss, 5sss, and 6sss are Dismissed. Criminal Case
                              Terminated by Judge John L. Kane on 9/4/2018. (babia) (Entered: 09/04/2018)
         09/04/2018      1967 STATEMENT OF REASONS as to Jamshid Muhtorov. (babia) (Entered: 09/04/2018)
         09/07/2018      1968 NOTICE OF APPEAL re Final Judgment [Doc. 1966] by Jamshid Muhtorov.
                              (Williamson, Warren) (Entered: 09/07/2018)
         09/07/2018      1969 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                              the 1968 Notice of Appeal as to Jamshid Muhtorov to the U.S. Court of Appeals. (
                              FPD,) (Attachments: # 1 Docket Sheet and Preliminary Record)(cthom, ) (Entered:
                              09/07/2018)


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         09/07/2018      1970 USCA Case Number as to Jamshid Muhtorov 18-1366 for 1968 Notice of Appeal
                              filed by Jamshid Muhtorov. (cthom, ) (Entered: 09/07/2018)
         09/13/2018      1971 REPORTER TRANSCRIPT ORDER FORM filed by Terri LIndblom. re 1928 Notice
                              of Appeal. Transcript due by 10/15/2018. (nrich) (Entered: 09/13/2018)
         10/01/2018      1972 ORDER of USCA as to Jamshid Muhtorov re 1968 Notice of Appeal. (USCA Case
                              No. 18-1296) (cthom, ) (Entered: 10/02/2018)
         10/01/2018      1973 ORDER of USCA as to Bakhtiyor Jumaev re 1928 Notice of Appeal. (USCA Case
                              No. 18-1366) (cthom, ) (Entered: 10/02/2018)
         10/03/2018      1974 REPORTER TRANSCRIPT ORDER FORM filed by Tammy Hoffschildt re 1928
                              Notice of Appeal. Transcript due by 10/25/2018. (nrich) (Entered: 10/03/2018)



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